        Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 1 of 204


1    JOHN KEVIN CROWLEY (SBN: 88189)
     ATTORNEY AT LAW
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     San Jose, California 95113-2288
3    Telephone: (408) 288-8100
     Facsimile: (408) 288-9409
4    e-mail: jkclaw@pacbell.net

5    Attorney for Plaintiffs
     JESSICA DOMINGUEZ INDIVIDUALLY
6    AND JESSICA DOMINGUEZ AS GUARDIAN
     AD LITEM FOR JAD (1), JAD (2)
7    AND JAD (3)
8
                                 UNITED STATES DISTRICT COURT
9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                          SAN JOSE DIVISION
11
12   JESSICA DOMINGUEZ INDIVIDUALLY                       Case No.: 5:18-cv-04826 BLM
13   AND JESSICA DOMINGUEZ AS
     GUARDIAN AD LITEM FOR JAD (1), JAD                   DECLARATION OF JOHN KEVIN
14   (2) AND JAD (3),                                     CROWLEY IN SUPPORT OF
                                                          PLAINTIFFS' SUMMARY JUDGMENT
15                                                        MOTION
                  Plaintiffs,
16          vs.
                                                          DATE:       April 21, 2022
17                                                        TIME:       9:00 a.m.
     CITY OF SAN JOSE, SAN JOSE POLICE
                                                          DEPT.:      3, Fifth Floor
18   DEPARTMENT, MICHAEL PINA, AND DOE
                                                          JUDGE:      Hon. Beth Labson Freeman
     POLICE OFFICERS 2 through 5,
19
                  Defer)dants.                            Trial Date: August 22, 2022
20
21          I, John Kevin Crowley, declare:
22          1.      I am an attorney at law licensed to practice before all courts in the State of
23
     California and I am an attorney for Plaintiffs in the above captioned matter.
24
            2.      The deposition of Michael Pina took place on or about March 3, 2021.
25
     conducted the deposition. A true and correct copy of the transcript of that deposition, is
26
27   attached hereto and incorporated herein as EXHIBIT 1.

28

             Declaration of John Kevin Crowley In Support of Plaintiffs' Motion for Summary Judgment
                                                       1
         Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 2 of 204


 1
 1           3.      The deposition
                         depositionofofKristoffer
                                        KristofferFerguson tooktook
                                                    Ferguson     place on oronabout
                                                                     place          MarchMarch
                                                                                or about  4, 2021.
                                                                                                4, 2021.

 22   II conducted  thedeposition.
         conducted the  deposition.A true andand
                                     A true   correct copycopy
                                                 correct   of theoftranscript of thatofdeposition
                                                                    the transcript                is
                                                                                        that deposition is
 3
      attached
      attachedhereto
               heretoand
                      andincorporated herein
                           incorporated            EXHIBIT 2.
                                             as as EXHIBIT
                                         herein            2.
 4
             4.      On or
                        or about
                           aboutMay
                                 May18,
                                     18,2021,
                                         2021,I received the the
                                                 I received   Federal RulesRules
                                                                 Federal    of Civil
                                                                                 of Procedure
                                                                                     Civil Procedure
 5
 5
      26 (a)
         (a) (2)
              (2)(B)
                  (B)report
                       reportofof
                                Scott A. A.
                                  Scott  Defoe, police
                                            Defoe,     practices
                                                    police       expert.
                                                           practices     A trueAand
                                                                     expert.     truecorrect copy of copy of
                                                                                       and correct
 6
 6
      the report
           reportisisattached
                      attachedhereto andand
                                hereto   incorporated herein
                                            incorporated     as as EXHIBIT 3.
                                                          herein
 7

 8
 8           5.      On or
                        or about
                           aboutSeptember
                                 September27,27,
                                              2021, I received
                                                 2021,          the Federal
                                                        I received          RulesRules
                                                                    the Federal   of Civilof Civil

 99   Procedure  26(a)
      Procedure 26  (a)(2)
                         (2)(B)(B)
                                 report of David
                                   report        E. Balash,
                                           of David         Plaintiffs'
                                                     E. Balash,         ballistics
                                                                 Plaintiffs’       expert.expert.
                                                                               ballistics  A true and
                                                                                                  A true and
10
10    correct copyofofthe
      correctcopy       thereport is attached
                             report           hereto
                                     is attached     and and
                                                 hereto  incorporated hereinherein
                                                             incorporated    as       EXHIBIT 4.
                                                                                   as EXHIBIT 4.
11
             6.      The deposition
                         depositionofofDavid
                                        DavidE. E.
                                                Balash, Plaintiffs'
                                                   Balash,          ballistics
                                                           Plaintiffs’         expert,
                                                                         ballistics    taken taken
                                                                                    expert,   on or on or
12
12
      about November22,
      about November 22,2021,
                          2021, was
                              was conducted by counsel
                                    conducted          for Defendants.
                                                by counsel             A true Aand
                                                            for Defendants.         correct
                                                                                 true and correct
13
13
      copy
      copy of
           ofthe
              thetranscript
                   transcriptof of
                                that deposition
                                   that         is attached
                                        deposition          hereto
                                                    is attached    and incorporated
                                                                hereto              herein as
                                                                        and incorporated   herein as
14
14

15
15
      EXHIBIT
      EXHIBIT 5.

16
16           7.         or about
                     On or       May19,
                           aboutMay  19,2021,
                                         2021,  Rocky
                                              Rocky   Edwards,
                                                    Edwards,    Defendants’
                                                             Defendants' ballistics expert,expert,
                                                                               ballistics

17
17    submitted  hisFederal
      submitted his  FederalRules
                             Rules   of Civil
                                  of Civil    Procedure
                                           Procedure 26 (a)
                                                         26(2)
                                                            (a)(B)
                                                                (2)report. A trueAand
                                                                     (B) report.      correct
                                                                                   true and correct
18
18
      copy of
      copy    thereport
           ofthe  reportis isattached
                               attached
                                      hereto andand
                                        hereto   incorporated herein
                                                     incorporated    as as EXHIBIT
                                                                   herein  EXHIBIT 6.
                                                                                   6.
19
19
             8.      The deposition
                         depositionofofRocky
                                        RockyEdwards, Defendants'
                                               Edwards,           ballistics
                                                         Defendants’         expert,
                                                                       ballistics    took place
                                                                                  expert,  took place
20
         or about
      on or       November
            aboutNovember 1, 1, 2021.
                             2021.     I conducted
                                   I conducted     the deposition.
                                               the deposition. A trueAand
                                                                       truecorrect copy ofcopy
                                                                            and correct    the of the
21
21
      transcript ofofthat
      transcript      thatdeposition
                           depositionis attached hereto
                                        is attached     and and
                                                    hereto  incorporated hereinherein
                                                                 incorporated   as       EXHIBIT 7.
                                                                                      as EXHIBIT
22

23
23           9.      Attached
                     Attachedhereto
                              heretoand
                                     andincorporated herein
                                          incorporated      as as EXHIBIT 88 is a true
                                                        herein                    true and
                                                                                        andcorrect
                                                                                            correct

24    copy
      copy of
           ofthe
              theCounty
                  Countyofof
                           Santa Clara
                             Santa     County
                                   Clara      Crime
                                         County     Laboratory,
                                                  Crime         physical
                                                        Laboratory,      evidence
                                                                     physical  evidence

25
25    examination
      examinationreport
                  reportofof March
                           March 26,26,
                                     2018, of bullet
                                        2018,        fragments
                                               of bullet       Item 20
                                                         fragments     and
                                                                    Item 20Item
                                                                             and29Item
                                                                                    further
                                                                                        29 further
26
      identified
      identified as
                  asExhibit
                     ExhibitA Aof of
                                  thethe
                                       deposition of Rocky
                                         deposition        Edwards.
                                                      of Rocky Edwards.
27

28
28

               Declaration of
               Declaration ofJohn
                              JohnKevin
                                   KevinCrowley
                                         CrowleyInInSupport
                                                     Supportof of Plaintiffs’
                                                               Plaintiffs'    Motion
                                                                           Motion for for Summary
                                                                                      Summary     Judgment
                                                                                              Judgment
                                                            2
        Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 3 of 204


 1          10.
            10.     Attached hereto
                             heretoand
                                    andincorporated  hereinasas EXHIBIT 99 is a true and
                                        incorporatedherein                           and correct
                                                                                          correct

2    copy of
          of the
             the County
                 CountyofofSanta
                            SantaClara
                                  ClaraDistrict  Attorney,
                                        DistrictAttorney, Jeffrey   F. Rosen's
                                                            Jeffrey F.          report of
                                                                       Rosen’s report  ofMarch
                                                                                          March8,8,

     2019, of
           of the
               the fatal
                    fatal shooting
                           shootingofofJacob  Dominguez
                                        JacobDominguez onon September
                                                          September 15,15, 2017.
                                                                        2017.
4
            11.
            11.     Attached
                    Attached hereto
                             heretoand
                                    andincorporated  hereinasas EXHIBIT 10
                                        incorporatedherein                           and
                                                                        10 is a true and
5
     correct copy
             copy of
                  ofthe
                     theCity
                         CityofofSan
                                  SanJose
                                      JosePolice  Department
                                           PoliceDepartment    Internal
                                                            Internal    Affairs
                                                                     Affairs    video
                                                                             video     interview
                                                                                   interview
6
     with Officer
          Officer Pina
                  Pinathe
                       thenight
                           nightofofthe
                                      theshooting
                                          shootingproduced byby
                                                    produced  Defendants    in discovery.
                                                                         in discovery.
                                                                Defendants             (To (To
                                                                                            be be

8    lodged with the
                  the court
                       courtupon
                             uponapproval
                                  approvalininrereprotective   order)
                                                             order)
                                                    protective

9            12.
             12.    The deposition
                        deposition ofofAlvaro
                                        AlvaroLopez
                                               Lopeztook
                                                      tookplace     oror
                                                            placeonon about    March
                                                                            March
                                                                         about       4, 2021.
                                                                                  4, 2021.                  I
                                                                                                            I



10   conducted
     conducted the
                the deposition.
                    deposition.AAtrue
                                   trueand
                                        andcorrect
                                            correctcopy of of
                                                     copy  thethe
                                                                transcript    of that
                                                                           of that
                                                                   transcript         deposition
                                                                                   deposition is is
11
     attached hereto  andincorporated
              hereto and  incorporatedherein              11.
                                       hereinasas EXHIBIT 11.
12
             II declare under
                        under penalty
                               penaltyofofperjury
                                           perjuryunder
                                                   underthe    lawsof of
                                                          thelaws     thethe
                                                                           state of of
                                                                             state     California
                                                                                    California       thethe
                                                                                               thatthat

     foregoing isis true
                     trueand  correct.
                          andcorrect.

                                                     A                 ■




                                                                               f-
                                                                                ,
                                                                                    /
i    Dated:
     Dated March
            March14,142022
                        2022
                                              (Jcnn Kevin Crowley
                                                          CrowleY,




              Declaration ofJohn
              Declaration of JohnKevin  CrowleyInInSupport
                                  KevinCrowley      Supportof of Plaintiffs’
                                                              Plaintiffs'    Motion
                                                                          Motion for for Summary
                                                                                     Summary     Judgment
                                                                                             Judgment
                                                           3
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                EXHIBIT 11
     Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 5 of 204

                                       Baker,a aVeritext
                              Atkinson Baker,    Veritext  Company
                                                         Company
                                        www.depo.com
                                       www.depo.com


 1
 1                              UNITED
                                UNITED STATES
                                       STATES DISTRICT
                                               DISTRICT COURT
                                                         COURT

 2
 2                            NORTHERN
                              NORTHERN DISTRICT
                                        DISTRICT OF
                                                  OF CALIFORNIA
                                                      CALIFORNIA

 3
 3

 4
 4    JESSICA
      JESSICA DOMINGUEZ
              DOMINGUEZ INDIVIDUALLY
                         INDIVIDUALLY                    )


      AND JESSICA DOMINGUEZ AS                                         COPY
 5
 5
                        DOMINGUEZ

      GUARDIAN AD LITEM FOR JAD (1),
      GUARDIAN
                                        AS               )


                                                         )
                                                             CERTIFIED COP'
      JAD (2) AND JAD (3),
      JAD   (2)   AND   JAD    (3),                      )


 6
 6                                                       )

                                   Plaintiffs,           )

 7
 7                                                       )
                                                         )           Case No.:
                                                                          No.:
                  vs.
                  vs.                                    )
                                                         )           5:18-CV-04826
                                                                     5:18—CV—04826
 8
 8                                                       )


      CITY OF
           OF SAN
              SAN JOSE,
                   JOSE, SAN
                          SAN JOSE
                               JOSE POLICE
                                     POLICE)
 9
 9    DEPARTMENT, MICHAEL
                  MICHAEL PINA,
                           PINA, AND
                                  AND)
      DOE POLICE
          POLICE OFFICERS
                  OFFICERS 22 through
                               through5,5, )
10
10                                                       )


                                   Defendants.           )


11
11                                                       )




12
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13
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14
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15
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16
16

17
17                                           DEPOSITION
                                             DEPOSITION OF
                                                        OF

18
18                                    SERGEANT MICHAEL
                                               MICHAEL PINA
                                                        PINA

19
19                                     SAN JOSE,
                                           JOSE, CALIFORNIA
                                                 CALIFORNIA

20
20                                           MARCH 3,
                                                   3, 2021
                                                       2021

21
21

22
22    ATKINSON-BAKER, aa Veritext
                          VeritextCompany
                                   Company
      (800)  288-3376
       (800) 288—3376
23
23    www.depo.com
      www.depo.com

24
24    REPORTED
      REPORTED BY:
               BY:            THERESA
                              THERESA KIELTY,
                                      KIELTY, CSR
                                               CSR NO.
                                                    NO. 5037
                                                         5037

25
25    FILE NO.:               AE08206
                              AE08206



                                    Sergeant
                                    SergeantMichael
                                             MichaelPina
                                                      Pina
                                       March
                                       March 03,
                                              03,2021
                                                  2021                               1
     Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 6 of 204

                         Atkinson Baker, aaVeritext
                         Atkinson Baker,   VeritextCompany
                                                    Company
                                   www.depo.com
                                   www.depo.com


 1
 1                      UNITED  STATESDISTRICT
                        UNITED STATES  DISTRICTCOURT
                                                 COURT

 2
 2                    NORTHERN  DISTRICTOFOFCALIFORNIA
                      NORTHERN DISTRICT       CALIFORNIA

 3
 3


 4
 4   JESSICA DOMINGUEZ
     JESSICA   DOMINGUEZINDIVIDUALLY
                             INDIVIDUALLY      )


     AND JESSICA
     AND            DOMINGUEZASAS
          JESSICA DOMINGUEZ                    )


 5
 5   GUARDIAN AD
     GUARDIAN   ADLITEM
                    LITEMFOR FORJAD
                                  JAD(1),
                                       (1),    )


     JAD (2)
     JAD  (2) AND
               AND JAD
                    JAD (3),
                         (3),                  )


 6
 6                                             )


                           Plaintiffs,
                           Plaintiffs,         )


 7
 7                                             )
                                               )        Case No.:
                                                        Case  No.:
              vs.
              vs.                              )
                                               )        5:18—CV—04826
                                                        5:18-CV-04826
 8
 8                                             )


     CITY OF
     CITY OF SAN
              SAN JOSE,
                   JOSE,SAN
                          SANJOSE POLICE
                               JOSE POLICE )
 9
 9   DEPARTMENT,  MICHAELPINA,
     DEPARTMENT, MICHAEL   PINA,
                               ANDAND )
     DOE POLICE
     DOE POLICE OFFICERS
                 OFFICERS2 2through
                              through
                                    5, 5, )
10
10                                             )


                           Defendants.
                           Defendants.         )


11
11                                             )




12
12

13
13

14
14

15
15

16
16                    Deposition of
                      Deposition  ofSERGEANT
                                     SERGEANTMICHAEL PINA,
                                               MICHAEL     taken
                                                        PINA,     on on
                                                               taken

17
17   behalf of
     behalf  of Plaintiffs,     200200
                 Plaintiffs,at at    East Santa
                                       East     Clara
                                             Santa    Street,
                                                   Clara      San San
                                                          Street,

18
18   Jose, California,
     Jose, California,95113,
                       95113,commencing at 11:10
                               commencing        a.m.,a.m.,
                                           at 11:10     Wednesday,
                                                            Wednesday,

19
19   March 3, 2021,
     March 3,  2021,before
                     beforeTheresa
                            TheresaKielty, CSR CSR
                                     Kielty,    No. No.
                                                     5037.5037.

20
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                               Sergeant Michael
                               Sergeant Michael Pina
                                                 Pina
                                  March 03, 2021
                                  March 03, 2021                        2
      Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 7 of 204


                          Atkinson Baker,
                                   Baker,a aVeritext
                                             VeritextCompany
                                                      Company
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                                   www.depo.com


 11                     APPEARANCE S:
                        APPEARANCES:

 2
 2     FOR PLAINTIFFS:
           PLAINTIFFS:

 3
 3     LAW OFFICES
           OFFICES OF OFJOHN KEVIN
                          JOHN  KEVINCROWLEY
                                        CROWLEY
       BY: JOHN
             JOHNKEVIN  CROWLEY,
                    KEVIN         Esq.Esq.
                           CROWLEY,
 4
 4     125 S.
            5. Market
                MarketStreet
                         Street
       Suite
       Suite 1200
               1200
 5
 5     San Jose,
            Jose, California
                    California      95113
        (408)
        (408) 288-8100
              288—8100
 66    jkclaw@pacbell.net
       jkclaw@pacbell.net

 7
 7     FOR
       FOR DEFENDANTS:
           DEFENDANTS:

 8
 8     OFFICE
       OFFICE OFOF THE
                    THECITY
                        CITYATTORNEY
                               ATTORNEY
       BY:
       BY: MAREN
              MARENCLOUSE,
                     CLOUSE,Esq.
                               Esq.
 9
 9     200 E.
            E. Santa
                SantaClara
                       ClaraStreet
                               Street
       16th Floor
              Floor
10
10     San Jose,
            Jose, California
                    California      95113
        (408)
        (408) 535-1948
               535—1948
11
11     maren.clouse@sanjoseca.gov
       maren.clouse@sanjoseca.gov

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25


                               Sergeant
                               SergeantMichael
                                        MichaelPina
                                                 Pina
                                  March 03,
                                        03,2021
                                            2021                        3
     Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 8 of 204

                         Atkinson Baker,
                         Atkinson        a Veritext
                                    Baker,          Company
                                             a Veritext  Company
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                                    www.depo,com



 1
 1         A.
           A.   No, sir.
                No,  sir.

 2
 2         Q.
           Q.   Have you
                Have  youever beenbeen
                           ever    sued before for excessive
                                        sued before          police
                                                       for excessive police

 3
 3   force?
     force?

 4
 4         A.
           A.   Yes.
                Yes.

 5
 5         Q.
           Q.   Prior toto
                Prior    this case?
                            this  case?

 6
 6         A.
           A.   Prior toto
                Prior    this case?
                            this    No. No.
                                  case?

 7
 7         Q.   Okay. You’re
                Okay. You're familiar with with
                               familiar    the Santhe
                                                   JoseSan
                                                        Police
                                                           Jose Police

 8
 8   Department’s manuals
     Department's         and procedures
                     manuals             for use offor
                                and procedures      force andof force and
                                                        use

 9
 9   deadly force?
     deadly   force?

10
10         A.
           A.   Yes, sir.
                Yes,  sir.

11
11         Q.   You were
                You  weretaught that that
                            taught    in thein
                                             POST
                                               thetrainings?
                                                     POST trainings:

12
12         A.
           A.   Yes.
                Yes.

13
13         Q.
           Q.   And what
                And  what    youryour
                         is is    understanding, before anbefore
                                      understanding,       officer an officer

14
14   can use
     can  usedeadly force,
               deadly      what must
                        force,   what    present?
                                     be must   be present?

15
15         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,vague.vague.
                                          You canYou
                                                   answer
                                                      can ifanswer
                                                             you   if you

16
16   understand the the
     understand      question.
                         question.

17
17         THE WITNESS:
           THE  WITNESS:Could you elaborate
                          Could             on your on
                                  you elaborate     question?
                                                       your question?

18
18   BY MR.
     BY  MR.CROWLEY:
              CROWLEY:

19
19         Q.
           Q.   So before
                So  before    are are
                          youyou  entitled to use deadly
                                       entitled   to use force,
                                                           deadly force,

20
20   what dodoyouyou
     what          havehave
                         to articulate, what facts
                             to articulate,        have facts
                                                 what    to be have to be

21
21   present, in in
     present,     youryour
                       mind?mind?

22
22        A.
          A.    A present
                A present danger to yourself
                             danger          or another
                                     to yourself     or person’s
                                                         another person's

23
23   life, ifif
     life,    someone
                someone     an ongoing
                      posesposes       threat andthreat
                                  an ongoing       is actively
                                                          and is actively

24
24   evading, in in
     evading,    youryour
                      mind, mind,
                             you believe that person
                                   you believe       is an
                                                   that  person is an

25
25   immediate
     immediate threat to another
                  threat         person. person.
                           to another


                               Sergeant Michael
                               Sergeant         Pina Pina
                                          Michael
                                   March0303,
                                   March    20212021                   18
                                                                       18
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                         Atkinson Baker,
                         Atkinson        a Veritext
                                    Baker,          Company
                                             a Veritext  Company
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                                     www.depo.com



 1
 1         Q.
           Q.   Does the
                Does     concept,
                       the        in your
                           concept,    in mind,
                                          your include
                                                mind, any kind ofany kind of
                                                       include

 2
 2   de-escalation or alternative
     de-escalation                uses of uses
                       or alternative     force less than deadly
                                                of force   less than deadly

 3
 3   force?
     force?

 4
 4         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,vague.vague.
                                          You can answer
                                                You  can ifanswer
                                                             you  if you

 5
 5   understand the the
     understand      question.
                         question.

 6
 6         THE WITNESS:
           THE  WITNESS:I will answer
                          I will      what I what
                                   answer       could
                                                  I --     say it you say it
                                                      you could
                                                            --




7
7    one more
     one  moretime?  Could
                 time?     you ask
                        Could   youthat
                                     askone more one
                                          that    time?more
                                                         You’re
                                                            time? You're

8
8    asking me me
     asking     to to --
                   --




 9
 9         MR. CROWLEY:
           MR.  CROWLEY:Madam CourtCourt
                          Madam      Reporter, can you help
                                          Reporter,    can us outhelp us out
                                                            you

10
10   and repeat
     and  repeatthe the
                     question?
                         question?

11
11              (Record read.)
                (Record    read.)

12
12         THE WITNESS:
           THE  WITNESS:Maybe you could
                          Maybe         break it
                                  you could      down. it
                                               break    What I gotWhat I got
                                                          down.

13
13   was you’re
     was  you'reasking if I if
                   asking   considered other lessother
                               I considered        lethalless
                                                          options
                                                               lethal options

14
14   prior toto
     prior    thethe
                  use use
                      of force? Is thatIswhat
                           of force?       that    asked?you asked?
                                              you what

15
15   BY MR.
     BY  MR.CROWLEY:
              CROWLEY:

16
16         Q.
           Q.   Let memeask
                Let         it. it.
                          ask     Before the use
                                     Before   theof use
                                                     deadly
                                                         of force,
                                                             deadlydo force, do

17
17   you --are
     you  -- are    required
               you you       to go through
                        required             de-escalation
                                    to go athrough   a de-escalation

18
18   procedure
     procedure and/or a force
                 and/or       that’s that's
                           a force   less thanless
                                               deadly?
                                                    than deadly?

19
19        MS. CLOUSE:
          MS.  CLOUSE:Objection,
                       Objection,compound. You canYou
                                      compound.    go ahead and ahead and
                                                       can go

20
20   answer.
     answer.

21
21         THE WITNESS:
           THE  WITNESS:There’s not anot
                          There's     requirement that we use
                                          a requirement       a
                                                            that we use a

22
22   lesser level
     lesser       of force
              level   of force   to deadly
                           prior prior   toforce givenforce
                                             deadly    the  given the

23
23   circumstances at the
     circumstances     at time. So it’sSoallit's
                           the time.         basedall
                                                   on the totality
                                                       based  on the totalit

24
24   of the
     of  thecircumstances presented.
              circumstances     presented.

25
25   BY MR.
     BY  MR.CROWLEY:
              CROWLEY:


                               Sergeant Michael
                               Sergeant         Pina Pina
                                          Michael
                                   March03,03,
                                   March    20212021                   19
                                                                       19
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 11            A.
               A.   It’s hard
                    It's  hardto to I--
                                   —— mean I’m feeling
                                        I mean         like I waslike
                                                 I'm feeling      able I was able
2
2      to see
       to  seedown to like
                down       the elbow
                      to like    the area.
                                     elbow area.

3
3              Q.
               Q.   So from
                    So  fromthethe
                                driver’s position,
                                   driver's        could youcould
                                               position,     see theyou see the

4
4      right side
       right      elbow
               side     of the
                      elbow  ofsuspect?
                                the suspect?

5
5              A.
               A.   I don’t
                    I  don'tremember. Honestly,
                              remember.         I can’tI say
                                         Honestly,           for sure.
                                                          can't   say for sure.

6
6              Q.
               Q.   How about
                    How  aboutthethe
                                  chest area, area,
                                      chest    could you see the
                                                      could   youchest
                                                                   see the chest

7
7      area?

8
8              A.
               A.   Yes.
                    Yes.

9
9              Q.
               Q.   Okay. Could
                    Okay. Could youyou   further
                                    see see      beyond beyond
                                              further   into the into
                                                                  car the car

10
10     itself, like
       itself,      the the
                  like  console or the or
                             console   passenger seat or things
                                           the passenger        like
                                                             seat  or things li

11
11     that?
       that?

12
12             A.
               A.   I don’t
                    I  don'trecall me looking
                              recall          at that.at I that.
                                       me looking           remember
                                                                  I remember

13
13     looking at at
       looking     him.him.

14
14             Q.
               Q.   Okay. But
                    Okay. Butit’s safesafe
                               it's     to say
                                             to you
                                                 sayhadyou
                                                        the had  view best view
                                                            best the
15
15     of the
       of  thedriver, better
                driver,      than than
                          better    better
                                        -- full
                                         ——     view full
                                            better   of the view
                                                             driverof the drive

16
16     than Lopez
       than  Lopezor or
                     Ferguson had? had?
                         Ferguson

17
17             A.
               A.   I wouldn’t
                    I wouldn't say say
                                    I hadI the
                                            hadbest
                                                 theview.
                                                      best I view.
                                                              don’t know
                                                                     I don't know

18
18     what their
       what  theirview was. was.
                     view

19
19             Q.
               Q.   All right.
                    All  right.So So
                                   what’s
                                     what'sin--
                                              response to your first
                                                 in response
                                                 -—            to your first

20
20     command, youyou
       command,     got got
                        a look
                             a that
                               lookyou saidyou
                                     that   was said
                                                like a was
                                                        defiant
                                                            like a defiant

21
21     look?
       look?

22
22             A.
               A.   That’s a a
                    That's   fair way way
                               fair   to explain it, yes. it, yes.
                                           to explain

23
23             Q.
               Q.   And then
                    And  then    issued
                             youyou     another
                                     issued       did you
                                             another  -- issue
                                                          did you issue
                                                            --




24
24     another verbal
       another        command?
                 verbal   command?

25
25             A.
               A.   Yes.
                    Yes.



                                  Sergeant Michael
                                  Sergeant MichaelPina
                                                     Pina
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                                      March  03,2021
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1
1          Q.
           Q.    Before you
                 Before     issued
                          you      the verbal
                               issued         command, command,
                                        the verbal      do you recall
                                                                  do you recall

2
2     any ofofthe
      any         other
                the     officers
                     other       issuing issuing
                             officers     verbal commands?
                                                   verbal commands?

3
3          A.
           A.    I was
                 I  washearing Ferguson,
                         hearing         I believe
                                   Ferguson,       I was hearing
                                                I believe   I was hearing

4
4     Lopez, too.
      Lopez,   too.I don’t know know
                     I don't     what they
                                       whatsaid,
                                             theythough.
                                                    said, though.

5
5          Q.
           Q.    Okay. What’s
                 Okay. What's thethe
                                  nextnext
                                       command that youthat
                                            command      recall
                                                             you recall

6
6     issuing to to
      issuing     the the
                       suspect?
                           suspect?

7
7          A.
           A.    Well, I Iremember
                 Well,             him giving
                            remember          me that me
                                       him giving     lookthat
                                                           I just
                                                                look I just

8
8     explained, the the
      explained,      defiant look, so
                          defiant      I said
                                    look,   sosomething
                                                I said to the
                                                        something to the

9
9     effect of of
      effect     “I’ll fucking
                   "I'll       shoot you.
                           fucking   shootGetyou.
                                               your Get
                                                     fucking hands
                                                          your  fucking hands

10
10    up.” More
      up." Moreauthoritative
                authoritativecommands to try to
                                  commands    tooverwhelm
                                                  try to his
                                                          overwhelm his

11
11    fight    flight
      fight oror      and get
                  flight  andhim to him
                               get  put his
                                         to hands up. hands up.
                                            put his

12
12         Q.
           Q.    Did you
                 Did  youhave a taser
                           have       weaponweapon
                                  a taser    on your on
                                                     person    this
                                                            at person
                                                         your         at this

13
13    time?
      time?

14
14         A.
           A.    I don’t
                 I  don'tremember what what
                           remember    my setup
                                             my was.
                                                 setup was.

15
15         Q.
           Q.    Did you
                 Did  youhave, of course
                           have,         I’m learning
                                   of course          this, a flash
                                                I'm learning    this, a flash

16
16    bang grenade
      bang  grenadeor canister?
                      or canister?

17
17         A.
           A.    Yeah, I Ishould
                 Yeah,           have.have.
                            should      I should have hadhave
                                             I should     one. had one.

18
18         Q.
           Q.    Okay. So
                 Okay.  Soyou issued
                            you      a second
                                 issued       commandcommand
                                          a second    in response
                                                               in response

19
19    to his
      to  hislook of defiance
               look           saying saying
                     of defiance     “I’ll fucking
                                             "I'llshoot you,” or
                                                    fucking   shoot you," or

20
20    something to to
      something    thatthat
                        effect. Do you Do
                             effect.    remember the words you
                                           you remember    the words you

21
21    used?
      used?

22
22         MS.
           MS. CLOUSE:
                CLOUSE:Objection,
                        Objection,misstates the testimony.
                                       misstates     the testimony.

23
23         MR. CROWLEY:
           MR.  CROWLEY:What?
                          What?

24
24         MS. CLOUSE:
           MS.  CLOUSE:Misstates
                        Misstatesthe testimony.
                                      the testimony.

25
25         MR. CROWLEY:
           MR.  CROWLEY:That’s why Iwhy
                          That's     wantI towant
                                               get it
                                                   to straight.
                                                       get it straight.


                                Sergeant Michael
                                Sergeant MichaelPina
                                                   Pina
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1
1     BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

2
2          Q.
           Q.    So do
                 So  doyou want
                         you        toback
                                to go
                             want       go to whatto
                                           back    thewhat
                                                       courtthe court

3
3     reporter
      reporter --
                --




4
4          A.
           A.    Sure.
                 Sure.

5
5          MR. CROWLEY:
           MR.  CROWLEY:    Madam
                        So So     CourtCourt
                               Madam    Reporter, can you refresh
                                              Reporter,    can you refresh

6
6     our recollection
      our  recollectionof what
                           of the witness
                               what       said?
                                    the witness said?

7
7                (Record read.)
                 (Record   read.)

8
8     BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

9
9          Q.
           Q.    So your
                 So  yoursecond command
                           second         the --
                                    command    second
                                                  the command
                                                 --    secondiscommand is

10
10    “I’ll fucking
      "I'll         shoot
              fucking           Get your
                          you. you.
                        shoot        Getfucking hands up,” hands
                                          your fucking      right? up," right?

11
11         A.
           A.    Yes.
                 Yes.

12
12         Q.
           Q.    And did
                 And  didyou
                           you    any any
                             get get  evidence indicating
                                           evidence       that he
                                                       indicating that he

13
13    heard what
      heard  what    said?
                 youyou  said?

14
14         A.
           A.    Yeah, hehe
                 Yeah,    heard me. me.
                            heard

15
15         Q.
           Q.    How dodoyou
                 How         know?
                           you  know?

16
16         A.
           A.    At some
                 At  somepoint, he put
                           point,   he his
                                       puthands
                                            his up.
                                                 hands up.

17
17         Q.
           Q.    Okay. So
                 Okay. Sohehecomplied with with
                               complied     the command?
                                                  the command?

18
18         A.
           A.    Eventually, yes.yes.
                 Eventually,

19
19         Q.
           Q.    And when
                 And  whenyouyou    “eventually”
                               say say  "eventually" --    --




20
20         A.
           A.    Well, sorry.
                 Well,  sorry.

21
21         Q.
           Q.    So we’ll
                 So we'll just go step
                            just       by step.
                                  go step        I mean I
                                             by step.   I know
                                                          meanheI know he

22
22    put his
      put  hishands down,
                hands     or whatever,
                       down,           but at this
                              or whatever,     butpoint, your point, your
                                                   at this

23
23    second command,
      second          he complied,
               command,            he put his
                          he complied,    he hands up? hands up?
                                              put his

24
24         A.
           A.    Yes.
                 Yes.

25
25         Q.
           Q     Both hands?
                 Both  hands?


                                Sergeant Michael
                                Sergeant MichaelPina
                                                   Pina
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1
1          A.
           A.    Yes.
                 Yes.

2
2          Q.    And you
                 And  youcould
                           could   it from
                               see see  it your
                                            fromperspective?
                                                  your perspective?

3
3          A.
           A.    Yes.
                 Yes.

4
4          Q.    How high
                 How  highdiddid
                              he put
                                  he his
                                     puthands?
                                         his hands?

5
5          A.
           A.    Probably like
                 Probably      headhead
                             like   height. A little
                                         height.     over the over the
                                                   A little

66    shoulders.
      shoulders.

7
7          Q.
           Q.       it looks
                 So it  lookslike youryour
                                like   thumbsthumbs
                                               are equal     your
                                                      areto equal to your

8
8     ears.
      ears.

9
9          A.
           A.    Yeah, your
                 Yeah,      hands
                         your     over over
                               hands   your shoulder. At least At least
                                             your shoulder.

10
10    that’s how
      that's     I perceived
               how           how high
                    I perceived    howit high
                                          was. it was.

11
11         MS. CLOUSE:
           MS.  CLOUSE:I’dI'd    like like
                            justjust  to note
                                            tofor the for
                                                note  recordthe
                                                              thatrecord that

12
12    the motion
      the  motionthatthat
                       Sergeant Pina just
                           Sergeant       madejust
                                       Pina     from made
                                                     my perspective,
                                                           from my perspective

13
13    he had
      he  hadhis thumbs
               his      just just
                    thumbs   about shoulder height.
                                   about shoulder   height.

14
14    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

15
15         Q.
           Q.       it’s about
                 So it's
                 So       aboutshoulder height,
                                  shoulder      like this?
                                             height,    like this?

16
16         A.
           A.    Give orortake
                 Give          a couple
                            take        inches.inches.
                                  a couple

17
17         Q.
           Q.    So how
                 So  howwaswas
                             the the
                                  seat?seat?
                                         Was the
                                              Wassheet
                                                   the straight up or
                                                        sheet straight up or

18
18    was the
      was  theseat leaned
                seat      back, back,
                       leaned    if you if
                                        know,you
                                               or know,
                                                  do you remember?
                                                          or do you remember?

19
19         A.      don’t know
           A. I I don't   knowhowhow
                                  his his   was because
                                       seat seat        I don’t know
                                                  was because    I don't know

20
20    if he
      if  hewas
             wasleaning back back
                   leaning   in the in
                                     seat.     don’t know.
                                        the I seat.        He could
                                                      I don't  know. He could

21
21    have just
      have  justbeen sitting
                   been   sitting    he was
                             up, butup, butkind
                                            he of
                                                wasslightly leaned
                                                      kind of   slightly lean

22
22    but ititwasn’t
      but      wasn'tlikelike
                          all the
                               allwaythe
                                      back.
                                         way back.

23
23         Q.
           Q.    It wasn’t
                 It  wasn'tlike way back?
                              like  way back?

24
24         A.
           A.    Well, when
                 Well,  whenI was giving
                               I was     him commands,
                                       giving          he wasn’t he wasn't
                                               him commands,

25
25    that far
      that  farback.
                 back.


                               Sergeant Michael
                               Sergeant          Pina Pins
                                           Michael
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 1
 1         THE REPORTER:
           THE  REPORTER:I need to change
                            I need        my paper.
                                     to change   my paper.

2
2          MR. CROWLEY:
           MR.  CROWLEY:Okay.
                          Okay.

 3
 3               (Recess.)
                 (Recess.)

 4
 4    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

 5
 5         Q.
           Q.    I think
                 I  thinkwe we
                             leftleft
                                   at the
                                        at degree of the suspect,
                                            the degree    of the how
                                                                  suspect, how

 6
 6    he was
      he  wassitting up oruplying
               sitting            down. Have
                              or lying  down.we Have
                                                coveredwethat fully? that fully
                                                           covered

7
7     Is your
      Is  yourbest estimate
                best        somewhere
                       estimate       between vertical
                                  somewhere    betweenand
                                                        vertical and --
                                                                --




8
8          A.
           A.    Closer toto
                 Closer    vertical but not
                             vertical    butlike
                                               not90.like 90.

 9
 9         Q.
           Q.    Okay. So
                 Okay.  Sothe    I’llI'll
                            the ----       number number
                                      just just    these, the verbalthe verbal
                                                           these,

10
10    commands, rather
      commands,        than than
                   rather   repeating it. So the
                                  repeating   it.response
                                                   So thetoresponse
                                                            the     to the

11
11    second verbal
      second        command
               verbal       you administered,
                        command               did you getdid
                                  you administered,       a  you get a

12
12    response from
      response      that?
                  from  that?

13
13         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,       and answered.
                                  asked asked          Go ahead. Go ahead.
                                                and answered.

14
14         THE WITNESS:
           THE  WITNESS:He He   his hands
                           put put        up.
                                    his hands up.

15
15    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

16
16         Q.
           Q.    Okay. Did
                 Okay. Didhehe   anything
                             saysay       to you to
                                    anything      at you
                                                     that at
                                                          point?
                                                              that point?

17
17         A.
           A.    I think
                 I  thinkI gave him more
                           I gave   him commands and then and
                                         more commands    he said
                                                               then he said

18
18    something back
      something      to me.
                   back  to me.

19
19         Q.
           Q.    What other
                 What  othercommands did you
                               commands   didgive him?
                                                you  give him?

20
20         A.
           A.    Something to to
                 Something    the the
                                  effect of “Don’t
                                       effect  of move or you’re
                                                   "Don't  move or you're

21
21    going toto
      going    getget
                   shot,” or “Move
                      shot,"   or and you’re
                                   "Move  andgoing to get
                                               you're     shot.”to get shot.
                                                        going           1




22
22    I was
      I wasgiving him him
             giving   the command to verify
                           the command    tothat if he that
                                              verify   broughtifhis
                                                                  he brought h

23
23    hands down,
      hands       I would
              down,       shoot.shoot.
                     I would

24
24         Q.
           Q.    So we
                 So  wecan call
                         can  call    the third
                                this this   the command?
                                                 third command?

25
25         A.
           A.    Yes.
                 Yes.



                               Sergeant Michael
                               Sergeant MichaelPina
                                                  Pina
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1
1          A.
           A.    I think
                 I  thinkI have.
                           I have.

2
2          Q.
           Q.    I have
                 I  havewith a hot
                          with     load. load.
                                a hot      ForgetForget
                                                  it. So it.
                                                         that’s
                                                              So that's

3
3     something that
      something      you’re
                   that     not going
                         you're   not to, like, to,
                                       going         know, put
                                                 you like,  youit know,
                                                                   in   put it

4
4     your back
      your  backpocket,
                  pocket,     snub anose
                        but abut     snub      you could
                                         .38,nose  .38, hide
                                                         you it
                                                              could hide it

5
5     various places
      various        pretty
                places      good, good,
                         pretty   right? right?
                                          It’s pretty
                                                  It'shideable,
                                                         prettyifhideable, if

6
6     you will?
      you  will?

7
7          MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,compound,
                                       compound,    can answer.
                                            but you but  you can answer.

8
8     BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

9
9          Q.
           Q.    But your
                 But  yourinformätion was itwas
                             informdtion     was it
                                                 a revolver?
                                                     was a revolver?

10
10         A.
           A.    Yes.
                 Yes.

11
11         Q.
           Q.    So if
                 So  ifhehe
                          violated your your
                            violated    command, you were you
                                              command,    goingwere
                                                                to  going to

12
12    shoot him?
      shoot   him?

13
13         A.
           A.    I verbally
                 I  verballytoldtold
                                  him that.
                                       him that.

14
14         Q.
           Q     And that’s
                 And  that'swhat you were
                               what  you going
                                          were to do?
                                                going to do?

15
15         A.
           A.    Yeah, ifif
                 Yeah,    he he
                             moved, he would
                                moved,   he be shot. be shot.
                                             would

16
16         Q.
           Q.    So what
                 So  whatfacts can can
                           facts   you articulate as to where
                                        you articulate     as the
                                                               to where the

17
17    suspect hadhad
      suspect     a gun? He had
                     a gun?  He the
                                 hadsilver
                                      the revolver. Where was Where was
                                           silver revolver.

18
18    it, ififyou
      it,         know?
                you  know?

19
19         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,vague vague
                                         and lacks
                                                andfoundation. You
                                                     lacks foundation. You

20
20    can gogoahead
      can           and and
                ahead   answer as bestas
                            answer         can. you can.
                                       youbest

21
21         THE WITNESS:
           THE  WITNESS:I don’t know know
                          I don't    where it was. it
                                           where    It was.
                                                       could It
                                                             havecould have

22
22    been ononhishis
      been         person or in or
                       person    the in
                                      vehicle.
                                        the vehicle.

23
23    BY
      BY MR.
          MR.CROWLEY:
               CROWLEY:

24
24         Q.
           Q.    It also
                 It  alsocould have have
                           could     been behind the sun visor.
                                          been behind    the sunHe visor. He

25
25    could have
      could      had had
              have    it upitthere, and keeping
                               up there,    and his hands up,
                                                 keeping   hisnot
                                                                hands up, not


                               Sergeant Michael
                               Sergeant MichaelPina
                                                  Pins
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                                                                        85
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 1
 1    BY  MR.CROWLEY:
      BY MR.   CROWLEY:

 2
 2         Q.
           Q.    Did heheever
                 Did          say say
                           ever    “I got    gun, aI’m
                                       "I a got        goingI'm
                                                     gun,     to use it”? to use it"?
                                                                 going

 3
 3    Did
      Did heheverbally indicate
                verbally        to you to
                           indicate    any you  of imminent
                                           type any  type ofthreat,
                                                               imminent threat

 4
 4    that hehe
      that    waswas
                   going to use
                      going   tolethal force on force
                                  use lethal    anybody?on anybody?

 5
 5         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,compound. You canYou
                                       compound.    answer
                                                        canas answer as

 6
 6    best you
      best  youcan.
                 can.

 7
 7         THE WITNESS:
           THE  WITNESS:No.No.

 8
 8    BY  MR.CROWLEY:
      BY MR.   CROWLEY:

 9
 9         Q.
           Q.    Did hehegive
                 Did          any any
                           give    physical sign that
                                       physical       he was
                                                   sign  thatgoing
                                                               he to
                                                                   was going to

10
10    use  it,like
      use it,      pretending
                 like         he has he
                       pretending    a gun
                                        hasanda he’s
                                                 gun going to get going to get
                                                      and he's

11
11    the gun
      the  gunandand
                   shoot himself
                      shoot      or shootoranybody
                             himself         shootelse, any physical
                                                   anybody   else, any physic

12
12    sign that
      sign      he he
             that       that that
                   usedused  would lead
                                   wouldyou lead
                                             to believe
                                                  you tohe was going he was goi
                                                           believe

13
13    to get
      to       gungun
          geta a   and and
                       use it?
                            use it?

14
14         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,compound and vague.
                                       compound    and vague.

15
15         THE WITNESS:
           THE  WITNESS:AreAre
                            you you
                                asking if he, if
                                     asking   like, simulated
                                                  he,         a
                                                      like, simulated a

16
16    finger pistol?
      finger   pistol?

17
17    BY  MR.CROWLEY:
      BY MR.   CROWLEY:

18
18         Q.
           Q.    Something like
                 Something      that.that.
                              like     I don’t know. know.
                                           I don't

19
19         A.
           A.   No.
                No.

20
20         Q.
           Q.   Nothing, no no
                Nothing,    physical signs?signs?
                               physical

21
21         A.
           A.    Other than
                 Other   than    movement.
                            his his  movement.

22
22         Q.
           Q.   Other than
                Other      putting
                        than       his hands
                              putting   his down?
                                             hands down?

23
23         A.
           A.    Yeah.
                 Yeah.

24
24         Q.
           Q.    Did heheever
                 Did          givegive
                           ever    you ayou you know,
                                             a --
                                               --  youflip you off,
                                                         know,  flip you off,

25
25    give you
      give  youthethe
                   bird, bad gesture,
                       bird,          anything anything
                              bad gesture,     like that? like that?


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 1
 1    like Officer
      like  OfficerFerguson at oneat
                      Ferguson     point
                                     onesaid “Let said
                                         point     me see"Let
                                                          your me see your

2
2     hands, mother
      hands,  motherfucker,” but I but
                       fucker,"    don’tIknow where
                                          don't     in the
                                                  know  where in the

3
3     sequence, where
      sequence,       he said
                  where       that, so
                          he said      when so
                                    that,   I was giving
                                               when   I was hegiving -- he
                                                                --




4
4     could have
      could      been
              have    saying
                    been     that as
                          saying     he was
                                   that  as just coming
                                             he was            I’m
                                                        out. coming
                                                      just          out. I'm

5
5     not certain
      not  certainwhenwhen
                        that that
                              was said.
                                    was said.

6
6          Q.
           Q.    So do
                 So  doyou have
                         you    a recollection
                              have             as to how
                                    a recollection     asmuch
                                                          to time
                                                              how much time

7
7     the suspect
      the  suspectcomplied with your
                     complied   withrequest, how many seconds
                                      your request,           did seconds di
                                                       how many

8
8     he comply
      he  complywith youryour
                   with   request?
                               request?

9
9          A.
           A.    It was
                 It       fewfew
                     wasa a   seconds.
                                 seconds.

10
10         Q.
           Q.    Is that
                 Is  thatthree, five,five,
                           three,      six, best
                                            six,estimate?
                                                  best estimate?

11
11         A.
           A.    Between there.
                 Between   there.

12
12         Q.
           Q.    So when
                 So  whenhe he
                             held his hands
                                held  his hands     could
                                            up, youup,        there see there
                                                          seecould
                                                        you

13
13    was nothing
      was  nothingin his hands?
                     in his   hands?

14
14         A.
           A.    Yes.
                 Yes.

15
15         Q.
           Q.    No weapon?
                 No  weapon?

16
16         A.
           A.    No weapon.
                 No  weapon.

17
17         Q.
           Q.    His hands
                 His  handswere bare,bare,
                             were      they weren’t gloved? gloved?
                                            they weren't

18
18         A.
           A.    I don’t
                 I don'tremember him having
                          remember          gloves on.
                                     him having    gloves on.

19
19         Q.
           Q.    Okay. That’s
                 Okay. That's something you’dyou'd
                                something     probably remember, remember,
                                                    probably

20
20    right?
      right?

21
21         A.
           A.    Probably.
                 Probably.

22
22         Q.
           Q.    Did hehehave
                 Did          longlong
                           have     sleeves or short
                                         sleeves  or sleeves?
                                                      short sleeves?

23
23         A.
           A.    I believe
                 I  believeit it
                              was was
                                   a sweatshirt.
                                       a sweatshirt.

24
24         Q.
           Q.    Sweatshirt. Okay.
                 Sweatshirt.       Do Do
                               Okay.      have have
                                      you you   any reason to
                                                      any reason to

25
25    believe he he
      believe     could
                     could    had a had
                        have have   gun in   youinknow,
                                         a gun          strapped
                                                    -- you
                                                    --           to strapped to
                                                             know,


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1
1          A.
           A.    I don’t
                 I  don'tknow if his
                            know if car
                                     hiswas
                                         caron was
                                               or off. I don’t
                                                   on or  off. I don't

2
2     know.
      know.

3
3          Q.
           Q.    And what
                 And  whatkind of aof
                             kind   gear shift did
                                      a gear       it have,
                                               shift        if you
                                                       did it   have, if you

4
4     know? Was
      know? Wasitit
                  on on
                     the the
                          floorfloor
                                console, kind of automatic,
                                      console,              or
                                                 kind of automatic, or --
                                                                     --




5
5          A.
           A.    I don’t
                 I  don'tknow.
                           know.

6
6          Q.
           Q.    Or was
                 Or  wasit it
                            on on
                               the theyou
                                        --know,
                                       --  you what    they call
                                                    do what
                                                know,        do it?
                                                                 they call it?

7
7     The steering
      The  steeringwheel stem, stem,
                      wheel     you know?
                                       you One of those
                                            know?   One of those --
                                                                -—




8
8          A.
           A.    Yeah, I Iknow
                 Yeah,         whatwhat
                            know    you mean. I neverI saw
                                         you mean.         the inside
                                                        never   saw the inside

9
9     of the
      of  thecar after.
               car      I don’t
                    after.      know. know.
                            I don't

10
10         Q.
           Q.    The vehicle
                 The  vehiclewasn’t movingmoving
                                wasn't      at this at
                                                     point;
                                                        thisis point;
                                                                that  is that

11
11    right?
      right?

12
12         A.
           A.    It was
                 It  wasstationary.
                          stationary.

13
13         Q.
           Q.    So in
                 So  inresponse to your
                         response       third commands
                                    to your            to him, what
                                              third commands     to him, what

14
14    did the
      did  thesuspect do, if
                suspect   do,anything, do or say?
                               if anything,     do or say?

15
15         A.
           A.    He said
                 He  saidoneone
                             of two things.
                                of two      Either Either
                                         things.    he said he
                                                            “Puck
                                                                said "Fuck

16
16    you, shoot
      you,  shootme, me,
                      bitch,” or “Puck
                          bitch,"   or you, bitch,
                                        "Fuck      shoot
                                                you,     me,” one
                                                      bitch,      of
                                                               shoot me," one

17
17    those two
      those     things.
              two  things.

18
18         Q.
           Q.   And how
                And  howdiddid
                             you you
                                  interpret that reply
                                      interpret    thatfrom the from the
                                                          reply

19
19    suspect?
      suspect?

20
20         A.
           A.    Defiance.
                 Defiance.

21
21         Q.
           Q.    Defiance? Was
                 Defiance?  Wasit it
                                  a form of taunting?
                                      a form   of taunting?

22
22         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,lacks lacks
                                         foundation.
                                               foundation.

23
23         THE WITNESS:
           THE  WITNESS:I didn’t find find
                          I didn't    it as aitform
                                                  as of
                                                      a taunting,
                                                         form of Itaunting, I

24
24    looked at at
      looked     it it
                    moremore
                         as him
                              asnot necessarily
                                  him           following commands
                                      not necessarily      following commands

25
25    to an
      to  anextent.
             extent.


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 1
 1    BY  MR.CROWLEY:
      BY MR.   CROWLEY:

2
2          Q.    And when
                 And  whenhe he
                              saidsaid   where were
                                   that,that,  wherehiswere
                                                        hands?his hands?

 3
 3         A.
           A.    They were
                 They       I believe
                       were --
                            --        they were
                               I believe    theystill
                                                  wereup. still up.
 4
 4         Q.
           Q.    And were
                 And  were    ableable
                          youyou   to see
                                        tohis face
                                            see    when
                                                 his    he gave
                                                      face  whenyouhe gave you
5
5     that reply?
      that        DidDid
             reply?   he look        with
                              at youat
                         he look       youhiswith
                                              handshis
                                                    up and
                                                        hands up and --
                                                                --




 6
 6         A.
           A.    Yeah, hehe
                 Yeah,    waswas
                              staring at me at
                                  staring   pretty
                                               me much the whole
                                                   pretty  much the whole

7
7     time.
      time.

8
8          Q.
           Q.    And what
                 And  whatkind of expression
                             kind            on his face
                                   of expression         did he
                                                     on his  face did he

9
9     demonstrate whenwhen
      demonstrate      he said
                           he what
                               saidhewhat
                                      said to
                                           he you in response
                                               said  to you toin response to

10
10    your statement?
      your   statement?

11
11         A.
           A.    What kind
                 What  kindof of
                              expression?
                                 expression?

12
12         Q.
           Q.    Yes.
                 Yes.

13
13         A.
           A.    Hostile kind
                 Hostile      of aggressive
                           kind             type statement.
                                 of aggressive      type statement.

14
14         Q.
           Q.    Did hehehave
                 Did          his his
                           have    head head
                                         straight up or wasupit or
                                               straight          leaned
                                                                    was it leaned

15
15    over ororcancan
      over         you you
                        describe for us?for us?
                            describe

16
16         A.
           A.    He was
                 He  waslooking at me.
                          looking   at me.

17
17         Q.
           Q.    Okay. And
                 Okay.        this
                        Andatat    point,
                                 this     do youdo
                                       point,    remember any of
                                                    you remember any of

18
18    the other
      the  otherofficers sayingsaying
                   officers     anything?
                                       anything?

19
19         A.
           A.    I don’t
                 I  don'tknow whatwhat
                            know   they were
                                        theysaying.
                                             were saying.

20
20         Q.
           Q.   And after
                And  afterhe he
                             responded to you to
                                 responded     thisyou
                                                     third time,
                                                        this     did time, did
                                                              third

21
21    you again
      you  againmake a statement
                   make          to him? to him?
                         a statement

22
22         A.
           A.    I said
                 I  saidsomething similar
                          something       to “Don’t
                                       similar  to give me a give me a
                                                    "Don't

23
23    reason,” or or
      reason,"     “If "If
                        you give
                            you me a reason,”
                                 give         in regards in
                                       me a reason,"     to shooting
                                                            regards to shooti

24
24    him ififhe he
      him         doesn’t keep keep
                    doesn't    his hands
                                     hisup.
                                         hands up.

25
25         Q.
           Q.   Why did
                Why  didyouyou    that that
                             say say    to him?
                                              to him?


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1
1          A.
           A.    Because hishis
                 Because      hands were were
                                 hands   up andup
                                                he and
                                                   was saying   he
                                                        he was saying
                                                                  --  -- he

2
2     said “Fuck
      said  "Fuck      bitch.
                 you,you,     Shoot Shoot
                           bitch.    me.” Essentially “Don’t give
                                          me." Essentially      "Don't give

3
3     me reason
      me  reasonto.”
                   to."

4
4          Q.
           Q.    And did
                 And  didyou havehave
                           you     any belief or indication
                                       any belief           that he
                                                     or indication  that he

5
5     didn’t hear
      didn't      whatwhat
               hear     you said
                            you to him to
                                 said  whenhim
                                            you when
                                                 said something
                                                       you said something

6
6     along the
      along     lines
              the     of “Don’t
                   lines        give megive
                          of "Don't     a reason”?
                                             me a reason"?

7
7          A.
           A.    I don’t
                 I  don'tknow. I believe
                           know.         he heard
                                  I believe   he me.
                                                  heard me.

8
8          Q.
           Q.    Okay.
                 Okay. Did
                       Didhehe
                             respond to your
                                respond  to of fourth
                                             your of statement?
                                                      fourth statement?

9
9          A.
           A.    His
                 His response
                      responsewas was
                                   dropping his hands
                                       dropping    hisout of sight.
                                                       hands   out of sight.

10
10         Q.
           Q.    Okay. Now,
                 Okay. Now,did     hearhear
                               youyou
                             did        anyoneanyone
                                                else inelse
                                                        your unit
                                                             in your unit

11
11    yell for
      yell  fora flash bang?bang?
                 a flash

12
12         A.
           A.    I think
                 I  thinkI remember hearing
                           I remember       it, yeah.
                                         hearing   it, yeah.

13
13         Q.
           Q.    Who was
                 Who  wasit it
                             that said said
                                that    it? it?

14
14         A.
           A.    I don'tknow
                 I don’t     who who
                          know    said said
                                        it. it.

15
15         Q.
           Q.    So  atthat
                 So at      point,
                         that      if you
                               point,   ifdidn’t say it and
                                           you didn't    sayLopez
                                                              it and Lopez

16
16    didn’t say
      didn't     it, it,
               say    would the only
                          would  theperson
                                     only be Ferguson
                                           person   be who would
                                                        Ferguson who would

17
17    have said
      have  saidit?it?

18
18         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,lackslacks
                                        foundation. You can You can
                                              foundation.

19
19    answer ifif
      answer        can.can.
                youyou

20
20         THE WITNESS:
           THE  WITNESS:By By
                            process of elimination,
                               process              it could have
                                          of elimination,    it could have

21
21    been Ferguson,
      been  Ferguson,or if
                         oryou’re saying Lopez
                            if you're    sayingdidn’t      it, then say it, the
                                                      say didn't
                                                  Lopez

22
22    whoever waswas
      whoever      arriving
                      arriving     but I want
                            next, next,   but to
                                               I say
                                                 wantit to
                                                        was say
                                                             Ferguson
                                                                  it was Ferguso

23
23    because I I
      because   remember hearing
                   remember      it.
                              hearing it.

24
24    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

25
25         Q.
           Q.    Okay.
                 Okay. So
                        Sobasically,
                           basically,I’m trying to eliminate
                                         I'm trying          if
                                                       to eliminate if


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1
1     senses. But
      senses.  ButI don’t know know
                    I don't           ifwas
                                if that     his was
                                         that   reason.
                                                     his reason.

2
2          Q.
           Q.    So when
                 So  when     saw saw
                         youyou    the suspect put his put
                                       the suspect     handshis
                                                             down,hands down,

3
3     describe forfor
      describe     us what you saw.
                      us what    you saw.

4
4          A.
           A.    So he
                 So  hequickly
                        quicklydropped his hands
                                   dropped   his out of sight,
                                                  hands        low sight, low
                                                          out of

5
5     enough for
      enough     me me
               for  to no
                        tolonger
                            no longer     in the
                                 see themsee themdirection
                                                    in thetowards
                                                            direction toward

6
6     his seat
      his  seator or
                   towards the floor
                      towards    the of where of
                                     floor     he where
                                                  was sitting.
                                                          he was sitting,

7
7          Q.
           Q.    Okay. So
                 Okay.  Sofrom where
                            from     you could
                                 where   you could       couldyou
                                               see, yousee,    see could see

8
8     his hands,
      his  hands,both hands,
                    both     being dropped.
                          hands,            How far were
                                   being dropped.    How they
                                                          far were they

9
9     dropped before
      dropped        they they
                before     went out
                                went   your of
                                    of out  vision,
                                                youryour view? your view?
                                                      vision,

10
10         A.
           A.    Well, they
                 Well,      were
                         they  were   They They
                                 up. up.    were above
                                                  were his shoulders.
                                                        above  his shoulders.

11
11         Q.
           Q.    Okay. So
                 Okay.  Sowhen
                           whenhe he
                                  dropped them down,
                                      dropped   them when he when he
                                                      down,

12
12    dropped them
      dropped      downdown
                 them   to his
                             toshoulders, you could you
                                 his shoulders,     stillcould
                                                          see them?
                                                                 still see the

13
13         A.
           A.    Yes.
                 Yes.

14
14         Q.
           Q.    When hehedropped
                 When       dropped     down further,
                                  them them           could you could
                                              down further,      still you still

15
15    see them?
      see   them?

16
16         A.
           A.    That’s not
                 That's     how how
                          not    he dropped them. them.
                                     he dropped

17
17         Q.
           Q.    Describe forfor
                 Describe     us. us.

18
18         A.
           A.    He quickly
                 He  quicklydropped them and
                               dropped   themleaned
                                                and down out of
                                                     leaned  down out of

19
19    sight, so so
      sight,     hishis
                     bodybody
                          started going forward
                                started  going as well.
                                                forward as well.

20
20         Q.
           Q.    So in
                 So  inone movement,
                         one         he dropped
                             movement,          his handshis
                                           he dropped     and hands
                                                              his   and his

21
21    upper body
      upper      to to
              body      right?right?
                    the the

22
22         A.
           A.    Towards like
                 Towards      front
                            like    right right
                                 front     area, yes.
                                                  area, yes.

23
23         Q.
           Q.   And did
                And                any reason
                             havehave
                     didyouyou                to believe
                                        any reason    to that he wasthat he was
                                                         believe

24
24    going for
      going     anything
              for        else other
                  anything    else than a deadly
                                    other  than weapon?
                                                 a deadly weapon?

25
25         A.
           A.    No. I
                 No. I had   thethe
                        had --
                             --       thingthing
                                 onlyonly   in my mind
                                                  in myis he was is he was
                                                          mind


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1
1          A.
           A.     I was
                  I  wastrying to track
                          trying        where where
                                   to track   he was going and going
                                                      he was   as he and as he

2
2     was coming
      was  comingback up, so
                    back  up,hissoonly
                                    histarget
                                         onlyarea was shoulders
                                               target  area was up. shoulders u

3
3          Q.    So  youpulled
                 So you        the the
                          pulled   trigger when he when
                                        trigger     started
                                                          he coming
                                                              started coming

4
4     back up?
      back  up?

5
5          A.
           A.     I remember
                  I  rememberfinding my sight
                                finding   my while
                                              sighthewhile
                                                      was leaning
                                                            he was leaning

6
6     forward, andand
      forward,     as he
                       aswas
                          he coming back looking
                              was coming           me, looking
                                            backatlooking   at me, looking

7
7     kind ofof
      kind    back movement
                back        is whenisI when
                      movement         startedI firing.
                                                 startedII firing.
                                                           can’t
                                                            can'tsaysay

8
8     for sure
      for  sureexactly
                 exactly    he was he
                       what what    doing     he was as
                                       wasas doing   coming
                                                        he up
                                                            was coming up

9
9     because I remember
      because            he’s now
                I remember          I’m now
                              he's now   -- looking
                                        --  I'm now    him solelyat him solel
                                                    at looking

10
10    through thethe
      through     aim aim
                       pointpoint
                             of my of
                                   rifle.
                                       my rifle.

11
11         Q.
           Q.    When did
                 When  did    release
                          youyou      the safety?
                                  release   the safety?

12
12         A.
           A.    Just right
                 Just       before
                        right      I shot.
                               before   I shot.

13
13         Q.
           Q.    And when
                 And  when    pulled
                          youyou     the trigger,
                                  pulled          was he back
                                           the trigger,           in back up in
                                                           wasup he

14
14    an erect
      an  erectposition or partially
                 position            erect? Can
                            or partially        you describe
                                            erect?   Can you that
                                                               describe that

15
15    for us?
      for  us?

16
16         A.
           A.    After I Ishot
                 After         him?him?
                            shot

17
17         Q.
           Q.    No, before.
                 No,  before.

18
18         A.
           A.    Before I I
                 Before   pulled the trigger,
                            pulled            he was hehewas
                                     the trigger,         had -- he had
                                                                 --




19
19    already been
      already      leaning
                been       low and
                       leaning     then
                                 low    coming
                                      and         like
                                                   likeI I
                                           then -coming  could just just
                                                          - could
                                                            --




20
20    turn mymychair,
      turn            so ifsoyou’re
                 chair,        if you're    there,
                                    me over me overhe’s now coming
                                                      there,  he'sup now coming

21
21    in this
      in  thisdirection.
                direction.

22
22         Q.
           Q.    Okay. So
                 Okay. So at
                           atthat point,
                               that      couldcould
                                     point,            where
                                               you seeyou see --
                                                       where          --




23
23    what his
      what  hishands were were
                 hands     doing?doing?

24
24         A.    No.

25
25         Q.
           Q.    Could you
                 Could   you   if both
                           seesee      hands hands
                                   if both   had grasped
                                                     had anything,
                                                          grasped anything,


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1
1     or only
      or  only    hand,
              oneone    or could
                     hand,   or could     anything
                                 you see you  see at all?
                                                   anything at all?

2
2          A.
           A.    I could
                 I  couldnotnot   his hands
                             see see        at all. at all.
                                      his hands

3
3          Q.
           Q.    And atatthat
                 And          moment,
                           that       was Officer
                                 moment,          Ferguson, Ferguson,
                                           was Officer       did he   did he

4
4     have his
      have  hiscarbine focused
                 carbine       on the on
                            focused   suspect, too, as far too,
                                         the suspect,       as youas far as you

5
5     know?
      know?

6
6          A.
           A.    I know
                 I  knowbased on his
                          based   on body-worn camera. camera.
                                     his body-worn      I didn’t I didn't

7
7     know         time.
      know atatthethe time.

8
8          Q.
           Q.    I’m talking
                 I'm  talkingat the
                                at time.
                                    the time.

9
9          A.
           A.    Yeah. II didn’t
                 Yeah.     didn'tknowknow   he washe
                                       what what   doing    the time.
                                                      wasatdoing   at the time.

10
10         Q.
           Q.    Before you
                 Before     pulled
                          you      the trigger,
                               pulled           was therewas
                                        the trigger,      a flash
                                                              there a flash

11
11    bang grenade
      bang  grenadedischarged?
                       discharged?

12
12         A.
           A.    No, I Ithink
                 No,          it was
                          think      after.after.
                                 it was

13
13         Q.
           Q.    And you
                 And  youshot at his
                           shot  at head?
                                     his head?

14
14         A.
           A.    I shot
                 I          thethe
                    shotat at         targettarget
                                only only    to stop to
                                                      the stop
                                                           threat.
                                                                the threat.

15
15         Q.
           Q.    And that
                 And  thatwaswas  head?head?
                              his his

16
16         A.
           A.    I was
                 I  wasonly aiming
                         only      for a for
                               aiming     target to stop the
                                              a target    to threat,
                                                             stop the threat,

17
17    I wasn’t
      I wasn't focusing on shooting
                  focusing          at his head.
                             on shooting         I was
                                            at his     focusing
                                                    head.       on focusing o
                                                            I was

18
18    taking a a
      taking   shot to stop
                 shot       the threat.
                        to stop   the threat.

19
19         Q.
           Q.    But where
                 But  wherewere you youyour
                              were        -- your isfocus
                                         -- focus    on taking a taking a
                                                           is on

20
20    shot totostop
      shot          the the
                  stop  threat. What part
                             threat.  What    his anatomy
                                          of part   of hiswere you
                                                            anatomy were you

21
21    focused on?on?
      focused

22
22         A.
           A.    The portion
                 The  portionI could see, so
                                I could   see,   shoulders
                                             the so        and up.
                                                    the shoulders  and up.

23
23         Q.
           Q.    So right
                 So  rightwhen you you
                            when   pulled the trigger,
                                        pulled         who was in who was in
                                                 the trigger,

24
24    imminent peril
      imminent       of great
                 peril   of great    harm or death,
                              bodily bodily  harm or    they wereand they were
                                                    and death,

25
25    in peril
      in  peril   grave
               of of    harm harm
                      grave  or death
                                   or ofdeath
                                         what? of what?


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1
1     didn’t see
      didn't     it. it.
               see

2
2          Q.
           Q.    Potentially three
                 Potentially       carbines?
                                 three  carbines?

3
3          MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,misstates the testimony.
                                       misstates     the testimony.

4
4          THE WITNESS:
           THE  WITNESS:TheThe
                            onlyonly
                                 one that
                                      one I that
                                             saw was mine. was mine.
                                                  I saw

5
5     BY  MR.CROWLEY:
      BY MR.   CROWLEY:

6
6          Q.
           Q.    And Officer
                 And  OfficerFerguson, did you
                                Ferguson,    did    him see
                                               see you  in a position
                                                             him in a position

7
7     where his
      where     carbine
              his       was directed
                   carbine           towards the
                             was directed        suspect?
                                             towards    the suspect?

8
8          A. At
           A.        pointinin
               At aa point   time, it was.
                                time,      It appeared,
                                       it was.          based on based on
                                                It appeared,

9
9     our commands
      our  commands    him to
                   for for  him   hisput
                              putto   hands back
                                          his    up, that
                                               hands  backOfficer
                                                            up, that Officer

10
10    Ferguson hadhad
      Ferguson     his his
                       riflerifle
                             down atdown
                                     that at
                                          time.
                                             that time.

11
11         Q.
           Q.    And just
                 And  just    kindkind
                          to to    of get
                                       ofanget
                                            ideaan
                                                 of idea
                                                     Officer
                                                           of Officer

12
12    Ferguson’s placement,
      Ferguson's            was hiswas
                    placement,       car his
                                          door car
                                                open door
                                                      and heopen
                                                             was and he was

13
13    between thethe
      between     A pillar and the
                     A pillar          of the
                                   topthe
                                 and       topcar
                                                ofdoor?
                                                    the car door?

14
14         A.
           A.    Yes, sir.
                 Yes,  sir.

15
15         Q.
           Q.    Do  youhave
                 Do you      a recollection
                          have              of the time
                                a recollection          that time
                                                   of the     elapsed
                                                                    that elapsed

16
16    from the
      from     time
             the    thatthat
                  time   you exited your vehicle
                              you exited    youruntil you pulled
                                                 vehicle   until you pulled

17
17    the trigger?
      the  trigger?

18
18         A.
           A.    Twenty, 25 25
                 Twenty,     seconds.
                                seconds.

19
19         Q.
           Q.    And how
                 And  howmany times
                           many     on your
                                 times   on weapon
                                             your did you pull
                                                   weapon  did the
                                                                you pull the

20
20    trigger? DoDo
      trigger?        havehave
                  youyou   to pull
                               to the trigger
                                   pull       each time the
                                         the trigger    each time the

21
21    cartridge discharged?
      cartridge    discharged?

22
22         A.
           A.    Yes.
                 Yes. It’s
                      It'sa a
                            semi—automatic so I pulled
                              semi-automatic     so I it two
                                                       pulled it two

23
23    times about
      times       a half
              about      secondsecond
                     a half     apart. apart.

24
24         Q.
           Q.   And atatthe
                And         time
                          the    you pulled
                               time         the trigger,
                                     you pulled          your
                                                    the trigger, your

25
25    testimony is is
      testimony    his his
                       handshands
                             were down,
                                   werethey weren’t
                                         down,  they     there wasup, there wa
                                                    up, weren't


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1
1     no one
      no  onehand      one hand
                  up, up,
               hand        one down,
                                hand anything like that? like that?
                                      down, anything

2
2           MS. CLOUSE:
            MS.  CLOUSE:Objection,
                         Objection,       and answered.
                                   asked asked          Go ahead Go ahead
                                                 and answered.

3
3     and respond.
      and  respond.

4
4           THE WITNESS:
            THE  WITNESS:When I made
                           When      the decision
                                  I made          to shoot, to
                                           the decision      I shoot, I

5
5     recall him
      recall     coming
               him      back back
                    coming   up.  I up.
                                     don’tI know where
                                             don't         hands
                                                       his where
                                                    know         his hands

6
6     were.
      were.

7
7     BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

8
8           Q.
            Q.   So the
                 So  thedischarge of your
                          discharge    of weapon was not accidental?
                                          your weapon     was not accidental?

9
9           A.
            A.   No.
                 No.

10
10          Q.
            Q.   Anything else
                 Anything      you you
                             else  heardheard
                                         from the     the that
                                                  suspect
                                                from           would that would
                                                           suspect

11
11    lead you
      lead  youto to
                  believe that he
                      believe     was he anything
                               that      was -- verbal
                                               --      that verbal
                                                  anything  you    that you

12
12    heard from
      heard      the the
              from    suspect that would
                          suspect   thatlead you to
                                          would     believe
                                                 lead   you that he
                                                             to believe that

13
13    was going
      was  goingto to  lethal
                   use use    force? force?
                            lethal

14
14          A.
            A.   Not that
                 Not  thatI remember.
                            I remember.

15
15          Q.
            Q.   Did hehethreaten
                 Did              the use
                           threaten   theofuse
                                            any of
                                                kindany
                                                     of force
                                                        kind of force

16
16    whatsoever?
      whatsoever?

17
17          A.
            A.   The motion,
                 The  motion,the the
                                  threat. He didn’t
                                      threat.       verbally verbally
                                               He didn't      say     say

18
18    anything.
      anything.

19
19          Q.
            Q.   And when
                 And  whenyouyou   that,that,
                              say say    that’s that's
                                                 when he put
                                                         whenhishe
                                                                 hands
                                                                   put his hands

20
20    down and
      down  andbent over?
                 bent   over?

21
21          A.
            A.   He did
                 He  didthe opposite
                          the        of what
                               opposite   of I what
                                                was telling
                                                      I was him to
                                                             telling him to

22
22    do.
      do.

23
23          Q.
            Q.   Pardon me?me?
                 Pardon

24
24          A.
            A.   When hehediddid
                 When          the the
                                    opposite of whatof
                                        opposite     I was
                                                       whattelling
                                                              I washimtelling him

25
25    to do.
      to  do.



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1
1          Q.
           Q.    So did
                 So  didyou review
                          you  review   it had it
                                   what what    recorded?
                                                   had recorded?

2
2          A.
           A.    Yes.
                 Yes.

3
3          Q.
           Q.    What did
                 What  didit it
                              show?
                                 show?

4
4          MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,       and it and
                                  vague vague          forcalls
                                                calls it   a    for a

5
5     narrative.
      narrative.

6
6     BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

7
7          Q.
           Q.    Well, what
                 Well,  whatdo do  remember
                               you you      it showing?
                                        remember   it showing?

8
8          MS. CLOUSE:
           MS.  CLOUSE:YouYou
                           can can
                                answer
                                    answer           can. you can.
                                       as bestasyoubest

9
9          THE WITNESS:
           THE  WITNESS:I can see me
                           I can  seepulling in front in
                                       me pulling         his car of his car
                                                       of front

10
10        thecrosswalk,
      in the
      in                you could
               crosswalk,    you could    street
                                  see the see    light,
                                               the      you can
                                                    street      see
                                                             light, you can s

11
11    me jumping
      me  jumpingout out  of car
                      of the  theand it and
                                   car       caught
                                        gets it     on the
                                                 gets      shirt,on the shirt,
                                                       caught

12
12         theshirt’s
      now the
      now             hanging
                shirt's       there and
                          hanging       I have
                                    there   andmy Irifle
                                                     haveup,myand the
                                                                rifle up, and t

13
13    only thing
      only       I’mI'm
             thing   focused on now on
                         focused     is now
                                        leaning.
                                             is leaning.

14
14    BY  MR.CROWLEY:
      BY MR.   CROWLEY:

15
15         Q.
           Q.    Right.
                 Right.

16
16         A.
           A.    And it’s
                 And  it'sapparently
                            apparently    offwhole
                                     off that thattime untiltime
                                                    whole    I   until I

17
17    look down
      look      andand
             down       it’s it's
                    see see  green and
                                   green    I turned
                                       thenand  then itI on, and I it on, and I
                                                          turned

18
18    turned it it
      turned        knowing
                 on on      it would
                       knowing   it go
                                     would  30 seconds
                                       back go  back 30hoping it
                                                          seconds hoping it

19
19    would capture
      would  capturewhatwhat
                         I saw.I saw.

20
20         Q.
           Q.    Did it?
                 Did  it?

21
21         A.
           A.    Not really
                 Not  reallybecause of theofshirt.
                               because        the shirt.

22
22         Q.
           Q.    Would you
                 Would     agree
                         you     that that
                              agree    use ofuse  of force
                                              deadly       is, force
                                                      deadly    of   is, of

23
23    course, only
      course,      to be
                only      be only
                       toused        a last
                              usedasonly  asresort?
                                              a last resort?

24
24         A.
           A.    Yes.
                 Yes.

25
25         Q.
           Q.    And ininyour
                 And          mind,
                           your     at the
                                 mind,   attime
                                             thewhen
                                                 timeMr. when
                                                          Dominguez
                                                               Mr. Dominguez


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                                 Sergeant         Pina Pina
                                            Michael
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11    put  hishands
      put his       downdown
                hands    and leaned over, theover,
                              and leaned       use ofthe
                                                      deadly
                                                          useforce
                                                               of deadly force

2
2     was the
      was  thelast resort?
                last  resort?

3
3          A.
           A.    Under the
                 Under     circumstances,
                         the              I felt I
                              circumstances,     it felt
                                                     was the
                                                           it was the

4
4     only option
      only  option     me atmetheattime.
                  for for            the time.

5
5          Q.
           Q.    I’ve
                 I'vebeen supplied
                       been        with your
                             supplied   withPOST history
                                              your  POSTbyhistory
                                                           your   by your

6
6     attorney.
      attorney.

7
7          A.
           A.    Okay.
                 Okay.

8
8          Q.
           Q.    And mymyonly
                 And          question
                           only        is is is
                                 question    there     POST training
                                                 is a there   a POSTontraining on

9
9     the use
      the  useof of
                  deadly force,force,
                     deadly      when that’s
                                        when available, the
                                              that's available, the

10
10    authority, anything
      authority,          about about
                    anything     that? that?

11
11         A.
           A.    I think
                 I  thinkit’s
                            it's it’s encompassed
                                  -- it's
                                 —-               in a couple
                                           encompassed     in a couple

12
12    different professional
      different              trainings
                   professional        that we have.
                                    trainings   that Iwedon’t knowI don't know
                                                          have.

13
13    what titles
      what             have have
                  you you
             titles          listedlisted
                                    there. there.
                                           I may be Iable     assist
                                                       mayto be  able to assist

14
14    if I Ilook
      if         at at
              look  it. it.
                         I know there’s
                             I know     like thelike
                                      there's    simulator, the
                                                      the simulator, the

15
15    force ops
      force     simulator
              ops         training
                   simulator       that has that
                                training     laws on
                                                  has  laws any
                                                     835(a), on 835(a), any

16
16    kind ofof
      kind    de-escalation training,
                de-escalation         I’ve alsoI've
                                   training,    had Crisis
                                                     also had Crisis

17
17    Intervention training
      Intervention          prior to
                       training      that. toSothat.
                                  prior         we receive
                                                      So weongoing
                                                              receive ongoing

18
18    training on on
      training    different topics topics
                     different      involving the use of the
                                            involving    forceuse
                                                               and of force and

19
19    deadly force.
      deadly   force.

20
20         Q.
           Q.    Okay.
                 Okay. II think
                           thinkI’mI'm
                                    almost done. done.
                                        almost

21
21              What would
                What  wouldyour response
                              your       be if someone
                                    response    be if said that said that
                                                       someone

22
22    you over—reacted
      you  over-reacted --
                         ——




23
23         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,calls calls
                                         for  for --       -—




24
24    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

25
25         Q.
           Q.    -- when
                 --  whenyouyou
                             pulled the trigger?
                                pulled    the trigger?


                                 Sergeant Michael
                                 Sergeant MichaelPina
                                                    Pina
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 1
 1                          UNITED
                            UNITED STATES
                                    STATES DISTRICT
                                            DISTRICTCOURT
                                                      COURT

 2                       NORTHERN
                         NORTHERN DISTRICT
                                   DISTRICTOF
                                            OFCALIFORNIA
                                               CALIFORNIA

 3
                                                           ,
 4
 4    JESSICA
      JESSICA DOMINGUEZ
                DOMINGUEZ INDIVIDUALLY
                            INDIVIDUALLY               )


      AND JESSICA
          JESSICA DOMINGUEZ
                     DOMINGUEZASAS                     )
                                                       )       CERTIFIED COPY
                                                                         COP)
 5    GUARDIAN
      GUARDIAN ADAD LITEM
                     LITEMFOR
                            FORJAD
                                 JAD(1),
                                      (1),             )

      JAD (2)
           (2) AND
               AND JAD
                     JAD (3),
                          (3),                         )

 6
 6                                                     )

                               Plaintiffs,
                               Plaintiffs,             )

 7
 7                                                     )
                                                       )         Case No.:
                                                                      No.:
                vs.
                vs.                                    )
                                                       )         5:18-CV-04826
                                                                 5:18—CV—04826
 8
 8                                                    )

      CITY OF
           OF SAN
               SAN JOSE,
                    JOSE, SAN
                           SANJOSE
                                JOSEPOLICE
                                      POLICE)
 9
 9    DEPARTMENT,
      DEPARTMENT, MICHAEL
                    MICHAELPINA,
                              PINA,AND
                                     AND              )

      DOE POLICE
          POLICE OFFICERS
                  OFFICERS 2 2through
                                through5,5,)
10
10                                                    )


                               Defendants.
                               Defendants.            )

11
11
                                                      )




12
12

13
13

14
14

15
15

16
16

17
17                                    DEPOSITION
                                      DEPOSITION OF
                                                  OF

18
18                          OFFICER
                            OFFICER KRISTOFFER
                                     KRISTOFFERFERGUSON
                                                FERGUSON

19
19                                SAN JOSE,
                                      JOSE, CALIFORNIA
                                             CALIFORNIA

20
20                                    MARCH
                                      MARCH 4,
                                             4, 2021
                                                 2021

21
21

22
22    ATKINSON-BAKER,
      ATKINSON-BAKER, a aVeritext
                          VeritextCompany
                                    Company
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             288—3376
23    www.depo.com
      www.depo.com

24
24    REPORTED
      REPORTED BY:
                BY:      THERESA
                         THERESA KIELTY,
                                  KIELTY, CSR
                                           CSRNO.
                                               NO.5037
                                                    5037

25    FILE NO.:
           NO.:          AE088F2
                         AE088F2



                              Officer
                              OfficerKristoffer
                                      KristofferFerguson
                                                  Ferguson
                                    March
                                    March 04,
                                           04,2021
                                                2021                             1
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                          Atkinson-Baker,     VeritextCompany
                                                        Company
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                                    www.depo.com


 1
 1                       UNITED STATES
                         UNITED  STATES DISTRICT
                                         DISTRICTCOURT
                                                   COURT

 2
 2                     NORTHERN DISTRICT
                       NORTHERN DISTRICTOFOFCALIFORNIA
                                             CALIFORNIA

 3
 3


 4
 4    JESSICA DOMINGUEZ
      JESSICA   DOMINGUEZINDIVIDUALLY
                             INDIVIDUALLY       )


      AND JESSICA
      AND  JESSICA DOMINGUEZ
                     DOMINGUEZASAS              )


 5
 5    GUARDIAN AD
      GUARDIAN   AD LITEM
                     LITEMFORFORJAD
                                  JAD(1),
                                       (1),     )


      JAD  (2) AND
      JAD (2)   AND JAD
                     JAD (3),
                          (3),                  )


 6
 6                                              )

                           Plaintiffs,
                           Plaintiffs,          )


 7
 7                                              )
                                                )       Case No.:
                                                        Case  No.:
               vs.
               vs.                              )
                                                )       5:18—CV—04826
                                                        5:18-CV-04826
 8
 8                                              )


      CITY OF
      CITY OF SAN
               SAN JOSE,
                    JOSE,SAN
                          SANJOSE POLICE
                               JOSE POLICE )
 9
 9    DEPARTMENT,  MICHAELPINA,
      DEPARTMENT, MICHAEL   PINA,AND
                                   AND )
      DOE POLICE
      DOE POLICE OFFICERS
                  OFFICERS2 2through
                               through
                                     5, 5, )
10
10                                              )


                           Defendants.
                           Defendants.          )

11                                              )




12
12

13
13

14
14

15
15

16
16                     Deposition of
                       Deposition  ofOFFICER
                                      OFFICERKRISTOFFER
                                              KRISTOFFERFERGUSON,
                                                           FERGUSON,

17
17    taken on
      taken  on behalf
                 behalfofofPlaintiffs,
                            Plaintiffs,at at
                                           200200
                                               East Santa
                                                  East    Clara
                                                       Santa  Clara

18
18    Street, San
      Street,  San Jose,
                    Jose,California,
                          California,95113, commencing
                                       95113,  commencing at 11:30
                                                       at 11:30

19
19    a.m., Thursday,
      a.m., Thursday,March
                      March4, 4,2021, before
                                  2021,      Theresa
                                        before       Kielty,
                                               Theresa       CSR No.
                                                        Kielty,  CSR No.

20
20    5037.
      5037.

21
21

22
22

23
23

24
24

25
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                              Officer Kristoffer
                              Officer Kristoffer Ferguson
                                                   Ferguson
                                    March   04,2021
                                    March 04,    2021                   2
                                                                        2
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                           Atkinson-Baker,a aVeritext
                                              VeritextCompany
                                                        Company
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 11                     APPEARANCE S:
                        APPEARANCES:

 2
 2      FOR PLAINTIFFS:
            PLAINTIFFS:

 3
 3     LAW OFFICES
       LAW OFFICES OF OFJOHN KEVIN
                          JOHN  KEVINCROWLEY
                                        CROWLEY
       BY: JOHN
             JOHNKEVIN  CROWLEY,
                    KEVIN         Esq.Esq.
                           CROWLEY,
 4
 4     125 S.
            5. Market
                MarketStreet
                         Street
       Suite
       Suite 1200
               1200
 5
 5     San Jose,
            Jose, California
                    California      95113
                                    95113
        (408)
        (408) 288-8100
              288—8100
 6
 6      jjkclaw@pacbell.net
          kclaw@pacbell .net

 7
 7      FOR DEFENDANTS:
            DEFENDANTS:

 8
 8     OFFICE
       OFFICE OFOF THE
                    THECITY
                         CITYATTORNEY
                               ATTORNEY
       BY:
       BY: MAREN
              MARENCLOUSE,
                     CLOUSE,Esq.
                               Esq.
 9
 9     200 E.
            E. Santa
                SantaClara
                       ClaraStreet
                               Street
       16th Floor
              Floor
10
10     San Jose,
            Jose, California
                    California      95113
        (408)
        (408) 535-1948
               535—1948
11
11     maren.clouse@sanjoseca.gov
       maren.clouse@sanjoseca.gov

12
12

13

14
14

15
15

16

17
17

18
18

19

20

21

22

23

24

25


                               Officer
                               Officer Kristoffer
                                       KristofferFerguson
                                                  Ferguson
                                    March
                                    March 04,
                                            04,2021
                                                 2021                    3
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11    deadly force?
      deadly   force?

2
2          A.
           A.    Myself?
                 Myself?

3
3          Q.
           Q.    Yes.
                 Yes.

4
4          A.
           A.    No.
                 No.

5
5          Q.
           Q.    Do you
                 Do  youfeel thatthat
                          feel     you
                                   you have
                                        havebeen trained
                                               been      and are
                                                     trained   and are

6
6     knowledgeable in the
      knowledgeable        theofuse
                        in use   deadly
                                    of force andforce
                                        deadly   when anand
                                                         officer
                                                             when an office

77    is entitled
      is  entitledto use deadly
                     to use     force? force?
                              deadly

8
8          A.
           A.    Yes.
                 Yes.

9
9          Q.
           Q.    Do you
                 Do  youfeel you’ve
                          feel      been been
                                you've   taught taught
                                                 sufficiently in your
                                                         sufficiently in your

10
10    training andand
      training     education the use
                      education      of use
                                   the  de—escalation procedures procedures
                                            of de-escalation

11
11    when confronted
      when  confrontedwith with
                            incidents that may
                                 incidents
                                      that  maycall out out
                                                 call        forofuse of
                                                        for use

12
12    force?
      force?

13
13         A.
           A.    Yes.
                 Yes.

14
14         Q.
           Q.    And do
                 And     youfeel
                     do you      thatthat
                              feel     you’re trainedtrained
                                           you're      and educated
                                                               and educated

15
15    enough
      enoughto to
                useuse
                    alternatives to deadly
                        alternatives    to force other
                                            deadly     than using
                                                     force  other than using

16
16    deadly force?
      deadly   force?

17
17         A.
           A.    Yes.
                 Yes.

18
18         Q.
           Q.    And I Iwant
                 And     want   apologize,
                             to to         sometimes
                                   apologize,        my questions
                                                 sometimes        get
                                                              my questions get

19
19    a little
      a  littlesquirrely, but you’re
                 squirrely,          doing great.
                               but you're    doingI’ll be thinking
                                                   great.   I'll be thinkin

20
20    of the
      of  thequestion and break
               question         it up and
                          and break    it you’ll
                                          up andthink I’m done,
                                                  you'll   think I'm done,

21
21    but  youhaven’t
      but you         done done
                haven't     that, that,
                                   and sometimes you may notyou may not
                                          and sometimes

22
22    understand my my
      understand    question, so I can’t
                       question,    so Iguarantee they are allthey are all
                                         can't guarantee

23
23    great questions.
      great  questions.

24
24         A.
           A.    Okay.
                 Okay.

25
25         Q.
           Q.    So if
                 So  ifyou don’t
                         you     get it,
                             don't        it, tell
                                     get just  justme tell
                                                       and I’ll
                                                             me try
                                                                 and I'll try


                              Officer Kristoffer
                              Officer  KristofferFerguson
                                                     Ferguson
                                     March 04,04,
                                     March       2021
                                                   2021                 14
                                                                        14
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 1
 1            Q.
              Q.   Did
                   Did you
                        youhear
                             hear did
                                  -- he
                                  --  didgive
                                           he any gestures,
                                               give         you know, you know,
                                                     any gestures,

 2
 2    like flip
      like  flip    off off
                youyou  or any
                             orother
                                any kind of kind
                                     other  gestures
                                                  of with his
                                                      gestures with his

 3
 3    hands oror
      hands    anything like like
                 anything    that? that?

 4
 4            A.
              A.   No. It
                   No. It appeared
                           appeared      he hewhether
                                   thatthat           or not he
                                               -- whether
                                                     --       orwas
                                                                 not he was

 5
 5    engaged with
      engaged      Officer
                with       Pina, Pina,
                      Officer            it looked
                                  to me, to  me, itlike he was like he was
                                                      looked

 6
 6    saying something
      saying           but Ibut
               something     could not tellnot
                                I could     whattell
                                                 it was.
                                                     whatMaybe it
                                                          it was. Maybe it

 7
 7    was because
      was  becauseI was yelling
                     I was      at the at
                             yelling    samethe
                                             time.
                                                same time.

 8
 8            Q.
              Q.   At any
                   At  anypoint,
                           point,did did
                                     you take
                                          you your
                                              takeweapon
                                                   your off safety?
                                                         weapon   off safety?

 9
 9            A.
              A.   No.
                   No.

10
10            Q.
              Q.   And atatthis
                   And          point,
                             this      when when
                                   point,   you were     your position
                                                  youat were  at your position

11
11    of --when
      of -- when    werewere
                youyou   standing at your at
                              standing     position
                                              your looking at the
                                                    position   looking at th

12
12    suspect between
      suspect         the, the,
                between     you know,
                                 you the car the
                                      know,  door car
                                                  and the A pillar
                                                       door  and the A pilla

13
13    of the
      of  thevehicle, was was
               vehicle,   your your
                               gun pointed at the suspect?
                                     gun pointed    at the suspect?

14
14            A.
              A.   Yes.
                   Yes.

15
15            Q.
              Q.   And you
                   And  youhad it it
                             had  sighted? Well, Well,
                                      sighted?    I assume that’s what
                                                         I assume  that's what

16
16    you  do,I I
      you do,   don’t know.know.
                  don't      Was it   did --
                                  Was it        have you
                                           you did
                                            --        to look
                                                          havethrough
                                                                 to look throug

17
17    a sight
      a          locate
        sightto to      the suspect?
                    locate   the suspect?

18
18            A.
              A.   No.
                   No.

19
19            Q.
              Q.   You don’t
                   You  don't    youryour
                             useuse   sights?
                                           sights?

20
20            A.
              A.   We do,
                   We  do,but only
                            but    when when
                                 only    we shoot.
                                              we shoot.

21
21            Q.
              Q.   But you
                   But  youhad it pointed
                             had          on theon
                                  it pointed     suspect?
                                                    the suspect?

22
22            A.
              A.   Yes.
                   Yes.

23
23            Q.
              4    Did you
                   Did          the the
                        youseesee    suspect comply comply
                                         suspect     with thewith
                                                              commands?
                                                                   the commands?

24
24         A.
           A.      Yes.
                   Yes.

25
25            Q.   How much
                   How  muchtime elapsed
                               time      beforebefore
                                     elapsed    you saw you
                                                         the first
                                                             saw the first


                               Officer Kristoffer
                               Officer  KristofferFerguson
                                                      Ferguson
                                      March 04,04,
                                      March       2021
                                                    2021                71
                                                                        71
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1
1     compliance, if if
      compliance,        can give
                     you you  can me an estimate?
                                   give  me an estimate?

2
2          MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,vague.vague.

3
3          THE WITNESS:
           THE  WITNESS:Less thanthan
                          Less    10 seconds.
                                       10 seconds

4
4     BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

5
5          Q.
           Q.    Okay. And
                 Okay. Andhow diddid
                            how   he comply?
                                      he comply?

6
6          A.
           A.    He raised
                 He  raisedhishis
                               hands or putorhis
                                   hands         hands
                                               put        to maybe
                                                    hisuphands  up to maybe

7
7     shoulder level,
      shoulder        kind kind
                 level,     of limp
                                  of wrists, not like completely
                                      limp wrists,    not like completely

8
8     compliant hands
      compliant       up onupthe
                   hands       onfloor
                                   the or the steering
                                       floor   or the wheel where wheel where
                                                       steering

9
9     they can
      they  canbe be
                   seen. It was
                      seen. It kind
                                was of likeof
                                    kind    just not just
                                              like   wanting to wanting
                                                           not  go      to g

10
10    on
      xi the
          theprogram     kind kind
                     but but
               program        of getting them up there
                                    of getting    them just enough just enoug
                                                        up there

11
11    so we
      so  wecould see see
              could    them them
                             in thein
                                    window. He had them
                                      the window.       up and
                                                     He had    they up and they
                                                             them

12
12    were, you
      were,     know,
              you     kind kind
                   know,    of right here buthere
                                  of right    not all
                                                   butthe wayall
                                                        not   up. the way up.

13
13         Q.
           Q.    Okay.
                 Okay. It
                       Itwas
                          wasa half
                               a half no,
                                       -- Ino,
                                            won’t
                                               I say
                                               --    that.say that.
                                                  won't

14
14    Half—hearted compliance.
      Half-hearted             It wasn’t
                      compliance.        a full compliance
                                    It wasn't              where
                                                 a full compliance where

15
15    he’s showing
      he's  showinghis his    and holding
                        handshands        them up high,
                                    and holding    them right?
                                                         up high, right?

16
16         A.
           A.    Exactly.
                 Exactly.

17
17         Q.
           Q.    You said
                 You  saida limp wrist,
                            a limp      so hisso
                                     wrist,    hands
                                                  hiswere kind were
                                                      hands     of  kind of

18
18    down, and
      down,     were
              and    his his
                  were   hands hands
                                above his shoulders
                                      above         or
                                              his shoulders or ----




19
19         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,vague.vague.

20
20    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

21
21         Q.
           Q.    -- like
                 ——  likethis? Where
                           this?     was his
                                 Where   was wrist?
                                              his wrist?

22
22         A.
           A.    I’d say
                 I'd  sayabove shoulder.
                           above  shoulder.

23
23         Q.
           Q.    The bent
                 The  bentwrist was was
                            wrist   aboveabove
                                          shoulder?
                                                shoulder?

24
24         A.
           A.    Yeah. Maybe
                 Yeah. Maybeearear
                                 level.
                                    level.

25
25         Q.
           Q.    And could
                 And  couldyouyou  from from
                               see see  your perspective if there if there
                                              your perspective


                               Officer Kristoffer
                               Officer  KristofferFerguson
                                                    Ferguson
                                      March 04,
                                      March    04,2021
                                                   2021                 72
                                                                        72
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 1
 1    was anything
      was  anythingin his hands?
                      in his   hands?

 2
 2         A.
           A.    I could
                 I  couldnotnot
                              see see
                                   anything in his in
                                       anything     hands.
                                                       his hands.

 3
 3         Q.
           Q.    Okay. If
                 Okay. If hehehad something
                                had         in hisinhands,
                                     something             would youwould you
                                                      his hands,

 4
 4    be able
      be  ableto to
                  seesee
                      it? it?

 5
 5         A.
           A.    I would
                 I wouldhave beenbeen
                          have    able able
                                        to seeto
                                               it.see it.

 6
 6         Q.
           Q.    Okay.
                 Okay.

 7
 7         A.
           A.    In his
                 In  hisleft hand.
                          left  hand.

 8
 8         Q.
           Q.    And
                 And hehedidn’t havehave
                           didn't    gloves on his on
                                          gloves    hands? Were his Were his
                                                       his hands?

 9
 9    hands gloved?
      hands   gloved?

10
10         A.
           A.    No, not
                 No,  notthat I recall.
                           that  I recall.

11
11         Q.
           Q.    So they
                 So  theywere bare?
                           were  bare?

12
12         A.
           A.    Yes.
                 Yes.

13
13         Q.
           Q.    And did
                 And  didhehe
                            have short
                               have    sleeves
                                     short     or long or
                                            sleeves     sleeves, if
                                                           long sleeves, if

14
14    you could
      you  couldtell?
                   tell?

15
15         A.
           A.    I don’t
                 I  don'trecall.
                           recall.

16
16         Q.
           Q.    Okay. So
                 Okay. So hehegets his his
                                gets    handshands
                                               up, bent
                                                    up,wrist. How
                                                        bent wrist. How

17
17    did you
      did  youtake thatthat
                take     compliance at the at
                             compliance    timethe  saw him
                                                you time    comply
                                                          you  saw him comply

18
18    in the
      in  theway he he
               way  did?did?

19
19         A.
           A.    That hehedidn’t
                 That            wantwant
                            didn't        Looked
                                      to. to.    like helike
                                               Looked    was he was

20
20    defeated, like
      defeated,      he was
                   like      he --
                        he was   didn’t
                                --      want to give
                                    he didn't   wantup,
                                                      to like he up, like he
                                                           give

21
21    didn’t want
      didn't  want   100 100
                  to to  percent commit commit
                              percent   to our commands.
                                                to our commands.

22
22         Q.
           Q.    Did you
                 Did  youtake it as
                           take  it some form of
                                     as some     taunting
                                               form       a police a police
                                                     of taunting

23
23    officer in in
      officer     anyany
                      way?way?

24
24         A.
           A.    Not necessarily.
                 Not  necessarily.

25
25         Q.
           Q.    And did
                 And  didyou, during
                           you,      this this
                                 during   engagement, did you ever
                                                engagement,    did you ever


                               Officer Kristoffer
                               Officer  KristofferFerguson
                                                    Ferguson
                                      March 04,
                                      March   04,2021
                                                   2021                 73
                                                                        73
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                          Atkinson-Baker,            CompanyCompany
                                               a Veritext
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 1
 1         A.
           A.    Yes.
                 Yes.

2
2           Q.
            Q.   Because your
                 Because      life,
                           your     the life
                                 life,   the of Mr. of
                                             life   Pina,
                                                       Mr.thePina,
                                                              life the life

3
3     of Mr.
      of Mr.Lopez
             Lopezand and
                       even even  the oflife
                             the life     the occupant
                                              of the is  in the is in the
                                                       occupant

4
4     balance, correct?
      balance,   correct?

5
5          A.
           A.    Yes.
                 Yes.

 6
 6         Q.
           Q.    I would
                 I wouldsay it’sit's
                          say            to take
                                  goinggoing   toyou lessyou
                                                  take    thanless
                                                               two than two

7
7     seconds to to
      seconds        it but
                  do do it Ibut
                              could be wrong.
                                 I could      Okay. So
                                           be wrong.SoOkay.
                                                       at   howhow
                                                        at --         --




8
8     long did
      long  didhe he
                   keep his hands
                      keep        with the
                            his hands      wrists
                                         with thebent over, bent
                                                   wrists    hands over, hands

 9
 9    down, sort
      down,  sortof of
                    up visible in compliance
                       up visible            with your with
                                     in compliance      command?
                                                             your command?

10
10    How many
      How  manyseconds, for instance,
                 seconds,             did he comply?
                            for instance,     did he comply?

11
11         A.
           A.    I would
                 I wouldsay lessless
                          say           10 seconds.
                                  than than  10 seconds.

12
12         Q.
           Q.    Okay. And
                 Okay. Andduring
                           during      time time
                                 thisthis    period, did anything
                                                   period,  did anything

13
13    occur toto
      occur    escalate the situation?
                 escalate   the situation?

14
14         MS. CLOUSE:
           MS.  CLOUSE:Objection, vague. vague.
                        'Objection,

15
15    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

16
16         Q.
           Q.    In your
                 In  yourmind.
                           mind.

17
17         A.
           A.    While hehe
                 While    hadhad
                               his his
                                    handshands
                                           up? up?

18
18         Q.
           Q.    Yes.
                 Yes.

19
19         A.
           A.    Or after?
                 Or  after?

20
20         Q.
           Q.    Well, while
                 Well,  whilehe he
                                had had
                                    his hands up, during
                                        his hands    up, that 10
                                                          during that 10

21
21    seconds, approximately
      seconds,               10 seconds.
                 approximately     10 seconds.

22
22         A.
           A.    He lowered
                 He  loweredhishis
                                hands. Is that
                                   hands.       there’s
                                           Is that      that.
                                                   -- there's
                                                            --that.

23
23         Q.
           Q.    So  atthat
                 So at      point,
                         that point,     escalated
                                   that that       the situation,
                                               escalated          in
                                                           the situation, in

24
24    your mind?
      your  mind?

25
25         A.
           A.    Yes.
                 Yes.



                              Officer Kristoffer
                              Officer            Ferguson
                                        Kristoffer    Ferguson
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                                                                           78
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1
1          Q.
           Q.    So  youdidn’t
                 So you        knowknow
                          didn't    if the
                                         ifsuspect was, you was,
                                             the suspect    know, you know,

2
2     like playing
      like  playingpossum, fakingfaking
                       possum,    it and waiting
                                         it and to get the to
                                                 waiting   officer
                                                               get the offic

3
3     close soso
      close    he he
                   could shootshoot
                      could    him? him?
                                    You didn’t
                                          You know that,know
                                               didn't     did you?
                                                              that, did you?

4
4          MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,askedasked
                                        and answered.
                                              and answered.

5
5          MR. CROWLEY:
           MR.  CROWLEY:No,No,
                            it hasn’t.
                               it hasn't.

6
6          THE WITNESS:
           THE  WITNESS:No,No,
                            that’s why wewhy
                               that's      sentwethe K9 in.
                                                   sent  the K9 in.

7
7     BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

8
8          Q.
           Q.    So after
                 So  afterthethe
                              shotshot
                                   was fired, you withdrew?
                                       was fired,     you withdrew?

9
9          A.
           A.    Correct.
                 Correct.

10
10         Q.
           Q.    So why
                 So  whydidn’t     withdraw
                               you you
                          didn't            before before
                                        withdraw   the shot the
                                                            was shot was

11
11    fired?
      fired?

12
12         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,askedasked
                                        and answered.
                                              and answered.

13
13    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

14
14         Q.
           Q.    As aa de-escalation
                 As     de-escalationprocedure.
                                          procedure.

15
15         A.
           A.    That’s not
                 That's     a de-escalation
                          not               procedure
                               a de-escalation        for us.
                                                   procedure  for us.

16
16         Q.
           Q.    Okay. But
                 Okay.       I hear
                       Butasas      your your
                               I hear     testimony, after theafter
                                                testimony,      shot the shot

17
17    was fired,
      was  fired,thethe
                     threat still still
                         threat   existed existed
                                           and then and
                                                    you withdrew
                                                         then youas withdrew a

18
18    a de-escalation
      a de-escalation procedure.
                          procedure.

19
19         A.
           A.    No.
                 No.

20
20         Q.
           Q.    No?
                 No?

21
21         A.
           A.    We withdrew
                 We withdrew to to  covercover
                                get get   now, assess
                                                now, the situation,
                                                      assess   the situation,

22
22    see how
      see  howMr.Mr.
                   Dominguez was. was.
                      Dominguez   We hadWe
                                         sent a dog
                                            had  sent  there.
                                                    up a dog up there.

23
23    After shots
      After  shotsare are
                       fired, everything
                           fired,        slows down
                                    everything      and you
                                                  slows     stepand you step
                                                         down

24
24    back and
      back  andseesee
                   whatwhat
                        you got.
                            you got.

25
25         Q.
           Q.    And part
                 And  partof of
                              your training
                                 your       and education
                                        training          is that youis that you
                                                  and education


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 1
 1    don’t dodo
      don't    that procedure
                 that         of backing
                        procedure        up and withdrawing
                                    of backing              before
                                                  up and withdrawing befor

 2
 2    the shots
      the  shotsareare
                    fired?
                        fired?

 3
 3         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,misstates the testimony.
                                       misstates    the testimony.

 4
 4    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

 5
 5         Q.
           Q.    Well, ifif
                 Well,    I’mI'm
                              misstating it, please
                                 misstating         correct me.
                                               it, please       I
                                                             correct me. I

 6
 6    don’t want
      don't  wantto to
                    misstate your testimony.
                       misstate    your testimony.

7
7          A.
           A.    Could you
                 Could     rephrase
                         you        the question
                              rephrase           or ask itoragain?
                                         the question         ask it again?

 8
 8         MR. CROWLEY:
           MR.  CROWLEY:Madam Court
                          Madam     Reporter,
                                 Court        I hate to
                                         Reporter,    I do that,
                                                        hate   to do that,

 9
 9    I’m almost
      I'm  almostdone, but if
                    done,  butyouifcanyou
                                        get can
                                             to that
                                                 get question.
                                                      to that question.

10
10         THE WITNESS:
           THE  WITNESS:YouYou
                            could ask the
                               could   asksame
                                            theone, I just
                                                 same  one, I just --
                                                                    —-




11
11         MR. CROWLEY:
           MR.  CROWLEY:I can’t even even
                          I can't     remember what it what
                                           remember    was. it was.

12
12               (Record read.)
                 (Record    read.)

13
13         THE WITNESS:
           THE  WITNESS:No. At
                        No. At that
                                thatmoment, we are
                                      moment,   we using a
                                                    are using a

14
14    technique that
      technique      we used
                  that       to apprehend
                         we used          him in thehim
                                   to apprehend          in theIf vehicle. If
                                                      vehicle.

15
15    we were
      we          runrun
          wereto to   away,away,
                             he would run out run
                                  he would    the door
                                                  out and    gone, and be gone,
                                                       thebedoor

16
16    so we
      so  wehave
              have  be in
                 to to  besomewhat close proximity.
                            in somewhat   close proximity.

17
17    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

18
18         Q.
           Q.    So before
                 So  beforethethe
                               flash bang, bang,
                                   flash    did youdid
                                                    attempt
                                                        you any type
                                                             attempt any type

19
19    of coaxing
      of  coaxingmethod to try
                    method   tototry   him get
                                  get to    out of
                                                himtheout
                                                        car?of the car?

20
20         A.    As far
                 As          we don’t
                     farasas --
                            -—            initially,
                                       so --
                                we don't             we don’t we don't
                                             so initially,
                                               —-




21
21    call people
      call  peopleout,out,
                        it’s it's
                              when other
                                   when units
                                         other    there. get
                                              getunits     All there.
                                                                we are All we ar

22
22    is containment.
      is  containment.Usually
                      Usually then whenwhen
                                then    somebody else comes
                                             somebody   elseup,comes up,

23
23    they coordinate
      they  coordinatethe arrest and get and
                          the arrest      him get
                                              out of the out
                                                   him    vehicle.
                                                              of the vehicle

24
24    Initially, we’re
      Initially,       containment,
                    we're           we are giving
                            containment,    we arethem commands,
                                                     giving  them commands,

25
25    keeping them
      keeping      in the
                 them  in vehicle. It’s not
                          the vehicle.
                                   It's  notsomething that that
                                              something    happenshappens


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 1
 1    quickly. You
      quickly.  Youdon’t wantwant
                     don't         himright
                              him out   out away.
                                             rightEverything
                                                   away. Everything

 2
 2    slows
      slowsdown once
             down    you have
                   once  you the vehicle
                              have       contained.contained.
                                   the vehicle

 3
 3         Q.
           Q.    Why
                 Why don’t
                      don'tyouyou   them them
                               wantwant  out right
                                               out away?
                                                    right away?

 4
 4         A.
           A.    Well, you
                 Well,     would
                         you     have have
                             would     sufficient units to units
                                            sufficient      make itto make it

 5
 5    happen safely
      happen        as far
               safely   as as
                           fartheasarrest, especiallyespecially
                                     the arrest,       when there’s when there's

 6
 6    multiple people
      multiple        in a in
                 people     vehicle.
                              a vehicle.

 7
 7         Q.    Well, would
                 Well,  wouldyou you     that lethal
                                  agreeagree         force is force
                                               that lethal    the   is the

 8
 8    highest level
      highest       of force
                level        a police
                        of force      officer can
                                   a police       use? can use?
                                              officer

 9
 9         A.
           A.    Yes.
                 Yes.

10
10         Q.    And that
                 And  thatit it
                              mustmust
                                    be immediate
                                        be immediate     of life, aof life, a
                                                 defense defense

11
11    situation of of
      situation    defense of life,
                      defense    of either
                                    life, self-defense or defense
                                           either self-defense    or defens

12
12    of others?
      of  others?

13
13         A.
           A.    Yes.
                 Yes.

14
14         Q.
           Q.    Would you
                 Would     agree
                         you  agree    the last
                                 it’s it's  theresort, deadly force?
                                                last resort,     deadly force?

15
15         A.
           A.    Yes.
                 Yes.

16
16         Q.    That the
                 That     circumstances
                        the             must be
                             circumstances      dire?be dire?
                                              must

17
17         A.    Yes.
                 Yes.

18
18         Q.    That the
                 That   the   of deadly
                          useuse        force force
                                 of deadly    can cause
                                                     cangreat bodily
                                                          cause   great bodily

19
19    injury oror
      injury    death?
                  death?

20
20         A.
           A.    Yes.
                 Ye5

21
21         Q.    That the
                 That     discharge
                        the         of the
                             discharge   ofcarbine within the
                                             the carbine    within the

22
22    distance between
      distance         Officer
                  between      Pina and
                           Officer      the and
                                     Pina       thewas
                                            suspect    highly was highly
                                                    suspect

23
23    likely toto
      likely    cause death?
                   cause  death?

24
24         A.
           A.    Yes.
                 Yes.

25         Q.
           Q.    That officers
                 That  officerswho who
                                   are trusted with thewith
                                        are trusted     use ofthe use of


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                               Officer  KristofferFerguson
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 11    deadly force
       deadly       mustmust
                force    show show
                              a reverence for humanfor
                                    a reverence     life?human life?

 2
 2          A.
            A.    Yes.
                  Yes.

 3
 3          Q.
            Q.    That’s what
                  That's  whatyou’ve been been
                                 you've            for, right?
                                          trainedtrained   for, right?

 4
 4          A.
            A.    Yes.
                  Yes.

 5
 5          Q.
            Q.    And you’re
                  And  you'realso trained
                                also      that ifthat
                                       trained     thereifwere any were any
                                                            there

 6
 6     other reasonable
       other            measures
               reasonable        available,
                            measures        the officer
                                        available,   themust utilize must utili
                                                          officer

7
7      them before
       them  beforethe the
                        use use
                            of deadly force; is
                                 of deadly      that correct?
                                              force;  is that correct?

8
8           A.
            A.    Yes.
                  Yes.

 9
 9          Q.
            Q.    And
                  And in
                       inyour view,
                           your     in this
                                 view,   in particular case, all case, all
                                            this particular

10
10     other reasonable
       other            measures
               reasonable        were exhausted?
                            measures    were exhausted?

11
11          A.
            A.    Correct.
                  Correct.

12
12          Q.
            Q.    In this
                  In  thiscase,
                            case,   do recall
                                do you        if thereifwasthere
                                       you recall            a warning
                                                                  was a warning

13
13     that deadly
       that  deadlyforce was going
                      force        to be used?
                             was going    to be used?

14
14          A.
            A.    I don’t
                  I  don'tknow.
                            know.

15
15          Q.    And would
                  And  would    agree
                            youyou    that that
                                    agree  an officer that discharges
                                                 an officer    that discharges

16
16     his weapon
       his  weaponis is
                     responsible for every
                         responsible    forshot?
                                             every shot?

17
17          A.
            A.    Yes.
                  Yes.

18
18          Q.
            Q.    Would you
                  Would     agree
                          you agree     the subjective
                                  that that            fear of the
                                             the subjective     fear of the

19
19     officer is is
       officer     notnot
                       sufficient to justify
                           sufficient        the use ofthe
                                         to justify     deadly
                                                           useforce?
                                                               of deadly forc

20
20          A.
            A.    Can you
                  Can  youask thatthat
                            ask     question again? again?
                                        question

21
21          Q.    The officer
                  The  officerhas has
                                   to articulate reasonable
                                       to articulate        objective objective
                                                        reasonable

22
22     facts   justify
       factstoto       the use
                 justify         deadly
                           theofuse of force in force
                                        deadly  that there’s
                                                       in that there's

23
23     imminent danger
       imminent        to experience
                  danger             great bodily
                           to experience    great harm or death.
                                                     bodily  harm or death.

24
24     That’s objective,
       That's  objective,right?
                              right?

25
25          A.
            A.    Yes.
                  Yes.



                              •• Officer
                                 Officer Kristoffer
                                          KristofferFerguson
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1
1          A.
           A.    Then ititwould
                 Then           be justified.
                            would   be justified.

2
2          Q.
           Q     Would you
                 Would     agree
                         you     if an
                             agree   ifofficer overreacts,
                                        an officer         that that that that
                                                      overreacts,

3
3     could bebe
      could    deemed excessive
                  deemed        force? force?
                          excessive

4
4          A.
           A.    If an
                 If  anofficer
                        officerdoes?
                                   does

5
5          Q.
           Q.    Yes.
                 Yes

6
6          A.
           A.    Yes.
                 Yes.

7
7          Q.    Would you
                 Would     agree
                         you     that that
                              agree    the use
                                            theof use
                                                   deadly
                                                       of force is the
                                                           deadly   force is the

8
8     most serious
      most  seriousdecision a police
                      decision       officer officer
                                  a police   can ever make?
                                                       can? ever make

9
9          A.
           A.    Yes.
                 Yes.

10
10         Q.
           Q.    And would
                 And  would    agree
                           youyou    that that
                                   agree  the reverence for life is
                                                the reverence     for life is

11
11    the foundation
      the  foundationin which deadly deadly
                         in which     force rests?
                                              force rests?

12
12         A.
           A.    Yes.
                 Yes.

13
13         Q.
           Q.    Would you
                 Would     agree
                         you  agree    the officer’s
                                 that that           authorityauthority
                                            the officer's      and      and

14
14    the right
      the  rightto to   deadly
                   use use     force force
                            deadly   is bestowed on them by on
                                             is bestowed    the them by the

15
15    people?
      people?

16
16         A.
           A.    Yes.
                 Yes.

17
17         Q.
           Q.    And that
                 And  thatthethe
                              citizens of theof
                                  citizens    community trust thattrust that
                                                the community

18
18    the police
      the  policeofficers will use
                    officers   willdeadly
                                     use force reasonably?
                                          deadly  force reasonably?

19
19         A.
           A.    Yes.
                 Yes.

20
20         Q.
           Q.    And that
                 And  thatif if
                              the the
                                   force used is
                                       force     unreasonable,
                                               used            that
                                                     is unreasonable, that

21
21    would bebe
      would    deemed a breach
                 deemed        of thatoftrust
                          a breach        thatof trust
                                                  the citizenship;
                                                         of the citizenship;

22
22    fair totosay?
      fair       say?

23
23         A.
           A.    Yes.
                 Yes.

24
24         MR. CROWLEY:
           MR.  CROWLEY:Okay. I’mI'm
                          Okay.   done.done.

25
25         MS. CLOUSE:
           MS.  CLOUSE:We We
                           cancan
                               go off
                                   go the
                                       offrecord. Before we
                                            the record.     close we close
                                                         Before


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                               Officer  KristofferFerguson
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 1
 1    quickly. You
      quickly.  Youdon’t wantwant
                     don't    him out
                                   himright
                                        out away.
                                             rightEverything
                                                   away. Everything

2
2     slows down
      slows      once
              down    you have
                    once  you the vehicle
                               have       contained.contained.
                                    the vehicle

 3
 3         Q.
           Q.    Why don’t
                 Why  don't    wantwant
                           youyou   them them
                                         out right
                                               out away?
                                                    right away?

 4
 4         A.
           A.    Well, you
                 Well,     would
                         you     have have
                             would     sufficient units to units
                                            sufficient      make itto make it

5
5     happen safely
      happen        as far
               safely  as as theasarrest,
                           far            especiallyespecially
                                    the arrest,       when there’s when there's

 6
 6    multiple people
      multiple        in a in
                 people     vehicle.
                              a vehicle.

7
7          Q.    Well, would
                 Well,  would     agreeagree
                             you you     that lethal force is force
                                               that lethal    the   is the

88    highest level
      highest       of force
                level        a police
                       of force       officer officer
                                   a police   can use? can use?

 9
 9         A.
           A.    Yes.
                 Yes.

10
10         Q.    And that
                 And  thatit it
                              mustmust
                                    be immediate defense defense
                                        be immediate     of life, aof life, a

11
11    situation of of
      situation    defense of life,
                      defense    of either
                                    life, self-defense or defense
                                           either self-defense    or defens

12
12    of others?
      of  others?

13
13         A.
           A.    Yes.
                 Yes.

14
14         Q.
           Q.    Would you
                 Would  youagree it’s it's
                             agree     the last,
                                            the resort, deadly force?
                                                 last resort,     deadly force?

15
15         A.
           A.    Yes.
                 Yes.

16
16         Q..
           Q     That the
                 That     circumstances
                        the             must be
                             circumstances      dire?be dire?
                                              must

17
17         A.
           A.    Yes.
                 Yes.

18
18         Q.
           Q.    That the
                 That   the   of deadly
                          useuse        force force
                                 of deadly    can cause
                                                     cangreat bodily
                                                          cause   great bodily

19
19    injury oror
      injury    death?
                  death?

20
20         A.
           A.    Yes.
                 Yes

21
21         Q.
           Q.    That the
                 That     discharge
                        the         of the
                            discharge    ofcarbine within the
                                            the carbine     within the

22
22    distance between
      distance         Officer
                  between      Pina and
                           Officer      the and
                                     Pina   suspect
                                                thewas highly was highly
                                                    suspect

23
23    likely toto
      likely    cause death?
                   cause  death?

24
24         A.
           A.    Yes.
                 Yes.

25
25         Q.
           Q.    That officers
                 That  officerswho who
                                   are trusted with thewith
                                        are trusted     use of
                                                             the use of


                              Officer Kristoffer
                              Officer  KristofferFerguson
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1
1     deadly force
      deadly       mustmust
               force         a reverence
                        show show        for humanfor
                                   a reverence     life?
                                                       human life?

2
2          A.
           A.    Yes.
                 Yes.

3
3          Q.
           Q.    That’s what
                 That's  whatyou’ve been been
                                you've   trainedtrained
                                                  for, right?
                                                          for, right?

4
4          A.
           A.    Yes.
                 Yes.

5
5          Q.
           Q.    And you’re
                 And  you'realso trained
                               also      that ifthat
                                     trained      thereifwere any were any
                                                           there

6
6     other reasonable
      other            measures
              reasonable        available,
                           measures        the officer
                                       available,   themust utilize must utili
                                                         officer

7
7     them before
      them  before     use of
                  the the  usedeadly force; is
                                of deadly      that correct?
                                             force;  is that correct?

8
8          A.
           A.    Yes.
                 Yes.

9
9          Q.
           Q.    And ininyour
                 And          view,
                           your     in this
                                 view,   in particular case, all case, all
                                            this particular

10
10    other reasonable
      other            measures
              reasonable        were exhausted?
                           measures    were exhausted?

11
11         A.
           A.    Correct.
                 Correct.

12
12         Q.
           Q.    In this
                 In  thiscase,
                           case,   do recall
                               do you        if thereifwasthere
                                      you recall            a warning
                                                                 was a warning

13
13    that deadly
      that  deadlyforce was going
                     force        to be used?
                             was going   to be used?

14
14         A.
           A.    I don’t
                 I  don'tknow.
                           know.

15
15         Q.    And would
                 And  would    agree
                           youyou    that that
                                   agree  an officer that discharges
                                                an officer    that discharges

16
16    his weapon
      his  weaponis is
                    responsible for every
                        responsible   forshot?
                                           every shot?

17
17         A.
           A.    Yes.
                 Yes.

18
18         Q.
           Q.    Would you
                 Would     agree
                         you     that that
                             agree     the subjective fear of the
                                            the subjective     fear of the

19
19    officer is is
      officer     not not
                       sufficient to justify
                           sufficient        the use ofthe
                                         to justify     deadly
                                                           useforce?
                                                               of deadly forc

20
20         A.
           A.    Can you
                 Can  youask thatthat
                           ask     question again? again?
                                       question

21
21         Q.    The officer
                 The  officerhas has
                                  to articulate reasonable
                                      to articulate        objective objective
                                                       reasonable

22
22    facts toto
      facts    justify the use
                 justify   theofuse
                                 deadly
                                    of force in force
                                        deadly  that there’s
                                                       in that there's

23
23    imminent danger
      imminent        to experience
                 danger             great bodily
                          to experience    great harm or death.
                                                    bodily  harm or death.

24
24    That’s objective,
      That's  objective,right?
                             right?

25
25         A.    Yes.
                 Yes.


                               Officer Kristoffer
                               Officer  KristofferFerguson
                                                    Ferguson
                                      March 04,
                                      March    04,2021
                                                   2021                 90
                                                                        90
     Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 44 of 204

                            Atkinson-Baker, a Veritext
                            Atkinson-Baker,            Company
                                              a Veritext Company
                                        wwwdepo. corn
                                       www.depo.com


1
1          A.
           A.    I couldn’t
                 I  couldn'tgivegive    specific
                                  you ayou       time. Maybe
                                           a specific   time.a Maybe a

2
2     couple minutes
      couple  minutesafter.
                         after.

3
3          Q.
           Q.    So  itwas
                 So it     after.
                         was  after.    you don’t
                                  Now, Now,       agree that
                                             you don't       the that the
                                                          agree

4
4     shot totothethe
      shot              was intended
                   headhead          to kill the
                             was intended        suspect?
                                             to kill   the suspect?

5
5          MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,assumes facts. facts.
                                       assumes

6
6          THE WITNESS:
           THE  WITNESS:I didn’t
                          I didn't    where he
                                 know know     had been
                                            where       shot. been shot.
                                                    he had

7
7     BY  MR.CROWLEY:
      BY MR.   CROWLEY:

8
8          Q.
           Q.    Well, generally,
                 Well,  generally,    in training
                                  in your         and experience,
                                          your training    and experience,

9
9     shooting somebody
      shooting          in the
                 somebody    inhead
                                 theishead
                                       intended to kill the to
                                            is intended      person,
                                                                kill the perso

10
10    right?
      right?

11
11         A.
           A.    We don’t
                 We  don'tshoot to kill
                            shoot   to kill     we shoot we
                                        anyone,anyone,    to stop
                                                             shoottheto stop the

12
12    threat.
      threat.

13
13         Q.
           Q.    Okay. Well,
                 Okay. Well, youyou   can shoot
                                 alsoalso       to disarm
                                           can shoot    to the
                                                            disarm the

14
14    person oror
      person    disable them?them?
                   disable

15
15         A.
           A.    What wewetrain
                 What           is to
                            train       to the
                                    isstop stopthreat.
                                                  the threat.

16
16         Q.
           Q.    And shooting
                 And  shootingin the
                                  in head head the
                                     the stops     threat?
                                                stops  the threat?

17
17         A.
           A.    Yes.
                 Yes.

18
18         Q.
           Q.    Permanently?
                 Permanently?

19
19         MS. CLOUSE:
           MS.  CLOUSE:Objection,
                        Objection,        calls for
                                  vague,vague,      speculation.
                                                 calls  for speculation.

20
20         THE WITNESS:
           THE  WITNESS:Like I said,
                           Like      I was I
                                 I said,       aware
                                           notwas    of aware
                                                   not  where heof where he

21
21    had been
      had  beenshot until
                 shot  until     the shooting.
                          after after   the shooting.

22
22    BY  MR.CROWLEY:
      BY MR.   CROWLEY:

23
23         Q.
           Q.    So I Ijust
                 So     justwant to know
                              want       about your
                                     to know   abouttraining. So
                                                       your training. So

24
24    you’re trained
      you're         that that
               trained     shooting someone someone
                                 shooting             inisthe
                                            in the head    an head is an

25
25    effective wayway
      effective     to stop the threat?
                        to stop   the threat?


                     Officer Alvaro
                     Officer  AlvaroLopez
                                      Lopezwith
                                         -      Confidential
                                            - with           Portions
                                                    Confidential   Portions
                                         March  01,2021
                                         March 01,  2021                      94
                                                                              94
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                EXHIBIT 3
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On-Scene Consulting
On-Scene Consulting                                                            ,




May 21,
May 21, 2021
        2021

Mr. John
Mr.       KevinCrowley,
    John Kevin   Crowley,Esq.Esq.
Law Offices
Law  Offices of
             ofJohn
                JohnKevin
                       KevinCrowley
                              Crowley
125 S.
125  S.Market
       MarketStreet,
                Street,Suite
                        Suite1200
                              1200
San Jose,
San       California95113
    Jose, California  95113



                   Federal Rules
                   Federal  Rulesofof
                                    Civil Procedure
                                      Civil         26 (a)
                                            Procedure   26(2)   (2)Report
                                                           (a)(B)   (B) Report

  JESSICA DOMINGUEZ, INDIVIDUALLY AND JESSICA DOMINGUEZ AS
    GUARDIAN AD LITEM FOR JABJAD (D(1), JAD (2), AND JAD (I),   (s),
                                                          (3), Plaintiffs,
                                                               Plaintiffs,
                                  vs.
  CITY OF SAN JOSE, SAN JOSE POLICE
                             POLICE DEPARTMENT, MICHAEL  MICHAEL PINA,
           AND DOE POLICE OFFICERS 2 through
                                          through 5, Defendants.
                                                     Defendants.
                       Case No.
                            No. 5:18-CV-04826.

Dear Mr.
     Mr. Crowley,
         Crowley,

        you for
Thank you
Thank       forretaining
                retainingme metotoanalyze
                                     analyzeand
                                              andrender
                                                   render  opinions
                                                              opinions    regarding
                                                                       regarding    thethe  September
                                                                                        September    15, 15,
2017,  shooting death
2017, shooting   deathofofMr.
                            Mr.Jacob      ArturoDominguez
                                   JacobArturo    Dominguez      at at
                                                                    Penitencia
                                                                       PenitenciaCreek
                                                                                     Creek
                                                                                         RoadRoad   at White
                                                                                                at White
Road, San
Road,       Jose,California
       San Jose,  California95127,
                               95127,bybySan SanJose Police
                                                  Jose   Police    Department
                                                                Department         Police
                                                                                Police      Officer
                                                                                        Officer      Michael
                                                                                                 Michael
Pina.  Pursuant to the
Pina. Pursuant     the requirements
                        requirementsof    ofRule
                                             Rule26,
                                                   26,I Ihave
                                                           havestudied
                                                                  studied reports,
                                                                             reports,  Santa
                                                                                     Santa    Jose
                                                                                            Jose    Police
                                                                                                 Police
Department documents,
Department    documents,BodyBodyWorn WornCamera
                                            Cameravideos,
                                                     videos,   Transcriptions
                                                                  Transcriptions  of Depositions,
                                                                                     of Depositions,andand
other material
other  material(as listed under Materials Reviewed) provided  provided to to me
                                                                              me thus
                                                                                  thusfar
                                                                                        farregarding
                                                                                            regardingthis
                                                                                                        this
case. Please
case.            advised that
       Please be advised   that ififadditional
                                     additionaldocuments
                                                documentsrelated relatedto to this
                                                                            this    matter
                                                                                 matter  areare provided,
                                                                                             provided,   it it
may be
may      necessarytotowrite
      be necessary     writea asupplemental
                                  supplementalreport
                                                  report     refine
                                                         to to refineor or  express
                                                                        express       additional
                                                                                   additional      opinions.
                                                                                               opinions.

Scott A.
Scott A. DeFoe
          DeFoe
Principal
Principal
On-Scene   Consulting,LLC
On-Scene Consulting,   LLC




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                                                         31
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On-Scene Consulting
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Materials
MaterialsReviewed:
          Reviewed:

1.
1. Proposed
   Proposed Stipulated
            StipulatedProtective
                       ProtectiveOrder,
                                  Order,Case No. 5:18-cv-04826-BLF.
                                             No. 5:18-cv-04826-BLF.

2.
2. Defendants'
   Defendants’ Interrogatories
               InterrogatoriestotoPlaintiff
                                   PlaintiffJessica
                                             JessicaDominguez,
                                                     Dominguez,  Individually
                                                               Individually andand
                                                                                as as
Guardian Ad
Guardian Ad Litem
             Litemfor
                   forJacob
                       JacobDominguez,
                             Dominguez,Jordan Dominguez
                                         Jordan Dominguez
                                                        andand Jaliyah
                                                            Jaliyah    Dominguez,
                                                                    Dominguez,
Case No. 5:18-cv-04826-BLF.
     No. 5:18-cv-04826-BLF.

3.
3. Defendants'
   Defendants’ Request
               Request for
                        forProduction
                           ProductionofofDocuments
                                          DocumentstotoPlaintiff Jessica
                                                         Plaintiff       Dominguez,
                                                                   Jessica Dominguez,
Individually, Case No. 5:18-cv-04826-BLF.
Individually,          5:1 8-cv-04826-BLF.

4.
4. Defendants’
   Defendants' Request
               Request for
                        forProduction
                           ProductionofofDocuments
                                          DocumentstotoPlaintiff Jessica
                                                         Plaintiff Jessica Dominguez,
                                                                         Dominguez, as as
Guardian Ad
Guardian AdLitem
             Litemfor
                   forJacob
                       JacobDominguez,
                             Dominguez,Jordan
                                         Jordan Dominguez,
                                              Dominguez, andand Jaliyah
                                                             Jaliyah    Dominguez,
                                                                     Dominguez,
Case No. 5:18-cv-04826-BLF.
     No. 5:18-cv-04826-BLF.

5. Report on
5. Report on the
              theFatal
                 FatalShooting
                       ShootingofofJacob
                                    JacobDominguez
                                          Dominguezonon
                                                      9/15/1 7, TheThe
                                                        9/15/17,    County
                                                                       County of Santa
                                                                           of Santa
Clara, Jeffrey
Clara, JeffreyF.F.Rosen,
                  Rosen,District
                         DistrictAttorney.
                                  Attorney.

6. Amended Complaint,
6. Amended Complaint,Case No.
                          No. 5:18-cv-04826-BLF.

7.
7. Commission
   Commission on
              onPeace
                 PeaceOfficer
                      OfficerStandards
                              Standardsand
                                        andTraining,
                                            Training,Pina, Michael
                                                       Pina, Michael  Efren,
                                                                   Efren, PostPost
                                                                               ID ID
No. B96-P92,
No.              1605-1608).
    B96-P92, (SJ 1605-1608).

8. San Jose
8. San Jose Police
            PoliceDepartment,  GO#SJSJ2017-172550757,
                   Department,GO#      2017-172550757,211211
                                                           PCPC
                                                              Armed
                                                                Armed Robbery,
                                                                    Robbery, (SJ (SJ
1795-1943).
1795-1943).

9.
9. County
   County of
          of Santa
             SantaClara,
                   Clara,Office
                          Officeofofthe
                                      theMedical
                                          MedicalExaminer,
                                                  Examiner,Report of Autopsy,
                                                             Report  of Autopsy,
Dominguez, Jacob,
Dominguez,  Jacob,Arturo,
                  Arturo,Case No. 17-030 14.
                              No. 17-03014.

10. Defendant
10. Defendant City
              Cityof
                   ofSan
                     SanJose’s
                         Jose'sFirst
                                FirstSupplemental
                                      SupplementalResponse
                                                    Responseto to PlaintiffsRequest
                                                                Plaintiffs   Requestforfor
Production of
Production ofDocuments,
              Documents,Set
                         SetTwo
                             Two(2),
                                  (2),Case No. 5:18-cv-04826-BLF.
                                           No. 5:18-cv-04826-BLF.

11.
11. Defendant
    Defendant City
              Cityof
                   ofSan
                     SanJose’s
                         Jose'sResponse
                               ResponsetotoPlaintiffs
                                            PlaintiffsRequest
                                                       Requestfor
                                                               forProduction
                                                                   Productionofof
Documents, Set
Documents, SetTwo (2), Case No.
               Two(2),          5:18-cv-04826-BLF.
                            No. 5:18-cv-04826-BLF.

12.
12. Plaintiffs
    Plaintiffs Request
               Request for Production
                           Production of
                                      ofDocuments,
                                         Documents,Set
                                                    SetOne,
                                                        One,Case No.
                                                                 No. 5:18-cv-04826-
BLF.
BLF.


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                                       Page
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13. Plaintiffs
13.            Request for
    Plaintiffs Request     ProductionofofDocuments,
                       for Production     Documents,SetSet
                                                        Two, Case No. 5:18-cv-04826-
                                                           Two,       5:18-cv-04826-
BLF.
BLF.

14. Defendant
14.            Cityof
    Defendant City  ofSan
                       SanJose’s
                           Jose'sResponse
                                  ResponsetotoPlaintiffs
                                               PlaintiffsRequest
                                                          Requestforfor
                                                                      Production of of
                                                                        Production
Documents, Set
Documents, SetOne,
                One,Case No. 5:18-cv-04826-BLF.
                              5:18-cv-04826-BLF.

15. Defendant
15. Defendant City  ofSan
               Cityof      Jose'sAmended
                       SanJose’s  Amended  Response
                                             Responseto to
                                                        Plaintiffs Request
                                                           Plaintiffs      forfor
                                                                      Request
Production  ofDocuments,
Production of  Documents,Set
                           SetOne
                               One(1),          5:18-cv-04826-BLF.
                                       Case No. 5:18-cv-04826-BLF.
                                    (1),

16.  Defendant City
16. Defendant    Cityof
                      ofSan   Jose'sResponse
                         SanJose’s   ResponsetotoPlaintiffs
                                                  PlaintiffsRequest
                                                             Requestforfor
                                                                         Specially Drafted
                                                                           Specially Drafted
Interrogatories, Set
Interrogatories,  SetOne
                      One     Case No. 5:18-cv-04826-BLF.
                           (1),
                         (jj,           5:1 8-cv-04826-BLF.

17. City of San
17. City    San Jose’s
                 Jose'sSupplemental
                         SupplementalResponse
                                        Response    Plaintiffs
                                                to to          Request
                                                      Plaintiffs       forfor
                                                                 Request   Specially
                                                                              Specially
Drafted Interrogatories,
Drafted  Interrogatories,    One
                         SetSet  (1),W,
                                One            5:18-cv-04826-BLF.
                                      Case No. 5:18-cv-04826-BLF.

18. Plaintiff Request
18. Plaintiff         forSpecially
              Requestfor  SpeciallyDrafted
                                    DraftedInterrogatories, Set Set
                                             Interrogatories,   OneOne
                                                                    (1), Case
                                                                         (1), No. 5:18-
cv-04826-BLF.

19.
19. San
    San Jose PoliceDepartment,
        Jose Police Department,Covert
                                CovertResponse Unit,
                                        Response     Operational
                                                 Unit,           Plan,Plan,
                                                       Operational     CaseCase
                                                                            No. 17-
                                                                                No. 17-
255-0757, (SJ 1944-1953).

20.
20. San Jose Police
    San Jose PoliceDepartment,
                     Department,Covert Response
                                  Covert        Unit,
                                         Response     Operational
                                                  Unit,           PlanPlan
                                                        Operational    No. 2,
                                                                           No.Case
                                                                               2, Case
    17-255-0757, (SJ
No. 17-255-0757,  (SJ 1954-1959).

21. Dispatch Audio
21. Dispatch AudioRecording,  No.1551628,
                   Recording,No.  1551628,(15:11:33).

22. 911 DispatchAudio
    911 Dispatch AudioRecording,
                       Recording,No.
                                  No.1551623,
                                      1551623,(5:07).

23. 911 DispatchAudio
    911 Dispatch AudioRecording,
                       Recording,No.
                                  No.1551624,
                                      1551624,(3:18).

24. 911 Dispatch Audio
    911 Dispatch AudioRecording,
                       Recording,No.
                                  No.1551625,
                                      1551625,(0:36).

    CAD Event
25. CAD Event Chronology, P 172580283, Code-5.
              Chronology,P172580283,   Code-S.

    Dispatch Audio
26. Dispatch AudioRecording,
                   Recording,No.
                              No.1551627,
                                  1551627,(0:35).
                                          (Q).

27.              (SJ 00189-763).
    Photographs, (SJ
27. Photographs,       189-763).


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                                        Page 33ofof3l
                                                  31
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28.
28. San
    San Jose PoliceDepartment,
        Jose Police Department,Policies,  Rules,Procedures.
                                Policies,Rules,   Procedures.

29.
29. Axon      2, X81032660,
         Body 2,
    Axon Body    X81032660,(17:00),
                            (17:00),(SJ
                                     (SJ1640).
                                         1640).

30. Axon Body
30. Axon      2, X81050171,
         Body 2, X81050171,(14:23),
                            (14:23),(SJ
                                     (SJ1641).
                                         1641).

31.
31. Axon Body 2,
    Axon Body 2, X81077398,
                 X81077398,(12:29),
                            (12:29),(SJ
                                     (SJ1642).
                                         1642).

32.      Body 2,
32. Axon Body 2, X81033659,
                 X81033659,(13:33),
                            (13:33),(SJ
                                     (SJ1643).
                                         1643).

33.      Body 2,
33. Axon Body 2, X81078201,
                 X81078201,(13:33),
                            (13:33),(SI
                                     (SJ1644).
                                         1644).

34. Axon Body
34. Axon      2, X81078225,
         Body 2, X81078225,(11:49),   (SJ1645).
                            (11:49),(51   1645).

35.
35. Axon Body 2,
    Axon Body 2, X81079156,
                 X81079156,(5:58),
                            (5:58),(SI
                                    (SJ1646).
                                        1646).

36. Axon Body
36. Axon           X81076983,(42:42),
         Body 2,2, X81076983, (42:42),(SI
                                       (SJ1647).
                                           1647).

37. Deposition Transcript
37. Deposition Transcriptof
                          ofOfficer
                            OfficerAlvaro  Lopeztaken
                                    AlvaroLopez       onon
                                                  taken  3/1/202 1.
                                                           3/1/2021.

38. Deposition TTranscript
38. Deposition              ofOfficer
                 ranscript of OfficerKristoffer
                                      KristofferFerguson
                                                 Fergusontaken onon
                                                           taken  3/4/2021.
                                                                    3/4/2021.

39.      Body 2,
39. Axon Body 2, X81077576,
                 X81077576,(12:42),
                            (12:42),(SI
                                     (SJ1610).
                                         1610).

40.      Body 2,
40. Axon Body 2, X8103 1694, (13:34),
                 X81031694,   (13:34),(SI
                                       (SJ1611).
                                           1611).

41.
41. Axon Body
         Body 2,
              2, X81093633,
                 X81093633, (2:23),(SJ
                                    (SJ1612).
                                        1612).

42.
42. Axon Body 2,
    Axon Body 2, X8105 1024, (512),
                 X81051024,   (5:42),(SJ
                                      (SJ1613).
                                          1613).

43.
43. Axon Body
         Body 2, X81049085,(i)
              2, X81049085,         (SJ1614).
                            (6:15),(SI  1614).

44.
44. Axon Body 2,
    Axon Body 2, X81077576,         (SJ1615).
                 X81077576, (3:37),(SJ  1615).

45.      Body 2,
    Axon Body
45. Axon      2, X81050544,
                 X81050544,(--4),
                            (8:24),(SJ
                                    (SJ1616).
                                        1616).

46.
46. Axon Body
         Body 2, X81093633,(±)
              2, X81093633,         (SJ1617).
                            (8:13),(SJ  1617).


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                                      Page 44ofof3131
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47. Axon Body 2, X81049210, (6:49), (Si
                                    (SJ 1618).
                                        1618).

48. Axon Body 2, X8103 1794, (0:47), (SJ 1619).
                 X81031794,              1619).

49. Axon Body 2, X81                     1620).
                     167004, (0:49), (SJ 1620).
                 X81167004,

50. Axon Body 2, X81076539,
50.                                 (SI 1621).
                 X81076539, (0:51), (SJ 1621).

51. Axon Body 2, X81051024,
51.                                 (51 1622).
                 X81051024, (0:27), (Si 1622).

52.                                 (SJ 1623).
52. Axon Body 2, X81049085, (0:33), (Si 1623).

53. Axon Body 2, X81051024,
                 X8105 1024, (8:27), (Si  1624).
                                     (SJ 1624).

                                    (51 1625).
54. Axon Body 2, X81049085, (9:31), (Si
54.                                     1625).

55.                                      1626).
55. Axon Body 2, X81050355, (54:37), (SJ 1626).

                                    (SI 1627).
56. Axon Body 2, X81063743, (5:20), (Si
56.                                     1627).

57. Axon Body 2, X81055934, (13:06), (SJ
57.                                      1628).
                                     (SI 1628).

58. Axon Body 2, X81049085,
58.              X81049085, (1:13    (SI 1629).
                            (1:13),, (SJ 1629).

59. Axon Body 2, X81049085,
59.                         (1:29), (SJ
                 X81049085, (1:29), (SI 1630).
                                        1630).

                                        1631).
60. Axon Body 2, X81051392, (3:13), (SJ 1631).
60.

61. Axon Body 2,
61.           2, X81053106, (0:27), (Si
                 X81053106, (0:27),     1632).
                                    (SI 1632).

62.                                 (SI 1633).
62. Axon Body 2, X81093635, (3:58), (SJ 1633).

63.                                 (SI 1634).
63. Axon Body 2, X81076539, (0:09), (Si 1634).

64. Axon Body 2, X81050544, (3:31), (SJ
                                    (SI 1635).
                                        1635).

                            (1:30), (Si
65. Axon Body 2, X81050544, (1:30),
65.                                 (SI 1636).
                                        1636).


                                      Page
                                      Page 55ofof3131
      Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 51 of 204

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66.           2, X81055934,
         Body 2,
66. Axon Body                          1637).
                 X81055934,(0:16), (SJ 1637).

67.      Body 2,
67. Axon Body 2, X81055934,            1638).
                 X81055934,(2:06), (SJ 1638).

68.
68. Axon          X81055934,(0:22),
         Body 2,2,X81055934,
    Axon Body                           1639).
                             (0:22),(SJ 1639).

69.
69. NVR,                 3158Penitencia,
                   CH03,3158
         Sherlock, CHO3,
    NVR, Sherlock,            Penitencia,(4:59),      1664).
                                           (4:59),(SJ 1664).

70.
70. NVR, Sherlock, CHO3,
    NVR, Sherlock,       3158Penitencia,
                   CH03,3158                         1664).
                              Penitencia,(5:00), (SJ 1664).

71.
71. NVR,                 3158Penitencia,
                   CH03,3158
         Sherlock, CHO3,
    NVR, Sherlock,                               (SI 1664).
                              Penitencia,(5:00), (SJ 1664).

72.      3164 Penitencia
72. NVR, 3164            CreekRoad,
              PenitenciaCreek  Road,(0:21), (SJ 1665).
                                            (SI 1665).

73.
73. NVR, 3164 Penitencia
    NVR, 3164 PenitenciaCreek
                         CreekRoad,         (51 1665).
                               Road,(2:26), (SJ 1665).

74.
74. NVR,                 CreekRoad,
              PenitenciaCreek
         3164 Penitencia
    NVR, 3164                               (SI 1665).
                               Road,(3:09), (SJ 1665).

75.
75. NVR,      PenitenciaCreek
         3164 Penitencia
    NVR, 3164            CreekRoad,
                               Road,(0:39), (SJ 1665).
                                            (51 1665).

76. NVR, 3164
76. NVR,                 CreekRoad,
              PenitenciaCreek
         3164 Penitencia       Road,(0:23), (SJ
                                            (SI 1665).
                                                1665).

77.      3164 Penitencia
77. NVR, 3164            CreekRoad,
              PenitenciaCreek  Road,(1:13), (SJ 1665).
                                            (SI 1665).

78.      3164 Penitencia
78. NVR, 3164            CreekRoad,
              PenitenciaCreek  Road,(0:48), (SJ 1665).
                                            (SI 1665).

79.      3164 Penitencia
    NVR, 3164
79. NVR,                 CreekRoad,
              PenitenciaCreek               (SI 1665).
                               Road,(0:02), (SJ 1665).

80.
80. NVR, 3164 Penitencia
    NVR, 3164 PenitenciaCreek
                         CreekRoad,
                               Road,(0:15), (SJ 1665).
                                            (SI 1665).

81.
81. NVR, 3164 Penitencia
    NVR, 3164 PenitenciaCreek  Road,(1:39),
                         CreekRoad,         (SI 1665).
                                     (1:39),(SJ 1665).

82.
82. NVR,      PenitenciaCreek
         3164 Penitencia
    NVR, 3164            CreekRoad,         (SI 1665).
                               Road,(0:52), (SJ 1665).

83.
83. NVR,      PenitenciaCreek
         3164 Penitencia
    NVR, 3164            CreekRoad,             1665).
                               Road,(1:45), (SJ 1665).

84. NVR, 3164
84. NVR,      PenitenciaCreek
         3164 Penitencia       Road,(1:18),
                         CreekRoad,             1665).
                                     (1:18),(SJ 1665).


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                                     Page   of 31
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85. NVR, 3164
85. NVR, 3164 Penitencia
              PenitenciaCreek
                         CreekRoad,             1665).
                               Road,(0:59), (SJ 1665).

86.
86. NVR, 3164 Penitencia
    NVR, 3164 PenitenciaCreek
                         CreekRoad,             1665).
                               Road,(1:26), (SJ 1665).

87.
87. NVR, 3164 Penitencia
    NVR, 3164 PenitenciaCreek
                         CreekRoad,
                               Road,(0:17),
                                     (0:17),(SJ 1665).

88.
88. NVR,
    NVR, 3164 PenitenciaCreek
         3164 Penitencia CreekRoad,
                               Road,(0:48),
                                     (0:48),(SJ 1665).

89. DA/Homicide Video-Audio
89. DA/Homicide Video-AudioInterview
                            InterviewofofOfficer
                                          OfficerMichael
                                                  MichaelPina, 9-16-17,
                                                           Pina,        (1:07:19).
                                                                        (1:07:19).
                                                                 9-16-17,

90.             Video-AudioInterview
    DA/Homicide Video-Audio
90. DA/Homicide             InterviewofofOfficer
                                          OfficerAlvaro
                                                  AlvaroLopez, 9-16-17,
                                                          Lopez,        (1:11:58).
                                                                 9-16-17,
                                                                        (1:11:58).

91. DAiHomicide Video-Audio
91. DA/Homicide Video-AudioInterview
                            InterviewofofOfficer
                                          OfficerKristoffer
                                                  KristofferFerguson, 9-16-17,
                                                              Ferguson,  9-16-17,
(45:07).

92.
92. Telephonic Audio-RecordedInterview
    Telephonic Audio-Recorded InterviewofofRhiannon
                                            RhiannonBorunda,
                                                     Borunda,             1666).
                                                             (23:59), (SJ 1666).

93.
93. Telephonic Audio-RecordedInterview
    Telephonic Audio-Recorded InterviewofofLeslie
                                            LeslieBradley,
                                                   Bradley,(15:14), (SJ 1667).
                                                                        1667).

94.
94. Telephonic
    Telephonic Audio-Recorded InterviewofofCarlos
               Audio-RecordedInterview      CarlosLovato,
                                                   Lovato,             1668).
                                                          (27:26), (SJ 1668).

95. Supplemental Case
95. Supplemental CaseFile,  Documents&&Medical
                      File,Documents    MedicalReports,
                                                Reports,    1672-1794).
                                                        (SJ 1672-1794).

96. San Jose
96. San Jose Police
             PoliceDepartment,
                    Department,Covert
                                CovertResponse
                                       ResponseUnit,
                                                Unit,Operational
                                                      OperationalPlan, Case
                                                                    Plan,   No.No.
                                                                          Case  17- 17-
255-0757, (SJ 1960-1966).
255-0757,     1960-1966).

97. Defendant City
97. Defendant City of
                   of San Jose'sResponse
                      SanJose’s ResponsetotoPlaintiffs
                                             Plaintiff'sRequest
                                                         RequestforforProduction
                                                                       Productionofof
Documents, Set
Documents, SetTwo
               Two(2),
                   (2),Case  No.5:18-cv-04826-BLF.
                        CaseNo.  5:18-cv-04826-BLF.

98. Supplemental Photographs
98. Supplemental PhotographsofofBlood
                                 BloodStains,
                                       Stains,Interior/Exterior of of
                                                Interior/Exterior  Car, andand
                                                                      Car,  Scene.
                                                                               Scene.

99. Miscellaneous Email
99. Miscellaneous EmailCorrespondence.
                        Correspondence.

100. Communication Log.
100. Communication Log.

101.
101. Answer to
            to Amended
               AmendedComplaint,
                       Complaint,Demand
                                  Demandfor
                                          forJury Trial,
                                               Jury      Case No.
                                                    Trial,    No. 5:18-cv-04826-
BLF.
BLF.


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On-Scene Consulting

102. Defendant City
102. Defendant City of
                    of San
                       SanJose’s
                           Jose'sAnswer
                                 AnswertotoSecond
                                            SecondAmended
                                                   AmendedComplaint;
                                                           Complaint;Demand forfor
                                                                       Demand
Jury Trial,          5:18-cv-04826-BLF.
     Trial, Case No. 5:18-cv-04826-BLF.

103. Defendant Michael
103. Defendant MichaelPina’s
                       Pina'sAnswer
                             AnswertotoSecond
                                        SecondAmended
                                               AmendedComplaint,
                                                       Complaint,Demand
                                                                  Demandforfor
Jury Trial,
     Trial, Case No. 5: 18-cv-04826-BLF.
                 No. 5:18-cv-04826-BLF.

104.
104. Deposition Transcriptof
     Deposition Transcript ofSergeant
                              SergeantMichael
                                       MichaelPina
                                               Pinataken    March
                                                         onon
                                                     taken           2021.
                                                                  3, 3,
                                                              March     2021.

            POSTBasic
California POST
California                  LearningDomains
                   BasicLearnin2      Domainsasas
                                                Follows:
                                                   Follows:
   1.
   1. #1:  "Leadership, Professionalism
       #1: “Leadership,    Professionalismand
                                           andEthics.”
                                               Ethics."
   2.
   2. #2:
       #2: “Criminal   JusticeSystem.”
           "Criminal Justice   System."
   3.  #3: “Policing
   3. #3:  "Policing in
                      in the
                          theCommunity.”
                              Community."
   4.
   4. #19:
       #19: “Vehicle
            "Vehicle Operations.”
                       Operations."
   5.
   5. #20:
       #20: “Use
            "Use of Force.”
                     Force."
   6.
   6. #21:  "Patrol Techniques.”
       #21: “Patrol Techniques."
   7.
   7. #22:  "Vehicle Pullovers.”
       #22: “Vehicle   Pullovers."
   8.  #23: “Crimes
   8. #23:  "Crimes inin Progress.”
                          Progress."
   9.
   9. #33:           and Control.”
            "Arrest and
       #33: “Arrest        Control."
   10. #35:
   10. #35: “Firearms/Chemical
            "Firearms/ChemicalAgents.”
                                    Agents."

Summary
Summary

The following
The             statementsummaries
     following statement   summariesrepresent
                                          representdocuments/statements
                                                      documents/statements    thatthat
                                                                                    were used
                                                                                       were    in in
                                                                                            used
part during
     during my
            myreview
                 reviewbut
                        butare
                             areininnonoway
                                         waymeant
                                               meant to to
                                                         bebe
                                                            exhaustive.
                                                              exhaustive. The
                                                                            Thedocuments   listed
                                                                                   documents       in in
                                                                                               listed
the Materials Reviewed Section of this this report
                                            report represent
                                                    representthe
                                                               thefull
                                                                   fulllibrary
                                                                         libraryofofdocuments
                                                                                     documents
reviewed thus
reviewed  thusfar
               farand
                   andused
                       usedasasa abasis
                                    basisfor
                                           formy
                                               myopinions.
                                                    opinions.

The below information
The below  informationisisderived
                           derivedfrom
                                    from“Report
                                         "Reportononthethe
                                                        Fatal Shooting
                                                           Fatal       of Jacob
                                                                 Shooting  of Jacob
Dominuez on
Dominguez   on9/15/17,
               9/15/17,The   CountyofofSanta
                        TheCounty       SantaClara,
                                              Clara,        F. F.
                                                       Jeffrey
                                                    Jeffrey    Rosen, District
                                                                  Rosen, District
Attorney:”
Attorney:"

 "When   Dominguezreached
 “When Dominguez         reached     North
                                  North      White
                                         White       Road,
                                                 Road,      he came
                                                        he came         to a complete
                                                                  to a complete   stop atstop  at the red
                                                                                           the red
      on eastbound
light on
light     eastboundPenitencia
                         Penitencia    Creek
                                    Creek       as CRU
                                            as CRU        approachedfrom
                                                      approached    from behind.behind.    Thedriver
                                                                                   The front    front'sdriver ‘s
door
door window
      windowwas  wasrolled    partially down.
                       rolledpartially          Officer
                                            down.        PinaPina
                                                     Officer  announced     that three
                                                                     announced     thatcars
                                                                                        threewerecars were
goingtotoinitiate
going      initiatethe
                     theVCTVCT   maneuver
                              maneuver        to apprehend
                                          to apprehend         Dominguez.
                                                          Dominguez.     OfficerOfficer
                                                                                 Pina's Pina    ‘s SUVpassed
                                                                                         SUV passed
Dominguezononthe
Dominguez          theleft
                        left side,
                           side,    then
                                 then cutcut   in front
                                           in front      ofthe
                                                    of the      stopped
                                                           stopped         car, making
                                                                     car, making   OfficerOfficer
                                                                                            Pina's Pina
                                                                                                     car ‘s car
perpendiculartotoDominguez
perpendicular         Dominguez   andand
                                       his his
                                            Kia.Kia.   Officer
                                                  Officer      Ferguson
                                                          Ferguson    stopped  his sedan
                                                                             stopped  histosedan
                                                                                             the left
                                                                                                    to the left


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                                                 Page
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On-Scene Consulting
On-Scene Consulting

of the Kia,
ofthe  Kia, and Officer Lopez pulled
                              pulled his SUV in behind it.
                                                       it. The
                                                            The Kia
                                                                Kia started
                                                                     startedto
                                                                             to back
                                                                                backup,
                                                                                     up,
and Officer Lopez pulledforward,
                   pulled forward, contacting Dominguez ‘s's car.”
                                                             car."

 “After stopping,
"After  stopping, Officer Pina immediately exited his vehicle and took cover behind the
      of Officer Ferguson ‘s's vehicle,
hood of                        vehicle, (See Opinions     1-3). Officer
                                               OpinionsJ3J.      OfficerFerguson
                                                                         Fergusonexited
                                                                                    exitedhis
                                                                                            his
vehicle and took cover behind the driver
                                      driver's‘s seat, aiming
                                                       aiming his
                                                              his rifle
                                                                  rWe atat Dominguez over
                                                                                        over the
                                                                                              the
roof        car. Officer
     of his car.
roofofhis         OfficerLopez
                         Lopez exited
                                 exitedhis
                                         his vehicle
                                              vehicleand
                                                       andtook   coverbehind
                                                           tookcover    behindthe   driver ‘sdoor
                                                                               the driver's   door
of his car.”
ofhis  car."

 “When the VCT occurred,
 "When            occurred, it was cleared this was a law enforcement operation.        All three
                                                                            operation. All   three
officers were pointing
               pointing AR-15 rifles at Dominguez and wearing tactical vests with SJPD
patches. The
          Thered/blue
               red/blueemergency
                        emergencylights
                                      lightson
                                             onOfficer
                                                OfficerLopez
                                                        Lopez's‘s car,
                                                                  car, immediately
                                                                        immediately behind
                                                                                    behindthethe
Kia, were flashing
Kia,       flashing throughout the encounter and were visible in Officer Ferguson ‘s's body  body
camera, as well as to civilian witness Carlos Lovato,
camera,                                          Lovato, who was stopped six cars back backfrom
                                                                                              from
    intersection. Sirens can be heard clearly on the bodycam video when the officers
the intersection.
exited their vehicles,             five seconds before shots were fired.”
             vehicles, as well as five                               fired"

 “As Dominguez
 "As Dominguez remained seated in      in the
                                          the Kia,
                                              Kia, and Officers
                                                        Officers Ferguson
                                                                   Ferguson and Pina
                                                                                   Pina pointed
                                                                                         pointed
their rifles at the Kia,
                    Kia, Officer Ferguson commanded,
                                              commanded, "Let“Let meme see
                                                                        see your
                                                                            your hands,
                                                                                  hands,
motherfucker."     Duringthe
motherfucker.” During       thenext
                                next1515seconds,
                                          seconds, the
                                                    theofficers
                                                        officersgave
                                                                 gaveDominguez
                                                                        Dominguezrepeated
                                                                                     repeated
warnings that if f he didn
                      didn't‘tput
                              put his hands
                                      hands up,
                                              up, "Your
                                                   “Yourgonna
                                                          gonna get
                                                                  getshot."
                                                                       shot.”Then,
                                                                               Then,Dominguez
                                                                                      Dominguez
suddenly lowered his hands and leaned         forward. Two
                                     leanedforward.      Two of
                                                              ofthe
                                                                  the officers
                                                                       officersbegan
                                                                                began frantically
                                                                                      frantically
          “Hands up!"
yelling, "Hands    up!”with    distinctlymore
                         withdistinctly    moreurgency
                                                 urgencyfor
                                                          foran
                                                              anadditional
                                                                   additionalthree
                                                                               threeseconds,
                                                                                     seconds, after
                                                                                               after
which time Officer Pina fired
                            fired two shots at Dominguez,
                                                 Dominguez, striking him once and killing him.  him.
In total,
   total, police  Ordered Dominguez to keep his hands up for
          police ordered                                                      of 18 seconds before
                                                                 for a total of
the two shots were fired.”
                      fired." (See Opinions 4-li.
                                                4-7).

 “Immediately after shots were fired,
"Immediately                     fired, Officers Ferguson and Pina continued to   to aim
                                                                                     aim their
rifle at Dominguez in the Kia,       CR U Sergeant Mauricio Jimenez arrived on the scene
                           Kia, and CRU
in his vehicle.
       vehicle. Officer Lopez deployed
                Officer Lopez deployedaaflashbang
                                           flashbang 1212 seconds
                                                           seconds after
                                                                   after the
                                                                          the shooting,
                                                                              shooting, (if
                                                                                         (if
activated, releasing smoke one second after that,
activated,                                     that, or 13 seconds after the shooting).
                                                                               shooting).
Sergeant Jimenez then observed Officers Pina and Ferguson away          from the shooting
                                                                 awayfrom
scene once he was able to establish cover for    them, aiming his rifle at Dominguez from
                                             for them,                                   from
between Officer Ferguson and Officer Lopez ‘s's cars.    Officer Pina, Officer
                                                   cars. Officer        Officer Ferguson and and
Officer Lopez
         Lopez were
                were separated immediately
                                immediately thereafter pending
                                                         pending interviews at thethe San
                                                                                      San Jose
                                                                                            Jose
Police Department.”
        Department."



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                                            Page        31
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On-Scene Consulting
On-Scene Consulting

 "Because    Dominguezwas
 “Because Dominguez       wasstill
                                stillininthe
                                           thevehicle
                                               vehicleand
                                                        andnotnot responsive
                                                               responsive        to police
                                                                             to police       instructions
                                                                                         instructions
after the
      the shooting,
           shooting,aapolice     canineunit
                        policecanine        unitwas
                                                 wascommanded
                                                      commanded        enter
                                                                   to to  enter
                                                                              thethe        to determine
                                                                                      vehicle
                                                                                  vehicle      to determine
f he
if he was
      was alive
            aliveor
                  ordead.
                     dead. Once
                             Onceititwaswasdetermined
                                              determinedthatthatDominguez
                                                                  Dominguez      was
                                                                               was     deceased,
                                                                                    deceased,    thethe scene
                                                                                                     scene
was left  untoucheduntil
     left untouched    untilthe   MedicalExaminer
                             theMedical        Examinerand andCrime
                                                                Crime Scene
                                                                          SceneUnit arrived
                                                                                 Unit         andand
                                                                                        arrived
processed thethe scene
                 sceneand    criticalevidence.
                        andcritical      evidence.During
                                                     Duringprocessing
                                                              processingoftheof thescene,
                                                                                     scene,nono
                                                                                              firearm
                                                                                                  firearm
was located
was  located ininthe  vehicleororononDominguez
                  thevehicle             Dominguez person.
                                                       's person.OnOn      passenger
                                                                      thethe passenger  seat  of the
                                                                                           seat      KiaKia
                                                                                                 of the
        folding-styleknife.”
was aafolding-style    knife."

Opinions:
Opinions:

Note: None
Note:                opinions are
       None of my opinions     are intended
                                    intendedtotousurp
                                                 usurpthe   provinceofof
                                                        theprovince     thethe
                                                                             jury
                                                                                jury    areare
                                                                                   andand   notnot
stated as
stated as ultimate  issues. Rather,
          ultimateissues.   Rather,my myopinions    involvethetheconsistency
                                         opinionsinvolve           consistency ofof
                                                                                  thethe
                                                                                      officers’
                                                                                         officers'
actions with
actions        standardpolice
         with standard  policepractices.
                                practices.
                                      Opinion Number
                                      Opinion    Number11

It is
   is my
      my opinion    reasonablelaw
          opinionaareasonable     lawenforcement
                                       enforcement   officer
                                                   officer  acting consistent
                                                              acting consistentwith
                                                                                  with  standard
                                                                                     standard
police  practiceswould
police practices         haveimmediately
                 wouldhave      immediatelymovedmovedto to          of of
                                                           a position
                                                         a position    cover  after
                                                                          cover     he exited
                                                                                 after  he exited
                                                                                              his his
vehicle  followingthe
vehicle following       initiationofofthe
                    theinitiation       theVehicle
                                            VehicleControl
                                                    Control Tactic, (VCT).
                                                               Tactic, (VCT).

It is
   is my
      my opinion,
          opinion,San
                    SanJose  PoliceDepartment
                        JosePolice   Department      Police
                                                   Police     Officer
                                                           Officer    Michael
                                                                    Michael          made
                                                                                 Pina,
                                                                             Pina,      made   a poor
                                                                                            a pç
tactical decision
tactical decisionwhen
                    whenhehemoved
                             movedtotothe
                                        thefront
                                             frontdriver’s
                                                    driver'sside quarter
                                                              side       panel
                                                                   quarter      thatthat
                                                                            panel     diddid
                                                                                           notnot
          him any
provide him
provide         anyform
                    formof
                         ofcover   fromthe
                            coverfrom    thewaist
                                              waistupupafter
                                                         afterhehe
                                                                 exited hishis
                                                                   exited   vehicle
                                                                               vehiclefollowing   the the
                                                                                          following
initiation of
initiation of the  VehicleControl
               theVehicle   ControlTactic.
                                     Tactic.

In addition,
   addition, itit isismy
                       myopinion   basedononmy
                          opinionbased         myreview
                                                     review  ofof
                                                                thethe  facts
                                                                     facts       Body
                                                                            andand   Body WornWorn      Camera
                                                                                                   Camera
(BWC)    videos,Police
(BWC) videos,         PoliceOfficer   MichaelPina
                             OfficerMichael      Pinashould
                                                         shouldhave
                                                                  have moved
                                                                          moved to atoposition
                                                                                        a positionof cover
                                                                                                        of cover
                                                                                                              to to
the rear
the rear of
         of Officer      AlvaroLopez’s
             OfficerAlvaro       Lopez'svehicle
                                           vehicletotocreate
                                                          createdistance
                                                                  distance from
                                                                              from Mr.Mr.Jacob
                                                                                            JacobDominguez
                                                                                                      Dominguez
whose vehicle
whose   vehiclewas   wasproperly   containeddue
                         properlycontained       duetotothethe
                                                             successful
                                                               successful  Vehicle
                                                                              Vehicle  Control
                                                                                          ControlTactic    thatthat
                                                                                                      Tactic
was  executedby
was executed       byPolice
                       PoliceOfficer
                               OfficerMichael
                                       MichaelPina,Pina,    Police
                                                         Police   Officer
                                                                    Officer Kristoffer
                                                                               Kristoffer     Ferguson
                                                                                          Ferguson       andand
Police Officer
Police  OfficerAlvaroAlvaroLopez.
                            Lopez.In Inaddition,     basedononmy
                                        addition,based            myreview
                                                                       review ofofthe.the      in in
                                                                                           facts
                                                                                        facts      thisthis matter,
                                                                                                         matter,
there were approximately
there were   approximately7-9    7-9additional
                                     additionalSan San Jose
                                                          JosePolice
                                                                PoliceDepartment
                                                                         Department     Covert
                                                                                           CovertResponse
                                                                                                      Response
Units  that were
Units that  wereresponding
                      respondingand
                                  andSan     JosePolice
                                       SanJose     Police   Department
                                                              Department   Uniformed
                                                                              Uniformed    Police
                                                                                               PoliceOfficers
                                                                                                          Officers
that could
     could have       respondedtotoassist
            haveresponded           assistininestablishing
                                               establishing   a perimeter
                                                                 a perimeter in the
                                                                                 in theevent  thatthat
                                                                                          event      Mr.Mr.    Jacob
                                                                                                           Jacob
Dominguez fled
Dominguez      fledon  onfoot
                          footfrom
                               fromthe
                                     thevehicle.
                                          vehicle.InInaddition,
                                                          addition,SanSanJose
                                                                            JosePolice
                                                                                   Police Department
                                                                                             Department    AirAir
Support (Fixed
Support   (FixedWing  WingAirplane)
                            Airplane)waswasproviding
                                              providing   overwatch
                                                             overwatch  of of
                                                                           thethe
                                                                                incident
                                                                                    incidentandandtheytheycould
                                                                                                             could
have requested
have  requestedaaPolicePoliceHelicopter
                               Helicopterininthe
                                               theevent
                                                    event  Mr.Mr.  Jacob
                                                                Jacob   Dominguez
                                                                           Dominguez     fledfled
                                                                                               from from
                                                                                                       the the
vehicle and
vehicle       theOfficers
         and the      Officerson
                               onthe   groundwould
                                  theground      would  need
                                                           needassistance
                                                                  assistance with  thethe
                                                                                with     establishment
                                                                                             establishment   of aof a
perimeter.
perimeter.


                                                 Page 10 of
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                                                            31
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On-Scene Consulting
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In addition,
   addition, by
              by safely
                  safelymoving
                         movingback
                                  backtotoa aposition
                                              positionofof
                                                         cover
                                                           coverit would
                                                                   it wouldhave  allowed
                                                                              have        Police
                                                                                    allowed  Police
Officer Michael
Officer  MichaelPina,
                   Pina,Police
                          PoliceOfficer
                                 OfficerKristoffer
                                          KristofferFerguson
                                                       Ferguson andandPolice
                                                                        PoliceOfficer
                                                                                 Officer Alvaro
                                                                                      Alvaro
Lopez to
Lopez  to establish
          establishaaContact
                        Contactand
                                andCover
                                     CoverOfficers.
                                              Officers.The
                                                         TheContact
                                                              ContactOfficer
                                                                         Officercould
                                                                                   could have
                                                                                       have    been
                                                                                            been
the jy
the only Officer
          Officertotoissue
                      issuecommands
                            commandstotoMr.  Mr.Jacob
                                                  JacobDominguez
                                                         Dominguez    while
                                                                        whilethethe Cover
                                                                                 Cover      Officers
                                                                                        Officers
provided Lethal
provided  Lethal and
                   andLess
                        LessLethal
                             LethalCover.
                                     Cover.By  Byhaving
                                                   havinga adesignated
                                                             designatedCoverCover   Officer
                                                                                 Officer    negates
                                                                                         negates
any issue  of multiple
    issue of  multiplePolice
                         PoliceOfficers
                                Officersissuing
                                           issuingpossible
                                                    possibleconflicting
                                                              conflictingverbal   commands
                                                                             verbal  commands
simultaneously.
simultaneously.

I base
  base my
       my opinion
           opinionononCalifornia
                       CaliforniaPolice
                                  PoliceOfficer
                                         OfficerStandards  andand
                                                    Standards   Training
                                                                   Training        Learning
                                                                             (POST),
                                                                          (POST).     Learning
Domain
Domain No.No. 23-Crimes
              23-CrimesininProgress.
                            Progress.Chapter
                                       Chapter3: 3: Responding
                                                  Responding  to to Specific
                                                                 Specific     Crimes
                                                                           Crimes in in
Progress,
Progress, 3-5:
           3-5:

Establish a Contact Officer and Cover Officers:
                                      Officers:

Contact Officer:
         Officer:
The roles
The roles and
           and responsibilities
                responsibilitiesofofeach
                                      eachofficer
                                            officerinvolved
                                                      involved  in in
                                                                    a high-risk  vehicle
                                                                       a high-risk       pullover
                                                                                    vehicle pullover
must be
must be clear.   The Contact Officer:
         clear. The
   • Conducts
       Conducts thethe business
                       businessofofthe
                                     thepullover,
                                         pullover,
   • Directs
       Directs the
                the driver
                     driverand
                            andoccupants(s)
                                 occupants(s)ofofthe  thetarget
                                                           targetvehicle,
                                                                    vehicle,
   • Takes
       Takes necessary
              necessaryactions
                           actionsrelated
                                    relatedtotothe
                                                 theinvestigation
                                                      investigation   (e.g.,
                                                                        (e.g.,         identification,
                                                                               obtaining
                                                                             obtaining    identification,
       searching suspects,
       searching   suspects,etc.).
                              etc.).

        Officers:
Cover Officers:
It is
   is general
      general responsibility
               responsibilityofofanyanycover
                                         coverofficers  called
                                                 officers      to to
                                                          called  assist thethe
                                                                     assist   primary  officer
                                                                                 primary  officer  at the
                                                                                               at the
scene of aa high-risk
scene       high-riskvehicle
                        vehiclepullover
                                  pulloverto:to:
     • Protect
        Protect the
                 the primary
                     primaryofficer
                                 officerwho
                                         whoisisconducting
                                                  conductingthethe  business
                                                                  business   of of
                                                                                thethe pullover,
                                                                                    pullover,
     • Take
        Take and
              and maintain
                   maintainproper
                                properpositions
                                        positionsofofcover
                                                       coverand
                                                              andconcealment,
                                                                   concealment,
     • Maintain
        Maintain their
                   their firearms
                          firearmsatatthe
                                        theready,
                                            ready,andand
     • Maintain
        Maintain visual
                   visual contact
                            contactwith
                                     withthe
                                           thevehicle
                                                vehicleoccupant(s)
                                                         occupant(s)    allall
                                                                     at at     times,
                                                                            times,
     • Avoid
        Avoid aa crossfire
                  crossfiresituation.
                              situation.

Communications Between Officers:
                               Officers:
In order
   order to
          to ensure
             ensureofficer
                     officersafety
                             safetyand
                                    andhelp
                                         helpensure
                                                ensureananappropriate
                                                            appropriateoutcome,
                                                                         outcome, the the
                                                                                       primary
                                                                                          primary
officers and
officers and cover
               coverofficers
                     officersmust
                               musteffectively
                                     effectivelycommunicate
                                                  communicate   with
                                                                  withoneone
                                                                           another.
                                                                              another.Appropriate
                                                                                         Appropriate
communication involves:
communication      involves:
       Advising the
    • Advising     the primary
                       primaryofficer
                                officerofofany
                                            anycritical
                                                 criticaloccurrences
                                                           occurrencesor or
                                                                         safety  issues,
                                                                            safety  issues,
    • Avoid inappropriate
                inappropriateinterruptions
                               interruptionsand,
                                               and,
    • Avoid giving
                giving directions
                        directionswhich
                                   whichconflict
                                           conflictwith
                                                     withthose given
                                                           those givenbybythethe
                                                                              primary
                                                                                 primary officer.
                                                                                            officer.
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                                            Page
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On-Scene Consulting
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In addition,
   addition, IIbase  myopinion
                basemy    opinionononCalifornia Police Officer Standards and Training
(POST). Learning Domain No.
(POST),                       No. 23-Crimes in Progress,
                                                  Progress. Chapter 2: 2: Basic Tactical
Considerations, Tactical Approach:
                            Approach: Peace
                                       Peace officers
                                              officers should
                                                        should always
                                                                 alwaysbe beaware
                                                                             awareofof
surrounding objects
surrounding                areasthat
               objectsororareas       maybebeutilized
                                 thatmay              forfor
                                               utilized    cover or or
                                                             cover  concealment.
                                                                       concealment.

Cover:
  • Anything
      Anything that
                  that may
                       maystop
                            stoporordeflect
                                     deflectananopponent’s
                                                 opponent'sbullets.
                                                                bullets.
  • Should
      Should bebe used
                   usedwhen
                        wheninvolved
                               involvedininananarmed
                                                 armedencounter
                                                          encounter if possible.
                                                                       if possible.
  • The
      The type
            type of
                 of cover
                    coverwill
                           willdepend
                                dependon onthe
                                             thetype
                                                  typeofoffirearm received,
                                                            firearm  received,(firearm, shotgun,
      rifle).
      rifle).


In addition,  bymoving
   addition, by  movingtotoaaposition
                               positionofofcover,
                                            cover,it it
                                                     would
                                                        would have allowed
                                                                have        Police
                                                                      allowed       Officer
                                                                               Police  Officer
Michael Pina,
Michael   Pina, Police
                PoliceOfficer
                       OfficerKristoffer
                                KristofferFerguson
                                             Ferguson   and Police
                                                          and       Officer
                                                               Police       Alvaro
                                                                      Officer       Lopez
                                                                               Alvaro  Lopezto to
slow down
slow  down and
             andde-escalate
                 de-escalatethe
                              thesituation
                                  situationbybyutilizing
                                                  utilizingeffective verbal
                                                             effective      strategies
                                                                        verbal         andand
                                                                               strategies   de de-
escalation techniques.
escalation  techniques.

Defusing
Defusing isis aaprocess
                processof ofreducing
                              reducingthe
                                        thepotential
                                             potentialforfor violence
                                                           violence andand  bringing
                                                                         bringing     emotional
                                                                                   emotional      level
                                                                                              level
to a manageable
     manageablelevelleveltotorestore
                              restoreorder.
                                      order.The
                                              Theprimary
                                                     primaryobjective is to
                                                              objective     calm
                                                                         is to    thethe
                                                                               calm   person so that
                                                                                         person  so that
a conversation
  conversation cancantake
                      takeplace
                             placeand
                                    andthe
                                         theuse
                                             useofofforce
                                                      force
                                                          cancan
                                                               bebe avoided.
                                                                  avoided.

In addition,
   addition, IIbase
                basemy
                     myopinion
                          opinionononmymytwenty
                                           twentyeight
                                                   eightyears ofof
                                                          years   lawlaw
                                                                       enforcement
                                                                          enforcement   experience
                                                                                           experience
where II have
where    havebeen
               beeninvolved
                     involvedininvehicle
                                   vehiclepursuits
                                            pursuitsand
                                                      andvehicle pullovers
                                                           vehicle   pulloversas Primary
                                                                                  as PrimaryOfficer,
                                                                                               Officer,
Secondary Officer,
Secondary    Officer,and
                      andaaSupervisor.
                             Supervisor.InInaddition,
                                             addition,I have
                                                         I havereceived
                                                                 received andandprovided
                                                                                   providedtraining
                                                                                              training
   Pursuit Policy,
on Pursuit  Policy,Pursuit
                     PursuitTactics,
                              Tactics,Post-Pursuit
                                       Post-Pursuit Tactics
                                                      Tacticsand
                                                               andContainment.
                                                                     Containment.    In In
                                                                                        addition, I I
                                                                                           addition,
have conducted
have conductedoverover(5.)   VehiclePursuit
                        (50)Vehicle    PursuitInvestigations
                                                Investigationsduring
                                                                 duringmymy lastlast
                                                                                  14 14
                                                                                      years as aas a
                                                                                         years
Supervisor with
Supervisor   withthe
                   theLos
                       LosAngeles
                            AngelesPolice
                                      PoliceDepartment.
                                             Department.InInaddition,
                                                                addition,     a Los
                                                                          as as  a LosAngeles  Police
                                                                                         Angeles  Police
Department    Sergeant11+1
Department Sergeant      II+1atatMetropolitan
                                  MetropolitanDivision
                                                 Division K9K9
                                                             Platoon,
                                                                Platoon,I responded
                                                                           I responded     to hundreds
                                                                                        to hundreds
of Vehicle
   Vehicle Pursuits
             Pursuitsthroughout
                      throughoutallallgeographical
                                       geographical  patrol divisions
                                                       patrol divisions    assist
                                                                       to to       with
                                                                               assist  with
containment, perimeter
containment,   perimetertactics
                           tacticsand
                                   andultimately
                                        ultimatelyK9K9searches.
                                                         searches.


In addition,
   addition, IIbase
                basemy
                     myopinion
                          opinionononmy
                                      mytwenty-eight
                                          twenty-eight    years
                                                            yearsofof
                                                                   lawlaw
                                                                        enforcement
                                                                           enforcement  experience
                                                                                            experience
where II responded
where                   thousandsofofcalls
         respondedtotothousands        callsforforservice
                                                    serviceand have
                                                             and     effectively
                                                                  have            utilized
                                                                        effectively  utilizeddefusing
                                                                                                defusing
techniques, de-escalation
techniques,   de-escalationtechniques,
                             techniques,verbal
                                          verbalstrategies,    and
                                                     strategies,   active
                                                                 and       listening
                                                                      active          skills
                                                                              listening       to to
                                                                                          skills
reduce the
reduce  the potential
             potentialfor
                       forviolence
                           violenceand
                                     andbring
                                         bringthetheemotional
                                                        emotionallevel of of
                                                                   level       incident
                                                                          thethe         to ato a
                                                                                  incident
manageable
manageable level.
              level.




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On-Scene Consulting
On-Scene Consulting

In addition,
   addition, IIbase  myopinion
                basemy   opinionononSan  SanJose
                                              JosePolice Department,
                                                    Police  Department,  Policies. Rules,
                                                                           Policies,  Rules,
Procedures.,      2602.5Tactical
Procedures., LL2602.5     TacticalConduct,
                                     Conduct,8/15/16,
                                                 8/15/16,(SJ(SJ1046-1047):
                                                                  1046-1047):Department
                                                                                Department members
                                                                                              members
are expected
are expected totouse  tacticsthat
                  usetactics   thatare
                                     areconsistent
                                          consistentwith
                                                      withSanSanJose Police
                                                                   Jose     Department
                                                                        Police Department  andand
California
California P.O.S.T.    Commissiontraining
            P.O.S.T.Commission                    standards.Department
                                        trainingstandards.      Department members
                                                                             members  shall consider
                                                                                         shall consider
the following   relevanttactical
    followingrelevant               considerationsinin
                          tacticalconsiderations       any
                                                         any situation  where
                                                                situation     an an
                                                                          where   officer reasonably
                                                                                     officer reasonably
believes the
believes      useof
          the use     physicalforce
                   ofphysical    forcemaymaybecome
                                               become necessary:
                                                        necessary:

COVER,      CONCEALMENT,DISTANCE,
COVER, CONCEALMENT,               DISTANCE,AND    AND     TIME:
                                                       TIME:    Department
                                                                   Department   members
                                                                                   members shall
                                                                                               shall
consider tactically
consider              advantageousobjects
           tacticallyadvantageous      objectsand/or
                                               and/orpositions
                                                        positions   their
                                                                 at at     disposal
                                                                       their         prior
                                                                              disposal      to and
                                                                                        prior   to and
during
during aa force  encounter. The
          force encounter.    Theproper
                                  properuse        cover,concealment,
                                           useofofcover,   concealment,    distance,
                                                                             distance,andand
                                                                                           thethe
                                                                                                simple
                                                                                                   simple
passage  of time
passage of   timethrough
                   throughnegotiation
                            negotiationandandde-escalation
                                               de-escalation areare
                                                                  allall
                                                                      tactics
                                                                         tactics    may
                                                                              thatthat   helphelp
                                                                                       may      a a
Department
Department member       avoidand/or
               memberavoid     and/orminimize
                                        minimizethethe  use
                                                      use ofof  physical
                                                             physical    force.  Officers
                                                                            force.  Officersshall
                                                                                               shall
consider   tacticallyrepositioning
consider tactically   repositioningthemselves
                                      themselvesif if doing
                                                    doing      cancan
                                                           so so    be be
                                                                        accomplished
                                                                           accomplished  safely
                                                                                             safely
                                                                                                 andand
may  assist in
may assist   in dc-escalating  thesituation.
                de-escalatingthe   situation.

In addition,
   addition, IIbase myopinion
                basemy opinionononthe
                                    thefollowing facts
                                         following     and
                                                   facts   testimony
                                                         and         in this
                                                              testimony      matter:
                                                                        in this matter:

    • According  toPolice
      According to PoliceOfficer
                          OfficerAlvaro
                                  AlvaroLopez,
                                         Lopez,they felt
                                                 they    that
                                                      felt    thethe
                                                           that    vehicle waswas
                                                                     vehicle   blocked
                                                                                  blocked
     in, (DepositionTranscript
     in, (Deposition    TranscriptofofAlvaro    Lopez,Page
                                       AlvaroLopez,      Page  35).
                                                             35).
   • At 1:00,         Body2,2,(SJ
               AxonBody
         1:00, Axon                  1641),Police
                               (SJ1641),    PoliceOfficer
                                                     OfficerMichael
                                                              Michael Pina
                                                                         Pinacancanbe be
                                                                                      observed
                                                                                         observed
     standing  at the
     standing at   thefront  quarterpanel
                       frontquarter   panelofofOfficer
                                                OfficerKristoffer
                                                          KristofferFerguson’s
                                                                      Ferguson's   vehicle
                                                                                     vehiclein an
                                                                                               in an
     “open air
     "open      environment"thai
            air environment”    thatdoes   notprovide
                                      doesnot    providehim
                                                          himany
                                                               any cover
                                                                     coverfrom
                                                                            from thethe
                                                                                      waist  up.up.
                                                                                         waist
   • According
     According to to Sergeant  MichaelPina,
                     SergeantMichael      Pina,hehepositioned
                                                    positioned himself
                                                                  himself   thethe
                                                                         byby     front tiretire
                                                                                     front    andand
     wheel, (Deposition
     wheel,                 TranscriptofofMichael
             (DepositionTranscript         MichaelPina,
                                                      Pina,Page
                                                            Page 75).
                                                                    75).


Lastly, II base
Lastly,         myopinion
           basemy   opinionononmy     twentyeight
                                 mytwenty      eightyear law
                                                      year lawenforcement
                                                                 enforcement career where,
                                                                                career     as aas a
                                                                                       where,
Supervisor,
Supervisor, IIhave   investigatedover
                haveinvestigated    over100100Use
                                                Useofof
                                                      Force
                                                        ForceIncidents     well
                                                                        as as
                                                                Incidents        as being
                                                                              well  as being
personally   involvedininthe
personally involved       theuse       lethaland
                              useofoflethal   andless than
                                                   less    lethal
                                                        than      force
                                                              lethal     incidents.
                                                                     force  incidents.

                                       Opinion Number 22

It is
   is my opinionthat
      my opinion         Defendantsincluding
                   thatDefendants     including San  Jose
                                                   San    Police
                                                       Jose       Department
                                                              Police DepartmentPolice Officer
                                                                                   Police Officer
Michael   Pinafailed
Michael Pina               formulatea atactical
                failedtotoformulate      tactical plan
                                                plan       a position
                                                        from
                                                     from              of cover
                                                               a position       immediately
                                                                          of cover  immediately
following  thesuccessful
following the                VehicleControl
                successfulVehicle      Control Tactic
                                                 Tactic  that
                                                      that waswasexecuted
                                                                   executed   Police
                                                                           by by     Officer
                                                                                 Police Officer
Michael          PoliceOfficer
          Pina, Police
Michael Pina,             OfficerKristoffer
                                  KristofferFerguson
                                               Ferguson     Police
                                                          and
                                                        and         Officer
                                                                Police       Alvaro
                                                                       Officer       Lopez.
                                                                                Alvaro Lopez.
Law Enforcement
     EnforcementOfficers
                    Officersare
                             aretrained
                                  trainedtotowork
                                               worktogether and
                                                     together   function
                                                              and         as aasteam.
                                                                    function     a team.   order
                                                                                        In In order
to ensure         safetyand
          officersafety
   ensure officer        andtotoensure
                                 ensureananappropriate
                                              appropriateoutcome,
                                                           outcome,thethe
                                                                       primary
                                                                          primary officers andand
                                                                                     officers
cover officers
cover officersmust   effectivelycommunicate
                musteffectively   communicatewith  withone another.
                                                         one another.Appropriate
                                                                       Appropriate


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On-Scene Consulting
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communication     involvesadvising
communication involves                theprimary
                            advisingthe    primaryofficer ofof
                                                    officer      critical
                                                            anyany        occurrences
                                                                    critical          or safety
                                                                             occurrences  or safety
       as well
issues as
issues          asthe
          well as  thefollowing:
                       following:

Plan of Action:
   • Officers           discusssafety
                shoulddiscuss
      Officers should                  factorsasaswell
                                safetyfactors      wellasas
                                                          possible plans
                                                            possible  plans   taking
                                                                          forfor     actions.
                                                                                 taking actions.
   • Plans  may include
      Plans may            coordinationofofwho
                  includecoordination        whowill
                                                  willtransmit radio
                                                        transmit     traffic.
                                                                 radio  traffic.
   • Appropriate
      Appropriate use
                    use of escalationofofforce.
                        ofescalation      force.

Poor or No
        No Plannin2:
            Planning:
  • Rushing           thesituation
                into the
      Rushing into        situationwithout
                                    withoutany     planofofaction.
                                             anyplan         action.
  • Failure   to establish
      Failure to  establishplan   ofaction
                             planof  actionprior
                                             priortotoengaging
                                                       engaging  thethe
                                                                      suspect.
                                                                        suspect.
  • Not considering      alternativeactions.
           considering alternative   actions.

Inappropriate Attitude:
              Attitude:
   • Careless
     Careless or
              or complacent.
                 complacent.
   • Overconfident.
     Overconfident.
   • Too  aggressive.
     Too aggressive.

Officers   mustapproach
Officers must   approachevery   contactwith
                         everycontact    withofficer safety
                                               officer      in in
                                                       safety  mind.
                                                                  mind.Complacency,
                                                                         Complacency,
                  poorplanning,
overconfidence, poor
overconfidence,        planning,ororinappropriate
                                      inappropriatepositioning
                                                     positioning    leave
                                                                cancan    officers
                                                                       leave       vulnerable
                                                                             officers vulnerable
to attack.
   attack.

The   tactical plan
The tactical    planshould
                      shouldhave     outlinedverbal
                              haveoutlined       verbalskills
                                                          skills(defusing
                                                                   (defusing andanddc-escalation
                                                                                      de-escalation
techniques) and
techniques)    andLess    LethalForce
                    LessLethal     Forceoptions
                                            optionssuch
                                                      such as:as:
                                                                empty
                                                                   empty hands,
                                                                           hands,  physical
                                                                                      physical strength
                                                                                                   strengthandand
compliance     techniques,soft
compliance techniques,                 hardhand
                             softororhard     handtechniques,
                                                    techniques,    thethe
                                                                        X-26
                                                                          X-26 Electronic
                                                                                   ElectronicControl
                                                                                                  ControlDevice
                                                                                                              Device
(ECD)    Taserwith
(ECD) Taser      withananeffective
                          effectiverange
                                      rangeofof7-15
                                                  7-15feet  and
                                                         feet   andmaximum
                                                                      maximum    range
                                                                                    rangeof 21-25
                                                                                            of 21-25  feet,feet,
Ballistic  Shield,K9,
Ballistic Shield,    K9,Pepper
                         PepperBall       Launcherwith
                                  BallLauncher         witha maximum
                                                              a maximum    effective
                                                                               effectiverange
                                                                                            rangeof 60of feet,
                                                                                                         60 feet,
Sage   37/40mmwith
Sage 37/40mm               maximumeffective
                    withaamaximum         effectiverange
                                                      range ofofapproximately
                                                                   approximately         feet,feet,
                                                                                    100100       ASP!ASP/baton,
                                                                                                             baton,
Oleoresin    Capsicum“OC”
Oleoresin Capsicum       "OC"spray
                                spraywithwithananeffective
                                                    effective  range
                                                                 range ofof
                                                                          2-152-15feet, Noise
                                                                                     feet, Noise Flash   Device
                                                                                                     Flash   Device
(NFD),    baton or
(NFD), baton      orthe  deploymentofofthe
                     thedeployment           the870
                                                 870Remington
                                                       Remington      12-Gauge
                                                                        12-Gauge   Shotgun
                                                                                      Shotgun  with   a Drag
                                                                                                   with    a Drag
Stabilized   12-GaugeBean
Stabilized 12-Gauge             BagRound.
                          BeanBag      Round.The  TheDrag       Stabilized12-Gauge
                                                       DragStabilized          12-Gauge   Round
                                                                                             Round  is ais a
translucent 12
translucent   12 Gauge
                  Gaugeshell    loadedwith
                          shellloaded      witha a40-Gram
                                                    40-Gram    tear  shaped
                                                                  tear  shaped bagbag
                                                                                    mademadefrom    a cotton
                                                                                                 from    a cotton
and ballistic
      ballistic material  blendand
                materialblend    andfilled      with#9#9shot.
                                        filledwith         shot.TheThedesign
                                                                         design utilizes  four
                                                                                   utilizes  fourstabilizing
                                                                                                     stabilizing
tails and smokeless
tails and               powderasasthe
           smokelesspowder            thepropellant.
                                           propellant.The        roundhas
                                                          Theround        hasa velocity
                                                                               a velocity of of270270
                                                                                                    feetfeet
                                                                                                          perper
second   (FPS)with
second (FPS)             maximumeffective
                  withaamaximum        effectiverange
                                                   range ofof7575 feet.
                                                                     feet.

The Taser isis an
The Taser      anElectronic   ControlledDevice
                   ElectronicControlled  Device(ECD)
                                                 (ECD)as as
                                                         defined
                                                            defined  thethe
                                                                 by by   manufacturer,
                                                                             manufacturer,
Axon.
Axon. It
      It is
         is a handheld,
                handheld, battery operatedtool
                          batteryoperated  toolwhich  usescontrolled
                                                whichuses   controlledelectrical current
                                                                        electrical current
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                                                Page
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On-Scene Consulting
On-Scene Consulting

designed to
designed   to disrupt
              disruptaaperson’s
                         person'ssensory    andmotor
                                    sensoryand   motornervous
                                                          nervoussystem
                                                                    system bybymeans
                                                                                 meansof of
                                                                                          deploying
                                                                                             deploying
electrical energy
electrical energysufficient
                    sufficienttotocause
                                   causetemporary
                                          temporaryuncontrolled
                                                       uncontrolled  muscle
                                                                       muscle contractions,
                                                                                contractions,or or
Neuro   MuscularIncapacitation,
Neuro Muscular     Incapacitation,(“NMI”).
                                      ("NMI").As Asaaresult,
                                                       result,the
                                                                theelectrical
                                                                    electricalenergy
                                                                                energycan  override
                                                                                         can  override
the person’s
    person's voluntary
               voluntary motor
                           motorresponses
                                  responsesfor
                                             fora abrief
                                                    briefduration.
                                                           duration.The
                                                                      TheuseuseofofTaser
                                                                                    TaserECDECD
deployment resulting
deployment     resultingininNMI
                             NMImaymayprovide
                                         providea brief
                                                  a briefopportunity
                                                           opportunity during  which
                                                                          during       physical
                                                                                   which   physical
restraint procedures
restraint procedurescancanbe beinitiated
                                initiatedwhenever
                                          wheneverpractical.
                                                      practical.

In addition,
   addition, in
              inthe
                  theevent     thatMr.
                       eventthat         JacobDominguez
                                    Mr.Jacob    Dominguez    fled  onon
                                                                fled   foot from
                                                                         foot  fromthethe
                                                                                       vehicle,   the the
                                                                                           vehicle,
involved San
involved   San Jose
                 JosePolice
                       PoliceDepartment
                                DepartmentPolice
                                              PoliceOfficer
                                                       OfficerMichael
                                                                 Michael Pina,  Police
                                                                            Pina,       Officer
                                                                                    Police  Officer
Kristoffer Ferguson
Kristoffer  Fergusonand   andPolice
                               PoliceOfficer
                                       OfficerAlvaro
                                                AlvaroLopez,
                                                         Lopez,  could
                                                                   couldestablish
                                                                           establisha perimeter
                                                                                       a perimeterwithwith
the assistance
the assistance of ofthe
                     theapproximately
                          approximately7-9  7-9additional
                                                additionalSan San  Jose
                                                                 Jose  Police  Department
                                                                          Police  Department       Covert
                                                                                               Covert
Response Units
Response    Unitstotoinclude
                        includeaaK9K9Officer
                                        Officerthat
                                                 thatwere
                                                      were responding
                                                             responding  andand
                                                                              SanSan   Jose
                                                                                    Jose      Police
                                                                                          Police
Department    UniformedPolice
Department Uniformed          PoliceOfficers    thatcould
                                      Officersthat    couldhave
                                                              have   responded
                                                                  responded    to to  assist.
                                                                                  assist.  In In  addition,
                                                                                               addition,
San Jose
San  Jose Police
           PoliceDepartment
                    DepartmentAir   AirSupport,
                                        Support,(Fixed
                                                   (FixedWing
                                                            Wing  Airplane)
                                                                    Airplane)waswasproviding
                                                                                       providing
overwatch of
overwatch    of the
                 theincident
                      incidentandandthey
                                     theycould
                                           couldhave
                                                   haverequested
                                                         requested  a Police
                                                                      a PoliceHelicopter
                                                                                 Helicopter in the  event
                                                                                                in the  event
Mr. Jacob
Mr.  Jacob Dominguez
            Dominguezfled    fledfrom
                                  fromthe
                                        thevehicle
                                             vehicleand
                                                      andthethe
                                                              Officers
                                                                 Officersonon
                                                                            thethe
                                                                                 ground   would
                                                                                     ground   wouldneedneed
assistance with
assistance  withthetheestablishment
                         establishmentofofa aperimeter.
                                               perimeter.

One helicopter
One  helicopter in
                 inthe
                    theair
                        aircan
                            cancover
                                coverasasmuch
                                          muchterritory (more
                                                territory (morequickly)
                                                                  quickly)   12 12
                                                                          as as officers in in
                                                                                   officers
patrol cars
patrol cars on
            on the
                theground.
                    ground. The   primaryfunction
                             Theprimary    functioncontinues
                                                     continuestotobebe
                                                                     that ofof
                                                                       that  support  forfor
                                                                                support
ground units.
ground  units.

In addition.
   addition, IIbase myopinion
               basemy   opinionononCalifornia
                                    CaliforniaPOST
                                               POST         Domain
                                                     Learning
                                                   Learning        No.No.
                                                              Domain   22-Chapter 3: 3:
                                                                          22-Chapter
High-Risk Vehicle
High-Risk    VehiclePullovers,
                     Pullovers,3-3:
                                3-3:

Officer Reactions:
Officer Reactions:

Because of
Because   of the
              the elevated
                   elevatedlevel
                            levelofofpotential
                                      potentialdanger
                                                danger along
                                                         alongwith thethe
                                                                 with  unpredictable  responses
                                                                          unpredictable   responses
of vehicles
   vehicles occupants
              occupantsassociated      withhigh-risk
                          associatedwith             vehicle
                                             high-risk vehiclepullovers, patrol
                                                                 pullovers,     officers
                                                                            patrol       cancan
                                                                                   officers
encounter aa multitude
encounter      multitudeofofdifferent
                             differentpersonal
                                        personalemotions
                                                  emotions or or
                                                              reactions.
                                                                 reactions.

In order
   order to
          to prepare
             preparefor
                      forsuch
                          suchresponses
                               responsesand
                                         andprevent them
                                              prevent    from
                                                      them     compromising
                                                            from            officer
                                                                 compromising  officer
safety, officers
safety, officerscan:
                  can:

    •   Discuss hypothetical
        Discuss  hypotheticalsituations
                                 situationswith
                                              withtheir
                                                    theirpartners, ahead
                                                           partners,  ahead
                                                                          ofof  time.
                                                                             time.
    •   Have aa plan
        Have    plan ofof action
                          actionprior
                                  priortotoinitiating
                                            initiatingthe
                                                        thevehicle
                                                            vehiclepullover.
                                                                      pullover.
    •   Obtain appropriate
        Obtain  appropriateongoing
                               ongoingtraining
                                          trainingininadvance
                                                       advance to to
                                                                   maintain
                                                                     maintainskill levels.
                                                                                skill levels.
    •   Work as
              as aa team.
                     team.
    •   Maintain communication
        Maintain   communicationwith  withdispatch
                                             dispatchandandother involved
                                                             other         officers.
                                                                    involved   officers.


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On-Scene Consulting
On-Scene Consulting

    • Rely
      Rely on
           on known
              knowntactics
                    tacticsand
                            andprocedures
                                procedureswhile
                                           whilealso remaining
                                                  also         flexible
                                                       remaining        enough
                                                                  flexible     to to
                                                                           enough
      adapt or
      adapt or improvise
               improviseififnecessary.
                             necessary.
    • Exercise
      Exercise emotional   restraintand
                emotionalrestraint   andself-control.
                                         self-control.

   addition, IIbase
In addition,    basemy
                     myopinion
                         opinionononCalifornia
                                        CaliforniaPolice
                                                      Police Officer
                                                               OfficerStandards
                                                                        Standardsandand
                                                                                     Training
                                                                                         Training
(POST). Learning
(POST),   LearningDomain
                     DomainNo.No.23,
                                   23,Chapter
                                           Chapter2: 2:
                                                      Basic
                                                        Basic Tactical
                                                                TacticalConsiderations
                                                                          Considerations Approach,
                                                                                             Approach,
Establishing aaPerimeter,
Establishing     Perimeter,(2-9):
                            (2-9):ItItisisthe
                                            theresponsibility
                                                 responsibility ofof
                                                                   thethe
                                                                       primary  officer
                                                                          primary       to initiate
                                                                                   officer          the the
                                                                                            to initiate
coordination of
coordination   ofsecurity
                  securityand
                           andcontainment
                               containmentofofthethe    crime
                                                          crime scene.
                                                                  scene.This
                                                                          Thiscan bebe
                                                                                can  done  by by
                                                                                        done
establishing aaperimeter
establishing     perimetercompletely
                           completelysurrounding
                                           surrounding   thethe
                                                              area
                                                                areainvolved.
                                                                      involved.

The establishment
The establishmentof       secureperimeter
                     ofaasecure  perimetermay
                                            maybebeessential to to
                                                     essential   safely resolve
                                                                   safely       thethe
                                                                           resolve  crime in in
                                                                                       crime
progress     to contain
         or to
progress or     containaasuspect.
                           suspect.Establishing
                                    Establishinga aperimeter:
                                                    perimeter:

    •   Contains and
        Contains  and isolates
                       isolatesthe
                                thecrime
                                     crimescene.
                                           scene.
    •   Prevents the
        Prevents      suspectfrom
                  the suspect  fromescaping
                                      escapingthe
                                                thearea.
                                                     area.
    •   Prevents unauthorized
        Prevents  unauthorizedentry
                                 entryonto
                                        ontothe
                                              thearea.
                                                  area.
    •   Can aid
        Can aid in
                in apprehending
                    apprehendingthe thesuspect.
                                        suspect.

There are
There are two
           twotypes
               typesof  perimetersatata acrime
                     ofperimeters          crimescene: inner perimeter
                                                  scene:     perimeter and outer
perimeter:
perimeter:

Inner Perimeter:
Inner Perimeter:

   • Immediate
     Immediate area
               areaaround
                    aroundthe
                           theincident
                               incident(e.g.,
                                         (e.g.,private residence,
                                                 private          commercial
                                                         residence, commercial
        establishment, vehicle,
        establishment, vehicle,etc.).
                                etc.).

Outer Perimeter:
Outer Perimeter:

   • Area
     Area surrounding
          surroundingthe  theinner
                              innerperimeter.
                                    perimeter.
   • Established  to further
     Established to   furthercontain
                              containand
                                       andisolate
                                            isolatethe
                                                     thecrime
                                                          crime scene.
                                                              scene.

The outer
The  outer perimeter
           perimetermaymayaidaidininapprehension
                                     apprehensionif ifthethe
                                                           suspect manages
                                                             suspect manages to breach the the
                                                                                to breach   inner
                                                                                                inner
perimeter, providing
perimeter,  providingprotection
                        protectionandandcover
                                         coverforforinner
                                                      innerperimeter officers,
                                                             perimeter         providing
                                                                        officers,        traffic
                                                                                  providing   traffic
control, assisting
control, assistingininpublic
                       publicsafety.
                               safety.

In addition,
   addition, IIbase
                basemy
                    myopinion
                       opinionononCalifornia
                                   CaliforniaPolice  Officer
                                                Police       Standards
                                                       Officer         andand
                                                               Standards   Training
                                                                              Training
(POST), Learning
(POST),   LearningDomain
                    DomainNo.
                            No.21-Chapter
                                 21-Chapter2: 2:Patrol
                                                 PatrolMethodologies
                                                        Methodologiesandand
                                                                          Tactics, 2-45:
                                                                            Tactics,  2-45:

Plan of
Plan of Action:
        Action:
   • Officers
      Officers should
                shoulddiscuss
                        discusssafety  factorsasaswell
                                safetyfactors      wellasas
                                                          possible plans
                                                            possible      forfor
                                                                      plans   taking actions
                                                                                 taking actions
      in situations
         situations involving
                     involvingfleeing
                               fleeingsubjects.
                                       subjects.
   • Plans
      Plans may
             may include
                  includecoordination
                           coordinationofofwho
                                            whowill
                                                  willtransmit radio
                                                        transmit     traffic.
                                                                 radio  traffic.
            V
                                            Page 16 of 31
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On-Scene Consulting
On-Scene Consulting

    • Appropriate
      Appropriate use
                  useof  escalationofofforce.
                      ofescalation      force.

Working with
Working  withPartner:
                Partner:
  • If partner
       partner officers
                  officersstay   togetherduring
                           staytogether              footpursuit,
                                          duringa afoot   pursuit,there
                                                                    there   a greater
                                                                         is is         likelihood
                                                                               a greater  likelihood
     that aa safe
             safe and   successfuloutcome
                   and successful   outcomewill
                                              willoccur.
                                                    occur.
       officers become
  • If officers             separated,officers
                  becomeseparated,      officersshould
                                                 shouldreevaluate
                                                          reevaluate thethe
                                                                          level
                                                                             level riskrisk
                                                                                of of    before
                                                                                            before
     continuing the
     continuing     thepursuit.
                        pursuit.

   addition, IIbase
In addition,    basemy opinionononCalifornia
                    myopinion      CaliforniaPolice
                                               PoliceOfficer
                                                      OfficerStandards
                                                               Standards    Training
                                                                        andand Training
(POST). Learning
(POST),             DomainNo.
          LearningDomain    No.21-Chapter
                                 21-Chapter1:1:Basic
                                                Basic  Concepts
                                                     Concepts      Law
                                                                of of   Enforcement
                                                                      Law  Enforcement
Patrol. 1-21:
Patrol  1-21:

Inappropriate Attitude:
Inappropriate    Attitude:
   • Careless   or complacent.
      Careless or  complacent.
   • Overconfident.
      Overconfident.
   • Too
      Too aggressive.
           aggressive.
Poor or
Poor or No
        No Planning:
            Planning:
   • Rushing
      Rushing into
                into the  situationwithout
                      thesituation  withoutany     planofofaction.
                                              anyplan        action.
   • Failure
      Failure to  establishplan
              to establish   planof
                                  ofaction
                                     actionprior
                                             priortotoengaging
                                                       engaging       suspect.
                                                                 thethe suspect.
   • Not considering     alternativeactions.
          considering alternative    actions.

As set
As set forth
       forth in    POSTLearning
               in POST    LearningDomain
                                      Domain22,22,“Officers      trained
                                                            areare
                                                    "Officers             to to
                                                                    trained  work  together
                                                                                work         andand
                                                                                      together
function  as aa team.
function as      team. In  order totoensure
                       In order       ensureofficer  safetyand
                                             officersafety  andtotoensure
                                                                      ensureanan
                                                                               appropriate
                                                                                 appropriate
outcome,         primaryofficers
           theprimary
outcome, the               officersand   coverofficers
                                     andcover   officers must
                                                       must  effectively
                                                                effectivelycommunicate
                                                                              communicate withwith
                                                                                                oneone
          Appropriate communication
another. Appropriate
another.                  communicationinvolves        advisingthe
                                             involvesadvising     theprimary
                                                                       primaryofficer of of
                                                                                officer  anyany
                                                                                              critical
                                                                                                 critical
occurrences or
occurrences    or safety
                   safetyissues.”
                          issues."


In addition,
   addition, II base
                basemymyopinion
                          opinionononCalifornia
                                         CaliforniaCommission
                                                      Commission    onon  Peace
                                                                        Peace    Officers
                                                                                    Officers    Standards
                                                                                            Standards
and Training,
     Training, Student
                 StudentMaterials,
                          Materials,Learning
                                        LearningDomain,
                                                    Domain, No.No.21-Chapter
                                                                     21-Chapter   1: Basic
                                                                                  1:  Basic Concepts
                                                                                             Concepts of   of
      EnforcementPatrol,1-22:
Law Enforcement
Law                   Patro1,1-22:The Theelement
                                            elementofofofficer safety
                                                         officer  safetyrefers
                                                                           refersto the  practical
                                                                                     to the  practical
application  oftactically
application of   tacticallysound
                            soundprocedures
                                     procedurestotoperform
                                                      perform lawlawenforcement
                                                                       enforcement    activities  in ainsafe
                                                                                         activities       a safe
and effective   mannertotoinclude
     effective manner       includethe theutilization
                                           utilizationofof
                                                         available
                                                           available resources.
                                                                        resources.   Some
                                                                                        Someof of
                                                                                                thethe
available resources
available  resourcesininthis   situationcan
                          thissituation    caninclude
                                                includecalling
                                                         callingforfor
                                                                     backup
                                                                        backupofficers,    waiting
                                                                                   officers,   waitingfor for
and deploying
and  deployingbackup       officers;remaining
                  backupofficers;     remaininginina position
                                                      a positionofofadvantage,
                                                                       advantage,  cover,   andand
                                                                                        cover,
concealment;     callingfor
concealment; calling         K-9and
                         forK-9   andPolice
                                         PoliceHelicopter,
                                                 Helicopter,   issuing
                                                            issuing   commands
                                                                         commands     andand
                                                                                           verbalization
                                                                                               verbalization
        positionof
from aa position
from                  cover;using
                   ofcover;   usingless-than-lethal
                                      less-than-lethal and other
                                                         and  othertactics  thatthat
                                                                      tactics     officers   are are
                                                                                       officers  trained
                                                                                                      trained
to use in these
   use in these situations.
                  situations.
                                               Page 17
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On-Scene Consulting
On-Scene Consulting

    addition, IIbase
In addition,     basemy
                      myopinion
                          opinionononmy
                                      mytwenty
                                           twentyeight  years
                                                    eight  yearsof of
                                                                   lawlaw
                                                                        enforcement
                                                                          enforcement  experience
                                                                                           experience
      Los Angeles
as aa Los AngelesPolice
                     PoliceDepartment
                            DepartmentSergeant
                                          Sergeant 11+1
                                                     II+1   Metropolitan
                                                         at at MetropolitanDivision
                                                                               Division
                                                                                      K9 K9    Platoon,
                                                                                           Platoon,
  respondedtotohundreds
I responded       hundredsofofperimeters
                               perimetersthroughout
                                            throughout allall
                                                            geographical
                                                               geographicalpatrol  divisions
                                                                               patrol divisions
                                                                                              to to
assist with
assist       containment,perimeter
        with containment,   perimetertactics
                                       tacticsand
                                                andultimately
                                                     ultimately K9K9 searches.
                                                                       searches.In In addition,
                                                                                    addition,    most
                                                                                              most
of the
    the K9  searchesinvolved
        K9 searches   involvedthe
                                theassistance
                                    assistanceofofananAir Unit(s).
                                                        Air  Unit(s).

   addition, IIbase
In addition,    basemy
                    myopinion
                       opinionononthe
                                    thefollowing
                                         following facts
                                                 facts   and
                                                       and    testimony:
                                                           testimony:

        1:00, Axon
   • At 1:00, AxonBody
                   Body2,2,(51
                            (SJ1641),
                                1641),Police
                                       PoliceOfficer
                                              OfficerMichael
                                                      MichaelPina cancan
                                                               Pina      observed
                                                                      be be observed
       standing at
       standing    at the
                        thefront
                             frontquarter
                                   quarterpanel          OfficerKristoffer
                                             panelofofOfficer       Kristoffer   Ferguson’s
                                                                                    Ferguson's        vehicle
                                                                                                   vehicle       in an
                                                                                                              in an
       “open air
       "open   air environment”
                    environment"that   thatdoes
                                             doesnot notprovide
                                                         providehim   him anyany   cover
                                                                                cover       from
                                                                                         from    thethe   waist
                                                                                                       waist   up. up.
   •   According
       According to    to Police
                           PoliceOfficer
                                   OfficerAlvaro
                                             AlvaroLopez,
                                                       Lopez,hehebelieves
                                                                       believes     that
                                                                                 that      there
                                                                                       there    werewere(10)(n)
       surveillance Officers
       surveillance       Officersthere,
                                    there,(Deposition
                                            (DepositionTranscript
                                                               Transcript  ofofAlvaro
                                                                                  Alvaro  Lopez,
                                                                                              Lopez, PagePage98).98).
   •   According to
       According       to Police
                           PoliceOfficer
                                   OfficerKristoffer
                                             KristofferFerguson,
                                                           Ferguson,    if if
                                                                            ananoccupant
                                                                                   occupant    of of  a vehicle
                                                                                                   a vehicle    doesdoes
           agree to
       not agree    to exit
                         exitaavehicle,
                                 vehicle,they
                                           theywill
                                                 willbring
                                                        bringK9K9up,up,     (Deposition
                                                                         (Deposition           Transcript
                                                                                           Transcript      of of
       Kristoffer Ferguson,
       Kristoffer    Ferguson,Page Page48).48).
   •   According to
       According       to Police
                           PoliceOfficer
                                   OfficerKristoffer
                                             KristofferFerguson,
                                                           Ferguson,    in in
                                                                            thethepast
                                                                                     past
                                                                                        theytheyhavehave
                                                                                                       used    rubber
                                                                                                            used   rubber
       bullets, (Deposition
       bullets,                    TranscriptofofKristoffer
                 (DepositionTranscript               KristofferFerguson,
                                                                   Ferguson,     Pages
                                                                                    Pages 50-5   1).
                                                                                              50-51).
   •   According to
       According       to Police
                           PoliceOfficer
                                   OfficerKristoffer
                                             KristofferFerguson,
                                                           Ferguson,    rubber
                                                                           rubber  bullets
                                                                                      bullets cancancompel
                                                                                                       compel
       compliance from
       compliance        fromnon-compliant         subjects,(Deposition
                                non-compliantsubjects,           (Deposition    Transcript
                                                                                   Transcript   of of   Kristoffer
                                                                                                    Kristoffer
       Ferguson, Page
       Ferguson,     Page52). 52).
   •   According to
       According       to Police
                           PoliceOfficer     KristofferFerguson,
                                   OfficerKristoffer       Ferguson,    hehe waswasgoing
                                                                                      going      deploy
                                                                                             to to   deploythethe
                                                                                                                Flash
                                                                                                                    Flash
       Bang based
       Bang   based on   onthe
                             theway
                                 waythat
                                       thatMr.
                                             Mr.Jacob
                                                  JacobDominguez
                                                           Dominguez       waswas   behaving
                                                                                 behaving           in the
                                                                                                in the       vehicle,
                                                                                                         vehicle,
       (Deposition Transcript
       (Deposition       Transcriptof ofKristoffer
                                          ICristoffer Ferguson,
                                                         Ferguson,  Page Page80).80).
   •   According to
       According       to Police
                           PoliceOfficer     KristofferFerguson,
                                   OfficerKristoffer       Ferguson,    hehe waswasgoing
                                                                                      going  to to
                                                                                                 deploy
                                                                                                     deploythethe   Flash
                                                                                                                Flash
       Bang because
       Bang   because peoplepeopledodonot
                                        notlike
                                             likeititand
                                                      andit itscares
                                                                scaresthem
                                                                         them  andand   after
                                                                                     after      that,
                                                                                            that,   theythey
                                                                                                           say,say,
       “okay it’s
       "okay        pretty serious”
               it's pretty    serious" and
                                        andput     theirhands
                                              puttheir    handsup,  up,(Deposition
                                                                          (DepositionTranscript
                                                                                             Transcript   of of
       Kristoffer Ferguson,
       Kristoffer    Ferguson,Page Page81).81).
   •   According to
       According       to Sergeant    MichaelPina,
                           SergeantMichael       Pina,hehebelieves
                                                               believes    that
                                                                        that      there
                                                                               there  werewere            (n)
                                                                                                   at least
                                                                                               at least   (10)
       Officers on
       Officers   on thethe surveillance
                             surveillanceofofMr.      JacobDominguez,
                                                Mr.Jacob        Dominguez,      (Deposition
                                                                                   (Deposition        Transcript
                                                                                                   Transcript    of of
       Michael Pina,
       Michael    Pina, PagePage33).
                                  33).
   •   According to
       According       to Sergeant
                           SergeantMichael
                                      MichaelPina,
                                                 Pina,ififsomeone
                                                             someone    will
                                                                           willnotnot  come
                                                                                    come      out,out,
                                                                                                    youyoucancan
       attempt to
       attempt   to dc-escalate
                     de-escalatethe  thesituation.     Startslowly
                                          situation.Start       slowlyintroducing
                                                                          introducingforce  force     options,
                                                                                                   options,
       whether itit isis breaking
       whether            breakingout       windowtotointroduce
                                     outaawindow           introduce    gasgasto to   them
                                                                                  getget  them to to
                                                                                                   comecome outout
                                                                                                                 of of
       the vehicle.
           vehicle. You could  could use
                                      use an
                                           anNFD.
                                               NFD. K9  K9 isis the   lastoption,
                                                                 the last   option,(Deposition
                                                                                       (DepositionTranscript
                                                                                                           Transcript
       of Michael
          Michael Pina, Pina,Pages
                               Pages46-48).
                                      46-48).
   •   According to
       According       to Sergeant
                           SergeantMichael
                                      MichaelPina,
                                                 Pina,hehebelieves
                                                               believes that
                                                                           thata barking
                                                                                  a barking   dogdogcould
                                                                                                       could    be used
                                                                                                             be used
          get aa person
       to get    person out  outof    car,(Deposition
                                 ofaacar,   (DepositionTranscript
                                                              Transcript   ofofMichael
                                                                                  Michael   Pina,
                                                                                               Pina,PagePage49).49).

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                                                         of31
                                                            31
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On-Scene Consulting
On-Scene Consulting

    • According  to Sergeant
      According to  SergeantMichael
                              MichaelPina,
                                        Pina,during
                                               duringthethe surveillance
                                                          surveillance of of
                                                                          Mr.Mr. Jacob
                                                                              Jacob
      Dominguez   theycalled
      Dominguez they    calledininAir
                                   AirSupport,
                                       Support,(Deposition Transcript of Michael Pim,.
                                                                                    Pina,
             58).
        Page 58).
    •   According  to Sergeant
        According to  SergeantMichael
                               MichaelPina,        recallssomeone
                                        Pina,heherecalls          in in
                                                            someone  hishis Unit
                                                                         Unit callcall
                                                                                   for for
                                                                                        a a
        Flash Bang,
        Flash Bang, (Deposition Transcript of Michael Pina, Page 93).
                                                                    93).

Lastly, In addition,
Lastly, In addition,I Ibase
                        basemy
                             myopinion
                                  opinionononmymytwenty
                                                    twentyeight  year
                                                             eight     lawlaw
                                                                    year    enforcement
                                                                               enforcement career
                                                                                              career
whereas aa Supervisor,
whereas     Supervisor,I Ihave
                           haveinvestigated
                                 investigatedover
                                                over100
                                                      100UseUse  Force
                                                              ofof Force Incidents
                                                                            Incidents  as well
                                                                                    as well  as as
being personally
being personallyinvolved
                   involvedininthe
                                theuse
                                    useofoflethal
                                             lethaland less
                                                     and    than
                                                         less     lethal
                                                               than       force
                                                                     lethal     incidents.
                                                                             force incidents.

                                            Opinion Number 33

It is
   is my   opinionthat
      my opinion     thatififPolice
                              PoliceOfficer
                                       OfficerMichael
                                                 Michael  Pina,
                                                             Pina, Police
                                                                      PoliceOfficer
                                                                                Officer   Kristoffer
                                                                                       Kristoffer         Ferguson
                                                                                                      Ferguson
and Police
      Police Officer
              OfficerAlvaro
                        AlvaroLopezLopezusedusedreasonable
                                                   reasonable   and  proper
                                                                   and  proper  police
                                                                                  policetactics   as outlined
                                                                                            tactics   as outlinedin in
Opinions 1-21-2 of this
                    this report
                          report and
                                   andififMr.
                                           Mr.Jacob      Dominguezfailed
                                                JacobDominguez             failedto to respond
                                                                                     respond    to to  proper
                                                                                                    proper    dede-
escalation and
escalation    anddefusing
                   defusingtechniques
                               techniquesand  andremained
                                                    remained       hishis
                                                               in in   vehicle
                                                                           vehicleandand
                                                                                       refused
                                                                                           refused     to submit
                                                                                                   to submit    to to
arrest, he
arrest,  he should
             shouldhave
                      havebeen      treatedasasa apossibly
                             beentreated            possibly armed
                                                                 armed barricaded
                                                                          barricaded  subject
                                                                                          subjectandand    a request
                                                                                                       a request
should   have been
should have     beenmade
                       madetotothe theSan
                                       SanJose
                                             JosePolice
                                                    PoliceDepartment
                                                            Department      Special   Weapons
                                                                                Special   Weapons    andand
                                                                                                          Tactics
                                                                                                              Tactics
Team (SWAT)/Crisis
Team    (SWAT)/CrisisNegotiation
                             NegotiationTeam             respond.SWAT
                                             Teamtotorespond.         SWATareare   a highly
                                                                                      a highly trained
                                                                                                   trainedandand
competent tactical
competent     tacticalteam
                        teamthat
                               thatspecifically
                                      specificallytrains
                                                     trainsforforarmed
                                                                    armed subjects
                                                                             subjects whowhobarricade
                                                                                                barricade
themselves and
themselves     andpossibly
                    possiblyposeposeextreme
                                       extremedanger         thethe
                                                   dangerto to     community.
                                                                      community.     The
                                                                                       The    actions
                                                                                           actions    of of  first
                                                                                                         first
responders can
responders     canmean
                    meanthe thedifference
                                 differenceofofwhether
                                                   whethera barricaded
                                                              a barricaded    subject
                                                                                 subjectis taken
                                                                                            is takenintointo  custody,
                                                                                                          custody,
without    escalationof
without escalation     ofan analready
                                alreadydifficult      situation.Handling
                                          difficultsituation.       Handlingbarricaded
                                                                                  barricaded      subjects
                                                                                              subjects        requires
                                                                                                           requires
special   tools and
special tools    andexpertise,
                      expertise,which
                                    whichcomes
                                             comesfromfrom   specialized
                                                           specialized     training.
                                                                               training.TheThe    Special
                                                                                              Special        Weapons
                                                                                                         Weapons
and Tactics
and   Tactics (SWAT) team is      is equipped
                                     equipped and      trainedtotoresolve
                                                 andtrained           resolvethese
                                                                                 thesebarricaded
                                                                                         barricaded      subject
                                                                                                      subject
situations. A barricaded subject is
situations.                              is defined within the following limited criteria:   criteria:
A.
A. The subject isispossibly
   The subject      possiblyarmed;
                             armed;and
                                    and

B.
B. The   subject isisbelieved
    The subject      believedtotohave
                                  havebeen
                                        beeninvolved
                                              involvedinin
                                                         a criminal
                                                           a criminal
                                                                    act;act;
                                                                          or or
                                                                             is aispotential
                                                                                    a potential threat
                                                                                             threat
to the
to the lives of citizens
       lives of citizensand/or
                          and/orpolice;
                                  police;and
                                          and

C.
C. The  subject isis in
   The subject        inaaposition
                           positionofofadvantage,
                                        advantage,affording  him
                                                     affording  himcover and/or
                                                                     cover      concealment.
                                                                           and/or  concealment.
The subject isis contained
The subject       containedininananopen
                                    openarea
                                          areaand      presence
                                               andthethe presenceor or
                                                                    approach of police
                                                                       approach  of police  officers
                                                                                        officers
could precipitate
could precipitatean      adversereaction;
                     anadverse    reaction;and
                                            and

D. The
D.     subject refuses
   The subject  refusestotosubmit
                            submittotoarrest.
                                       arrest.

Initial response
Initial  responseby
                  byofficers   onscene
                      officerson   sceneisisextremely
                                               extremelyimportant.
                                                          important.That
                                                                     Thatresponse
                                                                           response
                                                                                  cancan
                                                                                      be be broken
                                                                                         broken
down into
down    into four
             fourareas
                  areasreferred           the"Tactical
                        referredtotoasasthe                 C’s.”
                                             “Tactical Four C's."

A. Containment
A.

                                                 Page 19
                                                      19 of
                                                          of31
                                                             31
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On-Scene Consulting
On-Scene Consulting

B.
B. Control
   Control

C. Communicate
C. Communicate

D.
D. Call
   Call SWAT.
        SWAT.

The Crisis
The Crisis Negotiation
           NegotiationTeam
                       TeamStructure  willtypically
                            Structurewill           consist
                                            typically       of of
                                                      consist  thethe
                                                                   following:
                                                                      following:

A.
A. Primary
   Primary Negotiator
           Negotiator

B.
B. Secondary
   Secondary Negotiator
             Negotiator

C.
C. Coach
   Coach or
         or Supervisor
            Supervisor

D. Intelligence Coordinator
D. Intelligence Coordinator

E.
E. Mental
   Mental Health
          Health Professional
                 Professional

The Primary
The   PrimaryNegotiator
                Negotiatorshallshalltypically
                                     typicallyreport       thethe
                                                  reporttoto     Incident
                                                                   IncidentCommander
                                                                              Commander  andand
                                                                                              receive   an an
                                                                                                  receive
appropriate briefing
appropriate    briefingasastotowhat
                                whattranspired
                                       transpiredprior
                                                     priorto to
                                                              hishis
                                                                   or or
                                                                      herher
                                                                          arrival. The
                                                                             arrival.   Primary
                                                                                      The  Primary
Negotiator shall
Negotiator          beresponsible
              shallbe  responsiblefor  forthe
                                            theinitial
                                                 initialcontact
                                                          contact andandensuing
                                                                          ensuingnegotiations
                                                                                   negotiationsunless  the the
                                                                                                   unless
role     changed during
      is changed
role is            duringthethenegotiation
                                 negotiationprocess.
                                                process.The ThePrimary
                                                                   PrimaryNegotiator
                                                                             Negotiatorshould
                                                                                          shouldattempt
                                                                                                   attemptto to
do the
    the following
         following once
                     onceheheororshe
                                   shehas
                                        hasestablished
                                             establisheddialogue:
                                                              dialogue:

A. Attempt to
A. Attempt to put
              put the
                   thesubject
                       subjectatatease.
                                   ease.

B.
B. Keep
   Keep communications
        communicationsopen.
                       open.

C.
C. Elicit useful information.
   Elicit useful  information.

D. Achieve aa safe
D. Achieve    safe surrender
                   surrenderof
                             ofthe
                                thesubject
                                    subjectwith
                                            withdignity.
                                                  dignity.

The Primary
The PrimaryNegotiator
            Negotiatorshould
                       shouldbebeaware
                                  awareofofthethefollowing important
                                                   following         principles:
                                                             important  principles:

A. Listen
A. Listen actively
          activelytotoeffectively
                       effectivelyunderstand
                                   understandwhat
                                              whatis is
                                                      being said
                                                        being    andand
                                                              said    thethe
                                                                          various underlying
                                                                             various underlying
meanings and
meanings andmessages.
             messages.

B.
B. Give the subject
   Give the         feedbacksosoasastotoassure
            subjectfeedback              assurethem
                                                 them that
                                                    that   you
                                                         you            their
                                                               understand
                                                             understand       messages.
                                                                           their messages.

C.
C. Be empathetic.
      empathetic.

D.
D. Understand whatisisbeing
   Understand what     beingsaid
                             saidand
                                  andwhat
                                      whatmessage
                                           messageis is
                                                     really being
                                                        really     given.
                                                               being  given.

E. Find hopes,
E.      hopes, hooks-expand
               hooks-expandoptions.
                            options.

F. Speak slowly
F. Speak slowly and
                and clearly.
                    clearly.
                                              Page 20
                                              Page  20ofof3131
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On-Scene Consulting
On-Scene Consulting

G.
G. Ask about suicide.
   Ask about suicide.

H.
H. Consider
   Consider basic
            basichuman
                  humanneeds.
                        needs.

I.
I. Beware of suicide
   Beware of suicideby
                     bycop.
                        cop.


The Secondary
The SecondaryNegotiator
                 Negotiatorisisresponsible
                                responsibleforformonitoring
                                                  monitoringthethe
                                                                negotiations so as
                                                                   negotiations so to
                                                                                    as give
                                                                                       to give
feedback to
feedback  to the
              thePrimary
                 PrimaryNegotiator
                         Negotiatorregarding         following:
                                       regardingthethe following:

A. Tempo.
A. Tempo.

B.
B. Inflection.
   Inflection.

C. Trigger words.
C. Trigger words.

D.
D. Interpretation
   Interpretation of
                  ofmessages
                     messagesgiven
                              givenbybythe
                                         thesubject.
                                              subject.

E.
E. Any additionaluseful
   Any additional usefulinformation.
                         information.

The Coach
The Coach oror CNT
                CNTSupervisor
                      Supervisorwill willmonitor
                                           monitorthethe ongoing
                                                       ongoing  negotiations
                                                                  negotiationsandand
                                                                                  willwill offer
                                                                                       offer anyany
advice or
advice or information
          informationthatthatheheororshe
                                       shedeems
                                           deemsimportant
                                                   important   and
                                                             and    useful.
                                                                 useful.    The
                                                                          The    Coach
                                                                               Coach  or or
                                                                                         CNTCNT
Supervisor isisseparate
Supervisor      separatefrom
                         fromthethetactical
                                      tacticalsupervisor
                                                supervisor
                                                         or or Incident
                                                            Incident     Commander.
                                                                      Commander.

The Coach
The       or CNT
    Coach or CNTSupervisor
                 Supervisorwill
                            willperform
                                 performthethe
                                             following functions:
                                               following functions:

A. Meeting with
A. Meeting withNegotiators.
                Negotiators.

B.
B. Give advice totothe
   Give advice      thePrimary
                        PrimaryNegotiator.
                                Negotiator.

C.        track of
    Keep track
C. Keep         of chronological
                    chronologicalevents        includemaintaining
                                   eventstotoinclude   maintaining  a white
                                                                      a white board,
                                                                            board,     track
                                                                                    track
"trigger" words, and
“trigger” words,   andmaintain
                       maintaintimeline
                                 timelinesuch
                                           suchasasidentifiers, information,
                                                     identifiers,            etc.etc.
                                                                  information,

The Intelligence
The  IntelligenceCoordinator,
                   Coordinator,who
                                 whoisisa atrained negotiator,
                                             trained negotiator, is responsible
                                                                    is responsible
                                                                                 for for assigning
                                                                                      assigning
persons to
persons     gatherinformation
         to gather informationabout
                                aboutthethesubject
                                              subject   include:
                                                    to to include:   description,
                                                                  description,     criminal
                                                                               criminal
background, mental
background,    mentalhealth
                      healthhistory,
                             history,medical
                                      medicalhistory,
                                                  history,family,
                                                            family,financial issues,
                                                                      financial issues,
                                                                                      andand  other
                                                                                           other
relationships.
relationships.


In addition,
   addition, IIbase
               basemy
                    myopinion
                       opinionononthe
                                    thefollowing facts
                                         following     and
                                                   facts and  testimony:
                                                           testimony:



                                           Page 21 of
                                           Page       31
                                                   of3l
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         Consulting
On-SceneConsulting
On-Scene
     • According
       According to  to Sergeant
                          SergeantMichael        Pina,heheagrees
                                      MichaelPina,              agreesthat   if if
                                                                          that   there  is aisvehicle
                                                                                    there      a vehicle   barricade
                                                                                                        barricade
       and the
            the subject
                subjectwill willnot
                                  notcome
                                       comeout,      thereis isananoption
                                               out,there                option    call
                                                                              to to  call SWAT
                                                                                       SWAT       andand  Crisis
                                                                                                       Crisis
       Negotiators, (Deposition
       Negotiators,     (DepositionTranscript
                                        TranscriptofofMichael
                                                           MichaelPina,    Pina,
                                                                               PagePage   46).
                                                                                       46).
     • According
       According to  to Sergeant
                          SergeantMichael        Pina,ififit itis isa avehicle
                                      MichaelPina,                       vehiclebarricade,
                                                                                   barricade, where
                                                                                                 where thethe  person
                                                                                                           person
       will not
            not come
                 come out.out. It
                               It is
                                   is going
                                      going totobe      long-drawn-outevent.
                                                 beaalong-drawn-out               event.ItItisisgoing
                                                                                                 goingtotobebehours
                                                                                                                 hours
       until there
       until there isis aaplan
                           plantototake
                                     takehim
                                          himinto      custody.Lots
                                                intocustody.            Lotsofofannouncements,
                                                                                  announcements,         a lot
                                                                                                      a lot of of
                                                                                                                talktalk
             the Tactical
       with the  TacticalNegotiators,
                              Negotiators,(Deposition
                                               (DepositionTranscriptTranscript  ofof   Michael
                                                                                    Michael        Pina,
                                                                                                Pina,     Panes
                                                                                                      Pages    49-49-


Lastly, II base my
Lastly,         my opinion
                    opinion on
                             onmy
                                mytwenty
                                   twentyeight     yearlaw
                                             eightyear   lawenforcement
                                                              enforcement   career
                                                                         career  andand
specifically during
specifically  duringmymyassignment
                          assignmentasasa aSergeant
                                            Sergeant 11+1
                                                       II+1
                                                          at at
                                                             LosLos Angeles
                                                                  Angeles     Police
                                                                          Police     Department
                                                                                  Department
Special   Weaponsand
Special Weapons      andTactics
                         Tactics(SWAT)
                                 (SWAT)wherewhereI supervised
                                                    I supervisedhundreds
                                                                  hundredsof SWAT
                                                                             of SWAT    incidents
                                                                                     incidents
     involved the
that involved       useof
                theuse  ofthe
                           theSWAT’s     CrisisNegotiation
                               SWAT'sCrisis     Negotiation  Team.
                                                                Team.

                                             Opinion Number 4


It is my opinion
   is my  opinionthat
                   thata areasonable
                            reasonable  lawlaw
                                             enforcement
                                                 enforcement officer acting
                                                                 officer     consistent
                                                                          acting           with standard
                                                                                   consistent    with standard
police  practicesand
police practices   andoutlined
                        outlined in in
                                     thethe
                                          California  Commission
                                             California    Commission on Peace    Officers
                                                                           on Peace          Standards
                                                                                         Officers         and and
                                                                                                   Standards
Training, Student
Training,  StudentMaterials,
                     Materials,    Learning
                                Learning     Domain,
                                                 Domain,No.No.20, 20,
                                                                  Use Use
                                                                       of Force,   Version
                                                                            of Force          3.3, Pages
                                                                                         Version           3- 3-
                                                                                                   3.3, Pages
   would have
4 would
 ,        have given
                givenaaverbal
                           verbalwarning
                                   warning   to to
                                                 Mr. Jacob
                                                   Mr.  JacobDominguez
                                                                Dominguez  if heifwere
                                                                                   he were      to firetotheir
                                                                                         goinggoing       fire their
service  weapon.The
service weapon.    TheSupreme
                          Supreme  Court
                                      Court applied  the the
                                               applied    reasonableness
                                                              reasonablenesstest set
                                                                                  testforth in thein
                                                                                        set forth  Fourth
                                                                                                      the Fourth
Amendment (Tennessee
Amendment     (Tennesseev.v.Garner),
                                Garner),   “some
                                              "somewarning
                                                      warning be given  priorprior
                                                                  be given     to thetouse
                                                                                         theof deadly
                                                                                             use         force force
                                                                                                  of deadly
where feasible...”
where   feasible..."

It is
   is my
      my opinion
         opinionSanta
                 SantaJose Police
                        Jose      Department
                             Police Department  Police Officer
                                                    Police     Michael
                                                           Officer      Pina Pina
                                                                   Michael   shouldshould
                                                                                     have have
given Mr.
given       JacobDominguez
       Mr.Jacob   Dominguez  a warning       he was
                                       thatthat
                               a warning             going
                                                 he was    to use
                                                        going  to deadly forceforce
                                                                  use deadly   and give
                                                                                     andMr.
                                                                                         give Mr.
Jacob Dominguez
Jacob  Domingueza areasonable
                     reasonable opportunity
                                  opportunityto comply.
                                                to comply.

Lastly, II base my
Lastly,         my opinion
                   opinionon onmymytwenty
                                      twentyeight     yearlaw
                                               eightyear    lawenforcement
                                                                  enforcement  career
                                                                                 career  whereas
                                                                                       whereas a a
Supervisor, II have
Supervisor,    have investigated
                    investigatedover
                                   over100     UseofofForce
                                          100Use        ForceIncidents
                                                                 Incidents    well
                                                                          as as well
                                                                                   as as being
                                                                                      being
personally involved
personally   involvedininthe
                          theuse
                              useofoflethal
                                       lethaland
                                              andless than
                                                   less than lethal force
                                                                lethal     incidents.
                                                                       force  incidents.

                                             Opinion Number 5

It is
   is my
      my opinion
          opinionthat
                   thataareasonable
                          reasonableofficer
                                        officeracting
                                                   actingconsistent
                                                           consistent with
                                                                        with   standard
                                                                            standard      police
                                                                                       police      practices
                                                                                              practices
would
would not   haveused
        not have  usedlethal
                        lethalforce
                                forceininthis
                                           thissituation.
                                                 situation.The
                                                             The basis
                                                                    basis
                                                                       in in  determining
                                                                           determining       whether
                                                                                         whether        force
                                                                                                    force
is “unreasonable”
is "unreasonable" shall
                     shallbe
                           beconsistent
                              consistentwith withthetheSupreme
                                                        Supreme   Court
                                                                     Courtdecision
                                                                             decision   of Graham
                                                                                     of Graham    v. v.
Connor, 490
Connor,        U.S.386
          490U.S.    386(1989).
                          (1989).Officers
                                   Officersare       trainedatatthe
                                                aretrained        thePOST
                                                                      POST  Basic
                                                                               Basic  academy
                                                                                    academy   thatthat
                                                                                                    thethe
use of force
       force must
              mustmeet
                     meetanan"Objectively
                             “Objectively Reasonable”         standard. The
                                               Reasonable"standard.        The following     quotefrom
                                                                                following quote      from
POST    typifiesthe
POST typifies    thetraining
                     training(emphasis
                               (emphasisadded):
                                              added):"A“A reasonable
                                                           reasonableofficer
                                                                          officeris
                                                                                 is defined
                                                                                     defined as
                                                                                              as an
                                                                                                 an
                                                   Page 22 of
                                                   Page    of31
                                                              31
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On-Scene Consulting
On-Scene Consulting                       —

officer with
officer   with similar
                similartraining,
                            training,experience,
                                       experience,and  and background
                                                              background  in in
                                                                             a similar  set set
                                                                                a similar    of of
circumstances,
circumstances, who  whowill  willreact
                                  reactinina asimilar
                                                similarmanner,”
                                                         manner,"     (Learning
                                                                    (Learning      Domain
                                                                                Domain    #20;#20;  "Introduction
                                                                                                “Introduction
to the
   the Use
        Use ofofForce,”
                 Force,"Pages Pages1-4).
                                     1-4).WhenWhenan anofficer
                                                          officeruses
                                                                    usesdeadly
                                                                         deadlyforce   in in
                                                                                   force   self-defense,
                                                                                             self-defense,
standard police
standard    policepractices
                    practicesand   andmost
                                        mostagencies
                                                agencies polices   dictate
                                                             polices        that
                                                                      dictate    thethe
                                                                               that  officer  must
                                                                                         officer     be facing
                                                                                                  must    be facing
what is
what   is reasonably
          reasonablybelieved
                           believedtotobebeananimminent
                                                  imminentoror   immediate
                                                                   immediate  threat of death
                                                                                 threat of deathor serious
                                                                                                   or serious
bodily injury.
bodily   injury. ItIt isis my  expert opinion
                           my expert    opinion that
                                                   that aa similarly
                                                            similarlytrained
                                                                       trainedSanSanJose
                                                                                      JosePolice
                                                                                             Police
Department Police
Department      PoliceOfficer
                           Officerwould
                                     wouldnot  nothave
                                                   haveconsidered
                                                          considered   Mr. Jacob
                                                                         Mr.       Dominguez
                                                                               Jacob  Dominguez  to beto abe a
lethal threat
lethal  threat in
                inthis
                   thisset setof
                               offacts.
                                   facts.

Lastly, II base
Lastly,         myopinion
           base my  opinionononmymytwenty
                                      twentyeight
                                               eightyear law
                                                      year lawenforcement
                                                                 enforcement career whereas
                                                                                career       a a
                                                                                       whereas
Supervisor, IIhave
Supervisor,     haveinvestigated
                     investigatedover
                                    over100100Use
                                                Useofof
                                                      Force
                                                        ForceIncidents  as well
                                                                Incidents        as being
                                                                           as well  as being
personally involved
personally   involvedininthe  useofoflethal
                          theuse       lethaland
                                              andless than
                                                   less    lethal
                                                        than  lethal force
                                                                  force     incidents.
                                                                         incidents.

                                           Opinion Number
                                           Opinion Number66

It is
   is my
      my opinion
          opinionSan
                  SanJose
                      JosePolice
                            PoliceDepartment
                                   DepartmentPolice
                                               Police Officer  Michael
                                                         Officer  MichaelPina’s useuse
                                                                            Pina's   of lethal
                                                                                        of lethal
force was
force  was inappropriate
            inappropriateand
                          andunreasonable
                              unreasonableononSeptember
                                                September  15,15,
                                                               2017,
                                                                  2017,when  he he
                                                                          when  fired  twotwo
                                                                                    fired
rounds from
rounds   from his
               hisAR-15,
                  AR-15,.223,
                          .223,semi-automatic
                                semi-automaticrifle  ultimately
                                                 rifle ultimatelykilling Mr.Mr.
                                                                    killing      Jacob
                                                                             Jacob
Dominguez.
Dominguez.

In addition,
   addition, IIbase
                basemy
                    myopinion
                       opinionononthe
                                    thefollowing facts
                                         following     and
                                                   facts   testimony:
                                                         and  testimony:

    • According
      According to
                 to Police
                    PoliceOfficer
                           OfficerAlvaro
                                   AlvaroLopez,
                                          Lopez,hehedid notnot
                                                      did   have
                                                               have
                                                                  anyany  information
                                                                       information thatthat
        led him
            him to  believethat
                 to believe     thatMr.  JacobDominguez
                                    Mr.Jacob     Dominguez     had
                                                             had      possessed
                                                                   possessed     thethe
                                                                                     gungun    at the
                                                                                           at the  timetime
                                                                                                         of of
        the robbery
            robbery ofof the
                           theArco
                               ArcoGas
                                     GasStation,
                                          Station,(Deposition
                                                     (Deposition  Transcript
                                                                     Transcript of of
                                                                                    Alvaro
                                                                                       Alvaro    Lopez,
                                                                                             Lopez,    PagePage
        15).
    •   According to
        According    to Police
                          PoliceOfficer
                                  OfficerAlvaro
                                          AlvaroLopez,
                                                   Lopez,hehediddidnotnot    Mr.Mr.
                                                                        seesee     Jacob
                                                                                      JacobDominguez
                                                                                              Dominguez
        with anything
              anything in  inhis
                              hishands,
                                  hands,(Deposition
                                         (DepositionTranscript
                                                        Transcript  ofof
                                                                       Alvaro
                                                                          Alvaro     Lopez,
                                                                                  Lopez,   Page   35).35).
                                                                                               Page
    •   According to
        According    to Police
                          PoliceOfficer
                                  OfficerAlvaro
                                          AlvaroLopez,
                                                   Lopez,hehediddidnotnot    Mr.Mr.
                                                                        seesee     Jacob  Dominguez
                                                                                      Jacob   Dominguez
        display any
        display       typeof
                 any type     ofweapon
                                 weaponbefore
                                          beforethe
                                                  theshot
                                                       shotwas
                                                             wasfired,  (Deposition
                                                                   fired,  (Deposition  Transcript
                                                                                           Transcript of of
        Alvaro Lopez,
        Alvaro   Lopez, PagePage35).
                                  35).
    •   According to
        According    to Police
                          PoliceOfficer
                                  OfficerKristoffer
                                          KristofferFerguson,
                                                       Ferguson,  hehecould
                                                                         couldseesee
                                                                                   from
                                                                                      fromMr.Mr.
        Dominguez’ s mid-armlshoulder
        Dominguez's      mid-arm/shoulderup,   up,(Deposition
                                                   (DepositionTranscript
                                                                   Transcript   ofof
                                                                                   Kristoffer
                                                                                     ICristofferFerguson,
                                                                                                     Ferguson,
        Page 68).
        Page  68).
    •   According to
        According    to Police
                          PoliceOfficer
                                  OfficerKristoffer
                                          KristofferFerguson,
                                                       Ferguson,  hehecould
                                                                         couldnotnot
                                                                                   seesee
                                                                                       anything
                                                                                           anything in Mr.
                                                                                                        in Mr.
        Jacob Dominguez’s
        Jacob  Dominguez's hands handsand
                                        andififthere
                                                therewas
                                                      wassomething
                                                            somethinginin   hishis
                                                                                 hands,
                                                                                   hands,he he
                                                                                             would
                                                                                                would be be
        able to
        able to see  it, (Deposition
                see it,                 TranscriptofofKristoffer
                          (DepositionTranscript         Kristoffer Ferguson,
                                                                      Ferguson,  Pages
                                                                                    Pages7 1-72).
                                                                                             71-72).
    •   According to
        According    to Police
                         PoliceOfficer
                                  OfficerKristoffer
                                          KristofferFerguson,
                                                       Ferguson,  hehediddid
                                                                           notnot  hear
                                                                                hear  Mr.Mr.   Jacob
                                                                                            Jacob
        Dominguez say
        Dominguez      say anything,
                             anything,(Deposition
                                        (DepositionTranscript
                                                      Transcript  ofofKristoffer
                                                                        Kristoffer Ferguson,
                                                                                      Ferguson,  PagePage
                                                                                                        74).74).


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                                                Page  23ofof3131
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On-Scene Consulting
On-Scene Consulting

   • According
     According totoPolice
                    PoliceOfficer
                           OfficerKristoffer Ferguson,
                                    Kristoffer         he could
                                                Ferguson,       not see
                                                            he could    any
                                                                      not   weapons
                                                                          see       in
                                                                              any weapons in
       the vehicle,
       the vehicle,(Deposition
                       (DepositionTranscript
                                        Transcript of Kristoffer
                                                        of KristofferFerguson,   Page 74).
                                                                          Ferguson,     Page 74).
   •   According totoPolice
       According          PoliceOfficer
                                  Officer  Kristoffer  Ferguson,
                                              Kristoffer    Ferguson, he was
                                                                           he 100%   focused
                                                                              was 100%          as to what
                                                                                             focused   as to what
       was going
       was  goingon  onininthe
                             thecar,
                                  car,(Deposition
                                         (Deposition Transcript
                                                         Transcriptof Kristoffer   Ferguson,
                                                                         of Kristoffer         Page 77).
                                                                                          Ferguson,     Page 77).
   •   According
       AccordingtotoPolicePoliceOfficer
                                  Officer  Kristoffer  Ferguson,
                                              Kristoffer    Ferguson, he never  heard heard
                                                                           he never    Mr. Jacob
                                                                                               Mr. Jacob
       Dominguez say,
       Dominguez       say,“I"Igot
                                 gota gun
                                       a gunandand
                                                 I’mI'm
                                                      going
                                                          goingto shoot  you,”you,"
                                                                    to shoot    (Deposition    Transcript
                                                                                      (Deposition     Transcript
       of Kristoffer
          KristofferFerguson,
                         Ferguson,   Page  83).83).
                                        Page
   •   According
       AccordingtotoSergeant
                          Sergeant  Michael
                                       Michael Pina, when
                                                   Pina,     Mr. Jacob
                                                          when             Dominguez
                                                                   Mr. Jacob             had hishad
                                                                                  Dominguez        hands
                                                                                                       his hands
       up, he
       up, hecould
               couldsee  seethat there
                              that      waswas
                                    there     nothing   in hisinhands,
                                                  nothing                no weapon,
                                                                  his hands,           (Deposition
                                                                               no weapon,      (Deposition
       Transcript ofof
       Transcript       Michael
                          Michael  Pina,  Page
                                       Pina,     89).89).
                                              Page
   •   According totoSergeant
       According          Sergeant  Michael
                                       Michael Pina, when
                                                   Pina,     he fired,
                                                          when           he could
                                                                   he fired,        not seenot
                                                                               he could     whatseeMr.
                                                                                                     what Mr.
       Jacob Dominguez’
       Jacob  Dominguez'hands    hands  were
                                          weredoing,  (Deposition
                                                  doing,   (Deposition Transcript  of Michael
                                                                            Transcript           Pina, Pina,
                                                                                           of Michael
       Page 97).
       Page  97).
   •   According totoSergeant
       According          Sergeant  Michael
                                       Michael Pina, he could
                                                   Pina,  he couldnot see
                                                                        notMr.
                                                                            seeJacob   Dominguez’
                                                                                 Mr. Jacob     Dominguez'
       hands atatall,
       hands      all,(Deposition
                        (Deposition    Transcript
                                          Transcriptof Michael
                                                         of MichaelPina, Pina,
                                                                          Page 98).
                                                                                Page 98).
   •   According totoSergeant
       According          Sergeant  Michael
                                       Michael Pina, Mr. Mr.
                                                   Pina,   JacobJacob
                                                                    Dominguez     did notdid
                                                                          Dominguez        verbally
                                                                                              not verbally
       threaten him,
       threaten   him,  (Deposition
                          (Deposition   Transcript
                                           Transcriptof Michael     Pina, Pina,
                                                           of Michael      Page 102).
                                                                                  Page 102).
   •   According totoSergeant
       According          Sergeant  Michael
                                       Michael Pina, he encountered
                                                   Pina,  he encountered  peoplepeople
                                                                                  who didwhonotdid
                                                                                                 initially
                                                                                                     not initially
       have their
       have  theirhands
                     hands  upupor or
                                   putput
                                        them   down
                                             them      and then
                                                    down    and back
                                                                   thenup,   (Deposition
                                                                          back              Transcript
                                                                                 up, (Deposition         of
                                                                                                      Transcript   of
       Michael Pina,
       Michael    Pina,Pages
                           Pages106-107).
                                   106-107).


Lastly, I Ibase
Lastly,     basemymyopinion
                      opinionon on
                                mymytwenty   eighteight
                                        twenty      yearyear
                                                         law enforcement     career career
                                                                law enforcement      whereaswhereas
                                                                                              a     a
Supervisor, I have
Supervisor,          investigated
                I have investigatedoverover
                                         100 100
                                             Use Use
                                                   of Force   Incidents
                                                        of Force         as wellasaswell
                                                                    Incidents        being
                                                                                         as being
personally involved
personally    involvedinin
                         thethe
                             useuse
                                 of lethal andand
                                     of lethal  less less
                                                      than than
                                                            lethallethal
                                                                   force incidents.
                                                                          force incidents.

                                        Opinion Number 7

It isis my
It      myopinion
            opinionSan San Jose Police
                             Jose      Department
                                  Police           Police
                                          Department      Officer
                                                        Police     Michael
                                                                Officer    Pina’s Pina's
                                                                        Michael   use of lethal
                                                                                          use of lethal
force violated
force    violatedhishistraining andand
                         training    caused the death
                                        caused        of Mr.ofJacob
                                                the death           Dominguez.
                                                               Mr. Jacob        including
                                                                           Dominguez,      but
                                                                                        including   but
not limited
not    limitedtotothe following
                    the  followingreasons:
                                     reasons:

   •   Highest level
       Highest  levelofofforce
                           forcea aPolice
                                     PoliceOfficer
                                              Officer cancanuse.use.
   •   This was
       This wasnotnotananimmediate
                            immediate  Defense
                                           Defense of Life   situation.
                                                        of Life  situation.
   •   Must  beaalast
       Must be     lastresort
                         resortbefore
                                  beforeusing  lethal
                                           using        force.force.
                                                    lethal
   •   Must
       Mustbebethe
                 thedirest
                     direst  ofof
                               circumstances.
                                  circumstances.
   •   Deadly force
       Deadly  forceisislikely
                          likelytotocause
                                      causegreat
                                              greatbodily    injury
                                                        bodily      or death.
                                                                 injury  or death.
   •   Must show
       Must  showaareverence
                       reverence  forfor
                                       human
                                          human life. life.
   •   There  wereother
       There were    other reasonable
                              reasonable measures
                                            measures   available.
                                                             available.

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On-Scene Consulting
On-Scene Consulting                         —

    •    All other
             other reasonable
                    reasonablemeasures
                                 measureswerewerenot
                                                   notexhausted.
                                                        exhausted.
    •    Warnings when
         Warnings    whenfeasible
                            feasiblethat
                                      thatdeadly
                                            deadlyforce
                                                    forcewill
                                                          willbebe
                                                                 used.
                                                                   used.
    •    Officers are
         Officers  are responsible
                        responsibleforforevery
                                          everyshot.
                                                 shot.
    •    Subjective Fear
         Subjective   Fearisisinsufficient.
                               insufficient.
    •    Over reaction
         Over  reaction isisexcessive
                             excessiveforce.
                                        force.

Lastly, II base
Lastly,    base my
                myopinion
                    opinionononmymytwenty
                                      twentyeight
                                               eightyear law
                                                      year lawenforcement
                                                                 enforcement  career whereas
                                                                                 career whereas
                                                                                              a a
Supervisor, IIhave
Supervisor,     haveinvestigated
                     investigatedover
                                    over100100Use     Force
                                                Useofof ForceIncidents
                                                                Incidentsas as
                                                                            well  as being
                                                                               well  as being
personally involved
personally   involvedininthe
                          theuse
                              useofoflethal
                                       lethaland
                                              andless than
                                                   less    lethal
                                                        than       force
                                                              lethal forceincidents.
                                                                             incidents.

                                             Opinion Number
                                             Opinion Number88

It is  my opinion
   is my   opinion SanSanJose
                           JosePolice
                                 PoliceDepartment
                                        DepartmentPolice  Police Officer
                                                                    Officer    Michael
                                                                                   Michael Pina’s
                                                                                              Pina's tactical
                                                                                                        tactical
conduct and
conduct    and decisions
                 decisionspreceding
                             precedingthe     useofofdeadly
                                         theuse         deadly  force
                                                                  force  in inthisthis
                                                                                    matter   waswas
                                                                                        matter      inappropriate
                                                                                                        inappropriate
based on
based    on the
             the totality
                  totalityof
                           ofthe
                              thecircumstances.
                                  circumstances.It Itis ismymy  opinion
                                                                  opinion     that  there
                                                                                 that      waswas
                                                                                        there    a departure
                                                                                                      a departure
from POST
from    POST Standards
                Standardsby  byPolice
                                 PoliceOfficer
                                        OfficerMichael
                                                   Michael    Pina  in in
                                                                 Pina     thisthis
                                                                                 incident.
                                                                                     incident.In In
                                                                                                  addition,   I base
                                                                                                      addition,  I base
my opinion
my    opinion ononthe
                    theCalifornia
                         CaliforniaSupreme
                                     SupremeCourtCourtopinion
                                                           opinion in inHayesHayes  v. v.
                                                                                        County
                                                                                           Countyof San    Diego,
                                                                                                      of San   Diego,
2013 Cal
2013    Cal LEXIS
             LEXIS6652.6652.InInHayes,
                                 Hayes,thetheCalifornia
                                               CaliforniaSupremeSupreme    Court
                                                                               Court  found  that,
                                                                                         found       under
                                                                                                 that,   under
California negligence
California    negligencelaw,law,ananofficer’s
                                     officer'spre-
                                                pre-shooting
                                                        shootingconduct
                                                                     conduct     leading
                                                                                     leadingupupto to
                                                                                                    a deadly
                                                                                                       a deadlyuseuse
of force
    force may
           may affect
                  affectwhether
                          whethera ause
                                     useofofforce
                                              forceis isultimately
                                                          ultimately  reasonable
                                                                           reasonable    andand
                                                                                              therefore
                                                                                                  thereforemaymaybe be
considered in
considered     inthe
                   theanalysis
                       analysisofofany
                                    anyuse
                                         useofofdeadly
                                                  deadlyforce.force.It Itis ismymyopinion
                                                                                      opinionthat
                                                                                                thatthere
                                                                                                       there
                                                                                                           waswas
                                                                                                                a a
gross lack
gross   lack of
              of situational
                  situationalawareness
                               awarenessand andfundamental
                                                 fundamental      tactical
                                                                     tactical   errors   by by
                                                                                    errors   SanSan       Police
                                                                                                   JoseJose  Police
Department      PoliceOfficer
Department Police        OfficerMichael
                                  MichaelPinaPinaininthis
                                                        thisincident.
                                                               incident.

Lastly, II base
Lastly,    base my
                myopinion
                    opinionononmymytwenty
                                      twentyeight
                                               eightyear law
                                                      year lawenforcement
                                                                 enforcement career whereas
                                                                                career whereas
                                                                                             a a
Supervisor, IIhave
Supervisor,     haveinvestigated
                     investigatedover
                                    over100     Useofof
                                           100Use     Force
                                                        ForceIncidents  as as
                                                                Incidents  well  as being
                                                                              well  as being
personally involved
personally   involvedininthe
                          theuse
                              useofoflethal
                                       lethaland
                                              andless than
                                                   less    lethal
                                                        than      force
                                                              lethal     incidents.
                                                                     force  incidents.

My Qualificationsfor
My Qualifications forReviewing
                      Reviewingthis
                                 thisCase:
                                      Case:

My opinions
     opinions are
              arebased
                   basedon
                         onmymyeducation,
                                  education,training,
                                              training,andand  experience.
                                                             experience.       Upon
                                                                            Upon   mymy  graduation
                                                                                       graduation
in June
   June 1988
        1988 from
               fromNortheastern
                     NortheasternUniversity
                                     Universityinin  Boston
                                                   Boston     with
                                                            with     a Bachelor's
                                                                  a Bachelor’s      Degree
                                                                                  Degree  in in
Criminal Justice,
Criminal  Justice,IIwas
                     washired
                          hiredasasCriminal
                                    CriminalInvestigator/Special
                                              Investigator/Special    Agent
                                                                        Agent GS-GS-1811.
                                                                                   1811. UponUpon
completion of
completion   of Criminal
                 CriminalInvestigator/Basic
                          Investigator/BasicAgent
                                                Agent    School
                                                       School   at at
                                                                   thethe  Federal
                                                                       Federal   LawLaw  Enforcement
                                                                                      Enforcement
Training Center
Training  Center (FLETC)-6-month
                  (FLETC)-6-monthacademy,academy,I was
                                                    I wasemployed
                                                            employed  by by
                                                                          thethe
                                                                              United  States
                                                                                  United States
Customs Service
Customs   Serviceandandassigned
                        assignedtotothe
                                      theOrganized
                                          Organized  Crime
                                                       Crime Drug
                                                                DrugTask
                                                                       TaskForce
                                                                              Force  where
                                                                                  where  I I
functioned as
functioned  as an
                anagent
                   agentand
                         andundercover
                              undercoveroperative.
                                            operative. The
                                                         Theinvestigations
                                                               investigations focused on targeting
                                                                                 focused  on targeting
criminal organizations
criminal  organizationsthat
                         thatwere
                              wereinvolved
                                     involvedininlarge
                                                   largescale narcotic
                                                          scale  narcoticsmuggling
                                                                            smugglingandand
                                                                                          money
                                                                                              money
laundering  operations.
laundering operations.

                                                  Page 25 of
                                                  Page    of 31
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On-Scene Consulting
On-Scene Consulting

I was
  was assigned
       assignedtotothe
                    theUnited
                        UnitedStates
                                 StatesCustoms
                                         CustomsService
                                                     ServiceOffice
                                                               Officeof of
                                                                        thethe
                                                                             Special
                                                                                SpecialAgent
                                                                                           Agent
                                                                                               In- In-
Charge, in
Charge,   in San
             SanFrancisco
                  Franciscofrom
                            fromAugust
                                   August1988 1988until Ijoined
                                                    until  I joinedthethe
                                                                       LosLos
                                                                            Angeles
                                                                               Angeles  Police
                                                                                            Police
Department in
Department    inNovember
                  Novemberofof1989.
                                1989.While
                                        WhileininthetheLos
                                                         LosAngeles
                                                              Angeles  Police
                                                                         PoliceDepartment
                                                                                  Department
Academy, II was
Academy,      wasselected   bythe
                   selectedby   thestaff
                                    stafftotobebemy
                                                  my Recruit
                                                       RecruitClass   Leader.
                                                                  Class  Leader.Upon
                                                                                  Upon  mymy
graduation from
graduation   fromthe
                   theLAPD
                       LAPDAcademy,
                              Academy,I was  I wasassigned
                                                    assigned to to
                                                                 77th
                                                                   77thDivision.
                                                                         Division. In In  addition
                                                                                       addition  to to
being assigned
being  assignedtoto77th
                    77thDivision,
                          Division,I Iwas
                                       wasassigned
                                              assignedto to
                                                          Northeast
                                                            Northeast Division
                                                                         Division(Patrol),
                                                                                    (Patrol),Northeast
                                                                                                 Northeast
Division (Special
Division   (SpecialProjects
                    ProjectsUnit-SPU),
                             Unit-SPU),and   andNortheast
                                                  Northeast Division
                                                               Division C.R.A.S.H
                                                                           C.R.A.S.H      (Gang
                                                                                      (Gang       Detail).
                                                                                              Detail).
  was selected
I was  selectedtotoOperations
                    OperationsCentral
                                CentralBureau
                                          BureauC.R.A.S.H.,
                                                    C.R.A.S.H.,   where
                                                                     whereI worked
                                                                             I workeda plain
                                                                                          a plain  clothes
                                                                                               clothes
detail targeting
detail targetingspecific
                  specificgangs
                           gangsthroughout
                                  throughoutOperations
                                                  Operations Central
                                                                CentralBureau
                                                                          Bureauwhich
                                                                                    whichincluded
                                                                                             included
Rampart Division,
Rampart    Division,Hollenbeck
                     HollenbeckDivision,
                                   Division,Central
                                                CentralDivision,
                                                          Division, andand
                                                                         Northeast
                                                                            Northeast    Division.
                                                                                     Division.

I applied
  applied and
            andwas
                 wasselected
                     selectedtotobebea aPolice
                                         PoliceOfficer
                                                  Officer IIIIII
                                                              at at
                                                                 Wilshire
                                                                    Wilshire  AreaAreaViceVice  where
                                                                                            where   I I
functioned as
functioned    asan
                 anundercover
                    undercoveroperative
                                  operativetargeting
                                               targeting prostitution,
                                                            prostitution,gambling,
                                                                              gambling,  bookmaking,
                                                                                             bookmaking, and and
other Vice
other  Vicerelated
             relatedoffenses.
                      offenses.While
                                 Whileworking
                                          working  Wilshire
                                                     Wilshire  Vice,  I was
                                                                  Vice,   I was ambushed
                                                                                    ambushed  andand   received
                                                                                                   received
two gunshot
two   gunshot wounds.
                wounds. II received
                           receivedthe thePurple
                                           PurpleHeart
                                                     Heartinin2010
                                                                 2010forforthetheinjures
                                                                                   injures   associated
                                                                                           associated      with
                                                                                                        with
being ambushed.
being   ambushed. Upon
                    Upon return
                            returnfrom
                                    frommy myinjuries,
                                                injuries,I Iattended
                                                              attendedmandated
                                                                          mandated        Field
                                                                                       Field    Training
                                                                                              Training
Officer (FTO)
Officer  (FTO)School
                  Schooland
                          andwas
                               wasassigned
                                     assignedasasa Field
                                                    a Field Training
                                                               TrainingOfficer
                                                                            Officer at Wilshire   Division.
                                                                                        at Wilshire   Division.
I trained
  trained recruits
           recruitsupon
                    upontheir
                          theirgraduation
                                 graduationfrom fromthethe
                                                         LosLosAngeles
                                                                  Angeles Police
                                                                               PoliceAcademy
                                                                                         Academy     in tactics,
                                                                                                 in tactics,
use of force,
use     force,report
                reportwriting,
                       writing,vehicle
                                 vehiclestops,
                                           stops,calls
                                                   callsforfor
                                                             service,
                                                                service,  court
                                                                       court    testimony,
                                                                                    testimony,    emergency
                                                                                               emergency
procedures, pursuit
procedures,    pursuitpolicy,
                       policy,accident
                                accidentinvestigations,
                                           investigations,   perimeters,
                                                                perimeters,  Department
                                                                                 Department      policies
                                                                                              policies  andand
procedures, and
procedures,    andeffective
                   effectivecommunication
                              communicationskills.       While
                                                   skills.  While assigned
                                                                    assigned   as as
                                                                                   a Field   Training
                                                                                       a Field  Training
Officer, II was
Officer,    wasinvolved
                 involvedininananIn-Policy
                                  In-PolicyLethal
                                                LethalUseUse ofof
                                                                Force
                                                                  Forceincident,
                                                                            incident, while
                                                                                         while   working
                                                                                             working    withwith
a Probationary
   ProbationaryPolice
                  PoliceOfficer
                          Officerwho
                                   whohad hadrecently
                                               recently graduated
                                                           graduated fromfrom thethe
                                                                                   LosLos    Angeles
                                                                                         Angeles        Police
                                                                                                    Police
Academy.
Academy.

I was
  was promoted
      promotedtotothe
                    therank
                        rankofofDetective
                                 Detectiveand andattended
                                                   attended   Basic
                                                            Basic    Detective
                                                                  Detective       School.
                                                                               School.     Upon
                                                                                        Upon
completion of
completion   ofBasic
                BasicDetective
                       DetectiveSchool,
                                  School,I was
                                            I wasassigned
                                                    assignedto to
                                                               Wilshire  Area
                                                                  Wilshire      Narcotics,
                                                                             Area           Field
                                                                                    Narcotics,  Field
Enforcement Section
Enforcement    Section(FES),
                       (FES),where
                                whereI functioned
                                       I functioned  as as
                                                         anan
                                                            investigator in an
                                                              investigator       undercover
                                                                              in an undercover
capacity. As a Detective
capacity.       Detective IIwrote
                            wroteand     servedsearch
                                    andserved     searchandandarrest warrants
                                                                arrest warrants to to include
                                                                                   include    large-
                                                                                           large-
scale multiple
scale multiplesearch
                searchwarrant
                       warrantservices.
                                 services.I addition,
                                            I addition,   I managed
                                                       I managed    andand  utilized
                                                                        utilized      Confidential
                                                                                   Confidential
Reliable Informants
Reliable  Informants(CRI’s)
                      (CRI's)during
                               duringhundreds
                                       hundredsofofstreet-level
                                                       street-levelnarcotic
                                                                     narcotictransactions
                                                                                transactions
                                                                                           andand
search warrant
search warrantservices.
                 services.

I was
  was promoted
      promotedtotothe
                   therank
                       rankofofSergeant
                                SergeantI and
                                            I andassigned  to to
                                                    assigned  Hollenbeck
                                                                 Hollenbeck     Division.
                                                                             Division.     Prior
                                                                                        Prior to to
my assignment,
my  assignment,IIattended
                  attendedmandated
                             mandatedBasic
                                         BasicSupervisor
                                                 Supervisor School.
                                                              School. InIn
                                                                         conjunction
                                                                            conjunction   with
                                                                                       with
Supervisor School,
Supervisor School,I Iwas
                      wasselected
                           selectedtotoattend
                                         attendthethe
                                                    West Point
                                                      West  PointLeadership
                                                                   Leadership     Academy
                                                                              Academy
Supervisor Training.
Supervisor Training. The
                      Thetraining
                           trainingfocused
                                     focusedononteamteambuilding,
                                                          building,  leadership,
                                                                   leadership,   andand decision
                                                                                      decision
making. While assigned
making.         assigned to
                          to Hollenbeck
                             HollenbeckDivision,
                                            Division,I Iconducted
                                                         conducted  roll call
                                                                       roll   training
                                                                            call training daily
                                                                                       daily on on

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On-Scene Consulting
On-Scene Consulting

numerous subject
numerous     subjectmatters
                      matterstotoinclude:
                                   include:UseUseofofForce
                                                        ForceOptions
                                                                Options     (Non-Lethal
                                                                         (Non-Lethal         andand    Lethal),
                                                                                                   Lethal),
Tactics,  Calls for
Tactics, Calls    forService,
                      Service,Calls
                                 Callsfor
                                       forService
                                            Serviceinvolving
                                                       involving  thethe  Mentally
                                                                       Mentally      Ill,Ill,  Vehicle
                                                                                          Vehicle          Pursuit
                                                                                                       Pursuit
         LAPDPolicies
Policy, LAPD
Policy,            Policiesand
                             andProcedures,
                                  Procedures,Use  UseofofForce
                                                           Force Policy,
                                                                    Policy,   Updated
                                                                           Updated           Legal
                                                                                         Legal         Bulletins,
                                                                                                   Bulletins,
Training Directives,
Training   Directives,and andother
                               otherStandardized
                                     StandardizedRoll   Roll  Call
                                                           Call   Training.
                                                                     Training.     I directly
                                                                                I directly         supervised
                                                                                                supervised     a a
Watch of
Watch       Officersand
        of Officers    andprovided
                            providedsupervisory
                                        supervisoryoversight
                                                        oversight     during
                                                                   during      calls
                                                                            calls   forfor    service,
                                                                                          service,        tactical
                                                                                                      tactical
situations, perimeter
situations,               tactics,containment
             perimetertactics,     containmentand   andcontrol
                                                          controlissues
                                                                    issuesandand
                                                                               useuse      of force
                                                                                      of force         incidents.
                                                                                                   incidents.     I I
conducted audits,
conducted    audits,personnel
                      personnelinvestigations,
                                   investigations,Standard
                                                      Standard     Based
                                                                Based       Assessments
                                                                         Assessments              (Ratings),
                                                                                              (Ratings),     UseUse
of Force
   Force Investigations,
           Investigations,administrative
                              administrativeprojects,
                                                 projects,and
                                                            andprepared
                                                                   prepared    commendations
                                                                            commendations            for for
officer’s field performance.
officer's         performance. While
                                  While assigned
                                           assignedtotoHollenbeck
                                                          HollenbeckDivision,
                                                                           Division,I was  I was    selected
                                                                                                 selected    as as
                                                                                                                 thethe
Officer-In-Charge of
Officer-In-Charge      ofHollenbeck
                           HollenbeckDivision’s
                                          Division'sSpecial
                                                        Special   Enforcement
                                                               Enforcement            Group.
                                                                                  Group.          I directly
                                                                                               I directly
supervised    (14)Police
supervised (14)     PoliceOfficers
                            OfficersandandDetectives
                                            Detectivesassigned
                                                           assigned  to to
                                                                        thethe
                                                                             Unit.
                                                                                 Unit. Our Ourunitunit  worked
                                                                                                     worked     in in
conjunction with
conjunction    withHollenbeck
                      HollenbeckDetectives
                                    Detectivesand  andspecifically
                                                         specifically targeted
                                                                         targeted career
                                                                                      career     criminals
                                                                                             criminals          in the
                                                                                                           in the
Division. In
Division.   In addition,
               addition, II provided
                             providedand      superviseduniformed
                                         andsupervised       uniformedassistance
                                                                            assistance       with
                                                                                          with       Operations
                                                                                                  Operations
Central Bureau
Central  BureauNarcotics
                    Narcoticsduring
                                duringstreet
                                         streetlevel narcotic
                                                 level  narcotictransactions
                                                                    transactions      as well
                                                                                  as well          as during
                                                                                              as during
narcotic related
narcotic  relatedsearch
                    searchwarrants.
                            warrants.IIprovided
                                          providedongoing
                                                       ongoingmandated
                                                                   mandated      Department
                                                                              Department             Training
                                                                                                  Training     as as
well  tactical, firearms,
well tactical,   firearms,less
                            lessthan
                                 thanlethal
                                       lethalandandsearch
                                                     search warrant
                                                              warrant  tactics
                                                                          tactics    training
                                                                                training          to the
                                                                                              to the       Officers
                                                                                                       Officers
and Detectives.
and  Detectives. As As aa Unit,
                          Unit, we
                                 weprepared
                                     preparedand       servednumerous
                                                  andserved     numerous       search
                                                                            search         warrants.
                                                                                       warrants.       I I
provided search
provided   searchwarrant
                     warranttactical
                              tacticalbriefing
                                        briefingandandde-briefing
                                                         de-briefing  ofof  each
                                                                         each        warrant
                                                                                warrant           at the
                                                                                              at the
conclusion of
conclusion    ofthe
                  theof
                      ofthe
                         theservice.
                              service.I Icompleted
                                          completedaudits,
                                                         audits,administrative
                                                                  administrative         projects,
                                                                                     projects,     UseUse    of Force
                                                                                                         of Force
Investigations,personnel
Investigations,    personnelcomplaints,
                                complaints,and andother
                                                    other administrative
                                                            administrative       duties
                                                                             duties         as deemed
                                                                                        as deemed
necessary by
necessary   by the
                 theArea
                     AreaCommanding
                            CommandingOfficer.
                                             Officer.

During   this time,
During this    time,IIwas
                      wasselected
                            selectedtotobebeloaned
                                              loaned     Internal
                                                     to to  InternalAffairs,
                                                                       Affairs,  Headquarters
                                                                              Headquarters      Section.
                                                                                             Section.  I I
investigated personnel
investigated    personnelcomplaints
                           complaintsthatthatwere
                                               were tootoolarge  in in
                                                             large  scope  forfor
                                                                       scope       a geographical
                                                                                a geographical
Division. At
Division.   At the conclusion
                    conclusion ofofmy
                                    myloan,
                                         loan,I Iwas
                                                   wasselected
                                                         selectedtotoManagement
                                                                        Management    Services
                                                                                        Services
Division,  SpecialProjects,
Division, Special    Projects,and
                                andOffice
                                     OfficeofofthetheChief
                                                       Chief  ofof
                                                                Police.
                                                                   Police.I completed
                                                                             I completed   numerous
                                                                                        numerous   in- in-
depth staff
depth        projectsfor
       staff projects  forreview
                           reviewbybythetheChief
                                             Chiefofof Police.
                                                          Police.InInaddition,
                                                                       addition,   I was
                                                                                I was    assigned
                                                                                       assigned    with
                                                                                                with
conducting research
conducting    researchand
                        andediting
                             editingthe
                                      the2000
                                           2000LAPDLAPD    Department
                                                              Department     Manual.
                                                                         Manual.

Also, during this
Also, during  thistime,
                   time,I Iearned
                            earnedmy
                                   myMaster’s
                                      Master'sDegree
                                               DegreeininPublic
                                                          Public Administration
                                                                Administration    from
                                                                               from
California State
California StateUniversity,
                  University,Long
                                LongBeach.
                                     Beach.

I applied  and was
  applied and  wasselected
                    selectedasasa aSergeant
                                    SergeantII IIat at77th Division
                                                        77th Division Vice.
                                                                        Vice.    I directly
                                                                              I directly     supervised
                                                                                          supervised
    undercover officers
ten undercover   officersand
                          andfour
                               fouruniformed         officers.I provided
                                     uniformedofficers.         I provided allall facets
                                                                                facets of of  training
                                                                                           training  to to
    officers assigned
the officers assignedtotoVice
                          Viceatatthat
                                    thattime
                                          timetotoinclude:
                                                    include:   Use
                                                             Use  of of Force
                                                                     Force       Policy,
                                                                             Policy,      Legal
                                                                                       Legal       Updates,
                                                                                               Updates,
Department Directives,
Department    Directives,Training
                          TrainingBulletins,
                                      Bulletins,Standardized
                                                    Standardized      Roll
                                                                   Roll    Call
                                                                        Call       Training,
                                                                               Training,       Tactics
                                                                                           Tactics
Training, Undercover
Training,  UndercoverOperations        training,Surveillance
                        Operationstraining,        Surveillance  training,  andand
                                                                    training,     anyany   other
                                                                                       other      training
                                                                                              training


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                                                             31
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On-Scene Consulting
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deemed necessary
deemed   necessarybybymy
                       myArea
                            AreaCommanding
                                 CommandingOfficer.
                                                 Officer.I conducted
                                                           I conductedaudits, personnel
                                                                        audits, personnel
investigations, administrative
investigations,  administrativeprojects,
                                projects,Use
                                          Useofof
                                                Force Investigations,
                                                  Force                andand
                                                          Investigations,   special projects.
                                                                               special projects.

During this
During        time,IIwas
        this time,    wasselected
                           selectedbybythe
                                         theChief
                                             ChiefofofPolice to to
                                                        Police   bebeloaned to the
                                                                        loaned     Rampart
                                                                               to the  Rampart
Corruption Task
Corruption   TaskForce.
                   Force. II conducted
                             conductedUse UseofofForce
                                                  Forceaudits
                                                           auditsononSpecialized
                                                                       SpecializedUnits  in in
                                                                                     Units  Central
                                                                                               Central
and South
and  South Bureaus.      reporteddirectly
           Bureaus. II reported   directlytotothe
                                               theOffice
                                                    Officeofofthe
                                                                theChief  ofof
                                                                      Chief  Police. I assisted
                                                                               Police.           with
                                                                                        I assisted  with
the completion
    completionof     finaldocument
                 offinal   documentpresented
                                       presentedtotothethe Board
                                                         Board   ofof  Inquiry
                                                                    Inquiry    overseeing
                                                                             overseeing   the the
Rampart Corruption
Rampart   CorruptionTaskTaskForce.
                              Force.

In 2000,
   2000, II applied
               appliedand    wasselected
                        andwas    selectedtotoMetropolitan
                                                Metropolitan  Division
                                                                 Division K9K9Platoon
                                                                                  Platoon as aasSergeant
                                                                                                 a Sergeant
11+1. 1.I Idirectly
11+         directlysupervised
                      supervised(18)
                                   (18)K9K9Handlers.
                                             Handlers.  Metro
                                                          Metro K9K9 conducted
                                                                        conducted K9 K9 Operations
                                                                                            Operations for the
                                                                                                           for the
entire  Departmentcovering
entire Department       coveringallallPatrol
                                       PatrolDivisions
                                               Divisionsand and  Specialized
                                                               Specialized       Units.
                                                                              Units.       I provided
                                                                                        I provided    all all
facets of
facets   of training
             trainingtotothe
                          theK9
                              K9Officers
                                  Officerstotoinclude:
                                                include: K9K9Operations,
                                                                Operations, tactics,   search
                                                                                tactics,        warrant
                                                                                           search   warrant
services, Mobile
services,    MobileField     ForceOptions,
                      FieldForce    Options,LessLessthan
                                                      thanLethal
                                                             LethalForce  Options,
                                                                      Force   Options,Lethal    Force
                                                                                           Lethal   Force
Options,     DepartmentDirectives,
Options, Department         Directives,Training
                                          TrainingBulletins,
                                                     Bulletins,and
                                                                 and other training
                                                                       other  trainingdictated   by the
                                                                                           dictated   by the
Officer-in-Charge and
Officer-in-Charge            CommandingOfficer.
                        andCommanding         Officer.InInaddition,
                                                            addition,I taught
                                                                        I taught K9K9Operations
                                                                                         Operations  at in-
                                                                                                         at in-
service training,
service    training,Watch
                      WatchCommander
                              CommanderSchool,School,Field
                                                        FieldTraining
                                                               Training Officer
                                                                           Officer(FTO)
                                                                                      (FTO) School,   andand
                                                                                                School,
Basic Detective
Basic   Detective School.      While at K9,
                     School. While        K9, II investigated
                                                 investigatedand andcompleted
                                                                       completedK9   K9contacts
                                                                                           contacts (bite
                                                                                                       (bite
investigations), personnel
investigations),     personnelcomplaints,
                                 complaints,Use UseofofForce
                                                         ForceInvestigations.
                                                                Investigations.   In In
                                                                                      addition,   I directed
                                                                                          addition,   I directed
and was
     was directly
            directlyinvolved
                      involvedininUse
                                    UseofofForce
                                             Forceincidents.
                                                     incidents.I received
                                                                  I received thethe
                                                                                  LAPD
                                                                                    LAPD    Medal
                                                                                               Medal of of
Valor and
Valor   and LAPD
               LAPDPolice
                       PoliceStar
                               Starfor
                                    fortwo
                                         twolethal
                                              lethaluse
                                                      useofof
                                                            force
                                                              forceincidents
                                                                      incidentswhile
                                                                                  whileassigned    to K9.
                                                                                            assigned    to K9.

In 2005,    wasselected
   2005, II was   selectedasasa aSergeant
                                  Sergeant11+1 II+1ininSpecial
                                                         Special  Weapons
                                                                    Weapons   andandTactics
                                                                                        Tactics(SWAT).
                                                                                                   (SWAT).  I I
directly supervised
directly supervisedsixty
                       sixtySWAT         Officerswith
                               SWATOfficers         with(6)(6)
                                                             other   SWAT
                                                                 other  SWAT   Sergeants
                                                                                  Sergeants   andand
                                                                                                   (2) (2)
Lieutenants. I conducted
Lieutenants.     conducted and and facilitated
                                    facilitatedallallfacets
                                                       facetsofofSWAT
                                                                    SWATtraining
                                                                             training  to to
                                                                                           include:
                                                                                              include:Weapons
                                                                                                         Weapons
Training (.45
Training  (.45 caliber,
                caliber,MP-5,
                           MP-5,M-4,
                                   M-4,Benelli
                                          BenelliShotgun,
                                                     Shotgun,   Remington
                                                                   Remington   870870BeanBeanBagBag Shotgun,
                                                                                                       Shotgun,
.40mm, SAGE,
.40mm,   SAGE,MX-26 MX-26Taser)
                             Taser)onona amonthly
                                             monthly  basis.
                                                         basis.InInaddition,
                                                                      addition,I facilitated
                                                                                  I facilitated andand
conducted training
conducted    trainingininthe
                           thefollowing
                               followingtraining
                                             trainingCadres:
                                                        Cadres:  Breacher
                                                                    Breacher (Explosive),
                                                                                (Explosive),       Crisis
                                                                                               Crisis
Negotiation-Mental Health,
Negotiation-Mental       Health,MEU,
                                  MEU,SMART,
                                           SMART,Suicide Suicide  Prevention,
                                                                    Prevention,      Counter-Terrorism
                                                                                 Counter-Terrorism
Cadre,  Climbing,Hostage
Cadre, Climbing,      HostageRescue,
                                 Rescue,Sniper
                                           SniperTraining,
                                                     Training,  AirAir  Support
                                                                      Support       Training
                                                                                Training          (Fast
                                                                                              (Fast      rope,
                                                                                                     rope,
Aerial
Aerial Platform
        PlatformShooting).
                    Shooting). II directly
                                   directlysupervised
                                               supervisedSWAT SWATmissions
                                                                        missions  andandHigh-Risk
                                                                                            High-Risk  Search
                                                                                                          Search
Warrant Services
Warrant   Servicestotoinclude
                         includeallallfacets
                                       facets(preparation,
                                                (preparation,  briefing,
                                                                  briefing,deployment,
                                                                              deployment,        de-briefing).
                                                                                             dc-briefing).     I I
was
was the
     the Supervisor-in-Charge
         Supervisor-in-Chargeofofthe     theCrisis
                                              CrisisNegotiation
                                                       Negotiation   Team.
                                                                        Team. I provided
                                                                                 I provided   on-going
                                                                                                 on-going crisis
                                                                                                              crisis
negotiation
negotiation training,
              training,mental
                          mentalhealth
                                  healthtraining,
                                           training,dc-briefs,
                                                        de-briefs, 40-hour
                                                                      40-hour POST
                                                                                 POST  Certified
                                                                                            CertifiedCrisis
                                                                                                        Crisis
Negotiation Team
Negotiation    Team(CNT)        School,and
                      (CNT)School,        andsuicide
                                                suicideprevention
                                                          prevention      training.
                                                                       training.      I worked
                                                                                    I worked     in in
conjunctional with
conjunctional    withthe    mentalhealth
                       themental      healthcommunity
                                               community    to to
                                                                provide
                                                                   provideandand
                                                                               facilitate
                                                                                   facilitatetraining   withwith
                                                                                                 training
LAPD SMART,
LAPD    SMART,LAPD   LAPDMental
                             MentalEvaluation
                                        EvaluationUnit    (MEU),
                                                       Unit   (MEU),   Behavioral
                                                                         Behavioral   Science
                                                                                          ScienceServices
                                                                                                      Services
Section (BSS),
Section  (BSS),and andthe
                        theDidi
                             DidiHirsch
                                   HirschSuicide
                                            SuicidePrevention
                                                        Prevention   Center.
                                                                        Center.InInaddition,
                                                                                      addition, I assisted   thethe
                                                                                                    I assisted

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On-Scene Consulting
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West Point
West  Point Military
            MilitaryAcademy
                     Academywith
                             withthe
                                   thedevelopment
                                       developmentofof
                                                    their crisis
                                                       their     negotiation
                                                             crisis negotiation
curriculum.
curriculum.

During this
During  this time,    wasselected
              time,IIwas   selectedasasthe
                                         thesole
                                              soleLAPD
                                                   LAPD   SWAT
                                                            SWAT   representative
                                                                     representativeto respond
                                                                                      to respondto to
Mumbai India
Mumbai    Indiawith
                 withCounterterrorism
                       Counterterrorismfollowing
                                             followingthethe
                                                           terrorist attack
                                                              terrorist     in November
                                                                        attack in November  2008.
                                                                                                2008.
                                                                                                   I I
taught use
taught use of
            of force,
                force,tactics,
                       tactics,and
                                andSWAT
                                     SWATdeployment
                                               deployment      250
                                                           to to 250Mumbai
                                                                      Mumbai  Special  Tactical
                                                                                 Special  Tactical
Police Officers.
Police Officers. Upon
                   Upon mymy return,
                               return,IIassisted
                                         assistedwith
                                                   withthe
                                                         thedevelopment
                                                              development   ofof
                                                                               multiple
                                                                                 multiple
venue/multiple attacker
venue/multiple    attackertactics.
                            tactics.

In June
   June 2010,    retiredfrom
        2010, IIretired  fromthe
                               theLos
                                   LosAngeles
                                        AngelesPolice
                                                   PoliceDepartment
                                                           Departmentwith 20 20
                                                                        with  years
                                                                                 yearsin service
                                                                                          in service
to pursue
   pursue an
          an opportunity
             opportunityininthe
                              theprivate
                                  privatesector.
                                           sector.I held supervisory
                                                    I held           positions
                                                           supervisory          for for
                                                                        positions         lastlast
                                                                                     the the   14
                                                                                               14
years of my
years    my career.
             career. During
                      During my
                              mytenure
                                  tenurewith
                                          withthe
                                               theLAPD,
                                                     LAPD,I received
                                                             I receivedover 100
                                                                         over 100
Commendations        include: The  Medal  of
Commendationstoto include: The Medal ofValor,  Valor, Purple Heart,
                                                        Purple      andand
                                                                Heart,  thethe
                                                                            Police
                                                                               PoliceStar.
                                                                                         Star.

From June
From          2010through
       June 2010     throughApril April2013,
                                          2013,I was
                                                 I wasthethe
                                                           Vice
                                                              VicePresident
                                                                     President  of of
                                                                                    Security
                                                                                       SecurityOperations
                                                                                                   Operations at at
Caruso Affiliated
Caruso   AffiliatedininLos LosAngeles,
                                  Angeles,CA.CA.My Myresponsibilities
                                                        responsibilities   included:
                                                                               included:Identified   and and
                                                                                             Identified
conducted Risk
conducted     Riskand
                    andVulnerability
                           VulnerabilityAssessments
                                             Assessments    forfor
                                                                all all
                                                                     Caruso
                                                                         CarusoAffiliated
                                                                                   AffiliatedDevelopments,
                                                                                                 Developments,
projected developments/investments,
projected   developments/investments,and         andresidences.
                                                      residences.   Utilized
                                                                       Utilized strategic-level
                                                                                    strategic-levelanalysis
                                                                                                       analysis
from the
from  the intelligence
           intelligencecommunity,
                            community,law    lawenforcement
                                                  enforcement   andandthethe
                                                                           private
                                                                                private        Ensured
                                                                                          sector.
                                                                                      sector.      Ensured a a
coordinated ability
coordinated     abilitytotoidentify
                             identifyand andmonitor
                                              monitorpotential
                                                        potential or or
                                                                      actual   incidents
                                                                          actual   incidentsamong   critical
                                                                                                among     critical
infrastructure domains
infrastructure    domainsand   andallallpersonal
                                         personaland  professional
                                                    and   professional  interests   of Caruso
                                                                            interests   of CarusoAffiliated.
                                                                                                      Affiliated.
Mitigated expected
Mitigated    expectedthreats.
                          threats.Utilized
                                     Utilizedpreplanned,
                                                preplarmed,   coordinated
                                                                coordinated    actions
                                                                                  actionsin response
                                                                                             in responseto to
infrastructure warnings
infrastructure    warningsororincidents.
                                   incidents.Responded
                                                Respondedto to   hostilities.
                                                                    hostilities.Identified
                                                                                   Identified andand
                                                                                                   eliminated
                                                                                                       eliminated
the cause,
    cause, oror source,
                 source,of  ofananinfrastructure
                                   infrastructure  event
                                                     eventbybythethe
                                                                   utilization
                                                                       utilizationof emergency
                                                                                      of emergency  response
                                                                                                         response
measures to
measures    to include
                includeon-site
                           on-sitesecurity
                                     securitypersonnel,
                                                personnel, local  lawlaw
                                                              local      enforcement,
                                                                             enforcement,  medical
                                                                                               medical
                                                                                                     and and
                                                                                                           fire fire
rescue, and
rescue,        relevantinvestigative
         andrelevant       investigativeagencies.
                                             agencies.Conducted
                                                          Conducted    allall
                                                                           facets
                                                                              facetsof of
                                                                                       security  training
                                                                                           security          for for
                                                                                                      training
the company
    company and  andemployees.
                      employees.Formulated
                                        FormulatedBusiness
                                                      BusinessContinuity
                                                                    Continuity   andandCEOCEO Succession
                                                                                                 Succession  Plans
                                                                                                                 Plans
for the
    the company
         companyand  andall allaffiliated
                                 affiliatedbusiness
                                             businessinterests.
                                                        interests. Conducted
                                                                      Conducted   ongoing
                                                                                      ongoing audits  andand
                                                                                                 audits
internal
internal investigations.
          investigations.


From June
From   June 2013       June2014,
              2013totoJune    2014,I was
                                     I washired
                                            hiredas as
                                                     a Deputy
                                                        a Deputy Sheriff
                                                                    Sheriff   at the
                                                                          at the       Riverside
                                                                                  Riverside         Sheriff's
                                                                                                Sheriff’s
Department     whereI Iconducted
Department where         conductedallallfacets
                                          facetsofof
                                                  patrol  service
                                                      patrol        to include
                                                              service  to include callscalls
                                                                                         for service,  self-self-
                                                                                              for service,
initiated field
initiated  fieldactivity,
                 activity,arrests,
                           arrests,citations,
                                     citations,and court
                                                 and      testimony.
                                                       court  testimony.In addition,
                                                                            In addition,during  my tenure
                                                                                              during  my tenure
with the
with  theRiverside
           RiversideCounty
                       CountySheriff’s  Department,
                                Sheriff's  Department, I wasI assigned   to Robert
                                                              was assigned            Presley
                                                                                to Robert        Detention
                                                                                               Presley  Detention
Center (RPDC).
Center   (RPDC).Processed
                    Processedand andmonitored
                                      monitored  inmate
                                                   inmate population
                                                             population from   initial
                                                                            from        intake,
                                                                                   initial        housing,
                                                                                             intake,  housing,
court, transportation,
court,  transportation,andandrelease.
                               release.Conducted
                                         Conducted   searches
                                                        searchesof inmate
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On-Scene Consulting
On-Scene Consulting

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On-Scene Consulting
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                EXHIBIT
                EXHIBIT 44
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41906 Echo Forest Ct. * Canton, Michigan 48188
Phone (734) 981-6788* Fax (734) 981-6459

                                                                         September 27, 2021
Mr. John Kevin Crowley
Attorney at Law
125 South Market Street
San Jose, California 95113-2288

       RE: Dominquez v. San Jose Police Department, et al
       Federal Court - Northern District of California
       Case No.: 5:18-cv-04826

The following list of police reports, evidence examinations, photographs, depositions, autopsy
protocol, scene visit and video were reviewed by the undersigned and were used as source
material for the opinions and conclusions reached in this report.
        5/21/21 Proposed Stipulated Protective Order, Case No. 5:18-cy-04826-BLF
        6/8/21         188 pages of police reports on this case
        6/8/21         109 pages of police reports on this case
        6/11/21 Flash drive containing;
                          Depositions of officers Pena and Lopez
                          Scene photographs
                          Sweatshirt photographs
                          Trajectory photographs
                          Officer photographs
                          3164 Penitencia Creek home video surveillance
                          3158 Penitencia Creek home video surveillance
                          Car exterior photographs
                          Photographs taken at the Medical Examiner’s Office – None during the
                          Autopsy.
                          Autopsy Protocol
        9/3/21         Dropbox link containing;
                          575 Photographs taken on this case.
        9/3/21         San Jose’s production of documents – 7 pages
        9/7/21         Dropbox link containing;
                          Officer Pena’s video statement
                          Scene photographs
                          Body camera footage from two officers at the shooting.
        9/9/21         Fly to San Jose – examine evidence (sweatshirt of Mr. Dominquez,
                        bullet fragments from the autopsy, bullet fragments from the Dominquez
                        vehicle and view the scene. Return to Michigan on 9/10/21.
        9/9/21         Request to examine the involved Kia, however it was not maintained as
                        evidence by the San Jose Police Department.

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            9/10/21    Defendant’s Expert reports and disclosures
            9/24/21    Report on the Fatal Shooting of Jacob Dominquez on 9/15/2017, the
                        County of Santa Clara, Jeffery F. Rosen District Attorney

QUALIFICATIONS FOR OPINION

   The opinions and conclusions reached on the above-mentioned shooting are based on the
   following:

              My review of all the above listed material and evidence.
              My experience as a Michigan State Police Officer for over 25 years rising to the
               rank of D/Lt. in charge of the Firearms, Tool-Mark and Bombs and Explosive Unit
               of the MSP Northville Forensic Science Laboratory
              My experience for over 20 years as a member of the Michigan State Police
               Forensic Science Laboratory in the Firearms Identification, Tool Mark, Bombs and
               Explosive Unit.
              The examination of hundreds of firearms for safety and function testing prior to
               firing as well as determining the causes of reported firearm failures.
              My experience with the Michigan State Police as a Crime Scene Analyst
               participating in and supervising hundreds of crime scene investigations during my
               years with the department.
              My experience at photographing and collecting evidence at crime scenes while with
               the Michigan State Police.
              My experience at photographing, participating in and collecting evidence at
               autopsies for over 20 years.
              Training sessions on crime scene reconstruction both as a member of the Michigan
               State Police and as a civilian examiner.
              My experience in investigating shooting crime scenes for over 20 years as a
               member of the Michigan State Police and then continuing to utilize that experience
               as a self-employed examiner in assessing shooting crime scenes for the past 28+
               years.
              My experience at having examined hundreds of shooting victims at crime scenes,
               autopsies, hospitals and funeral homes.
              My experience at taking and interpreting X-rays in bomb squad work and training
               as well as at using and interpreting X-rays at crime scenes, autopsies and hospitals
               for the past 48+ years.
              I continue to follow new developments in the field of forensic testing through
               caseload and review of journals in the subject area.
              Training and review of new materials/techniques through the internet.
              See a copy of my C.V. for more specific information




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INFORMATION

    The following is a brief summary of the events leading up to the shooting death of Jacob
    Dominquez by San Jose Police Officer Michael Pina on September 15, 2017 as
    understood by the undersigned from reviewing the above listed material.

    Mr. Dominquez was wanted on a felony warrant by the San Jose Police Department and
    was actively being pursued/surveilled for at least the past two days by members of the
    San Jose Police Department VCT squad. Information was obtained on the whereabouts of
    Mr. Dominquez and a surveillance team of approximately 12 officers in individual
    vehicles were assigned. The officers were advised that the suspect may be armed with a
    silver revolver due to .357 magnum caliber ammunition that was discovered during the
    serving of a search warrant.

    Officers were aware that Mr. Dominquez frequently violated traffic laws by speeding,
    running stop signs and red lights, weaving in and out of traffic and making sudden “U”
    turns in an apparent effort to detect if he was being followed by law enforcement. This
    erratic pattern of driving required the pursuit teams to remain well out of sight so normal
    tailing was not possible, therefore a fixed wing aircraft was employed to allow the tailing
    vehicles to remain well back of the subject vehicle. The fixed wing aircraft advised the
    VCT team that the Dominquez vehicle had settled down and was traveling normally. A
    short time later the aircraft advised that the Dominquez vehicle, a black KIA Sportage,
    was stopped at the light on Penitencia Creek Road at the intersection of N. White Road.

    At this point Officer Pena was the first car behind the suspect, Officer Ferguson was the
    second car with Officer Lopez in the third car. Officer Pena then pulled his undercover
    vehicle directly in front of the suspect’s vehicle with Officer Pena’s front passenger door
    either touching or very close to the front of Mr. Dominquez’s front bumper roughly
    making the letter “T” with the two vehicles. Officer Pena immediately exits his vehicle
    and takes a position near the left front wheel of Officer Ferguson’s vehicle with his M-4
    rifle pointed at the suspect in the driver’s seat of the Kia. Officer Pena reportedly yells
    “hands up-show me your hands and if you move, I will shoot you” to Mr. Dominquez in
    the Kia vehicle. At this time Officer Pena reports that Mr. Dominquez does not raise his
    hands for several seconds and then does raise his hands all while interacting with Officer
    Pena through a partially opened driver’s door window. Then according to Officer Pena,
    Mr. Dominquez quickly lowers both of his hands toward his right lap area and leans his
    body forward (interview demonstration) at which time Officer Pena fires two shots at Mr.
    Dominquez because he believes he is reaching for a firearm. No firearm was located in
    the vehicle or on Mr. Dominquez.

    When Officer Pena places his vehicle in a “T” position to the Dominquez vehicle, Officer
    Ferguson quickly positioned the right front tire of his vehicle very close to the driver’s
    door of Mr. Dominquez’s vehicle and immediately exits his vehicle with his M-4 rifle

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    standing in his open door and then standing on the floor board of his vehicle pointing his
    rifle over the roof of his vehicle. Officer Ferguson has essentially the same view of Mr.
    Dominquez as does Officer Pena and they are standing only 4-6 feet apart along the side
    of his vehicle. Officer Lopez quickly arrives positioning his vehicle immediately to the
    rear of and actually strikes the rear bumper of the Dominquez vehicle and immediately
    exits his vehicle with his M-4 rifle at which time two shots are heard on the body camera.

    A flash bang is heard being deployed several seconds later and then all the officers retreat
    to cover positions for approximately 15 to 30 minutes before having a canine released
    into the Kia to determine the status of Mr. Dominquez.

COMMENTS AND OBSERVATIONS

    The fatal wound to Mr. Dominquez’s left lower jaw area was caused by a damaged fired
    rifle bullet in this examiner’s opinion. The damage would have been the result of the
    bullet impacting the door window glass prior to striking Mr. Dominquez causing the large
    irregular bullet wound of entry. The fact that there was no exit from a .223 caliber rifle
    bullet attests to the severe damage done to this bullet prior to striking Mr. Dominquez.
    The bullet jacket recovered at autopsy was nearly complete, however the majority of the
    bullet core material (lead) was missing. This is not unusual given the fact that the bullet
    was badly damaged by the glass in this examiner’s opinion. The weight of the bullet
    jacket and core material recovered at autopsy approximates ½ of an intact bullet in this
    caliber, with the missing core material possibly accounted for in the injuries to the left
    neck area of Mr. Dominquez or the remaining core material was not recoverable.

    A bullet strike is noted in the interior of the Kia in the “B” pillar on the passenger’s side
    of the vehicle. This hole is essentially a first strike bullet hole of entry and was caused by
    an undamaged/slightly damaged fired rifle bullet (note the perfectly round entry hole) in
    this examiner’s opinion. Evidence technicians removed one portion of core material with
    some apparent jacket material from the area of the “B” pillar during the vehicle
    inspection at the police facility. The material recovered would represent only a portion of
    a whole fired rifle bullet, however the area in which the bullet struck could easily account
    for the missing jacket (inside the steel structure of the “B” pillar or much of the bullet
    could have escaped the vehicle after striking the interior of the passenger rear door) at the
    scene. The recovered core material was also approximately ½ the weight of a single fired
    rifle bullet in the .223 caliber class of bullets, however in noting the uniform bullet hole
    of entry pictured below with the damaged exit hole in the “B” pillar, this could not have
    been the missing portion of the fatal bullet in this examiner’s opinion. This bullet hole
    was caused by an undamaged intact fired rifle bullet in the .223 class caliber.




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Photo # 12363200




Photo # 12363185

The report issued by the Santa Clara County District Attorney Jeffery F. Rosen states that
the Santa Clara County Criminalists concluded the following:
       1. Officer Pena fired two successive shots approximately ½ second apart;
       2. The projectile that killed Dominquez was a fragment of a copper (jacketing)
          recovered from his body. The combined weight of the (jacketing) and the
          lead core recovered from the doorframe amounted to the approximate weight
          of a single .223 bullet;
       3. Only a single bullet entered the vehicle, meaning that the other shot fired by
          Officer Pena was a miss;

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       4. There was no way to tell definitively if the miss was the first or second shot,
           but according to firearms experts, when two shots are fired in rapid succession,
           a miss is more likely to occur on the second shot due to recoil.
       5. The bullet that entered the vehicle struck the driver’s window, shattering it;
       6. Upon impact with the glass, the bullet broke up with the lead core going
          through the forearm of Dominquez’s hooded sweatshirt and ultimately lodging
          in the rear passenger door frame;
       7. The (jacketing) fragment that broke away upon impact with the glass traveled
          in a path that penetrated Dominquez’s head, neck and spine causing his death;
       8. Dominquez was leaning back in his seat immediately after the shooting;
       9. There were two holes in the left forearm of the hooded sweatshirt (the hole on
           the frontside of the left sleeve was approximately 12 inches up from the
           edge of the cuff and the hole located on the backside of the left sleeve was
           approximately 11.5 inches up from the edge of the cuff) that were caused by a
           single bullet passing through (entrance and exit).

After reviewing the above reasons given by the District Attorney, this examiner is
troubled by the sheer number of miss-representations contained in those 9 points which
will be addressed below:
        1. The Santa Clara Criminalists did NOT state that this was from one bullet due to
           the combined weight of the two fragments. What they did say in their report
           was that “It is not possible to determine if Items SJ182278-28 and SJ182278-28
           are from one or more projectiles.
        2. The criminalists did not say that one shot missed.
        3. Apparently the District Attorney believes that a fired rifle bullet can break up
           causing the bullet jacket and core to separate and only the bullet jacket will be
           severely deformed and that the core, apparently undamaged by the violent
           interaction with the window glass now travels as an undamaged projectile to
           strike the “B” pillar leaving a perfectly round .223 caliber hole. It
           should be noted that if the hole in the “B” pillar were caused only by a .223
           caliber bullet core, the hole would only be approximately .180 inches in
           diameter due the missing jacket. Did anyone take this into account? Bullet
           manufacturers design jacketed bullets to not have the core material and the
           jacket separate when impacting a target.
        4. The recoil of .223 Remington caliber cartridge in a M-4 rifle (or in other semi-
            auto rifles) is designed to not cause muzzle jump. This is one of the reasons
            this caliber rifle is so popular, it is powerful and yet easy to fire and has very
            little recoil. For anyone to suggest that the recoil of a .223 caliber semi-auto
            rifle as the reason for a missed shot from less than ten feet into a large vehicle
            from a well-trained officer is ludicrous.
        5. The turning of the bullet core approximately at a 45 degree or greater angle and
            then have it penetrate the sweatshirt and the “B” pillar needs explanation?
        6. On page 18 of that report the District Attorney agrees that Mr. Dominquez’s
            hands were probably up when Officer Pena fired his weapon.

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The undersigned also examiner the black sweatshirt worn by Mr. Dominquez when he
was shot. The reports issued by the Santa Clara Crime laboratory documents the thorough
examination of the sweatshirt and the undersigned agrees with the conclusions drawn by
the crime laboratory that the holes in the left sleeve of the black sweatshirt were
consistent with the passage of a high-speed projectile. The below shown photographs
depict the holes in the outside lower left sleeve (DSC-3555) and the inside lower left
sleeve (DSC-3550) of the sweatshirt. This clearly indicates the passage of a bullet
through the lower sleeve of the sweatshirt from the outside to the inside approximately
11-12 inches up from the cuff, however the bullet does not strike Mr. Dominquez.




DSC-3555




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DSC-3550

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Investigators examining the black Kia being driven by Mr. Dominquez conducted
trajectory testing on the bullet hole located in the “B” pillar on the passenger side of the
vehicle. The examinations consisted of placing a wooden dowel into the bullet strike in
the “B” pillar with a colored string attached near the front of the dowel and then drawing
that string out through the driver’s side window. The below shown photograph shows this
testing by the Santa Clara Crime Laboratory personnel.




Photo # 12363278

Laboratory photographs #12363212e+line through 12363278ce depict various trajectories
from the single bullet strike in the “B” pillar with most of the string trajectory lines
coming out of the driver’s side window near the door handle, however in one of the
photographs the orange-colored trajectory line appears to this examiner to be coming out
further forward towards the windshield area of the vehicle. The reason these trajectory
projections are important is that it appears the investigators are trying to correlate the
bullet strike in the “B” pillar with a portion of the bullet from the fatal injury to Mr.
Dominquez. The undersigned was unable to reproduce the above listed photos in this
report due to the formatting in which the photographs were received by the undersigned.

The importance of the above material is that it appears investigators thought that the
bullet strike in the “B” pillar was a portion of the fatal bullet strike to Mr. Dominquez and
then it appears that a second version of the trajectory test was that the “B” pillar strike
was an independent fired bullet. Investigators could have facilitated the examinations had
they not used string taped to a wooden dowel (as shown in the above photo) and simply
pulled the trajectory string all the way through the hole in the “B” pillar, centered that



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     string in the middle of the exit hole while centering the string in the center of the entrance
     hole and then projecting the string outside the driver’s door window. This would have
     given them a much more accurate flight path of the bullet causing the hole in the “B”
     pillar. Investigators could have/should have utilized a laser to more accurately determine
     the angle of the bullet in the “B” pillar. Refer to photographs #’s 12363299 and 12363185
     included in this report on page 5.

OPINIONS AND CONCLUSIONS

     Officer Pena’s vehicle is the first to block in the Dominquez vehicle and Officer Pena
     immediately exits his vehicle and takes a position near the left front wheel /engine area of
     Officer Ferguson’s vehicle which has blocked the driver’s door of the Dominquez
     vehicle. Officer Pena reportedly begins yelling “show your hands” and “don’t move or I
     will shoot you” commands to the driver of the stopped vehicle. Officer Pena states at first
     Mr. Dominquez does not comply with the hands up order, however after a few seconds
     he raised his hands. Within seconds Officer Pena states that Mr. Dominquez then quickly
     lowers his hands to his lap area and leans forward and it is at this time that Officer Pena
     fires 2 rounds at Mr. Dominquez stating that he (Pena) thought that Dominquez was
     reaching for firearm. No firearm was recovered from the vehicle or Mr. Dominquez.

     The evidence clearly shows that the fatal wound to Mr. Dominquez (only one bullet
     wound) struck the partially lowered driver’s side window prior to striking the victim in
     the lower left mouth area with no exit wounds associated with this fatal bullet strike,
     therefore the bullet hole in the “B” pillar had to be the result of a fragment of the fatal
     bullet core or an independent bullet strike. The independent bullet version accounts for
     both the holes in the sweatshirt as well as the round bullet entrance hole in the “B” pillar.
     The fragment of bullet core from the fatal shot version fails to explain either the round
     .223 caliber size bullet hole in the “B” pillar and does not explain how the holes in the
     sweatshirt were created. Officer Pena fired two rounds at Mr. Dominquez with only one
     bullet striking him. For the bullet strike in the “B” pillar to have been a fragment of the
     fatal bullet strike, the second shot fired by Officer Pena would have had to completely
     miss the vehicle (a distance of less than 10 feet with a person using a scoped rifle) as
     there are no other bullet holes in the Kia or any reported bullet strikes in the vicinity of
     the shooting. Officer Pena missing with the second shot is not a credible possibility in
     this examiner’s opinion.

     Having dismissed the possibility of a missed second shot, then the bullet strike in the “B”
     pillar was a direct bullet strike and the holes in the lower left sleeve of the sweatshirt had
     to have been caused by the passage of this fired bullet. The outer (entrance) bullet strike
     in the sweatshirt reportedly had powdered glass imbedded in the fabric (County of Santa
     Clara Crime Laboratory) which indicate that the second shot impacted glass prior to
     striking the sweatshirt, however the glass would have already been shattered from the
     first shot and would not have offered any substantial resistance to a bullet passing as
     would intact/non-damaged glass in this examiner’s opinion.

                                                                                                  9
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After carefully reviewing the available information and evidence on this case it is the
opinion of the undersigned examiner that Mr. Dominquez had to have had his arms/hands
up above the level of the driver’s door metal body for the bullet to have impacted the left
sweatshirt sleeve and then struck the “B” panel, therefore the statement of Officer Pena
that both of Mr. Dominquez’s hands were down and out of sight when he fired his
weapon is not correct. Mr. Dominquez’s left arm/hand was above the level of the window
opening in his vehicle when the bullet penetrated the sweatshirt. With the two fired
rounds only separated by approximately ½ second and the shot to the sweatshirt (likely
the second round fired), it is apparent that at least Mr. Dominquez’s left hand/arm was up
and above the driver’s side window ledge when both rounds were fired.

The undersigned reserves the right to change or modify any of the opinions and
conclusions expressed in this report if additional information or evidence becomes
available.


                                                              Respectfully submitted,



                                                              David E. Balash




     A copy of my C.V. is attached
     A copy of my testimony document is attached




                                                                                        10
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                EXHIBIT 5
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                  UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF CALIFORNIA

                          SAN JOSE DIVISION

 JESSICA DOMINGUEZ,                          )
 INDIVIDUALLY AND AS GUARDIAN                )
 AD LITEM FOR JACOB DOMINGUEZ,               )
 JORDAN DOMINGUEZ AND JALIYAH                )
 DOMINGUEZ,                                  )
                                             )
                       Plaintiffs,           )
                                             )   NO. 5:18-CV-04826-
 vs.                                         )       BLF
                                             )
 CITY OF SAN JOSE, SAN JOSE                  )
 POLICE DEPARTMENT and DOE                   )
 POLICE OFFICERS 1, 2 and 3 and              )
 DOES, inclusive,                            )
                                             )
                       Defendants.           )




                    DEPOSITION OF DAVID BALASH


 DATE:                          November 22, 2021

 TIME:                          9:30 a.m.

 LOCATION:                      Remote Zoom Deposition


 REPORTED BY:                   BETTY A. SALOIS, RPR,
                                Certified Shorthand Reporter
                                License Number 4768
                                Appearing Remotely

 ______________________________________________________
                   SALOIS & ASSOCIATES
              Certified Shorthand Reporters
              111 N. Market St., Suite 300
                 San Jose, CA 95113-1112
                     (408) 279-DEPO

                                                                   1

                Salois & Associates - (408) 279-3376
     Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 90 of 204



 1                          A P P E A R A N C E S

 2

 3    For the Plaintiff:               THE CROWLEY FIRM
      Appearing Remotely               BY: JOHN KEVIN CROWLEY, ESQ.
 4                                     125 S. Market Street
                                       Suite 1200
 5                                     San Jose, CA 95113
                                       408.288.8100
 6

 7
      For the Defendant:               CITY ATTORNEY'S OFFICE
 8    Appearing Remotely               BY: MAREN CLOUSE, ESQ.
                                       200 E. Santa Clara Street
 9                                     16th Floor
                                       San Jose, CA 95113
10                                     408.535.1900

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 1                          INDEX OF EXAMINATION:

 2                                                                      Page:

 3   Examination by Ms. Clouse                                            4

 4

 5

 6

 7

 8

 9

10                            INDEX OF EXHIBITS:

11   Defendants                    Description                          Page:
     Exhibits:
12

13   1                    Plaintiff's Rebuttal Expert                    38
                          Witness Disclosure Pursuant
14                        To Stipulation and Order
                          Document 51
15

16

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 1        Q.    No problem.       Let me know when you are ready.

 2        A.    I am set.

 3        Q.    Have you formed any opinions that you would

 4   offer at trial in this case that are not included in the

 5   section following things and conclusions?

 6        A.    Yes.

 7        Q.    Okay.    What opinions have you formed that are

 8   not in that section?

 9        A.    Several -- at some point in time prior to my

10   writing the report I was E-mailed a report by a Mr.

11   Edwards, firearms examiner retained by the Defendant in

12   this particular case.          I had chosen not to review that

13   report until after I had formulated my report.                     I don't

14   like to look at somebody else's work in the matter until

15   I formulated and come to my own conclusions.

16              As of Saturday I chose to review that.                  I

17   reviewed it.       I made some notes on it.           I faxed those

18   notes to Mr. Crowley's office, and based on what Mr.

19   Edwards had said I would have formulated some opinions

20   as to the correctness of his report.

21        Q.    Okay.    What are those opinions?

22        A.    Well, not trying to make light of it, but if

23   Mr. Edwards is of the opinion that the first bullet was

24   the fatal bullet, that it went through the window, went

25   also through the sleeve, the left sleeve of

                                                                            11

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 1   Mr. Dominguez and then struck Mr. Dominguez in the face

 2   killing him he is of the opinion that the second shot

 3   into the B pillar was a direct shot that didn't contact

 4   anything and that the reason there is glass around the

 5   hole where the shot in the sleeve and the hole, the

 6   lower part of the Dominguez sweat shirt was due to the

 7   fact that he must have had his arm up very high next to

 8   his face at the point in time that the first bullet

 9   struck him.      And I take -- I don't agree with that.            I

10   have several reasons as to why.

11        Q.    Okay.    Why don't we talk about those reasons?

12        A.    Okay.    Again I think everybody is aware of the

13   John F. Kennedy magic bullet they call it all the time,

14   couldn't have done all the damage that it did.

15              Well, in this regard this would also have to

16   have been a magic bullet because Mr. Edwards says that

17   the first bullet which is the fatal bullet, and it is

18   listed as item number 20 I believe by the San Jose

19   police department, is the bullet that struck the window.

20   It then goes through the sleeve of the sweat shirt and

21   then it impacts Mr. Dominguez in the lower jaw of -- the

22   left side of his jaw.          The reason I say it had to be the

23   magic bullet because the impact point of a 223 is a

24   jagged entry wound on the face of Mr. Dominguez on the

25   lower jaw.      The only reason that bullet didn't penetrate

                                                                        12

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 1   completely and go out the back of his head was the fact

 2   that it had been tremendously damaged prior to getting

 3   there.       But if you read Mr. Edwards report the bullet

 4   impacts the glass which would have caused the damage,

 5   but now the bullet goes through the sweat shirt and only

 6   makes minimal small holes going through the sweat shirt

 7   and then only an inch or so between the outside edge of

 8   the sweat shirt and Mr. Dominguez's face it now again

 9   expands dramatically and only the jacket portion of the

10   bullet impacts Mr. Dominguez penetrating it to the skull

11   near the back of where it was removed at the autopsy and

12   that is just not possible.           The bullet couldn't possibly

13   have done that.

14                The bullet was damaged severely.            It couldn't

15   have been the bullet that went through the sleeve

16   because the holes in the sleeve would have been gapingly

17   large rips in the sleeve if the bullet prior impacted

18   undamaged window glass in my opinion.

19          Q.    Okay.   I want to be sure I understand what you

20   said.       So in your view the first bullet struck and

21   shattered the glass and then impacted Mr. Dominguez's

22   jaw.     Is that right?

23          A.    Correct.    Without going through the sleeve of

24   his sweat shirt.        That is my opinion.

25          Q.    The reason for that opinion is that if the --

                                                                        13

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 1   having struck the glass the bullet was damaged and that

 2   damage accounts for the way in which it impacted Mr.

 3   Dominguez's jaw and lodged in the jaw area?

 4        A.    Absolutely.       The bullet itself would be -- my

 5   understanding it is an approximately 75 grade bullet

 6   which is the weight of -- when it impacted the glass it

 7   begins to disintegrate and therefore it is going to be

 8   coming apart at the hole.           You see in Mr. Dominguez's

 9   sweat shirt it doesn't show any characteristics

10   whatsoever of that on several of the photos that are

11   taken under alternate light sources.

12              You see more damage there which I suspect is

13   from the fragmented glass and fragmented some of the

14   possible bullet core material.             But the holes in the

15   sweat shirt would have been astronomically larger had

16   the bullet been damaged prior to going through that

17   sweat shirt.      It would have picked up, I would suspect

18   that the jacket itself with all the edges and catches to

19   it would have caught fabric and other material as well.

20        Q.    Is it your understanding that there was glass

21   noted in the area around the bullet hole on the sweat

22   shirt?

23        A.    It is my understanding there was, yes.

24        Q.    How do you account for that?

25        A.    Well, it is another point that Mr. Edwards

                                                                        14

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 1   already had to have been up at that point in time in my

 2   opinion.

 3        Q.    Is that an opinion that you are offering in

 4   this case as an expert witness?

 5        A.    Not for the first bullet.            For the second, yes.

 6        Q.    Okay.    Let me be clear about this.             Are you

 7   offering an opinion about, in this case, as an expert

 8   witness, about where Mr. Dominguez's arm was at the time

 9   the first bullet was fired?

10        A.    I cannot.      No.

11        Q.    At the time the second bullet was fired it

12   sounds like you do have an opinion about where his arm

13   was at that time?

14        A.    Yes.    It had to be above the door frame area of

15   the window to allow the bullet passage through it.                    It

16   would have been in line with the B pillar, and you could

17   probably have drawn out a reasonable bullet flight path

18   backwards from the hole in the B pillar back out to

19   where the bullet would have come through several inches

20   above the door frame itself, the lower part of the door

21   frame.

22        Q.    Do you have any other opinions about Mr.

23   Edwards report?

24        A.    Well, I don't -- I certainly don't agree that

25   Mr. Dominguez's arm was up and that the first bullet

                                                                           21

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 1   clothing on this particular case and photographing it

 2   under multiple light sources to give you different

 3   angles and perspectives on it.             So I was pleased with

 4   that.     But it is always something you want to look at.

 5        Q.    When you say they did a good job do you mean

 6   the crime lab?

 7        A.    Yes.

 8        Q.    Did you request to inspect the vehicle involved

 9   in this incident?

10        A.    Yes.    I did.

11        Q.    You weren't able to?

12        A.    No.    The vehicle was not kept.            So it is gone.

13   I understand it is somewhere and still in California I

14   understand, but after several years and repairs you

15   would have had to do some physical damage to the vehicle

16   to look where I wanted to look.

17        Q.    Where did you want to look?

18        A.    Inside the steel portion of the B column.               It

19   is plastic on the outside.           It is a steel support beam

20   of the vehicle.       So I would have wanted to look down

21   into there to see if there were any jacket fragments

22   were in there.       They could have been in there or they

23   may well have made it out the hole and then would were

24   lost when the door was open.            I just don't know.

25        Q.    If there had been fragments in there what would

                                                                         32

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                EXHIBIT
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                                      Dominguezv.v.City
                                      Dominguez     CityofofSan   Jose,et et
                                                             SanJose,     al.al.
                                         Case No. 5:18-cv-04826-BLF
                                         Case      5:18-cv-04826-BLF



TO:               MarenJ.J. Clouse,
                  Maren        Clouse,Senior
                                        SeniorDeputy
                                                Deputy City Attorney
                                                          City Attorney
                  Office ofofthe
                  Office           City
                              theCity   Attorney,
                                      Attorney, CityCity
                                                      of San JoseJose
                                                          of San
                                              16th
                       E. Santa
                  200 E.  Santa Clara
                                  ClaraSt.,
                                         St.,16  th Floor
                                                    Floor
                  San Jose, CA.CA. 95113
                                   95113

FROM:             Rocky Edwards
                         Edwards&&Heather
                                      Heather Heider
                                            Heider
                       Forensics, Inc.
                  Rock Forensics,  Inc.
                  160 W.  FoothillParkway
                      W. Foothill  Parkway#105-190
                                            #105-190
                  Corona, CA
                  Corona,  CA 92882
                              92882

DATE:
DATE:             May 19,
                  May  19,2021
                           2021

SUBJECT:
SUBJECT:          Dominguezv.v.City
                  Dominguez      CityofofSan
                                          SanJose,    al.al.
                                               Jose,etet
                  Case
                  Case No. 5:18-cv-04826-BLF
                           5:18-cv-04826-BLF

INTRODUCTION
INTRODUCTION

This comprehensive    evaluation
     comprehensiveevaluation       is being
                              is being   submitted      by Rocky
                                                   by Rocky
                                            submitted       Edwards (Edwards)
                                                                 Edwards      and Heather
                                                                          (Edwards)  and Heather
Heider  (Heider)ofof
Heider (Heider)      Rock
                   Rock   Forensics,
                        Forensics, Inc.Inc.

SCOPE OF
SCOPE  OFINVESTIGATION
          INVESTIGATION

Rock Forensics,    Inc.was
      Forensics, Inc.    wasrequested
                                requested      to evaluate
                                          to evaluate     and report  findings
                                                               and report       regarding
                                                                             findings     the September
                                                                                       regarding            15,
                                                                                                     the September   15,
2017 Officer
2017  OfficerInvolved
               Involved     Shooting
                        Shooting     (01S)  thatthat
                                         (015)    occurred   at the at
                                                        occurred        the intersection
                                                                    intersection  of Penitencia  Creek Road
                                                                                            of Penitencia    Creek Road
and North    White
     NorthWhite  Road Road     in City
                          in the   the of SanofJose,
                                        City      San California.   Specifically,
                                                        Jose, California.          Rock Forensics,
                                                                             Specifically,            Inc. was Inc. was
                                                                                             Rock Forensics,
asked totoevaluate
           evaluate the the
                         physical   firearm-related
                              physical                 evidenceevidence
                                          firearm-related         in this matter  and determine
                                                                             in this  matter and  if the
                                                                                                       determine if the
evidence
evidencewas wasconsistent
                 consistent  with with
                                   the statements     of the involved
                                         the statements         of theSan   Jose Police
                                                                          involved   San Officers.   This Officers. This
                                                                                           Jose Police
evaluationwas
evaluation   wasbased
                   based uponuponthe the
                                     below   listed listed
                                          below     investigative   materialsmaterials
                                                            investigative      provided and   the evidence
                                                                                         provided      and the evidence
reviewed.
reviewed.

INCIDENT SYNOPSIS
INCIDENT SYNOPSIS

Membersofofthe
Members        the San
                 San     Jose
                      Jose     Police
                            Police      Department’s
                                    Department's Covert Response
                                                     Covert         Unit (CRU)
                                                               Response    Unit conducted  a vehiclea vehicle
                                                                                (CRU) conducted
controltactic
control tactic(VCT)
                (VCT)onon
                        thethe vehicle
                             vehicle     Dominguez
                                     Dominguez  was was
                                                    driving. After the
                                                          driving.     successful
                                                                    After         application
                                                                          the successful      of the
                                                                                          application  of the
VCT,
VCT, an OIS occurred     resulting
              occurredresulting   in Dominguez's death.
                                     in Dominguez’s  death.

INVESTIGATIVE MATERIALS
INVESTIGATIVE MATERIALSREVIEWED
                        REVIEWED

     WornCamera
Body Worn Camera(BWC)
                  (BWC)
      SJ1751.mp4
   • SJ1751.mp4
      SJ1753.mp4
   • SJ1753.mp4
      SJ1759.mp4
   • SJ1759.mp4


             REPORT——ROCK
CONFIDENTIAL REPORT   ROCKFORENSICS,
                           FORENSICS,INC.
                                       INC.                                                                           1
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                                Dominguez     CityofofSan
                                                       SanJose,
                                                            Jose,et et
                                                                    al.a).
                                             5:18-cv-04826-BLF
                                   Case No. 5:18-cv-04826-BLF
                                   Case

      • SJ1760.mp4
         SJ1760.mp4
        SJ1761.mp4
      • SJ1761.mp4
      • Si1762.mp4
        SJ1762.mp4
         SJ1763.mp4
      • SJ1763.mp4
        SJ1764-Pina.mp4
     • SJ1764    - Pina.mp4
        Si1765
     • Si          Jimenez.mp4
           1765 - Jimenez.mp4
                -




        Si 1766 - Ferguson.mp4
     • SJ1766  -   Ferguson.mp4
        AXO N_Body_2_Video2017-09-15_1847. m p4
     • AXON_Body_2_Video_2017-09-15_1847.mp4
     • AXO    N_Body_2_Video_2017-09-15_1902 m p4
        AXON_Body_2_Video_2017-09-15_1902.mp4        .




     • AXON_Body_2_Video2Ol7-09-15_1903
        AXON_Body_2_Video_2017-09-15_1903.mp4m p4    .




        AXON_Body_2_Video_2017-09-15_1904-file
     • AXON_Body_2_Video_2017-09-15_1904-file            2.mp4
                                                             2. m p4
OfficerInterviews
Officer Interviews
     •   1728228- Interview
        1728228     - Interview  Transcript
                              Transcript  of Ofr
                                              of Kristopher Ferguson.pdf
                                                 Ofr Kristopher   Ferguson.pdf
     •  1728229 - Interview
        1728229     - Interview  Transcript
                              Transcript  of Ofr
                                              of Alvaro Lopez.pdf
                                                 Ofr Alvaro  Lopez.pdf
     •  1728230 -Interview
        1728230     -Interview  Transcript
                              Transcript of Ofr
                                             of Michael  Pina.pdf
                                                 Ofr Michael  Pina.pdf
     • Number
        Number02   02Channel
                       ChannelCh4Ch4Room
                                     Room     Homicide
                                           Homicide   RoomRoom
                                                            2 01-15-23 SD.mp4
                                                                 2 01-15-23 SD.mp4
     •  Number01
        Number     01Channel
                       ChannelCh3Ch3Room
                                      Room    Homicide
                                           Homicide   RoomRoom   2 23-33-40
                                                            2 23-33-40 SD.mp4
                                                                            SD.mp4
     •  Number02
        Number     02Channel
                       ChannelCh4Ch4  Room
                                    Room      Homicide
                                           Homicide   RoomRoom
                                                            2 23-33-40      SD.mp4
                                                                       SD.mp4
                                                                 2 23-33-40
     •  Number01
        Number         ChannelCh3
                   01Channel     Ch3Room
                                     Room     Homicide
                                           Homicide   Room  2 23-33-40
                                                          Room         SD.mp4
                                                                 2 23-33-40 SD.mp4
     •  Number02
        Number     02Channel
                       ChannelCh4Ch4 Room
                                    Room      Homicide
                                           Homicide   Room  2 23-33-40
                                                          Room         SD.mp4
                                                                 2 23-33-40 SD.mp4
     •  FOR PRODUCTION
        FOR   PRODUCTION NumberNumber 01 01Channel
                                             ChannelCh3Ch3Room
                                                            Room    Homicide
                                                                 Homicide    Room
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                                                                                   02-14-35SD-
        final.mp4
        final.mp4
     •  FOR   PRODUCTION Number
        FOR PRODUCTION         Number 02 02Channel
                                             ChannelCh4Ch4Room
                                                            Room    Homicide
                                                                 Homicide    Room
                                                                          Room 2 2 02-14-35
                                                                                   02-14-35SD-
                                                                                            SD
        final.mp4
        final.mp4
Video
Video
     •  NVR Sherlock ch3 main 20170915 190000 20170915190500.avi
        NVR_Sherlock_ch3_main_20170915190000_20170915190500.avi
        NVR Sherlock ch3 main 20170915190500 20170915191000.avi
     • NVR_Sherlock_ch3_main_20170915190500_20170915191000.avi
     •  NVR    Sherlock ch3 main 20170915191000 20170915 191500.avi
        NVR_Sherlock_ch3_main_20170915191000_20170915191500.avi
     • HCVR_ch6_main_20170915183000_20170915183022.avi
        HCVR ch6 main 20170915183000 20170915183022.avi
    •• HCVR_ch6_main_20170915183034_20170915183259.avi
        HCVR ch6 main 20170915 183034 20170915183259.avi
    •   HCVR_ch6_main_20170915183317_20170915183624.avi
        HCVR_ch6_main_20170915183317_20170915183624.avi
    •   HCVR ch6 main 20170915 183628 20170915183705.avi
        HCVR_ch6_main_20170915183628_20170915183705.avi
    •   HCVR ch6 main 20170915183714 20170915183734.avi
        HCVR_ch6_main20170915183714_20170915183734.avi
    • HCVR_ch6_ma         in_201709 15 183756_20170915 183926.avi
        HCVR_ch6_main_20170915183756_20170915183926.avi
    •   HCVR_ch6_ma in 20170915 183956_201709 15 184041.avi
        HCVR_ch6_main_20170915183956_20170915184041.avi
    •   HCVR_ch6main3017091518404820170915184051.avi
        HCVR_ch6_main_20170915184048_20170915184051.avi
    •   HCVR    ch7 main 20170915183000 20170915183016.avi
        HCVR_ch7_main_20170915183000_20170915183016.avi
    •   HCVR_ch7_main_20170915183038_201709151832 14.avi
        HCVR_ch7_main_20170915183038_20170915183214.avi
    •   HCVRch7_ma in_2017091518321920170915183307.avi
        HCVR_ch7_main_2017091518321920170915183307.avi
    •   HCVR ch7 main 20170915183315 20170915183459.avi
        HCVR_ch7_main_20170915183315_20170915183459.avi
    •   HCVR ch7 main 20170915183503 20170915183618.avi
        HCVR_ch7_main_20170915183503_20170915183618.avi
    •   HCVR_ch7_main_2017091518363620170915183732 .avi
        HCVR_ch7_main_20170915183636_20170915183732.avi



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    •    HCVR_ch7_main_20170915183801_20170915183923.avi
         HCVR_ch7_main20170915183801_20170915183923.avi
     •   HCVR_ch7_main_20170915183934_20170915183948.avi
         HCVR_ch7_main_20170915183934_20170915183948.avi
     •   HCVR_ch7_main_20170915183955_20170915184039.avi
        HCVR_ch7_main_20170915183955_20170915184039.avi
Interviews
Interviews
     • SJ1668 - 17-258-0283
                -  17-258-0283Carlos
                                   CarlosLavato
                                           Lavato Phone
                                                Phone Interview 9.28.17.WMA
                                                         Interview  9.28.17.WMA
     • SJ1667   -  11.17.2017Leslie
        Si 1667 - 11.17.2017     LeslieBradley.WMA
                                        Brad ley.WMA
        SJ1666 - 10.02.2017
     • S.11666  -                RhiannonBorunda.WMA
                    10.02.2017 Rhiannon      Borunda.WMA
Depositions
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             MichaelPina.pdf
     • Sgt. Michael     Pina.pdf
     • Officer   AlvaroLopez.pdf
        OfficerAlvaro    Lopez.pdf
        OfficerKristoffer
     • Officer   KristofferFerguson.pdf
                             Ferguson.pdf
Documents
Documents
    •   17-258-0283Coroner
        17-258-0283     Coroner Report.pdf
                                  Report.pdf
    •   17-258-0283Lab
        17-258-0283     LabReports.pdf
                             Reports.pdf
    •   17-258-0283Police
        17-258-0283     PoliceReport.pdf
                                Report.pdf
    •   CAD.pdf
        CAD.pdf
    •          Details.pdf
        Event Details.pdf
    • exam
        exam request
               request1.pdf
                         1.pdf
        exam request
    • exam     request1a.pdf
                         la.pdf
    •   notes 0.pdf
        notes  0.pdf
    • notes    1.pdf
        notes 1.pdf
    • report
        report0.pdf
                0.pdf
    •   report
        report1.pdf
                 1.pdf
    • J.Dominguez
        J.Dominguez OIS OIS2-15-2017.pdf
                             2-15-2017.pdf
        AutopsyReceipt.pdf
    • Autopsy      Receipt.pdf
    • Autopsy.pdf
        Autopsy.pdf
    •   Examiner#1.pdf
        Examiner    #1.pdf
    • Inv.
        lnv. Report.pdf
             Report.pdf
    •   Receipt.pdf
        Receipt.pdf
    •   Notes
        Notes Laundrie.pdf
                Laundrie.pdf
    •   Notes Laundrie
        Notes  Laundrie(2).pdf
                           (2).pdf
    •   Notes
        Notes Martinez.pdf
               Martinez.pdf
    • 17-258-0283.pdf
        17-258-0283.pdf
    • 17-258-0283pina.pdf
        17-258-O283pina.pdf
    • comm
        commlog log0.pdf
                     0.pdf
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        comm loglog1.pdf
                     1.pdf
    •   DOMINGUEZO31518-083941AM.PDF
        DOMINGUEZ031518-083941AM.PDF
Diagrams
Diagrams
    •   17-258-O283evidence.pdf
        17-258-0283evidence.pdf
    •   17-258-O283evidence2.pdf
        17-258-0283evidence2.pdf
    •   17-258-O283namesandplates.
        17-258-0283namesandplates.pdfpdf
    •   17-258-O283pina.pdf
        17-258-0283pina.pdf



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   ••    LeicaScans
         Leica Scans
Photos
Photos
   ••    photos.pdf
         photos.pdf
   ••    LCV Mapping
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             oo _DSCO175.JPG          _DSC0259.jpg
                     DSC0175.JPG - _DSCO259.jpg
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               o  BL-fIipped.tf
             o BL-flipped.tif
             oo BL+FL-flipped.jpg
                  BL+FL-flipped.jpg
               o  bottomLcuff-flipped.tif
             o bottomLcuff-flipped.tif
             oo BR+FR-flipped.jpg
                  BR+FR-flipped.jpg
               o  BRcuff-flipped.tif
             o BRcuff-flipped.tif
             oo FL-flipped.tif
                  FL-flipped.tif
                  FLcuff-flipped.tif
             oo FLcuff-flipped.tif
             oo Flmid-flipped.tif
                  FLmid-flipped.tif
             oo FRcuff-flipped.tif
                  FRcuff-flipped.tif
                  topLcuff-flipped.tif
             oo topLcuff-flipped.tif
             oo     D5C0175.NEF- DSCO259.NEF
                    DSC0175.NEF -     _DSC0259.NEF
   ••    Photos   of  Officer   Ferguson
         Photos of Officer Ferguson
             oo 12342425.jpg
                  12342425.jpg
               o  12342428.jpg
             o 12342428.jpg
             oo 12342431.jpg
                  12342431.jpg
              oo 12342434.jpg
                  12342434.jpg
              oo 12342437.jpg
                  12342437.jpg
              oo 12342440.jpg
                  12342440.jpg
              oo 12342443.jpg
                  12342443.jpg
   ••    Photos
         Photos ofofOfficer
                      Officer   Lopez
                            Lopez
              oo 12342446.jpg
                  12342446.jpg
              oo 12342449.jpg
                  12342449.jpg
              oo 12342452.jpg
                  12342452.jpg
             oo 12342455.jpg
                  12342455.jpg
             oo 12342458.jpg
                  12342458.jpg
              oo 12342461.jpg
                  12342461.jpg
   ••    Photos
         Photos ofofOfficer PinaPina
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             oo 12342464.jpg
                  12342464.jpg
             oo 12342467.jpg
                  12342467.jpg
             oo 12342470.jpg
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             oo 12342473.jpg
                  12342473.jpg
             oo 12342476.jpg
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             oo 12342488.jpg
                  12342488.jpg
   ••    Canine   Photos
         Canine Photos
             oo AXONBody_2_Video_2017-09-15_1910-file
                  AXON_Body_2_Video_2017-09-15_1910-file 2-1924ce.tif
                                                               2-1924ce.tif



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           o     AXON_Body2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file 2-5539ce.tif
                                                           2-5539ce.tif
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file    2-6262ce.tif
                                                           2-6262ce.tif
           o AXON_Body_2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file 2-6285ce.tif
                                                           2-6285ce.tif
                AXON_Body_2Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file    2-6286ce.tif
                                                           2-6286ce.tif
           o AXON_Body_2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file 2-6289ce.tif
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                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file    2-6401ce.tif
                                                           2-6401ce.tif
                AXON_Bodyj_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file    2-6454ce.tif
                                                           2-6454ce.tif
                AXON_Body_2_VideojOl7-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file    2-6498ce.tif
                                                           2-6498ce.tif
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file    2-7789ce.tif
                                                           2-7789ce.tif
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file    2-7801ce.tif
                                                           2-7801ce.tif
                AXON_Body_2_VideojOl7-09-151910-file
           o AXON_Body_2_Video_2017-09-15_1910-file    2-7849ce.tif
                                                           2-7849ce.tif
           o AXON_Body_2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file 2-7939ce.tif
                                                           2-7939ce.tif
   •   Position
       Position
                12343340ce.jpg
           o 12343340ce.jpg
                 12343340ce.tif
           o 12343340ce.tif
           o 12343433ce.tif
                12343433ce.tif
           o 12343850ce-window.tif
                12343850ce-window.tif
           o 12343850ce.tif
                12343850ce.tif
                12343952ce.tif
           o 12343952ce.tif
                12343979ce.tif
           o 12343979ce.tif
           o 12344000e.tif
                12344000e.tif
           o AXONBody_2_Video_2017-09-15_1847_28885ce.tif
                AXON_Body_2_Video_2017-09-15_1847_28885ce.tif
           o AXON_Body_2_Video_2017-09-15_1847_28886ce.tif
                AXON_Body_2_Video_2017-09-15_1847_28886ce.tif
                AXO N_Body_2_Video_2017-09-15_1847_29053ce.tif
           o AXON_Body_2_Video_2017-09-15_1847_29053ce.tif
                AXON_Body_2_Video_2017-09-15_1847_29095ce.tif
           o AXON_Body_2_Video_2017-09-15_1847_29095ce.tif
                AXON_Body_2_Video_2017-09-15_1847_29101ce.tif
           o AXON_Body_2_Video_2017-09-15_1847_29101ce.tif
                AXO N_Body_2_Video_2017-09-15_1847-29066ce.tif
           o AXON_Body_2_Video_2017-09-15_1847-29066ce.tif
                AXO N_Body_2_Video_2017-09-15_1902-4444ce.tif
           o AXON_Body_2_Video_2017-09-15_1902-4444ce.tif
                AXON_Body_2_Video_2017-09-15_1902-4609ce.tif
           o AXON_Body_2_Video_2017-09-15_1902-4609ce.tif
                AXO N_Body_2_Video_2017-09-151903-294ce.tif
           o AXON_Body_2_Video_2017-09-15_1903-294ce.tif
           o AXO      N_Body_2_Video_2017-09-15_1903-852ce.tif
                AXON_Body_2_Video_2017-09-15_1903-852ce.tif
                AXON_Body_2_Video_2017-09-15_1903-853ce.tif
           o AXON_Body_2_Video_2017-09-15_1903-853ce.tif
   •   Projectilesand
       Projectiles   andTrajectories
                         Trajectories
                12352505.jpg
           o 12352505.jpg
                12363212e+line.tif
           o 12363212e+line.tif
           o 12363227ce+line.tif
                12363227ce+line.tif
           o 12363230ce.tif
                12363230ce.tif
                12363239+line.tif
           o 12363239+1ine.tif
                12363266ce.tif
           o 12363266ce.tif
           o 12363278ce.tif
                12363278ce.tif
           o a  a ud io_of_gu nshots_from_1847. bm p
                  udio_of_gunshots_from_1847.bmp
           o DSC_1880ce.tif
                DSC_1880ce.tif
           o DSC_1881ce.tif
                DSC_1881ce.tif
                DSC_1884ce.tif
           o DSC_1884ce.tif


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               DSC1885ce.tif
           o DSC_1885ce.tif
           o trace
               trace photos.tif
                        photos.tif
   •    Sweatshirt
        Sweatshirt
                12344003e-bw.tif
           o 12344003e-bw.tif
                12344003e.tif
           o 12344003e.tif
           o 12352442ce.tif
               12352442ce.tif
               12352445e.tif
           o 12352445e.tif
           o 12352451ce.tif
               12352451ce.tif
               12352457e.tif
           o 12352457e.tif
           o      DSC0483.jpg - _DSC0484.jpg
                  DSC0483.jpg  -    _DSC0484.jpg
               B-DSC_3552.jpg - B-DSC_3554.jpg
           o B-DSC_3552.jpg            B-DSC3554.jpg
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               BLsleeve-DSC_3555.jpg
           o BLsleeve-DSC_3555.jpg
               BRsleeve-DSC_3557.jpg
           o BRsleeve-DSC_3557.jpg
               F-DSC_3523.jpg
           o F-DSC_3523.jpg
               F-DSC_3528.jpg
           o F-DSC_3528.jpg
               FLsleeve-DSC_3550.jpg
           o FLsleeve-DSC_3550.jpg
               FRsleeve-DSC_3549.jpg
           o FRsleeve-DSC_3549.jpg
           o   _DSC0483.NEF            DSC0484.NEF
                  DSC0483.NEF - _DSC0484.NEF
                                   -




               DSC3523.NEF
           o DSC_3523.NEF
           o DSC_3528.NEF
           o DSC_3549.NEF
           o DSC_3550.NEF
           o DSC_3552.NEF
           o DSC_3553.NEF
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               DSC_3557.NEF
           o Erir Hole
                   Hole B.tif
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                           again2.tif
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           o ir total
                  totalholes
                         holesagain
                                 again2.tif
                                         2.tif
           o   ir total holes again.tif
                  total  holes   again.tif
           o ir total
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                         holeswith  paper.tif
                                 with  paper.tif
           o ir total
                  totalholes.tif
                         holes.tif
               DSCF142O.jpg - DSCF1452.jpg
           o DSCF1420.jpg      -    DSCF1452.jpg
               B-LAB_6714.jpg- B-LAB_6716.jpg
           o B-LAB_6714.jpg            B-LAB_6716.jpg
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               BLsleeve-LAB_6721.jpg
           o BLsleeve-LAB_6721.jpg
               BLsleeve-LAB_6721c.jpg
           o BLsleeve-LAB_6721c.jpg
               BLsleeve-LAB_6722.jpg- BLsleeve-LAB_6723.jpg
           o BLsleeve-LAB_6722.jpg          -  BLsleeve-LAB_6723.jpg
               BLsleeve-LAB_6725.jpg- BLsleeve-LAB_6726.jpg
           o BLsleeve-LAB_6725.jpg          -  BLsleeve-LAB_6726.jpg
               BLsleeve-LAB_6729.jpg
           o BLsleeve-LAB_6729.jpg
               BLsleeve-LAB_6741.jpg- BLsleeve-LAB_6742.jpg
           o BLsleeve-LAB_6741.jpg          -  BLsleeve-LAB_6742.jpg
               BRsleeve-LAB_6732.jpg- BRsleeve-LAB_6734.jpg
           o BRsleeve-LAB_6732.jpg          -  BRsleeve-LAB_6734.jpg


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                 BRsleeve-LAB_6736.jpg- BRsleeve-LAB_6736c.jpg
            o BRsleeve-LAB_6736.jpg           BRsleeve-LAB_6736c.jpg
                                                -




                 BRsleeve-LAB_6739.jpg
            o BRsleeve-LAB_6739.jpg
                 F-LAB_6655.jpg- F-LAB_6656.jpg
            o F-LAB_6655.jpg       -  F-LAB_6656.jpg
                 F-LAB_6659.jpg- F-LAB_6661.jpg
            o F-LAB_6659.jpg       -  F-LAB_6661.jpg
                 F-LAB_6678.jpg- F-LAB_6679.jpg
            o F-LAB_6678.jpg       -  F-LAB_6679.jpg
            o F-LAB_6681.jpg          F-LAB_6694.jpg
                 F-LAB_6681.jpg - F-LAB_6694.jpg
                                   -




                 F-LAB   6704.jpg
            o F-LAB_6704.jpg
                 F-LAB_6707.jpg
            o F-LAB_6707.jpg
                 FLsleeve-LAB_6662.jpg- FLsleeve-LAB_6667.jpg
            o FLsleeve-LAB_6662.jpg         -FLsleeve-LAB_6667.jpg
            o FLsleeve-LAB_6674.jpg          FLsleeve-LAB_6677.jpg
                 FLsleeve-LAB_6674.jpg - FLsleeve-LAB_6677.jpg
                                            -




            o FLsleeve-LAB_6743.jpg
                 FLsleeve-LAB_6743.jpg
                 FRsleeve-LAB_6657.jpg- FRsleeve-LAB_6658.jpg
            o FRsleeve-LAB_6657.jpg         - FRsleeve-LAB_6658.jpg
                 FRsleeve-LAB_6695.jpg
            o FRsleeve-LAB_6695.jpg
                 FRsleeve-LAB_6698.jpg- FRsleeve-LAB_6703.jpg
            o FRsleeve-LAB_6698.jpg         - FRsleeve-LAB_6703.jpg
                 FRsleeve-LAB_6712.jpg
            o FRsleeve-LAB_6712.jpg
                 FRsleeve-LAB_6712c.jpg
            o FRsleeve-LAB_6712c.jpg
                 FRsleeve-LAB_6740.jpg
            o FRsleeve-LAB_6740.jpg
                                    LAB_6679.NEF
            o LAB_6655.NEF - LAB_6679.NEF
                               -




            o LAB_6681.NEF - LAB_6695.NEF
                               -    LAB_6695.NEF
            o LAB_6698.NEF - LAB_6704.NEF
                               -    LAB_6704.NEF
                 LAB 6707.NEF
            o LAB_6707.NEF
            o LAB_6712.NEF
            o LAB_6714.NEF - LAB_6716.NEF
                               -    LAB_6716.NEF
            o LAB_6721.NEF - LAB_6723.NEF
                               -    LAB_6723.NEF
            o LAB_6725.NEF - LAB_6726.NEF
                               -    LAB_6726.NEF
           o LAB_6729.NEF
           o LAB_6732.NEF - LAB_6734.NEF
                               -    LAB_6734.NEF
           o LAB_6736.NEF
           o LAB_6739.NEF - LAB_6743.NEF
                               -    LAB_6743.NEF
   •    Position,  Bullet,Sweatshirt
        Position,Bullet,   Sweatshirt(Video Stills)
                                        (Video   Stills)
                AXON_Body_2_Video_2017-09-15_1847_28885.png png
           o AXONBody_2_Video_2017-09-15_1847_28885                      .




           o AXON_Body_2_Video_2017-09-15_1847_28886.png
                AXON_Body_2_Video_2017-09-15_1847_28886. png
                AXON_Body_2_Video_2017-09-15_1847_29053.png
           o AXON_Body_2_Video_2017-09-15_1847_29053.png
                AXO N_Body_2_Video_2017-09-15_1847_29095 png
           o AXON_Body_2_Video_2017-09-15_1847_29095.png                 .




                AXON_Body_2Video_2017-09-151847j9101. png
           o AXON_Body_2_Video_2017-09-15_1847_29101.png
                AXON_Body_2_Video_2017-09-15_1847-29066. png
           o AXON_Body_2_Video_2017-09-15_1847-29066.png
                AXO N_Body_2_Video_2017-09-15_1902-4444. png
           o AXON_Body_2_Video_2017-09-15_1902-4444.png
                AXO N_Body_2_Video_2017-09-151902-4609. png
           o AXON_Body_2_Video_2017-09-15_1902-4609.png
                AXON_Body_2_Video2Ol7-09-151903-294.png
           o AXON_Body_2_Video_2017-09-15_1903-294.png
                AXON_Body_2_Vi deo_2017-09-1S_1903-852 png
           o AXON_Body_2_Video_2017-09-15_1903-852.png               .




           o AXON_Bodyj_Video_2017-09-15_1903-853.
                AXON_Body_2_Video_2017-09-15_1903-853.png png
           o AXON_Body_2_Video_2017-09-15_1910-file             2-1924.png
                AXON_Body_2_Video_2017-09-15_1910-file 2-1924.png
                AXON_Body_2_Video_2017-09-151910-file
           o AXON_Body_2_Video_2017-09-15_1910-file         2-5539.png
                                                                2-5539.png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file             2-6262.png
                                                            2-6262.png


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                AXON_Body_2_Video_2017-09-15_1910-fite
            o AXON_Body_2_Video_2017-09-15_1910-file           2-6285.png
                                                                    2-6285.png
                AXON_Body_2_Video_2017-09-15_1910-fite
            o AXON_Body_2_Video_2017-09-15_1910-file                2-6286.png
                                                               2-6286.png
                AXONBody_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file                 2-6289.png
                                                               2-6289.png
                AXON_Body_2_Video_2017-09-15_1910-fite
           o AXON_Body_2_Video_2017-09-15_1910-file            2-6401.png
                                                                    2-6401.png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file                 2-6454.png
                                                               2-6454.png
                AXON_Body_2_Video_2017-09-15_1910-fite
           o AXON_Body_2_Video_2017-09-15_1910-file            2-6498.png
                                                                    2-6498.png
                AXON_Body_2_Video_2017-09-15_1910-fite
           o AXON_Body_2_Video_2017-09-15_1910-file                 2-7789.png
                                                               2-7789.png
                AXON_Body_2_Video_2017-09-151910-fite
           o AXON_Body_2_Video_2017-09-15_1910-file            2-7801.png
                                                                    2-7801.png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_V1deo_2017-09-15_1910-file             2-7849.png
                                                                    2-7849.png
                AXON_Body_2_Video_2017-09-15_1910-fite
           o AXON_Body_2_Video_2017-09-15_1910-file            2-7939.png
                                                                    2-7939.png
                AXON_Body_2_Video_2017-09-15_project.afp
           o AXON_Body_2_Video_2017-09-15_project.afp
   •   Video   Stilts
       Video Stills
                AXON_Body_2_Video_2017-09-15_1847_28885 png
           o AXON_Body_2_Video_2017-09-15_1847_28885.png              .




           o AXON_Body_2_Video_2017-09-15_1847_28886.png
                AXON_Body_2_Video_2017-09-15_1847_28886. png
           o AXON_Body_2_Video_2017-09-15_1847_29053.png
                AXON_Body_2_Video_2017-09-15_1847_29053 png           .




           o AXON_Body_2_Video_2017-09-15_184729095.png
                AXON_Body_2_Video_2017-09-15_1847_29095. png
                AXO N_Body_2_Video_2017-09-15_1847_29101. png
           o AXON_Body_2_Video_2017-09-15_1847_29101.png
                AXON_Body_2_Video_2017-09-15_1847-29066. png
           o AXON_Body_2_Video_2017-09-15_1847-29066.png
                AXON_Body_2_Video_2017-09-15_1902-4444. png
           o AXON_Body_2_Video_2017-09-15_1902-4444.png
                AXON_Body_2_VideojOl7-09-15_1902-4609. png
           o AXON_Body_2_Video_2017-09-15_1902-4609.png
                AXO N_Body_2_Video_2017-09-15_1903-294. png
           o AXON_Body_2_Video_2017-09-15_1903-294.png
                AXON_Body_2_Video_2017-09-15_1903-852. png
           o AXON_Body_2_Video_2017-09-15_1903-852.png
           o AXON_Body_2_Video_2017-09-15_1903-853
                AXON_Body_2_Video_2017-09-15_1903-853.png png     .




           o AXON_Body_2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file 2-1924.png   2-1924.png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file            2-5539.png
                                                                    2-5539. png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file            2-6262.png
                                                                    2-6262.png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file            2-6285.png
                                                                    2-6285.png
           o AXON_Body_2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file         2-6286.png
                                                                    2-6286.png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file            2-6289.png
                                                                    2-6289.png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file            2-6401.png
                                                                    2-6401.png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file                 2-6454.png
                                                               2-6454.png
           o AXON_Body_2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file 2-6498.png   2-6498.png
           o AXON_Body_2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file 2-7789.png   2-7789.png
           o AXON_Body_2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file 2-7801.png   2-7801.png
           o AXON_Body_2_Video_2017-09-15_1910-file
                AXON_Body_2_Video_2017-09-15_1910-file 2-7849.png   2-7849.png
                AXON_Body_2_Video_2017-09-15_1910-file
           o AXON_Body_2_Video_2017-09-15_1910-file                 2-7939.png
                                                               2-7939.png
           o AXONBody_2_Video_2017-09-15_19
                AXON_Body_2_Video_2017-09-15_1910-file         2.mp4
                                                            10-file 2.mp4
   •   Scene Photos
               Photos11(232
                          (232images
                                  imagesnumbered
                                           numbered  12343235.jpg
                                                  12343235.jpg  thru 12343928.jpg  where the
                                                                      thru 12343928.jpg   where the
       labels are
       labels aren+1n+1(every
                        (everythird    number))
                                   third number))
   •   Photos ofofPina's
       Photos              Rifle(16
                    Pina’sRifle     (16 images
                                      images    numbered
                                             numbered    12342491.jpg
                                                      12342491.jpg   thru 12342536.jpg where the
                                                                           thru 12342536.jpg  where the
              are n+1
       labels are   n+1(every
                        (everythirdthird number))
                                       number))
   •   Photos ofofScene
       Photos              (94images
                    Scene(94     imagesnumbered
                                          numbered   12343931.jpg
                                                  12343931.jpg thru 12344210.jpg  where the
                                                                     thru 12344210.jpg   where the
       labels are
              are n+1
                    n+1(every
                        (everythirdthird number))
                                       number))



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                                      INC.                                                                8
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                                                    of of
                                                       SanSan
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                                                              Jose,
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   ••  EvidencePhotos
      Evidence      Photos(93(93    images
                               images    numbered 12351387.jpg
                                             numbered          thru 12363809.jpg
                                                        12351387.jpg             where the where the
                                                                        thru 12363809.jpg
       labelsare
      labels   aren+1n+1  (every
                       (every   thirdthird number))
                                       number))
   •• Autopsy
      AutopsyPhotosPhotos(60(60    images
                              images    numbered 12352328.jpg
                                            numbered          thru 12352505.jpg
                                                       12352328.jpg             where the labels
                                                                       thru 12352505.jpg    where the labels
       are  every   third   number)
      are every third number)
   •• Bullet
       BulletininBBPillar
                     Pillar(58    images
                             (58images      numbered
                                         numbered 12363122.jpg thru 12363293.jpg
                                                       12363122.jpg              where the where the
                                                                        thru 12363293.jpg
       labelsare
      labels   areevery
                     every   third
                         third        number)
                                number)
    •  Untitled   2.png
   • Untitled 2.png
   •• Untitled.png
       Untitled.png
   •• Image001.jpg
       lmageOOl.jpg
   •• Bloodstain
       Bloodstain
           oo 12363272ce.tif
                 12363272ce.tif
            o    12363272ce-bw.tif
           o 12363272ce-bw.tif
                 12344036e.tif
           oo 12344036e.tif
            o    12344006e.tif
           o 12344006e.tif
                 12344006e-bw.tif
           oo 12344006e-bw.tif
                 12344006e(1).tif
           oo 12344006e          (1).tif
                 12343997e.tif
           o 12343997e.tif
                 12343919e.tif
           o 12343919e.tif
                 12343907e.tif
           o 12343907e.tif
                12343904ce.tif
           o 12343904ce.tif
                12343904ce-bw.tif
           o 12343904ce-bw.tif
                12343889e.tif
           o 12343889e.tif
           o 12343883e.tif
                12343883e.tif
                12343883e-bw.tif
           o 12343883e-bw.tif
           o 12343880e.tif
                12343880e.tif                                                                        V




           o 12343880e-bw.tif
                12343880e-bw.tif
           o 12343877e.tif
                12343877e.tif
           o 12343877e-bw.tif
                12343877e-bw.tif
           o 12343874e.tif
                12343874e.tif
           o 12343874e-bw.tif
                12343874e-bw.tif
                12343859e.tif
           o 12343859e.tif       V




           o 12343859e-bw.tif
                12343859e-bw.tif
           o 12343856e.tif
                12343856e.tif
           o 12343856e-bw.tif
                12343856e-bw.tif
           o 12343436e.tif
                 12343436e.tif
   •    Car Exterior
             Exterior
            o 12343376ce.tif
                12343376ce.tif
            o 12343514.tif
                12343514.tif
            oo 12343835ce.tif
                12343835ce.tif
                12343838ce.tif
            oo 12343838ce.tif
            oo 12343841ce.tif
                12343841ce.tif
            oo 12343850e.tif
                12343850e.tif
            oo 12343925ce.tif
                12343925ce.tif



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                                     INC.                                                                 99
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                                                          San Jose,
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                                                                     etal.
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                                     Case

             o 12343952e.tif
                 12343952e.tif
                 12343970e.tif
            o 12343970e.tif
             o 12343973ce.tif
                 12343973ce.tif
            oo 12343976ce.tif
                 12343976ce.tif
            oo 12344165ce.tif
                 12344165ce.tif
            oo 12363122ce.tif
                 12363122ce.tif
            oo 12363215ce.tif
                 12363215ce.tif
   •    Car Interior
             Interior
                 12343853.jpg
            o 12343853.jpg
             o 12343862e.tif
                 12343862e.tif
                 12343865e.tif
            o 12343865e.tif
             o 12343868e.tif
                 12343868e.tif
                 12343871e.tif
            o 12343871e.tif
             o 12343886e.tif
                 12343886e.tif
                 12343892e.tif
            o 12343892e.tif
                 12343895e.tif
            o 12343895e.tif
                 12343898e.tif
            o 12343898e.tif
                 12343922e.tif
            o 12343922e.tif
                 12344009e.tif
            o 12344009e.tif
                 12344012e.tif
            o 12344012e.tif
                 12344021e.tif
            o 12344021e.tif
                 12344024e.tif
            o 12344024e.tif




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                                                             SanJose,
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                                       Case                       6-BLF
                                                   5:18-cv-04826-BLF

INVESTIGATIVE PROCESS
INVESTIGATIVE  PROCESS


Scene
Scene

1. The
1.  TheOIS
         OISoccurred
             occurred ononFriday, September
                             Friday, September      15, 2017
                                               15, 2017        at approximatel
                                                         at approximately         y 7:04
                                                                             7:04 p.m.     p.m.evening
                                                                                       in the            evening in
                                                                                                 in the in
    the east
        eastbound
               boundlanes  of of
                       lanes  Penitencia  Creek
                                  Penitencia      RoadRoad
                                               Creek    at theatintersection of Northof
                                                                  the intersection       North
                                                                                      White  Road    in a Road in a
                                                                                                 White
    primarily residential
    primarily             neighborhood
                residential  neighborhoo       in Jose,
                                         in dSan  San Jose,  California.
                                                        California.        [SJ0049]
                                                                     [SJ0049]

            Penitencia Creek
         a. Penitencia
         a.              CreekRoad
                                 Roadruns east
                                       runs     andand
                                             east   westwest
                                                         with two
                                                              withlanes                traffic
                                                                            trafficofwith
                                                                    two oflanes                 with a left-hand
                                                                                          a left-hand
            turn lane in each direction.
            turn lane in each direction. The street
                                           The      was
                                                 street was  divided
                                                        divided by    by
                                                                   double double
                                                                            yellow    yellow
                                                                                     lines.    lines.

            North White
         b. North
         b.        WhiteRoad
                          Roadwas   a two
                                  was     lane lane
                                       a two    north-south   street divided
                                                       north-south             divided
                                                                       street by a cement a cement median.
                                                                                       by median.
            There was
            There wasalso
                       alsoaaleft-hand
                               left-handturn lanelane
                                           turn         in each
                                                   in each       direction.
                                                            direction.

         c. Based upon
         c.         uponthe Santa
                          the   SantaClara  County
                                         Clara         CrimeCrime
                                                  County            Lab’s (SCCCL)
                                                             Lab's (SCCCL)             diagrams,
                                                                               diagrams,             the eastbound
                                                                                            the eastbound
            lanes of
                  ofPenitencia
                      Penitencia  Creek
                                    CreekRoad
                                            Road at the
                                                      at approximately        y  location    of the
                                                                        location of the OIS measured
                                                         the approximatel                             015 measured
            approximately y34'34’
            approximatel       across   (north
                                   across       to south
                                           (north                and inclusive
                                                           and inclusive
                                                     to south                     of the
                                                                         of the E/B        E/B left
                                                                                      left hand       lane turn lane
                                                                                                 turnhand
            and the
                the#1#1and
                        and#2#2E/BE/Blanes).    [17-258-O283evidence2.p
                                       lanes).[17-258-0283evidence2.pdf,        df,    Martinez.pdf, pp. 12], pp. 121
                                                                               NotesNotes     Martinez.pdf

2. AtAtthethe
            time of the
               time   of OIS
                         the the
                              015weather was cool
                                  the weather     withcool
                                                was    an approximate ambient temperature
                                                           with an approximate            temperature of
                                                                                 ambient of
     between
     between6565°   and and
                         68° Fahrenheit and mildand
                              68° Fahrenheit     windsmild
                                                        between 12 between
                                                            winds  and 16 miles
                                                                             12per    16 miles per hour.
                                                                                   hour.
                                                                                 and
     [https ://www.wu ndergrou nd.com/h istory/da ily/KSJC/date/2017-9- 15]
     [https://www.wunderground.com/history/daily/KSJC/date/2017-9-15]

3.
3. The
    The015015
           occurred duringduring
              occurred     dusk with the sun
                                  dusk   withsetting
                                               the at  approximately
                                                     sun  setting at 6:57 p.m. (civil y 6:57 p.m. (civil
                                                                      approximatel
    twilight/dusk
    twilight/dusk at 7:22 p.m.)
                     at 7:22 p.m.)
     [https://www    .timeanddate  .com/sun/@5392 181?month=9&year2017J
     [https://www.timeanddate.com/sun/@5392181?month=9&year=2017]

         a. Civil
             Civiltwilight/dusk refersrefers
                     twilight/dusk     to the position
                                              to the of the sun (approximately
                                                       position                6' below the ly 6° below the
                                                                of the sun (approximate
             horizon),
             horizon),however
                          howeverduedue
                                      to the
                                          to scattering  of the light
                                              the scattering    of thein Earth's   Earth’s atmosphere,
                                                                         light inatmosphere,  artificial artificial
             light is not
              light is notgenerally required.
                              generally                                                   .com/astrono
                                               [https://www.timeanddate.com/astronomy/civil-
                                           required.     [https://www      .timeanddate                  my/civil
             twilight.html]
             twilight.html]




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                           FORENSICS,  INC.                                                                       11
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                                                             SanJose,    al. al.
                                                                      et et
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                                         Case No.




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                                                     P”S
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                     -       L_                                  St                   ‘N2W
F t-_
                                                                                                         -




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;4 t’;                                                                                                  a
rIflP
L   Mr—
       Vrtty
          *
                                                                                                   .-
                         -

                         &                                   ‘ms$t
    ‘




    Graphic
    Graphic 11 (above)
                (above)and
                         andGraphic
                             Graphic   2 (below)
                                    2 (below)    represent
                                              represent     visual
                                                        visual overviews of theof
                                                                   overviews      the location
                                                                               location        of the OlS.
                                                                                        of the OIS.
        graphicsutilize
    The graphics           Google
                   utilizeGoogle   Earth
                                 Earth    underlays.
                                       underlays.




                   REPORTROCK
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                                                         5:18-cv-04826-BLF


4. Per
4.  Perthe SCCCL
         the SCCCLcrime scene
                    crime    scenephotographs,
                                      photographs,a black  four-door,
                                                         a black      2016 Kia2016
                                                                 four-door,          Kia Sportage
                                                                                 Sportage           (Texas Plate
                                                                                          (Texas Plate
    No. GTX1026)
    No.  GTX1O26) was
                    wasatatlocated
                              locatedin the number
                                         in the              two eastbound
                                                      two eastbound
                                                  number               lane of Penitencia Creek RoadCreek Road
                                                                                lane of Penitencia
    facing eastbound
           eastboundpast
                       past thethe
                                 white limitlimit
                                   white     line. line.

         a. The left,
         a.      left,front
                        front(driver's) window
                                (driver’s)     was shattered,
                                            window                     and numerous
                                                               and numerous
                                                     was shattered,            pieces of glass    of glass were
                                                                                         pieceswere
            noted on
            noted   onthetheroadway
                               roadway below the window,
                                           below         on the driver's
                                                  the window,     on theseat          the and
                                                                              and onseat
                                                                          driver’s             on the driver’s
                                                                                          driver's
            floorboard. AllAllother
            floorboard.             windows
                                other         appeared rolled up and intact. [17-258-0283.pdf, pp. .pdf,
                                        windows  appeared    rolled up  and intact.  [17-258-0283    6]   pp. 6]

                     i.i. San
                           SanJose
                                JosePolice Department
                                       Police           personnel
                                               Department            determined
                                                               personnel             at the scene
                                                                                determined      at that    scene that the
                                                                                                     the the
                           driver's door
                           driver’s  doorwindow
                                          window mechanism
                                                     mechanismcouldcould     still
                                                                      still be      be rolled
                                                                                rolled  up, which   which indicated
                                                                                               up, indicated  that    that
                           the window
                               windowwas waspartially down
                                              partially         at time
                                                           at the
                                                        down             time    it was   shattered.   [17-258-0283
                                                                   the it was shattered. [17-258-0283.pdf,           .pdf,
                           pp.
                           pp. 6]

          b. The driver's
          b.      driver’sseat waswas
                            seat   reclined  approximately
                                        reclined           60D from
                                                  approximatel      the from
                                                                y 60°         the plane
                                                                        horizontal      (30 ' plane (30°
                                                                                   horizontal
             backwards from
             backwards    fromthe vertical
                                the        plane)
                                    vertical  plane)




    Graphic
     Graphic3 (above)       representsa very
               3 (above) represents         a very  approximate
                                                 approximate           of howofthehow
                                                                angleangle               the seat
                                                                                     driver's driver’s
                                                                                                   was reclined      the time at the time
                                                                                                        seat wasat reclined
    of the
     of theOIS.
            OIS.The
                  Thegraphic  is
                        graphic   meant
                                   is     to
                                      meant       merely
                                             merely
                                               to    assist assist
                                                            the     the
                                                                 reader    reader
                                                                          in        in visualizing
                                                                             visualizing  Dominguez'sDominguez’s
                                                                                                         seat position. Theposition. The
                                                                                                                       seat
    process
     processincluded
               includedrotating               base tobase
                                       the vehicle
                                 the vehicle
                          rotating                            linebe
                                                       be in to       in aline with a 00
                                                                   with                       horizontal
                                                                                          0° horizontal plane      then then
                                                                                                              and and
                                                                                                           plane               measuring
                                                                                                                         measuring
    the
     theseat's angle
          seat’s     of recline
                  angle          through
                         of recline                Adobe Photoshop.
                                           Adobe Photoshop.
                                        through                   This method This   method
                                                                                 is not         is not exact,
                                                                                         exact, however         however
                                                                                                          provides  the      provides the
    reader
     readerwith
             withan an
                    approximation
                        approximation of the of
                                             recline angle. angle.
                                                the recline



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               c. The
               c.  Therear bumper
                        rear      of the
                             bumper   of vehicle was in
                                         the vehicle     contact
                                                       was                 frontthe
                                                                  with thewith
                                                             in contact             frontofbumper
                                                                                 bumper            of San Jose
                                                                                            San Jose
                   Police Department
                           Departmentunmarked
                                        unmarked      (gray(gray
                                                 unitunit        Toyota
                                                             Toyota        4-Runner
                                                                     4-Runner          CA License
                                                                                 CA License        No. 7FKX456).
                                                                                             No. 7FKX456).

        5. SCCCL
        5.  SCCCL recovered
                   recoveredthe following
                              the         firearm-related
                                   following                ed evidence:
                                                          evidence:
                                              firearm-relat

 Evidence
Evidence
                                       Location
                                       Location
Item (Eli)     Description
               Description                                                                  Photograph
                                                                                            Photograph
                                      Recovered
                                      Recovered
    #
                                  Unmarked
                                  Unmarked San   San                                                  '
                                                                          .
                                Jose unit
                                Jose  unit assigned
                                             assigned            _                                        I
                                     to Officer
                                        Officer                                 -       —
                                                                                            71
                                               (Dark
                                  Ferguson (Dark
                  .223
                                            Buick
                                    Gray Buick
     11
 (Barcode
 (Barcode
               Discharged
               Discharged
                Cartridge
                Cartridge
                                    Lacrosse CA                                                  a
                                                                                                 b.
                                              parked
                                 7TVL357) parked          –
S1182278-
Si 182278-     Case (DCC)
               Case  (DCC)
                                 facing southeast
                                 facing  southeast
     1)
     1)        "SPEER 15
               “SPEER   15
                                  north ofofthe
                                  north      theKia
                                                  Kia
               223 REM"
                    REM”
                                Sportage
                                Sportage ininthethe#1#1
                                  and #2    lanesofof
                                       #2 lanes
                                 Penitencia
                                 PenitenciaCreekCreek                               0
                                           [SJ00291
                                  Road. [5.10029]                                                             SJ0455
                                                                                                              SJ0455




                        Cont.
                      1 Cont.




                                                                                                              SJ0461
                                                                                                              S.J0461




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                                  —           INC.                                                                 14
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                                                   City  of San
                                                       City           et al. et al.
                                                                Jose,Jose,
                                                            of San
                                          Case
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Evidence
Evidence
                                   Location
                                   Location
     (Eli)
Item (Eli)    Description
              Description                                                             Photograph
                                                                                      Photograph
                                  Recovered
                                  Recovered
    #

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                                                                        F\idence YES
                                                                        Evidence          Recort Date
                                                                                          Report      09/15/2017
                                                                                                 Date 09/1512017
                                                                        ()ricer
                                                                        7)ffrc MARTiNEZ
                                                                                 MARTINEZ VERONICA
                                                                                            VEROt-7CA RR
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                                                                      CaseGO GO SJ2017-172580283
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                                                                                                          SEIZED/EVIL
                                                                      Evidence
                                                                      EvidenceYES
                                                                               YES         Report
                                                                                           ReportDate
                                                                                                  Date09/15/2017
                                                                                                        09/15/2017
                    1 Cont.                                                    MARTINEZVERONICA
                                                                      Officer MARTINEZ  VERONICARR




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                                                                                                                               S.10545
                                                                                                                               SJ0545




    4
 (Barcode
 (Barcode
SJ 182 278-
S1182278-
    4)
               .223
               .    DCC
                223 DCC
               “SPEER 15
               "SPEER 15
                   REM”
               223 REM"
                               Under
                               Underunmarked

                              assigned
                                       unmarked
                                 SanJose
                                San  Jose PDPD unit

                              Ferguson [SJ0032]
                              Ferguson
                               *
                               *Vehicle
                                               unit
                                             Officer
                              assigned totoOfficer
                                           [5J0032]
                                          removed
                                 Vehicle removed
                                for photograph
                                for photograph
                                                              i                                                 Nar



                                                                                                                               SJ0467
                                                                                                                               8J0467

                      REPORT—
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                               ROCK FORENSICS, INC.                                                                                    15
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                                                                                                      -4,
                                                     Dominguez v. City of San Jose, et al.




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                                                        Case No. 5:18-cv-04826-BLF




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Evidence
                                               Location
Item (Eli)             Description                                                                                                                                Photograph
                                              Recovered
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                                                                                                                                                                          ARTICLE tis.G
                                                                                                                         OTHER
                                                                                                                         YAW*                                                         Color
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                                                                                                                           se (a0 agb11-1.72500283                                              A   SOZEMEVIL
                                                                                                                         t%hckeVe .VE§- Rii,ort bot8 09(1512017
                                                                                                                         Officer WRayERCN1C0.R
                               4 Cont.                                                                                        -        -


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                                                                                                                     OTHER
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                                                                                                                     Clgsp GO SDovro rrActas3                                          SETZEINEVIE
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                               4 Cont.



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                                         Dominguez          of of
                                                         City  SanSan     et al.et al.
                                                                   Jose,Jose,
                                                 No.5:18-cv-04826-BLF
                                            Case No.
                                            Case        5:18-cv-04826-BLF
Evidence
                                      Location
Item (Eli)    Description                                                                      Photograph
                                                                                               Photograph
                                     Recovered
    #

                                                                                          •     t.   ' .,,n .


                                                                                                                        ,
                                                                                      ''''''

                                                                                      .,.,


                 Copper
                 Copper
   20
                Jacketing
                Jacketing
(Barcode                                                                       .4
             from autopsy
             from  autopsy
S1182278-                                                                      - 74
                "muscle RR
               “muscle
   19)
                  neck"
                  neck”                                                                                                      4       i/111,
                                                                                                                                                 -ow--
                                                                                            Jacob Arbjri
                                                                                DOMINO= Jacob
                                                                                DoMNQUU.
                                                                                3,4
                                                                                33 vows
                                                                                   YeatS Hato*
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                                 Associated
                                 Associatedwith with
    29                            bullet
                                  bullethole
                                         hole"C,"
                                                ‘(C,”
                                                                                                                                                              „
(Barcode                       removed
                               removedfrom from thethe
               Projectile
               Projectile
SJ182278-                       interior
                                interiorright rear
                                          right   rear
   28)                            door
                                  doorofofthe
                                            theKiaKia                 1
                                                                             III
                                                                     11111111)11111
                                                                                 1111111'—
                               Sportage[S100351
                               Sportage     [SJ00351



                                                                                                                                                     SJ0742
                                                                                                                                                     SJ0742

         CONFIDENTIAL REPORT—
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                                   FORENSICS, INC.                                                                                                       17
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                                            Dominguez              SanJose,
                                                          CityofofSan           al.al.
                                                                        Jose,et et
                                                         5:18-cv-04826-BLF
                                               Case No. 5:18-cv-04826-BLF
                                               Case

Evidence
                                       Location
Item (Eli)   Description                                                                                        Photograph
                                      Recovered
    #
                                                                                                                                              ..                              .




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                                                                                                           4%4




                    29 Cont.                                                                                                                             .           .



                                                                                                                                                                         -




                                                              lift S ji82278.28
                                                               111111111B II   __ &ilia. Ian.* .•&•....
                                                                               Illa•                                                               ■   •• •.....s.           Aim,"   •••• ••• ...A
                                                                                                                                                                                            ■■




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                     29 Cont.
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                                                                                                                                                                                        ,
                                                                                                                                                                                            ,




                                                                                                                                                                                  SJ0753
              a.   Evidence
                   Evidence Item
                               Item#20#20(copper
                                            (copper jacketing
                                                        jacketingremoved
                                                                      removedfrom from     rightofside
                                                                                    right side      neckofduring   during autopsy)
                                                                                                             neck autopsy)
                   was later
                        laterdetermined
                               determined    by by
                                                SCCCL
                                                    SCCCL  to to  a be
                                                               a be      a “...copper
                                                                     a "...copper         jacket
                                                                                     jacket         of a nominal
                                                                                             of a nominal            22 caliber
                                                                                                             22 caliber rifle    rifle
                   bullet (indeterminate
                   bullet   (indeterminate  nose  design)
                                                nose         that that
                                                        design)    had been             fired through
                                                                                fired through
                                                                          had been                            barrel
                                                                                                 a barrel awith       with six lands
                                                                                                                 six lands
                   and grooves
                         groovesof conventional
                                     of conventional  right twist
                                                              rightrifling.
                                                                       twistTherifling.
                                                                                  jacket The
                                                                                          weighed
                                                                                                jacket 31.5weighed
                                                                                                            grains. 31.5 grains.
                   Additionally, a fired
                   Additionally,          copper
                                    a fired        jacket
                                              copper        fragment
                                                         jacket          with indeterminate
                                                                   fragment                      rifling and rifling
                                                                                 with indeterminate           weighingand weighing
                   four
                   fourgrains
                         grainswas
                                 wasalsoalsosubmitted.
                                              submitted.  Multicolored    possible
                                                               Multicolored                   fibers
                                                                                      fibers were
                                                                                   possible           collected from the from the
                                                                                                        were collected
                   copper
                   copper   jacket
                             jacketfor
                                     for  return
                                       return  within   the
                                                   within          original
                                                            original
                                                              the              packaging.”
                                                                        packaging."    [S11706] [SJ1706]

                         i. "Powdered glass
                              “Powdered     and possible
                                          glass          bone were
                                                and possible   bonerecovered from the jacketing."
                                                                      were recovered     from the jacketing.”
                             {Si17091
                             [SJ1709]


              b.   Evidence Item
                   Evidence    Item#29
                                    #29(projectile removed
                                          (projectile       from from
                                                      removed          the passenger
                                                                 the passenger          sideKia
                                                                                side of the      the Kia Sportage)
                                                                                              ofSportage)
                   was aa"...copper andand
                            “...copper   lead bullet
                                              lead fragment    weighing 29.1
                                                     bullet fragment         grains and
                                                                        weighing    29.1having no and having no
                                                                                           grains



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                                               INC.                                                                                                                                             18
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                                                          SanJose,     al.al.
                                                               Jose,et et
                                      Case No. 5:18-cv-04826-BLF
                                      Case      5:18-cv-04826-BLF
            recognizable
            recognizablefirearm
                           firearmproduced
                                     producedmarkings.  It wasItpossibly
                                                 markings.               the corethe
                                                                 was possibly      of acore
                                                                                        firedofbullet. A bullet. A
                                                                                                 a fired
            clear possible
            clear possiblefiber
                            fiber was
                                was    collected
                                     collected fromfrom    the bullet
                                                     the bullet       fragment...”
                                                                fragment..." [S11706][SJ1706]

                 i. "Polymetric
                      “Polymetric material
                                material was was  recovered
                                             recovered       from
                                                       from the    the projectile.”
                                                                projectile." [S.11708][5J1708]

        c.
        c. The
            TheSCCCL
                 SCCCLconcluded   that that
                          concluded    "It is not
                                              “It possible to determine
                                                   is not possible   to ifdetermine
                                                                           Items 51182278-19
                                                                                       if Items SJ182278-19
            [Evidence Item
            [Evidence   Item20 20
                               — jacket
                                    —     fromfrom
                                     jacket     autopsy] and SJ182278-28
                                                      autopsy]                [Evidence [Evidence
                                                                  and SJ182278-28        Item 29 — Item 29      —




            projectile  from
            projectilefrom    passenger
                            passenger  sideside  of Sportage]
                                             of Kia Kia Sportage]    are one
                                                               are from  fromorone
                                                                                moreorprojectiles.
                                                                                       more projectiles.
                                                                                                   The     The
            combined weights
            combined           of both
                         weights       items
                                  of both     is [are]
                                            items   is consistent with some
                                                       [are] consistent   withbullets
                                                                                someloaded  in .223
                                                                                       bullets  loaded in .223
            Remington(nominal
            Remington     (nominal  .22)
                                 .22)     caliber
                                      caliber      cartridges.”
                                               cartridges."       [SJ1706]
                                                            [SJ1706]

    SCCCL documented
6. SCCCL   documented     a single
                       a single     bullet
                                bullet hole hole
                                            withinwithin the
                                                   the OIS   OIS scene.
                                                           scene.         Thehole
                                                                  The bullet   bullet hole "A"
                                                                                  (labeled  (labeled
                                                                                               by    “A” by
    SCCCL) was   located in the  interior  of the  passenger  side “B”  pillar
    SCCCL) was located in the interior of the passenger side "B" pillar approximately 45" up from
                                                                               approximately   45”  up from
    ground
    groundlevel.
            level.

           Bullet hole
        a. Bullet
        a.         hole"B,"
                        “B,”which
                             which  was
                                  was     associated
                                       associated      to bullet
                                                   to bullet      holewas
                                                             hole "A"    “A”located
                                                                              was located
                                                                                    on the "B" the “B” pillar’s
                                                                                            on pillar's
           exterior  approximately
           exterior approximately     45 up
                                   45 'A"     up from
                                          ¾” from groundground
                                                           level. level.

        b. Bullet
           Bullet hole
                   hole"C,"
                        “C,”which
                             whichwaswas
                                      associated to bullet
                                         associated        holes "A"
                                                     to bullet       and“A”
                                                                 holes   "B"and
                                                                             was “B”
                                                                                 located
                                                                                     wason the on the
                                                                                         located
            interior
            interiorofof
                       thethe
                           rightright
                                  rear passenger door approximately
                                       rear passenger               45" up from
                                                       door approximately       ground
                                                                              45”      level.ground level.
                                                                                   up from
            [SJ0035]

7. Based
    Basedupon
           upontempered
                 temperedglassglass
                                fragments   located
                                      fragments     in the frame
                                                  located    in theofframe
                                                                      the driver's
                                                                             of theside window,
                                                                                     driver’s    thewindow, the
                                                                                              side
    SCCCL estimated
    SCCCL              thata abullet
            estimated that     bullet   struck
                                     struck thethe window
                                                window         at approximately
                                                         at approximately   53" above53”ground
                                                                                         abovelevel.
                                                                                                 ground level.




                                                                                SJ0284
                                                                                SJ0284
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                      ROCKFORENSICS,
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                                       INC.                                                                   19
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                                         City     Jose,Jose,
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                                                                        SJ0702
                                                                        SJ0702




                                                                        SJO7OI
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                           Dominguez   City of San
                                          City     Jose,Jose,
                                               of San    et al. et a).
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                              CaseNo.
                              Case       5:18-cv-04826-BLF




                       *




                                                                         SJ0712




                                                                     SJ0708
                     ROCK FORENSICS, INC.
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                                       City of San
                                          City     Jose,Jose,
                                               of San    et al. et at.
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                                                                         SJ0715




                                                                         SJ0712
                                                                         SJ0712

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                                                        San    Jose,  al. al.
                                                                   et et
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                                                        _
                                                                                 SJ0732
                                                                                 SJ0732
    SCCCLpersonnel
8. SCCCL    personnelcompleted
                       completed   a timeline
                               a timeline of events  based upon
                                                of events  basedevaluation  of surveillance
                                                                  upon evaluation           and
                                                                                       of surveillance and
    body   worncamera
    body worn   cameravideo
                        video that
                            that    captured
                                 captured      the 015.
                                          the OIS.  TheyThey
                                                         determined  that the
                                                             determined       time
                                                                            that   between
                                                                                 the         shots shots
                                                                                      time between
    fired wasapproximately
    fired was  approximately  0.535
                           0.535     seconds.
                                  seconds.       [Jacob
                                            [Jacob      Dominguez
                                                    Dominguez       OIS Video
                                                               OIS Video   Timeline.doc,  SJ1769]]Si1769]]
                                                                                 Timeline.doc,

Jacob
Jacob Arturo
      Arturo Dominguez
             Dominguez (“Dominguez”)
                       ("Dominguez")

1, AtAtthe
1,       the  time
           time     of the
                of the 015,015,  Dominguez
                            Dominguez     was awas
                                                32-year-old (DOB: 10/30/1983)
                                                    a 32-year-old              male Hispanic
                                                                   (DOB: 10/30/1983)     malewho
                                                                                              Hispanic who
    was approximately
           approximately  5'07" tall tall
                            5’07”    andand   weighed
                                          weighed      approximately
                                                  approximately 180Ibs.l8Olbs.
                                                                        [SJ0042][SJ0042]

2. At the
2.     thetime
            timeofof
                   thethe 015,
                        01S,   Dominguez
                             Dominguez waswas
                                          seated in theinleft
                                              seated       thefront
                                                                 left(driver's) seat of the
                                                                      front (driver’s)      black
                                                                                          seat of Kia
                                                                                                  the black Kia
   Sportage.
   Sportage.

3. At the
3.     thetime  of the
             time   of 01S,
                        the Dominguez    was wearing
                             015, Dominguez       was awearing
                                                         black knitacotton-polyester  hooded
                                                                     black knit cotton-polyester     hooded
   sweatshirt    labeled"ProBAY"
   sweatshirt labeled     “ProBAY”sizesize
                                        2XL2XL  (later
                                            (later     collected
                                                   collected as Evidence  Item 28
                                                                  as Evidence          28 / Barcode
                                                                                   / Barcode
                                                                                Item         SJ82278-
                                                                                                    5J82278-
   27). [S.10156,
         [SJ0156, SJ1706]
                    SJ17061


        a.  During
        a. During examination,
                    examination,   SCCCL
                                       SCCCLlocated two defects
                                                located          in the left
                                                         two defects      in sleeve of the
                                                                             the left      sweatshirt
                                                                                       sleeve  of the sweatshirt
            they  labeled"A"
            they labeled       and
                             “A”  and
                                    "B."“B.”
                                         Based   uponupon
                                              Based   testing, both defects
                                                            testing,           were consistent
                                                                      both defects             with the with the
                                                                                      were consistent
            passing of
                     of aa bullet.
                            bullet.



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                     ROCKFORENSICS,
                          FORENSICS,INC.
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                                                            Jose,etet
                                                                   al.al.
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             i. Hole
                 Hole"A"“A”
                          waswas
                               approximately 5/16"5/16”
                                  approximately    x 5/16"x in size and
                                                             5/16”        located
                                                                     in size and on  the frontside
                                                                                  located   on the frontside
                     theleft
                 of the  leftsleeve
                               sleeve approximately
                                    approximately 12" up
                                                       12”from   the edge
                                                             up from    theofedge
                                                                              the cuff.
                                                                                   of the cuff.

                     1. The
                         Thearea
                              areaof of
                                     thethe
                                         sweatshirt adjacent
                                            sweatshirt       hole "A"
                                                        adjacent      tested
                                                                   hole  “A” positive for lead. for lead.
                                                                             tested positive

             ii. Hole
                  Hole "B"“B”
                           waswas
                               approximately
                                  approximately Y2”
                                                  Y2" Xx 3%“
                                                          /4" in size and
                                                                      and located
                                                                           locatedononthethe backside
                                                                                           backside     of the
                                                                                                    of the
                  left sleeve
                  left  sleeveapproximately
                               approximately11 11 Y2”        fromthe
                                                  /2 " up from
                                                     1             theedge
                                                                        edge  of  the cuff.
                                                                            of the cuff.

                     1. The area
                     1.     areaofofthe sweatshirt
                                      the          adjacent
                                          sweatshirt        hole "B"
                                                       adjacent   holetested
                                                                        “B” positive for lead. for lead.
                                                                             tested positive
                              area had
                         This area  hadaamore
                                          morepronounced
                                                pronounced  response
                                                         response thanthan  the surrounding
                                                                       the area  area surrounding
                         hole "A."
                         hole  “A.”

                     2. The area
                              areaof of
                                     the the
                                         sweatshirt adjacentadjacent
                                             sweatshirt       hole "B" tested positive
                                                                        hole “B”       for positive for
                                                                                   tested
                        nitrates.
                        nitrates.

                     3. A small
                           smallcopper fragment
                                   copper       and a possible
                                            fragment   and a glass fragment
                                                               possible     werefragment were
                                                                         glass
                         embedded
                         embedded ininthe the   fibers
                                             fibers    near
                                                    near holehole
                                                              "B." “B.”
                                                                   Later Later  microscopic
                                                                         microscopic   and scanning
                                                                                              and scanning
                         electron
                         electron microscope
                                     microscope   (SEM) examinations
                                                     (SEM)             revealedrevealed
                                                             examinations        additionaladditional
                                                                                            glass     glass
                         fragments
                         fragmentsand  anda "...high concentration
                                            a “...high              of powdered
                                                        concentration             glass embedded
                                                                          of powdered     glass embedded
                         in the
                            the fabric
                                 fabricthreads."
                                         threads.”

                  Additional
            iii. Additional   small
                            small     holes
                                  holes werewere
                                             documented in between
                                                 documented        the holesthe
                                                               in between    "A"holes
                                                                                and "B."
                                                                                      “A” and “B.”

            iv. Neither
                 Neithersootsoot
                             nor gunpowder residuesresidues
                                  nor gunpowder     were observed
                                                            were around eitheraround
                                                                  observed     hole either hole
                 utilizingboth
                 utilizing bothtraditional
                                 traditional
                                           andand   Infrared
                                               Infrared      Redphotography.
                                                        Red (IR) (IR) photography.

                SEMand
            v. SEM    andmicroscopy
                             microscopy     revealed
                                        revealed  that that
                                                       a higha high   concentration
                                                               concentration    of particulate  was not was not
                                                                                         of particulate
                observed      surrounding
                observed surrounding      thethe  interior
                                              interior and exterior   sides ofsides
                                                            and exterior        hole of
                                                                                      "A"hole
                                                                                          on the  front
                                                                                                “A”  on the front
                of the
                    theleft
                         leftsleeve of the
                                sleeve     sweatshirt
                                        of the          nor was
                                                sweatshirt    norit located
                                                                     was it on   the interior
                                                                            located     on theside  of
                                                                                                 interior side of
                hole "B."
                      “B.”

                     1. Based
                     1.  Basedupon
                                 upon    these
                                      these        findings,
                                               findings,  SCCCL  SCCCL
                                                                    concluded    that, "Assuming
                                                                         concluded                  the twothe two
                                                                                       that, “Assuming
                         holes ininthe left left
                                     the     sleeve   were were
                                                   sleeve    createdcreated
                                                                       by the same
                                                                                by theprojectile,
                                                                                           same that
                                                                                                   projectile, that
                         projectileimpacted
                         projectile   impacted    glass  priorprior
                                                     glass      to entering  the back
                                                                     to entering    theofback
                                                                                          the left
                                                                                                ofsleeve
                                                                                                    the left sleeve
                              exitedthe
                         and exited    thefront
                                              front   of the
                                                  of the       left sleeve
                                                          left sleeve  of theofsweatshirt."
                                                                                the sweatshirt.”
                                                                                            [SJ1715][SJ1715]




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          •   DS14Vp




                                     I


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      otherbullet-related
4. No other bullet-related   defects
                          defects werewere  located
                                       located      in Dominguez’s
                                               in Dominguez's clothingclothing
                                                                       worn at the time
                                                                                worn  atofthe
                                                                                            thetime of the
   C’S.
   OIS.


5.   During autopsy,
     During  autopsy,thethe  Deputy
                          Deputy   Medical Examiner
                                       Medical      documented
                                               Examiner        a bullet-related
                                                         documented             injury/gunshot
                                                                         a bullet-related  injury/gunshot
     wound(GSW)
     wound   (GSW)totothe
                        the
                          leftleft corner
                               corner     of Dominguez’s
                                      of Dominguez's mouth.mouth.

               GSW was
        a. The GSW waslocated
                        located
                              6 /46 "Y4” below
                                      below  the the
                                                 top of
                                                     tophisof
                                                            head
                                                              his and
                                                                  head        /2" to
                                                                      1 and 1 Y2”  toofofthe
                                                                                       1     leftleft
                                                                                           the    of the
                                                                                                      of the
             anterior
             anteriormidline.
                      midline.

        .b.      entryGSW
         b. The entry  GSWwas wasdescribed           /2" diameter
                                   describedasasa a Y2”
                                                     1   diameterround   defect
                                                                     round      withwith
                                                                           defect    a 1/16" to 1/8"
                                                                                         a 1/16”  to wide
                                                                                                     1/8” wide
            red marginal
                 marginalabrasion  thatthat
                            abrasion     was was
                                             widest   at the at
                                                   widest    2 o'clock
                                                                the 2 position
                                                                       o’clock that demonstrated
                                                                                position  that demonstrated
            multiple1/8"
            multiple     to to
                      1/8”     1 W’
                            1%2"     long
                                  long  radiating lacerations.
                                           radiating    lacerations.

        c.   The wound
                  woundwaswas
                           surrounded by multiple
                                surrounded        1/16" x 1/8"1/16”
                                             by multiple       irregular
                                                                      x red
                                                                         1/8”abrasions
                                                                               irregular red abrasions
             consistent with
             consistentwith fragmentation injury.
                               fragmentation   injury.

                was not
        d. Soot was      visibleonon
                     notvisible    thethe
                                       skinskin
                                             edges or within
                                                edges        the hemorrhagic
                                                       or within             wound track.
                                                                  the hemorrhagic  wound track.

        e.   No stippling
                stipplingororgunpowder
                              gunpowderparticles werewere
                                          particles   on theonskin
                                                               thesurrounding the GSW.
                                                                   skin surrounding the GSW.

        f.        woundtrack
             The wound           sequentially
                             track   sequentiallyconsisted of perforating
                                                      consisted           the skin and
                                                                  of perforating     thesubcutaneous
                                                                                           skin and subcutaneous
             tissue ofofthe
             tissue      theface,
                              face,lower
                                     lower
                                         lip, lip, mandible,
                                               mandible,      tongue,
                                                         tongue,  and the
                                                                        andsoft
                                                                             the   soft tissues
                                                                                tissues  of the neck before
                                                                                                 of the neck before



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                     penetrating the
                     penetrating     muscles
                                   the       on the
                                       muscles   on right
                                                     the side
                                                          rightofside
                                                                  the first and first
                                                                       of the    second
                                                                                      andcervical
                                                                                           second vertebral
                                                                                                    cervical vertebral
                     bodies.
                     bodies.

                     2.4-gramdeformed
                g. A 2.4-gram deformed  metal
                                      metal jacket fragment
                                                jacket      was recovered
                                                       fragment           from thefrom
                                                                  was recovered    cervical
                                                                                        thebodies
                                                                                            cervical bodies
                         whereit was
                    fromwhere
                    from         it was
                                     lodged. (Later
                                        lodged.     labeled
                                                (Later           Eli #20)
                                                            E/I #20)
                                                        labeled

                       trajectorywas
                h. The trajectory wasfrom  front
                                        from     to back,
                                              front       left toleft
                                                     to back,     righttoand downward.
                                                                          right and downward.


Projectiledid
Projectile  didnot   continue.
                notcontinue.
 Copper   Jacket  Recovered.
 Copper \Jacket Recovered.

                                                                                         V.’

                                                                                          ‘I’
                                                                                                     Projectiledid
                                                                                                     Projectile  didnot
                                                                                                                     notcontipue.
                                                                                                                          conti we.
                                                                                           SI’
                                                                                                      Copper            Recove ed
                                                                                                                JacketRecovered
                                                                                                      Copper Jacket


                                                                                               SI’




      ntr.
      Entr
                                 STaphOg


      Graphic4a4a(above)
      Graphic       (above) andand Graphic
                                    Graphic4b4b(right)
                                                    (right) are
                                                            are
      visual
      visual representations
              representations of the
                                  of trajectory  of the of the
                                      the trajectory
      projectile
      projectilepath
                  pathas as
                         documented
                             documented by thebyDeputy
                                                  the Deputy
      Medical    Examinerduring
      MedicalExaminer       duringautopsy.
                                     autopsy.TheThe
                                                  graphics
                                                       graphics
          meantmerely
      are meant    merelyto to
                            assist the the
                                assist  reader  in better
                                             reader   in better
      visualizingthethe
      visualizing     approximate   locationlocation
                          approximate         of the of the                   Entrance
      GSW.
      GSW.


      NOTE: The
      NOTE:     GSWwas
            The GSW wasnot
                        notperforating
                            perforating in
                                         in nature.
                                            nature.
      The  rod isisextended
      The rod        extendedbeyond
                                 beyondthethe
                                           projectile's
                                               projectile’s
      termination point
      termination    point to  betterassist
                            to better assist the
                                             the viewer
                                                  viewerin
                                                         in
      visualizing the
      visualizing   the approximate overall
                                       overall trajectory.
                                                trajectory.




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OfficerMichael
Officer Michael  Pina
               Pina    (“Pina”)
                    ("Pina")

    1. At
    1. At the
           thetime
                timeofof   OISOIS
                      thethe      Pina
                               Pina waswas dressed
                                        dressed      in plain
                                                in plain      clothes
                                                         clothes consisting of jeanof
                                                                      consisting    pants,
                                                                                      jean apants,
                                                                                             t-shirt, a t-shirt,
           hat, and
        aa hat,  anda atactical raidraid
                         tactical    vestvest
                                          overover
                                               his shirt. The vest
                                                    his shirt.  Thehad a San
                                                                     vest hadJose  Police
                                                                               a San JoseDepartment
                                                                                             Police Department
         patch on
         patch   onthe
                    thefront  andand
                          front    the the
                                       wordword   “POLICE”
                                            "POLICE"    on theon
                                                               back.
                                                                 the Pina    Pina
                                                                      back.was    was assigned
                                                                               assigned  to the Covert
                                                                                                   to the Covert
         Response Unit      (CRU).[SJ0079]
                     Unit(CRU).      [SJ0079]

   2. At the
          thetime
               timeof of
                      thethe 015,
                          01S,    Pina’s
                               Pina's    service/duty
                                      service/duty       firearm
                                                   firearm  that was utilized
                                                                  that        utilizedtheduring
                                                                         was during       OIS was
                                                                                                thea 015 was a
              DefenseM4M4
        Colt Defense        Carbine
                         Carbine  5.565.56
                                        x 45mm calibercaliber
                                            x 45mm     rifle, serial
                                                                rifle,number
                                                                        serial LE143767. [S.10079, [SJ0079,
                                                                                number LE143767.
        Notes  Laundrie  (2).pdf,
        Notes Laundrie (2).pdf, pp.pp. 1, SJ0203, SJ1771]
                                    1, SJ0203, SJ1771]

            a.
            a.   Note: the
                 Note:        firearm
                        thefirearm    waswas
                                           alsoalso
                                                reported as a department
                                                    reported             issued Commando
                                                               as a department            AR-15, AR-15,
                                                                                 issued Commando
                      caliberrifle.
                 .223 caliber   rifle.[5.100791
                                        [SJ0079]

                   capacityofofthe
            b. The capacity     theservice/duty
                                     service/duty   firearm’s
                                                firearm's  magazine    was 30
                                                                 magazine      cartridges.
                                                                             was           Prior toPrior
                                                                                  30 cartridges.    the to the
               01S,      had loaded
               015, Pina had  loadedhishismagazine
                                           magazine  withwith
                                                          28 or2829orcartridges. [Notes [Notes
                                                                       29 cartridges.    Laundrie.pdf,
                                                                                                Laundrie.pdf,
                   1]
               pp. 1]

            c.
            c.   During
                 During the
                         the01S,
                              OlS,Pina's service/duty
                                    Pina’s            rifle was
                                            service/duty     rifleloaded
                                                                    was with SPEER
                                                                         loaded with15SPEER
                                                                                       223 REM"
                                                                                             15 223 REM”
                               [SJ17711
                 ammunition.[SJ1771]
                 ammunition.

                      i. The
                          Thespecific ammunition
                               specific ammunitionused used
                                                        was Speer
                                                              was LE     GoldLEDot
                                                                     Speer      GoldDutyDot
                                                                                         Ammunition
                                                                                             Duty Ammunition
                                REM, which
                          .223 REM,    whichhas      bullet
                                             hasa abullet    weight
                                                          weight of 75 grains and a muzzle
                                                                      of 75  grains   and      velocityvelocity
                                                                                           a muzzle      of     of
                          approximately2775
                          approximately       feet
                                           2775     perper
                                                 feet   second.
                                                            second.
                          [https ://www.speer.com/a mm uunition/gold
                          [https://www.speer.com/a                          dot/rifle/gold dot rifle pers
                                                               n ition/gold_dot/rifle/gold_dot_rifle_pe         rs
                          onal_protection/19-24469.html]
                          onal_protection/19-24469. html]

               Afterthe
            d. After theOIS
                         015the firearm
                              the       waswas
                                   firearm  determined to be loaded
                                                determined           with onewith
                                                              to be loaded    cartridge
                                                                                   one in the
                                                                                        cartridge in the
                 chamber  and2828cartridges
                 chamber and      cartridges    in the
                                            in the     magazine.
                                                    magazine.     [Notes
                                                              [Notes     Laundrie
                                                                     Laundrie (2).pdf,(2).pdf,
                                                                                       pp.1] pp.1]

            e.
            e.   Examinationofof
                 Examination   thethe
                                   riflerifle
                                         by SCCCL     determined
                                               by SCCCL            that it functioned
                                                           determined                  properly, theproperly, the
                                                                            that it functioned
                 safety wasoperational,
                 safetywas  operational, andand
                                              thethe  trigger
                                                  trigger pull was  was measured
                                                               pull measured     to be approximately   71/4
                                                                                       to be approximately     7Y4
                 pounds.  Nodamage,
                 pounds. No  damage,modifications
                                         modifications               wearwear
                                                          or excessive
                                                      or excessive          was noted.  [SJ1771]
                                                                                   was noted.   [SJ1771]




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PROFESSIONALOPINIONS
PROFESSIONAL OPINIONS


A firearms-related
   firearms-related evaluation  was completed
                        evaluation              based uponbased
                                       was completed        reviewupon
                                                                    of the review
                                                                           providedofdocumentation
                                                                                       the provided documentation
of
of the
    theincident. The The
         incident.   recovered  physical physical
                           recovered       evidence, photographs, interviews, videosinterviews,
                                                     evidence, photographs,           provided of videos provided of
the
theincident,  documentation
      incident,               of Dominguez's
                  documentation                 GSW by theGSW
                                       of Dominguez’s        Deputy
                                                                  by Medical  Examiner
                                                                      the Deputy         at autopsy,
                                                                                      Medical    Examiner at autopsy,
the laboratory/examination
the   laboratory/examination findingsfindings
                                       of the SCCCL,
                                                of theand  statements
                                                        SCCCL,   and made    by the officers
                                                                       statements     madewere    all officers were all
                                                                                               by the
considered.
considered.

The
Thefollowing
    followingprofessional opinions
               professional        were established:
                               opinions   were established:

   Due totothethe
1. Due          lacklack
                      of soot
                           of and
                              sootstippling  around thearound
                                     and stippling       GSW, asthe
                                                                 wellGSW,
                                                                       as statements
                                                                               as wellmade
                                                                                        as by  the
                                                                                           statements   made by the
   involvedofficers,
   involved             the locations
                officers,              of the recovered
                             the locations      of the discharged
                                                          recoveredcartridge  cases and
                                                                      discharged        the videocases and the video
                                                                                     cartridge
   recordings
   recordings   during
                   duringand and
                             directly after the
                                  directly      incident,
                                              after        Dominguez's
                                                     the incident,     GSW is consistent
                                                                    Dominguez’s      GSWwith    having
                                                                                            is consistent with having
   been
   beenfired
          firedfrom
                  froma distance.
                          a distance.

          a. Based uponupon
               Based    the statements of Officer Pina
                               the statements          and the measurements
                                                   of Officer   Pina and theand diagrams
                                                                                measurements and diagrams
              produced
              produced by by
                          SCCCL, thisthis
                             SCCCL,   distance is approximately
                                          distance              10— 12 feet.
                                                     is approximately   10 12 feet.   —




2. Based
   Basedupon uponthethe
                      statements  of the involved
                           statements     of the officers,
                                                   involvedtheofficers,
                                                                location ofthe
                                                                             Dominguez
                                                                                locationinoftheDominguez
                                                                                                front,      in the front,
   left
   left (driver's)
         (driver’s)seatseat
                        of the
                             ofKia
                                theSportage,  the videothe
                                      Kia Sportage,      recordings  of the incident,
                                                            video recordings      of the
                                                                                      thediagrams
                                                                                           incident,andthe diagrams and
   measurements
   measurements     of the
                         ofscene
                             the by   SCCCL,
                                  scene        and the trajectory
                                           by SCCCL,    and the of    Donninguez's
                                                                   trajectory    of GSW,    Officer Pina
                                                                                     Dominguez’s       GSW, Officer Pina
   was
   waslocated
          locatednorth  to northeast
                     north            of Dominguez
                             to northeast            and fired inand
                                              of Dominguez        southfired
                                                                         to southwest
                                                                              in southdirection.
                                                                                         to southwest direction.

3.   Although
     Althoughthethe SCCCLSCCCL could not definitively
                                  could               determinedetermine
                                          not definitively       whether the whether
                                                                                 copper jackettherecovered
                                                                                                   copper jacket recovered
     from thethe
     from      right, backside of Dominguez's neck duringneck
                  right,   backside     of  Dominguez’s        autopsy    (E/I #20)
                                                                      during          and the(E/I
                                                                                autopsy        bullet coreand the bullet core
                                                                                                   #20)
     recovered from
     recovered     from bullet hole Chole
                            bullet    adjacent  the "B" pillar
                                           C adjacent    the of“B”thepillar
                                                                       Kia Sportage
                                                                              of the (Ell
                                                                                       Kia #29)   were from
                                                                                             Sportage     (E/I #29) were from
     the
     thesame
          same projectile/missile
                  projectile/missile(based (based
                                           upon bullet  weight
                                                     upon       alone),
                                                            bullet       it is most
                                                                     weight          likelyitthat
                                                                                alone),           each piece
                                                                                              is most   likely that each piece
     of evidence
         evidence is from   two two
                      is from    separate and distinct
                                      separate     andshots.  Thisshots.
                                                        distinct    is basedThis
                                                                               uponisthe following:
                                                                                       based     upon the following:

         a.   Analysisofofthe
              Analysis        video recordings
                            the.video          of the scene
                                        recordings    of thebyscene
                                                               SCCCLbydetermined that the two shots
                                                                       SCCCL determined       that the two shots
              were
              werefired approximately
                    fired               0.535 0.535
                            approximately     secondsseconds
                                                       apart. apart.

         b.   The
              The characteristics
                   characteristicsof theofbullet
                                            the hole   "A"hole
                                                  bullet   in the“A”
                                                                   interior "B"interior
                                                                       in the   pillar of the
                                                                                            “B”right sideofof the right side of
                                                                                                  pillar
              the  KiaSportage
              theKia   Sportage waswas
                                     consistent   with a with
                                          consistent     bullet ahole madehole
                                                                  bullet     by a made
                                                                                  bullet inbystable flightinthat
                                                                                               a bullet       stable flight that
              had
              hadnot  begun
                    not      to yaw
                         begun    to due
                                       yaw to striking
                                              due toanstriking
                                                          intermediary    object (i.e., tempered
                                                                    an intermediary          objectglass(i.e., tempered glass
              vehicle window,
              vehicle  window, etc.)etc.)
                                     priorprior
                                            to creating the hole.the hole.
                                                   to creating

                    i.i. Bullet
                          Bulletholes "A," “A,”
                                   holes   "B," and
                                                 “B,”"C" are “C”
                                                       and   consistent with the bullet
                                                                 are consistent         paththe
                                                                                     with    of a bullet
                                                                                                  single path of a single
                          shot.
                          shot.

         c.   No other
                  otherbullet holesholes
                          bullet    and/orand/or
                                           impacts were  located
                                                    impacts      withinlocated
                                                              were       the Kia Sportage
                                                                                 within theand all
                                                                                               Kia Sportage and all
              other
              otherwindows had had
                    windows       been been
                                       rolled rolled
                                              up and remained  intact after the
                                                      up and remained           OIS. after the OIS.
                                                                             intact



                     ROCK FORENSICS, INC.
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                                                                                                                            30
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         d. NoNoother bullet
                  other      holesholes
                          bullet   were located within the
                                        were located       entirety
                                                        within   theofentirety
                                                                       the OIS scene.
                                                                                of the 015 scene.

4. The
    Thecopper  jacketing
          copper           recovered
                     jacketing         from Dominguez's
                                  recovered                 right rear neck
                                                from DomInguez’s            at autopsy
                                                                        right   rear neck(E/Iat#20) was (E/i #20) was
                                                                                                 autopsy
    likely the
            theresult
                 resultof the firstfirst
                          of the    of Officer Pina's Pina’s
                                         of Officer    two shots.
                                                              twoThe   secondThe
                                                                    shots.     shotsecond
                                                                                     fired ("B"
                                                                                             shotpillar)
                                                                                                    fireddid(“B” pillar) did
    not
    not strike
         strikethethe
                    tempered
                       temperedglass glass
                                      of the of
                                             driver's side window
                                                the driver’s    sidenor did it strike
                                                                      window     nor Dominguez
                                                                                       did it strikeor Dominguez
                                                                                                       his            or his
    sweatshirt.
    sweatshirt.    This
                 This     is based
                       is based  uponupon
                                       the following:
                                             the following:

         a. The
            The analysis
                 analysisperformed by the
                           performed    bySCCCL  that determined
                                           the SCCCL             that the copper
                                                       that determined           jacketing
                                                                           that the  copper(Elijacketing (Eli
              #20)
              #20) contained
                    containedboth glassglass
                                both     fragments and textile
                                             fragments   and fibers.
                                                               textile fibers.

         b.    The
               The speed
                    speedat which tempered
                            at which       glass fractures
                                      tempered      glass is between 4,000
                                                           fractures       — 5,0004,000
                                                                      is between  feet per 5,000 feet per
                                                                                                       —




              secondl
              second1(approximately
                          (approximately   27002700
                                                  to 3,400  miles per
                                                        to 3,400      hour).
                                                                   miles   perThe  time between
                                                                                 hour). The time   shots fired shots fired
                                                                                                      between
              was
              was approximately
                     approximately   0.535   seconds.
                                         0.535          There There
                                                   seconds.    was sufficient  time between
                                                                       was sufficient     timethebetween
                                                                                                   two shotsthe two shots
              for
              for the
                   thetempered
                        tempered  glassglass
                                        to haveto fractured.  Subsequently,
                                                   have fractured.            analysis of the
                                                                        Subsequently,          of the bullet
                                                                                            analysis   of the of the bullet
              corerecovered
              core   recovered      adjacent
                                adjacent         thepillar
                                           the "B"     “B” pillar
                                                           of the of the interior
                                                                  interior right sideright
                                                                                      of theside
                                                                                              Kia of
                                                                                                  Sportage
                                                                                                     the Kia(ELI
                                                                                                              Sportage (E/i
              #29)
              #29) determined
                      determined  thatthat
                                       glassglass
                                              and fiber
                                                      andparticles were not present.
                                                           fiber particles    were not Thepresent.
                                                                                            trace evidence
                                                                                                       The trace evidence
              documented
              documented         the the
                             by by   SCCCLSCCCL during        examination
                                                        examination
                                                     during           on the recovered   core (E/I #29)
                                                                              on the recovered               (Eli #29) from
                                                                                                          from
                                                                                                       core
              the
              the"B"     pillardisclosed
                    “B”pillar    disclosedthe the
                                               presence   of polymers
                                                    presence           (plastic).(plastic).
                                                                of polymers

         c.   The
              The characteristics
                   characteristicsof the
                                      of bullet hole "A"
                                         the bullet       in the
                                                       hole  “A”"B"  pillar“B”
                                                                 in the     of the  interior
                                                                                 pillar      rightinterior
                                                                                        of the      side of right side of
              the KiaSportage
              theKia  Sportage  areare consistent
                                    consistent       with
                                                with the passing of a bullet
                                                            the passing    of in stable gyroscopic
                                                                               a bullet               flight.
                                                                                         in stable gyroscopic      flight.

5. Based
    Basedupon   thesethese
             upon      same same
                              set of facts
                                      set ofandfacts
                                                 the analysis
                                                       and the of analysis
                                                                  the bullet-related
                                                                              of the defects   in the leftdefects in the left
                                                                                      bullet-related
    sleeve of Dominguez's sweatshirt by SCCCL, it is likelyisthat Dominguez's left arm was left
    sleeve    of  Dominguez’s        sweatshirt      by   SCCCL,   it    likely  that  Dominguez’s         in a arm was in a
    position
    positionadjacent
                adjacentthe the    left of
                             left side  side
                                           his of
                                               facehisnearly
                                                        face simultaneously    to having received
                                                              nearly simultaneously                 the GSW
                                                                                            to having    received the GSW
    to
    to the
        theleftleft
                side side
                     of his of
                            mouth.
                                his Neither
                                      mouth.Dominguez's        overall movement
                                                  Neither Dominguez’s                nor themovement
                                                                                 overall      specific nor the specific
    movement
    movement     of of
                    hishis
                        leftleft
                             armarmpriorprior
                                         to andtodirectly  after the after
                                                    and directly      shot fired
                                                                             the can
                                                                                 shotbefired
                                                                                        determined
                                                                                               can beasdetermined
                                                                                                         the          as the
    forensic
    forensicevidence
                evidence doesdoes
                               not reveal   the position
                                     not reveal            of Dominguez's
                                                    the position              body and/orbody
                                                                      of Dominguez’s        left arm prior left
                                                                                                  and/or    to arm prior to
    thefirst
    the       gunshot
        firstgunshot     (resulting
                     (resulting in Dominguez's GSW).GSW).
                                    in Dominguez’s

6. Based
    Basedupon the trajectory
            upon               of Dominguez's
                   the trajectory               GSW (starting
                                      of Dominguez’s       GSW at(starting
                                                                    the left corner
                                                                              at theofleft
                                                                                        his mouth
                                                                                             cornerandof his mouth and
    terminating
    terminating lower  in the
                    lower   in right
                                the cervical region ofregion
                                     right cervical     his neckof—hisback  to front,
                                                                         neck    —    left to
                                                                                   back    to right andleft to right and
                                                                                               front,
    downward),
    downward),   thethe
                     measurements
                         measurements and diagrams   produced byproduced
                                              and diagrams          SCCCL and   bythe  statements
                                                                                    SCCCL     and ofthe statements of
    Officer
    OfficerPina,
             Pina,Dominguez's
                     Dominguez’s  face was
                                       facelikely
                                             was turned
                                                   likely some
                                                           turneddegree  counterclockwise
                                                                      some                    from his
                                                                              degree counterclockwise           from his
    shoulders
    shouldersandandtowards
                      towardsOfficer's Pina'sPina’s
                                  Officer’s   direction at the time
                                                     direction    at of
                                                                     thebeing
                                                                          timeshot.
                                                                                 of being shot.




‘F. Barstow,H.H.Edgerton,
 F. Barstow,     Edgerton,  1939;
                          1939;    Glass-Fracture
                                Glass-Fracture     Velocity,
                                               Velocity,      Journal
                                                         Journal        of the American
                                                                 of the American         CeramicVolume
                                                                                 Ceramic Society, Society,22,Volume
                                                                                                              Issue 22, Issue
1-12

https ://cera mics.org/ceramic-tech-today/cera mic-video/video-speed-of-cracks-i n-glass
https://ceramics.org/ceramic-tech-today/ceramic-video/video-speed-of-cracks-in-glass

https ://www.wi red. com/sto ry/use-a-slo-mo-video-to-ca Icu late-how-fast-glass-shatters!
https://www.wired.com/story/use-a-slo-mo-video-to-calculate-how-fast-glass-shatters/


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    During
7. During hishis
              deposition, Officer
                 deposition,      Pina stated
                               Officer  Pina the following:
                                              stated  the following:


                                           Atkinson Baker,
                                           Atkinson        a Veritext Company
                                                      Baker,aVeritextCompany
                                                     www.depo.com
                                                     vemomiepoxom


                   1
                   1        A.
                            A.    I was
                                  I  wastrying to track
                                          trying        where hewhere
                                                    to track     was going
                                                                       he and
                                                                           wasasgoing
                                                                                 he   and as he

                   2
                   2   was coming
                       was  comingbackback    his so
                                       up, soup,  onlyhis
                                                       target areatarget
                                                           only    was shoulders
                                                                          area upwas shoulders up.

                   3
                   3        Q.
                            Q.    So you
                                  So  youpulled the trigger
                                           pulled           when he started
                                                     the trigger    when he coming
                                                                               started coming

                   4
                   4   back up?
                       back   up?

                   5
                   5        A.
                            A.    I remember
                                  I  rememberfinding my sight
                                                 finding   mywhile
                                                              sighthe was leaning
                                                                      while   he was leaning

                   6
                   6   forward, and and
                       forward,            washecoming
                                     as heas      was back looking
                                                       coming      at me,
                                                                back      looking at me, looking
                                                                      looking

                   7
                   7   kind    back
                       kind ofof    movement
                                  back       is when is
                                        movement      I started
                                                         when I firing. I can’t
                                                                   started
                                                                        I       saysay
                                                                            firing.
                                                                           can't

                   8
                   8   for sure
                       for  sureexactly what he
                                   exactly      was doing
                                              what  he wasas he was coming
                                                              doing   as heup was coming up
                   9
                   9   because I remember
                       because            he’s now
                                  I remember    he's I’m
                                                       --  --looking
                                                      nownow         at him
                                                               I'm now      solely at him solely
                                                                          looking

                  10
                  10   through thethe
                       through     aim aim    of my rifle.
                                       point point   of my rifle.

                  11
                  11        Q.
                            Q.    When did
                                  When   did   release
                                           youyou      the safety?
                                                   release    the safety?

                  12
                  12        A.
                            A.    Just right
                                  Just       before
                                         right      I shot.I shot.
                                                 before

                  13
                  13        Q.
                            Q.    And when
                                  And  when    pulled
                                           youyou     the trigger,
                                                   pulled          was he backwas
                                                             the trigger,      up inhe back up in
                  14
                  14   an erect
                       an  erectposition or partially
                                  position            erect? Can
                                              or partially   Canerect?
                                                                 you
                                                                  youdescribe that that
                                                                       describe

                  15
                  15   for us?
                       for  us?                                                           i




                  16
                  16        A.
                            A.    After I I
                                  After   shot him? him?
                                            shot

                  17
                  17        Q.
                            Q.    No, before.
                                  No,  before.

                  18
                  18        A.
                            A.    Before I pulled
                                  Before          the trigger,
                                           I pulled            he was
                                                       the trigger,   he had
                                                                      he was -- he had
                                                                           --              '




                  19
                  19   already been
                       already      leaning
                                  been      low andlow
                                        leaning     then and
                                                          coming
                                                               then like I could
                                                                     coming
                                                                     --       -- just
                                                                                  like I could just

                 20
                 20    turn mymy
                       turn    chair,
                                 chair,      you’re
                                      so if so      me over there,
                                                if you're          he’s there,
                                                             me over    now cominghe's
                                                                                   up  now coming up

                 21
                 21    in this
                       in  thisdirection.
                                  direction.

                 22
                 22         Q.
                            Q.    Okay. So
                                  Okay. So atatthat point,
                                                 that      could could
                                                       point,            where see where --
                                                                 you see you      --




                 23
                 23    what his
                       what     hands
                              his     were were
                                   hands   doing? doing?
                                                       '




                 24
                 24         A.
                            A.    No.
                                  No.
                                                                                          1




                                  Sgt. Michael  Pina.pdf,
                                       MichaelPina.pdf, pp.pp.
                                                           97 97


        a. The
            Thefirearm-related evidence
                   firearm-related      is not inconsistent
                                     evidence               with Officer Pina's
                                                  is not inconsistent      withstatements
                                                                                  Officer Pina’s statements
            regardinghishisactions
            regarding              during
                             actions      the OIS.
                                      during  the OIS.




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                                          Case




                                                               Graphic55 (left)
                                                               Graphic      (left)isisa avisual
                                                                                           visualrepresentation
                                                                                                    representationof theof the
                                                               a pproximatecounterclockwise
                                                               approximate           counterclockwise turn of turn of
                                                               Dominguez's
                                                               Dominguez’shead   head  during  the OIS
                                                                                           during    the and
                                                                                                           OISmeant
                                                                                                                 and meant
                                                               merely       assistthethe
                                                               merelytotoassist         reader   in better
                                                                                            reader          visualizing
                                                                                                      in better   visualizing
                                                               the  trajectory   of  the   GSW     as
                                                               the trajectory of the GSW as documented documented by the
                                                                                                                       by the
                                                               DeputyMedical
                                                               Deputy    Medical      Examiner
                                                                                  Examiner      during   autopsy.
                                                                                                     during        The The
                                                                                                               autopsy.
                                                                       cannotbebedetermined
                                                               angle cannot          determined    exactly.
                                                                                                       exactly.

                              STephk 5




                                                                                       I
Graphic66 (above)
Graphic      (above) is a visual  representation
                          visual representation   of of   OIS015
                                                     thethe   andand
                                                                  meantmeant  merely
                                                                          merely       to assist
                                                                                  to assist       the reader
                                                                                            the reader in better
                                                                                                              in better
visualizing   the
visualizing the locations of firearm-related items within the scene (including E/I #1 and E/I #1
                   locations   of firearm-related      items  within   the  scene   (including           and   ELI  #4—
                                                                                                               E/I #4       —




dischargedcartridge
discharged    cartridge  cases).
                       cases).  TheThe  graphic
                                     graphic     is proportional
                                             is proportional        and utilizes
                                                              and utilizes         both a Earth
                                                                           both a Google    GoogleandEarth
                                                                                                      SCCCLand SCCCL
diagram    underlay.
diagram underlay.




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                                        Dominguez v.v.City      SanJose,
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                                                                       H.H’•                .




                                                                                     Pina




Graphic7 7 (above)
Graphic      (above) is  is a visual
                              visual representation
                                      representation    of of
                                                           thethe    andand
                                                                OISOIS       meant
                                                                          meant       merely
                                                                                  merely         to assist
                                                                                          to assist         the reader
                                                                                                      the reader    in better
                                                                                                                           in better
visualizing
visualizingthethelocations
                     locationsof items   within within
                                    of items    the scene theincluding
                                                                scene the   involvedthe
                                                                        including     vehicles,
                                                                                           involvedOfficer Pina, Officer Pina,
                                                                                                        vehicles,
Dominguez and
Dominguez      andthethe bullet  holesholes
                             bullet     in/adjacent   to the Kia
                                               in/adjacent     to Sportage's   right "B" pillar.
                                                                   the Kia Sportage’s       rightThe   graphic
                                                                                                     “B”  pillar.is The graphic is
proportional andand
proportional        utilizes   both aboth
                          utilizes     Google    Earth andEarth
                                             a Google        SCCCL  anddiagram
                                                                          SCCCLunderlay.
                                                                                   diagramThe      approximate
                                                                                                underlay.     The approximate
trajectory   (red)
trajectory (red)     is meant
                  is meant    to provide   a visual
                                   to provide        approximation
                                                 a visual              of both shots
                                                            approximation             fired
                                                                                of both     by Officer
                                                                                          shots    fired Pina  and is Pina and is
                                                                                                         by Officer
based upon
        uponthe       measurements
               themeasurements         andand    diagrams
                                             diagrams    produced          by SCCCL.
                                                                     by SCCCL.
                                                               produced




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                                          Case




                                                                                  Buick LaCrosse
                                                                                     (7TVL35




Graphic88 (above)
Graphic      (above) is a visual      representation
                            visual representation       thethe
                                                     of of  OIS015
                                                                 andand   meant
                                                                      meant        merely
                                                                              merely        to assist
                                                                                       to assist the reader in better
                                                                                                       the reader  in better
visualizing   thelocations
visualizing the     locations
                            of items items
                                of withinwithin
                                              the scene
                                                    the including   the involved
                                                          scene including     the vehicles,
                                                                                    involvedOfficer   PinaOfficer
                                                                                               vehicles,   and Pina and
Dominguez. The
Dominguez.      Thegraphic   is proportional
                       graphic                 and utilizes
                                   is proportional      and both  a Google
                                                              utilizes bothEarth     and SCCCL
                                                                               a Google      Earthdiagram
                                                                                                     and SCCCL diagram
underlay.This
underlay.   Thissouthward
                   southward      looking
                              looking   viewview  is meant
                                             is meant   only toonly
                                                                provide              visual approximation
                                                                         a visual aapproximation
                                                                    to provide                     of the sceneof the scene
looking   fromthe
lookingfrom        north
                 the      to the
                      north   to south.
                                  the south.




       These  opinions
       These opinions areare
                          subject to change
                             subject        if additional
                                       to change          facts are facts
                                                    if additional   received
                                                                          areat received
                                                                                 a future date.
                                                                                           at a future date.




                                       INC.
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                                            City     Jose,Jose,
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                                            END
                                            END




               RocIy L-.I-.Edwards
               RooKy        Edwards                                        05/19/2021
                 Rocky L. Edwards
                 Rocky L. Edwards                                             Date
                                                                              Date

              14w.t-XoA, c'_   -' ei_iaA,                                  05/19/2021
                Heather E.E.Heider
                Heather      Heider                                          Date
                                                                             Date




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Curriculum Vitae
Curriculum  VitaeRocky  Edwards
                  RockyEdwards
ForensicFirearms
Forensic             Toolmark
         Firearms&&TooImark    Examiner
                            Examiner



ROCKY EDWARDS
ROCKY          FORENSICFIREARM
      EDWARDSFORENSIC   FIREARM&&TOOLMARK
                                  TOOLMARKEXAMINER
                                           EXAMINER&&SHOOTING
                                                      SHOOTING
RECONSTRUCTION
RECONSTRUCTION

EDUCATION
EDUCATION
                                                                                                                                1993
                                                                                                                                1993
The University
The Universityof of
                 thethe  State
                     State     of York
                           of New New (Excelsior
                                       York (Excelsior
                                                 College)College)
                                                          BachelorBachelor      Science Degree
                                                                   of ScienceofDegree
                                                                                                                                1988
                                                                                                                                1988
El Paso
El      Community
   Paso Community   College
                  College    Associate
                          Associate      of Science
                                    of Science

AWARDS
AWARDS

SantaAna
Santa AnaPolice
          Police  Department,
                Department,     Departmental
                            Departmental       WideforAward
                                         Wide Award    work infor
                                                               3Dwork  in 3D Analysis
                                                                  Analysis                                                      2014
                                                                                                                                2014
AugustVollmer
August Vollmer Award,
              Award,     International
                     International      Association
                                   Association of ChiefsofofChiefs
                                                             Police of Police (IACP)
                                                                    (IACP)                                                     2009
                                                                                                                               2009
ExceptionalQuality
Exceptional Quality  Service
                   Service   Award
                           Award — CityCity of Santa
                                        of Santa
                                           —          Ana, CA
                                                 Ana, CA                                                                       2005
                                                                                                                               2005
Orange County
OrangeCounty   District
             District Attorney's AwardAward
                         Attorney’s          of Excellence
                                       of Excellence                                                                           2005
                                                                                                                               2005

EXPERT QUALIFICATION
EXPERT  QUALIFICATIONSTATEMENT
                        STATEMENT


II have testified
   havetestified     in over
                 in over     550 cases
                         550 cases         in firearms-related
                                   in firearms-related cases (Bestcases
                                                                   Estimate) as an
                                                                         (Best     expert witness.
                                                                                Estimate)   as an Iexpert
                                                                                                   began witness. I began
my career
    careerin law enforcement
              in law         42 years ago.
                      enforcement     42 Iyears
                                           was trained
                                                  ago. as I a Special Agent in the
                                                              was trained      as United
                                                                                   a Special Agent in the United
States   Army
StatesArmy   Criminal
                  Criminal      Investigation
                        Investigation  Division (CID)   in 1984
                                                 Division        andinserved
                                                             (CID)      1984asand
                                                                                a Special  Agent
                                                                                      served    as for ten (10) Agent for ten (10)
                                                                                                    a Special
years
yearsuntil
       untilmymy
               retirement
                  retirementin 1994. As a Federal
                                 in 1994.    As a Agent,
                                                     Federal Agent, I processed,
                                                                       I    processed,   diagrammed,
                                                                                            diagrammed,  and reconstructed
                                                                                                               and reconstructed
crime
crimescenes
        scenesas part
                   as ofpart
                         the normal
                               of thecourse  of investigation.
                                        normal    course of In    1989, I trained Inand1989,
                                                                investigation.          studiedI trained
                                                                                                 at the USand studied at the US
Army Crime
Army   CrimeLaboratory
                Laboratory     for two
                           for two       (2) years
                                   (2) years in the field      field of
                                                          of Forensic
                                                      in the           Firearm and Toolmark
                                                                           Forensic     FirearmExamination.
                                                                                                    and Toolmark Examination.
My training included
      training       microscopic
                  included       analysis, the study
                             microscopic             of ammunition
                                               analysis,           and ammunition
                                                           the study      of ammunition                   and      ammunition
components,
components,  gunpowder    productionproduction
                  gunpowder          and manufacturing
                                                   and techniques,   reloadingtechniques,
                                                           manufacturing       of ammunition,reloading of ammunition,
toolmark
toolmarkexamination,
           examination, gunshot wound analysis,
                             gunshot    wound processing
                                                  analysis, of clothing for of
                                                             processing     gunshot  residues,
                                                                                clothing   for bullet
                                                                                                gunshot residues, bullet
path
pathinterpretation, firearm firearm
       interpretation,      functionality, and shooting reconstruction.
                                       functionality,     and shooting  I have been a Forensic I have been a Forensic
                                                                            reconstruction.
Firearm    Examiner
FirearmExaminer        for twenty-seven
                   for twenty-seven    (30) years.    years.
                                               (30)I have      I have
                                                           worked  as aworked
                                                                        Forensic as
                                                                                 Firearm   Examiner
                                                                                     a Forensic      in ASCLD
                                                                                                  Firearm    Examiner in ASCLD
Accredited
AccreditedLaboratories   in theinUSthe
               Laboratories          ArmyUSand   the Los
                                              Army    andAngeles
                                                            the LosPolice Department.
                                                                       Angeles    Police Department. I have
                                                                                                          I   havethirty-seven
                                                                                                                    thirty-seven
(37) years
      yearsof crime scenescene
              of crime    processing    as both a Special
                                   processing      as bothAgent   (detective)
                                                              a Special       and as(detective)
                                                                          Agent       a Forensic Firearm
                                                                                                  and as a Forensic Firearm
Examiner.Throughout
Examiner.    Throughout my career   I have utilized
                             my career       I havevarious   scientific
                                                       utilized         methods
                                                                  various        and techniques
                                                                           scientific   methodstoandcollect,
                                                                                                         techniques to collect,
preserve
preserveandand
             analyze physicalphysical
                  analyze     evidence atevidence
                                            crime scenes.
                                                       at Icrime
                                                            have investigated
                                                                   scenes. all  categories
                                                                              I have       of
                                                                                       investigated   all categories of
crimes,
crimes,e.g. homicides,
         e.g.          assaults,
               homicides,        and officerand
                              assaults,       involved shootings
                                                  officer        (01S),shootings
                                                           involved     and have conducted
                                                                                  (015), andwar/ have conducted war!
combat
combatshooting  reconstructions
          shooting               from incidents
                      reconstructions        fromin incidents
                                                    Somalia andinYugoslavia.
                                                                    Somalia and Yugoslavia.

II am qualified
   amqualified    as expert
               as an  an expert    in California
                            in California Superior Superior
                                                   Court in theCourt
                                                                 areas of
                                                                       in Forensic
                                                                          the areasFirearm  and Toolmark
                                                                                       of Forensic   Firearm and Toolmark
 Examinationas as
Examination     wellwell
                      as Shooting Reconstruction.
                          as Shooting              I am qualified
                                          Reconstruction.      I amin the US Federal
                                                                      qualified       CourtUSsystem
                                                                                 in the             as anCourt system as an
                                                                                               Federal
expert
expertin in
         Forensic Firearm
            Forensic      and Toolmark
                        Firearm   and Identification. I have qualified asI ahave
                                       Toolmark Identification.              Forensic Firearm as a Forensic Firearm
                                                                                   qualified
Examinerin in
Examiner           all branches
               all branches         of the military
                             of the military and NATOand  NATO (Britain
                                                       Countries Countries   (Britain Iand
                                                                         and Canada).    am qualified
                                                                                             Canada).asI an
                                                                                                          am qualified as an
expertininthethe
expert             states
               states     of New
                      of New   MexicoMexico    and Arizona.
                                       and Arizona.         I haveboth
                                                    I have worked  worked
                                                                       for defense
                                                                              both and  defense and
                                                                                    for prosecution at both
                                                                                                        prosecution at both
thestate
the stateandand    federal
               federal      levels.
                       levels.
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II have  been
   havebeen      trained
             trained        in firearm-related
                       in firearm-related           injuries
                                          injuries and   have studied
                                                              and haveat thestudied
                                                                              Letterman   ArmyLetterman
                                                                                      at the    Medical Center,
                                                                                                            ArmyPreside  of Center, Preside of
                                                                                                                   Medical
      Francisco,and
San Francisco,      andthethe  Armed
                           Armed       Forces
                                   Forces       Institute
                                          Institute         of Pathology
                                                     of Pathology             in Washington,
                                                                   in Washington,    D.C. I haveD.C.  I have
                                                                                                 attended     attended
                                                                                                           autopsies throughout
                                                                                                                          autopsies throughout
 my career.
     career.I also
               I also   attended    advanced     training   at the Southwestern
                    attended advanced training at the Southwestern                      institute
                                                                        institute of Forensic     of Forensic
                                                                                               Sciences, ParklandSciences,
                                                                                                                   MemorialParkland Memorial
 Hospital,Dallas
Hospital,   Dallas    Texas,
                   Texas,       in microscopic
                            in microscopic         examination,
                                            examination,             woundand
                                                           wound ballistics     ballistics
                                                                                   the analysis
                                                                                           and and   analysis
                                                                                                thestudy  of ricochet bullets.of ricochet bullets.
                                                                                                                and study
See   belowforfor
See below          further
                 further      details.
                          details.

CRONOLOGICAL SUMMARY
CRONOLOGICAL  SUMMARYOFOF
                        EXPERIENCE
                          EXPERIENCE

ShootingReconstruction,
Shooting Reconstruction,       PathPath
                           Bullet
                        Bullet          Analysis,
                                    Analysis,     Wound
                                              Wound         Ballistics,
                                                    Ballistics, ForensicForensic
                                                                         Firearm & Too!mark
                                                                                 Firearm    Examiner Examiner
                                                                                         & Toolmark

 Responsibleforfor
Responsible       thethe  forensic
                      forensic        examination
                               examination    of firearms, ammunitionammunition
                                                        of firearms,     and ammunition  andcomponents;
                                                                                               ammunition the microscopic
                                                                                                                components; the microscopic
examination
examination                  bullets,bullets,
                 of questioned
              of questioned           cartridgecartridge
                                                 cases and toolmarks;
                                                            cases andthetoolmarks;
                                                                            restoration ofthe
                                                                                            obliterated serial numbers;
                                                                                               restoration     of obliterated serial numbers;
distancedeterminations
distance    determinations(both (both
                                 gunshotgunshot
                                          residue and   shotgunand
                                                     residue    pattern  analysis);
                                                                    shotgun         fracture
                                                                                pattern       or physical
                                                                                           analysis);     matches;orbullet
                                                                                                        fracture       physical matches; bullet
 pathanalysis,
path   analysis,  trajectory
               trajectory analysis  and theand
                                analysis         the examination
                                             examination   of securityofdevices;
                                                                          security
                                                                                 crime           crime sceneresponsible
                                                                                        scene Investigation;
                                                                                     devices;                              for responsible for
                                                                                                                 Investigation;
the  diagramming,       preparation     of  written             regarding     findings
the diagramming, preparation of written reports regarding findings and the presentation of those findings in State
                                                       reports                           and   the  presentation      of those  findings in State
and   Federal   Jurisdictions;
and Federal Jurisdictions;         court qualified
                            court qualified  in 3D topogfaphical   comparative analysis
                                                        in 3D topographical                 of fired analysis
                                                                                   comparative       bullets; advises localbullets; advises local
                                                                                                                of fired
jurisdictions
jurisdictions onon   policies
                 policies      regarding
                          regarding         forensic
                                     forensic  firearm firearm   examinations
                                                        examinations

II possess additional
   possessadditional    expertise
                     expertise in the inprocessing
                                          the processing   ofresidues
                                                   of gunshot gunshot(GSR) and bullet
                                                                       residues (GSR)   and bullet
                                                                                      impacts on clothing.
                                                                                                     impacts on clothing.

POSITIONS HELD
POSITIONS  HELD& &RESPONSIBLITES
                   RESPONSIBLITES

        andTool-mark
Firearm and Tool-mark  Examiner
                     Examiner   & Consultant,
                              & Consultant, Stockton PolicePolice
                                                Stockton    Department
                                                                  Department                                              2013
                                                                                                                          2013toto2019
                                                                                                                                   2019

Responsibleforfor
Responsible     thethe  forensic
                    forensic        examination
                             examination            of firearms,
                                           of firearms, ammunitionammunition
                                                                     and ammunition andcomponents;
                                                                                          ammunition the microscopic
                                                                                                           components; the microscopic
examination
examination    of questioned
            of questioned           cartridgecartridge
                           bullets,bullets,   cases and toolmarks;
                                                         cases andthetoolmarks;
                                                                       restoration ofthe
                                                                                       obliterated serial numbers;
                                                                                          restoration     of obliterated serial numbers;
distancedeterminations
distance  determinations(both (both
                              gunshotgunshot
                                        residue and shotgun
                                                 residue  andpattern analysis);
                                                               shotgun          fracture
                                                                          pattern        or physical
                                                                                     analysis);      matches;
                                                                                                 fracture   or and the matches; and the
                                                                                                               physical
examination
examination of of security
               security     devices.
                        devices.

Responsibleforfor
Responsible      thethe  preparation
                      preparation         of written
                                   of written           reports findings,
                                               reports regarding regarding thefindings,
                                                                                presentation
                                                                                           theofpresentation
                                                                                                 findings in judicial or non- in judicial or non-
                                                                                                                of findings
judicialproceedings
judicial  proceedings and and   gunshot
                          gunshot   woundwound
                                             analysis;analysis;
                                                       provides training
                                                                 providesandtraining
                                                                              lectures toand
                                                                                           officers and detectives;
                                                                                               lectures  to officersCreates
                                                                                                                       and detectives; Creates
and   implements      policy  regarding     forensic   firearm   examinations
and implements policy regarding forensic firearm examinations and procedures; evaluates firearm security-related
                                                                                   and    procedures;     evaluates   firearm security-related
policiesand
policies   and
             procedures;  completes
                 procedures;           crime scene
                                  completes          investigations,
                                                 crime               shooting reconstruction,
                                                          scene investigations,      shootingdiagramming       of crimediagramming of crime
                                                                                                    reconstruction,
scenes   related
scenesrelated      to firearm
               to firearm evidence    and trajectory
                                 evidence     and trajectory
                                                      analysis. analysis.

        andTool
Firearm and Tool-mark  Examiner,Santa
                - mark Examiner, Santa Ana
                                      Ana Police
                                            Police  Department
                                                 Department                                                              1996
                                                                                                                         1996toto2016
                                                                                                                                  2016

Responsible
Responsiblefor for
               the examination of firearms,ofammunition
                    the examination            firearms,andammunition
                                                            ammunition components; the microscopic
                                                                         and ammunition       components; the microscopic
examination
examination    of questioned
            of questioned bullets,bullets,
                                   cartridgecartridge
                                             cases and toolmarks;
                                                        cases andthetoolmarks;
                                                                      restoration ofthe
                                                                                      obliterated serial of
                                                                                         restoration     numbers;
                                                                                                            obliterated serial numbers;
distance  determinations
distancedeterminations        gunshotgunshot
                       (both (both     residue and shotgun
                                                residue  andpattern analysis);
                                                              shotgun          fracture
                                                                         pattern        or physical
                                                                                    analysis);      matches;
                                                                                                fracture   or and the matches; and the
                                                                                                              physical
examination
examination of of security
               security     devices.
                        devices.

Responsibleforfor
Responsible     thethe  preparation
                     preparation        of written
                                 of written           reports findings,
                                            reports regarding  regarding thefindings,    theofpresentation
                                                                              presentation     findings in judicial  or non- in judicial or non
                                                                                                                of findings
judicialproceedings
judicial proceedings and and   gunshot
                         gunshot  woundwound
                                           analysis;analysis;  provides
                                                     provides training andtraining
                                                                            lectures toand
                                                                                         officers  and detectives;
                                                                                             lectures   to officers Creates
                                                                                                                      and detectives; Creates
and   implements     policy  regarding    forensic
and implements policy regarding forensic firearm examinations
                                                     firearm       and procedures;
                                                               examinations      andevaluates    firearmevaluates
                                                                                        procedures;       security-related
                                                                                                                      firearm security-related
policies  and
policiesand     procedures;
            procedures;  completes   crime scene
                                completes         investigations,
                                               crime              shooting reconstruction,
                                                        scene investigations,       shootingdiagramming       of crimediagramming of crime
                                                                                                  reconstruction,
scenesrelated
scenes   related   to firearm
              to firearm        evidence
                          evidence           and trajectory
                                    and trajectory analysis; provides  forensic
                                                                analysis;        analysis
                                                                           provides        on assigned
                                                                                         forensic        OfficeronInvolved
                                                                                                     analysis       assigned Officer Involved
Shootings.
Shootings.
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         andTool-mark
 Firearm and Tool-mark  Examiner,
                      Examiner,   Consultant,
                                Consultant,     Los Angeles
                                            Los Angeles PolicePolice Department
                                                              Department                                                       1993toto1996
                                                                                                                               1993     1996

Responsible
Responsiblefor for
               the examination of firearms,ofammunition
                    the examination            firearms,andammunition
                                                            ammunition components; the microscopic
                                                                         and ammunition       components; the microscopic
examination
examination of questioned bullets,bullets,
               of questioned       cartridgecartridge
                                             cases and toolmarks;
                                                        cases andthetoolmarks;
                                                                      restoration ofthe
                                                                                      obliterated serial numbers;
                                                                                         restoration     of obliterated serial numbers;
distancedeterminations
distance  determinations
                       (both (both
                             gunshotgunshot     residue
                                       residue and       andpattern
                                                   shotgun    shotgun    pattern
                                                                    analysis);      analysis);
                                                                               fracture or physical matches;
                                                                                                fracture   or and the matches; and the
                                                                                                              physical
examination
examination of of security
               security     devices.
                        devices.

Responsibleforfor
Responsible      thethe   preparation
                      preparation        of written
                                  of written           reports findings,
                                             reports regarding  regarding thefindings,
                                                                               presentation
                                                                                          theofpresentation
                                                                                                 findings in judicial or non- in judicial or non-
                                                                                                                 of findings
judicial
judicialproceedings
         proceedings  and and
                           gunshot woundwound
                                gunshot     analysis;analysis;
                                                      provides training
                                                                providesandtraining
                                                                             lectures toand
                                                                                          officers  and detectives;
                                                                                              lectures              Creates
                                                                                                          to officers  and detectives; Creates
andimplements
and   implements      policy
                 policy       regarding
                         regarding forensicforensic   firearm examinations
                                             firearm examinations                 andevaluates
                                                                    and procedures;      procedures;
                                                                                                   firearmevaluates
                                                                                                            security-related
                                                                                                                       firearm security-related
policiesand
policies  andprocedures;   completes
                 procedures;         crime scene
                                 completes         investigations,
                                                crime              shooting reconstruction,
                                                         scene investigations,       shooting   diagramming    of crimediagramming of crime
                                                                                                    reconstruction,
scenes   related       firearm   evidence     and  trajectory    analysis;
scenes related to firearm evidence and trajectory analysis; provides forensic analysis on assigned OfficeronInvolved
                   to                                                       provides      forensic    analysis       assigned Officer Involved
Shootings.
Shootings.

          andTool-mark
 Firearm and  Tool-mark     Examiner,
                          Examiner,    United
                                     United     States
                                            States ArmyArmy Criminal
                                                        Criminal       Investigation
                                                                 Investigation        Laboratory
                                                                               Laboratory Ft.     Ft.
 Gillem, Georgia   and Frankfurt    Germany-   Casework  with  US  Army,  US   Navy, US Air Force
 Gillem, Georgia and Frankfurt Germany- Casework with US Army, US Navy, US Air Force & US & US
 MarinesNATO
 Marines  NATOForces
                  Forces- Britain
                            Britain
                              -   &&  Canada
                                    Canada                                                                                     1989toto1993
                                                                                                                               1989     1993

Responsible
Responsiblefor for
               the examination of firearms,ofammunition
                    the examination            firearms,andammunition
                                                            ammunition components; the microscopic
                                                                         and ammunition       components; the microscopic
examination
examination of questioned bullets,bullets,
               of questioned       cartridgecartridge
                                             cases and toolmarks;
                                                        cases andthetoolmarks;
                                                                      restoration ofthe
                                                                                      obliterated serial numbers;
                                                                                         restoration     of obliterated serial numbers;
distancedeterminations
distance  determinations
                       (both (both
                             gunshotgunshot     residue
                                       residue and       and
                                                   shotgun   shotgun
                                                           pattern       pattern
                                                                   analysis); fracture or physical
                                                                                   analysis);       matches;
                                                                                                fracture   or and the matches; and the
                                                                                                              physical
examination
examination of of security
               security     devices.
                        devices.

 Responsibleforfor
Responsible       thethe   preparation
                       preparation        of written
                                   of written             reports findings,
                                               reports regarding   regardingthefindings,
                                                                                presentation
                                                                                           theofpresentation
                                                                                                 findings in judicial  or non- in judicial or non-
                                                                                                                  of findings
judicial  proceedings       and  gunshot    wound      analysis;   provides
judicial proceedings and gunshot wound analysis; provides training andtraininglectures toand
                                                                                           officers and detectives;
                                                                                               lectures   to officersCreates
                                                                                                                        and detectives; Creates
andimplements
and   implements       policy
                  policy       regarding
                          regarding  forensicforensic
                                               firearm examinations    and procedures;
                                                         firearm examinations      andevaluates    firearmevaluates
                                                                                          procedures;       security-related
                                                                                                                        firearm security-related
policies
policiesandandprocedures;   completes
                  procedures;          crime scene
                                  completes           investigations,
                                                   crime              shooting reconstruction,
                                                            scene investigations,     shootingdiagramming       of crimediagramming of crime
                                                                                                    reconstruction,
scenes
scenesrelated   to firearm
          related           evidenceevidence
                     to firearm       and trajectory
                                                  and analysis;  provided
                                                        trajectory        forensic
                                                                     analysis;     firearm-related
                                                                                 provided            European
                                                                                              forensic          Theater
                                                                                                         firearm-related      European Theater
coverage and assisted in crime scene reconstruction on incidents which
coverage     and    assisted   in crime   scene      reconstruction           occurred inwhich
                                                                        on incidents       Desertoccurred
                                                                                                    Storm, Somalia   and Storm, Somalia and
                                                                                                               in Desert
Yugoslavia.
Yugoslavia.

 SpecialAgent,
 Special Agent,United
                 United   States
                       States ArmyArmy   Criminal
                                    Criminal        Investigation
                                               Investigation       Command
                                                             Command    (CID) (CID)
 3rd Region
     RegionFtFtPolk
                PolkField
                      Field Office,  Leesville,  La &  6th Region,  Ft Bliss Field Office,
                          Office, Leesville, La & 6th Region, Ft Bliss Field Office, El Paso,ElTX
                                                                                                Paso, TX                                1989
                                                                                                                               1983toto1989
                                                                                                                               1983

SpecialAgent/Team
Special Agent/Team ChiefChief  investigating
                          investigating and supervising  Special Agents
                                                and supervising          in theAgents
                                                                    Special     investigation of felony
                                                                                         in the         crimes, e.g.
                                                                                                 investigation    of felony crimes, e.g.
homicides,firearm-related
homicides,                incidents,
             firearm-related         sex crimes,
                                incidents,   sex drug-related offenses and economic
                                                  crimes, drug-related      offenses crimes   in the United
                                                                                        and economic        States in the United States
                                                                                                          crimes
Army;
Army; processed, photographed,
        processed,              collectedcollected
                      photographed,       evidence, diagrammed,
                                                      evidence, reconstructed
                                                                   diagrammed,    and reconstructed
                                                                                      analyzed crime scenes;
                                                                                                        and analyzed crime scenes;
collected
collectedandand
             preserved physical physical
                  preserved     and testimonial
                                           and evidence; supervised
                                                testimonial         and trained
                                                               evidence;        probationaryand
                                                                             supervised       Criminal
                                                                                                 trained probationary Criminal
Investigators/Special
Investigators/Special    Agents;
                      Agents;      provided
                              provided writtenwritten   reports
                                               reports and        andintestified
                                                           testified    C Court proceedings;   managed informants
                                                                                  in C Court proceedings;            and informants and
                                                                                                               managed
conductedthreat
conducted    threat   assessments
                 assessments         of key
                              of key and    and suspected
                                         suspected             targetsand
                                                   targets (personnel    (personnel
                                                                            key area targets);
                                                                                       and key    area targets);
                                                                                               assigned to Protective
                                                                                                                   assigned to Protective
Servicesofofdignitaries.
Services      dignitaries.
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 Military Police
 Military         Investigator
           PoliceInvestigator   (MPI),
                              (MPI), 2nd2nd
                                         Region, Frankfurt
                                            Region,        Germany
                                                     Frankfurt Germany                                                1980 toto1983
                                                                                                                      1980      1983

MilitaryPolice
Military   PoliceInvestigator
                   Investigator   responsible
                              responsible  for thefor the investigation
                                                   investigation of misdemeanor crimes, e.g. crimes,
                                                                         of misdemeanor      burglary,e.g.
                                                                                                       theft,burglary,
                                                                                                              vandalism,
                                                                                                                       theft, vandalism,
minor    drug-related    offenses,
minor drug-related offenses, etc.;etc.;
                                     interviewed          witnesses,
                                                   witnesses, completed
                                          interviewed                    suspect interrogations;
                                                                       completed                 crime scene processing,
                                                                                   suspect interrogations;     crime scene processing,
diagramming;and
diagramming;       and  other
                     other     duties
                           duties      as assigned.
                                  as assigned.

 Military  Police(MP),
 Military Police  (MP),230th MPMP
                         230th Company, Rhine
                                  Company,    Ordinance
                                            Rhine       Barracks,
                                                  Ordinance       Kaiserslautern,
                                                             Barracks,   Kaiserslautern,
 Germany
 Germany                                                                                                              1978 toto1980
                                                                                                                      1978      1980

Military Police
Military        Officer
           Police       responsible
                    Officer         for patrol
                             responsible     forof patrol
                                                   Kaiserslautern, Germany; detained
                                                          of Kaiserslautern,          and apprehended
                                                                                Germany;                suspects;
                                                                                             detained and    apprehended suspects;
interviewed
interviewedwitnesses;    conducted
                witnesses;          traffic and
                              conducted          crowd
                                            traffic  andcontrol;
                                                          crowdcompleted
                                                                   control;accident investigation;
                                                                            completed     accidentprovided convoy provided convoy
                                                                                                    investigation;
escort;trained
escort;  trained   in combat
                in combat      MP duties
                           MP duties         andexercises.
                                      and field    field exercises.

 Military Police
 Military         (MP),
           Police(MP),   164th
                       164th Military Police
                                Military     Company,
                                          Police      Miesau,
                                                 Company,     Germany
                                                           Miesau, Germany                                            1977
                                                                                                                      1977toto1978
                                                                                                                               1978


Military
MilitaryPolice
          Police Officer responsible
                   Officer           for security
                              responsible         and convoy
                                           for security  and transport
                                                              convoy of    nuclear devices;
                                                                       transport            monitored
                                                                                    of nuclear        operations
                                                                                               devices;          and operations and
                                                                                                         monitored
security
securityofofmilitary/civilian
             military/civilian    personnel
                              personnel        servicing
                                        servicing and working                nuclear devices.
                                                               on nuclearondevices.
                                                         and working
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TECHNICAL/SPECIALIZED TRAINING
TECHNICAL/SPECIALIZED   TRAINING


   •   Forensic
       ForensicShooting
                  ShootingIncident
                               Incident     Reconstruction
                                       Reconstruction      Course,Course,    Forensic
                                                                      Forensic  ScienceScience       Consultants,
                                                                                           Consultants,    San DiegoSan County
                                                                                                                           DiegoSheriff's
                                                                                                                                   County Sheriff’s
       Office,San
       Office,  SanDiego,
                     Diego,CA  CA
   •   US  Army Criminal
       US Army     CriminalInvestigation
                                InvestigationLaboratory     FirearmFirearm
                                                    Laboratory        & Tool-mark    (Firearm, Microscopic
                                                                               & Tool-mark                      Comparisons,Comparisons,
                                                                                                  (Firearm, Microscopic         Tool-         Tool-
       Mark
       MarkExaminer,
               Examiner,Wound
                            Wound   Ballistics,
                                       Ballistics,    Shooting
                                                 Shooting          Reconstruction,
                                                             Reconstruction,    ClothingClothing
                                                                                          Analysis)Analysis)
                                                                                                      Training Course,
                                                                                                                  Training2 years
                                                                                                                             Course, 2 years
   •   Wound
       WoundBallistic    Training
                 Ballistic Training Course,
                                        Course,Letterman     Army Army
                                                     Letterman     MedicalMedical
                                                                              Center, Presidio
                                                                                       Center, of    San Francisco,
                                                                                                   Presidio            CA
                                                                                                             of San Francisco,     CA
   •   Wound
       WoundBallistic    Training
                 Ballistic          Course
                             Training         of Study
                                         Course           at the US
                                                     of Study         Armed
                                                                  at the   USForces
                                                                                ArmedInstitute
                                                                                          Forcesof Institute
                                                                                                     Pathology,ofWashington,
                                                                                                                     Pathology,DC Washington, DC
       Wound
       WoundBallistic    Study
                 Ballistic  Studyat Medical
                                     at MedicalExaminer's     Office,Office,
                                                      Examiner’s      Boston,Boston,
                                                                                MA        MA
   •   Advanced
       AdvancedTraining
                     Trainingin Comparative
                                  in Comparative  Analysis   and Ricochet
                                                          Analysis     and Analysis,
                                                                             RicochetSouthwestern         Institute of Forensics
                                                                                          Analysis, Southwestern            Institute of Forensics
       Services, Dallas,
       Services,   Dallas,TxTx
   •   US  Army Criminal
       US Army     Criminal Investigation
                                InvestigationAcademy,      Ft. McClellan,
                                                    Academy,                Alabama,
                                                                  Ft. McClellan,        Sixteen (16)
                                                                                      Alabama,         weeks(16)
                                                                                                    Sixteen     training as atraining
                                                                                                                     weeks    Special as a Special
       AgentininArmy
       Agent      ArmyCID.CID.
   •   US Army
       US  Army Military
                  Military Police
                              PoliceAcademy,
                                       Academy,   Vilseck  Germany.
                                                      Vilseck   Germany.Eight (8)  weeks
                                                                               Eight       trainingtraining
                                                                                      (8) weeks      as a Military
                                                                                                               as aPolice  Investigator.
                                                                                                                     Military  Police Investigator.
   •   Street   SurvivalTraining,
       StreetSurvival     Training,    Dallas,
                                    Dallas,  TX TX
   •   Glock Police
       Glock   PoliceArmorers
                       Armorers      Course
                                  Course         (Pistol),
                                            (Pistol),       Smyrna,
                                                       Smyrna,   GA GA
   •   Smith
       Smith &&Wesson
                  Wesson  Armorer's    Course
                               Armorer’s          (Pistol/Revolver),
                                              Course                    Smith andSmith
                                                          (Pistol/Revolver),        Wesson  andFactory,
                                                                                                   WessonSpringfield,
                                                                                                              Factory,MASpringfield,
                                                                                                                            Sturm,        MA Sturm,
       Ruger
       Ruger && Co.   Armorers
                  Co. Armorers       Course
                                  Course        (Pistol,
                                            (Pistol,       Revolver,
                                                      Revolver,   Rifle Rifle and Shotgun)
                                                                        and Shotgun)              Ruger Factory,
                                                                                         Ruger Factory,     Newport,Newport,      NH Sig
                                                                                                                       NH Sig Sauer   Inc,Sauer Inc,
       Armors
       ArmorsCourse,
                 Course,Ilion,   NYNY
                            Ilion,
   •   Beretta
       BerettaandandM-16
                       M-16Armors
                               Armors Training
                                          TrainingCourse,   Aberdeen
                                                       Course,          Providing
                                                                  Aberdeen          Grounds,Grounds,
                                                                                Providing        Aberdeen,Aberdeen,
                                                                                                             MD           MD
   •   OpposingForces
       Opposing     ForcesWeapons
                             Weapons        Center,
                                        Center,         (WARSAW
                                                   (WARSAW       PACTPACT     WEAPONS),
                                                                         WEAPONS),              ie. AK47,
                                                                                         ie. AK47,   AKM, AKM,
                                                                                                            AKMS,AKMS,
                                                                                                                     FPK, RPKFPK,and
                                                                                                                                   RPK   and DUSKA
                                                                                                                                      DUSKA
       MachineGun.
       Machine     Gun.
   •   Remington
       Remington ArmsArmsInc, Inc,  Armorer’s
                                 Armorer's   Course,Course,    Remington
                                                         Remington    Factory,Factory,
                                                                                Ilion, NYIlion, NY
   •   CharterArms
       Charter   ArmsInc.Inc.Factory
                               Factory  Tour
                                     Tour  andand   Manufacturing
                                               Manufacturing            Techniques,
                                                                 Techniques,    Shelton, Shelton,
                                                                                           ConnecticutConnecticut
   •   Dan Wesson,
             Wesson,Factory
                         Factory Tour andand
                                   Tour    Manufacturing
                                               Manufacturing Techniques,   Monson,Monson,
                                                                   Techniques,         Massachusetts     H&K Armorers
                                                                                                  Massachusetts      H&KCourse,
                                                                                                                            Armorers Course,
       San Antonio,
       San  Antonio,TX  TX
   •   Winchester
       WinchesterArms  ArmsCompany,
                               Company,Manufacturing    Techniques
                                            Manufacturing             and Factory
                                                                Techniques       and Tour,   NewTour,
                                                                                        Factory   Haven,NewCT Marlin  Firearms
                                                                                                                 Haven,  CT Marlin Firearms
       Company,
       Company,Manufacturing
                      Manufacturing  Techniques  and Factory
                                           Techniques       andtour,  North Haven,
                                                                   Factory     tour, CT     Savage
                                                                                         North      Arms Company,
                                                                                                  Haven,     CT Savage Arms Company,
       Manufacturing and
       Manufacturing       andFactory Training
                                Factory        Tour,Tour,
                                          Training     West West
                                                              Springfield, MA ColtMA
                                                                    Springfield,      firearms  Manufacturing
                                                                                          Colt firearms          Plant, Hartford,
                                                                                                           Manufacturing      Plant, Hartford,
       CT
       CT
   •   Colt
       Colt firearms
             firearmsManufacturing
                         Manufacturing PlantPlant
                                             (Factory   2), West
                                                   (Factory    2),Hartford,  CT
                                                                   West Hartford,        CT
   •   TECHNICAL/SPECIALIZED TRAINING (Continued)    (Continued)
   •   Winchester
       WinchesterAmmunition
                      Ammunition   Manufacturing   Plant Training
                                       Manufacturing                Tour, Olin,
                                                            Plant Training       IL Remington
                                                                              Tour,               AmmunitionAmmunition
                                                                                       Olin, IL Remington       ManufacturingManufacturing
       Plant   Training  Tour,   Lonoke,
       Plant Training Tour, Lonoke, AR      AR
   •   Surreptitious
       Surreptitious  Entry/Technical
                         Entry/TechnicalSurveillance   Course,
                                             Surveillance       Atlanta,Atlanta,
                                                              Course,     GA Foley-Belsaw       Basic and Basic
                                                                                     GA Foley-Belsaw       Advancedand Locksmith
                                                                                                                        Advanced Locksmith
       Course, Atlanta,
       Course,   Atlanta,GAGA
   •   Medeco
       MedecoHigh HighSecurity
                         SecurityLocksmith
                                    LocksmithCourse,   Medeco
                                                 Course,        Factory,
                                                             Medeco        Salem, Salem,
                                                                       Factory,     VA       VA
   •   Serial Number
               NumberRestoration
                          Restoration    Course,
                                      Course,      California
                                               California        Criminalistics
                                                           Criminalistics  InstituteInstitute  (CCI),Ana,
                                                                                     (CCI), Santa      Santa
                                                                                                          CA Ana,    CA Firearms
                                                                                                               Firearms  Collection,Collection,
       Smithsonian Institute,
       Smithsonian              Washington,
                        Institute,            DC DC
                                    Washington,
   •   Firearms
       FirearmsCollection,
                    Collection,National Rifle Association,
                                    National                 Washington,Washington,
                                                Rifle Association,          DC Radford Army    DCAmmunition
                                                                                                    Radford PlantArmy Ammunition Plant
       (propellant),
       (propellant), Radford,
                        Radford,VA VA
   •   Thompson
       ThompsonCenter CenterArms,  Manufacturing
                                 Arms,              Tour and Tour
                                          Manufacturing        Plant, Rochester,
                                                                       and Plant,NHRochester,
                                                                                          Beretta USA NHInc., Firearms
                                                                                                              Beretta USA Inc., Firearms
       Manufacturing
       Manufacturing    Plant, Accokeek,
                           Plant,  Accokeek,MD MD
   •   West    PointFirearms
       West Point     Firearms Collection, WestWest
                                  Collection,    PointPoint
                                                         Museum,   States Military
                                                               Museum,      States Academy,      West Point,West
                                                                                      Military Academy,         NY Point, NY
   •   AmericanLock
       American      LockCompany,
                            Company, Manufacturing    Tour andTour
                                          Manufacturing         Plant,and
                                                                        Crete,  IL Stanley
                                                                             Plant,   Crete,Tools,  Manufacturing
                                                                                               IL Stanley     Tools, Plant,
                                                                                                                      Manufacturing Plant,
       Cheraw,SC
       Cheraw,    SC
   •   Cooper    Tools,Manufacturing
       CooperTools,       Manufacturing      Plant,
                                        Plant, Sumter,   SC SC
                                                     Sumter,
   •   Wilson
       WilsonArmsArmsCompany,
                        Company,  Manufacturing   Plant,Plant,
                                      Manufacturing        Bradford, CT
                                                                  Bradford,    CT


                                                                                                           Expertta Expertinfo.com
                                                                                                           ExpertExpertinfo.com
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     •   H.K. Porter
              PorterTool Manufacturing
                      Tool              Plant, Plant,
                            Manufacturing      Statesboro, GA Schrade
                                                       Statesboro,  GA Knife Manufacturing
                                                                         Schrade            Plant, Ellenville,Plant,
                                                                                  Knife Manufacturing          NY Ellenville, NY
         Camilius  KnifeManufacturing
         CamiliusKnife   ManufacturingPlant, Camilius,
                                          Plant,       NY Utica
                                                  Camilius,  NY Knife
                                                                UticaManufacturing  Plant, Utica,
                                                                       Knife Manufacturing        NY Utica, NY
                                                                                               Plant,
     •   Marksmanand
         Marksman    andBeeman
                          BeemanBB BB
                                    & Air
                                       & Rifle  Manufacturing
                                          Air Rifle           Plant, Huntington
                                                    Manufacturing               Beach, CABeach, CA
                                                                      Plant, Huntington

     •   Drug Enforcement
                Enforcement Cover/Surveillance   Course,Course,
                                 Cover/Surveillance       Drug Enforcement     AdministrationAdministration
                                                                    Drug Enforcement          (DEA), Anniston, AL
                                                                                                                (DEA), Anniston, AL
         Protective
         Protectiveservices
                     servicesCourse,  Military
                                Course,        PolicePolice
                                           Military   School,School,
                                                              Department   of the Army,
                                                                      Department      of Fort
                                                                                         the McClellan,
                                                                                              Army, Fort  ALMcClellan,
                                                                                                            Advanced AL Advanced
                Investigations
         Fraud Investigations Course  (White
                                 Course        Collar/Economic
                                           (White                Crimes),Crimes),
                                                    Collar/Economic       Ft. Mc Clellan,
                                                                                   Ft. McALClellan,
                                                                                              Philippines National Police
                                                                                                      AL Philippines   National Police
         Crime Laboratory
         Crime  Laboratory International Tour,Tour,
                              International     Manila, Philippines
                                                      Manila,  Philippines



MEMBERSHIPS
MEMBERSHIPS

     •   DistinguishedMember,
         Distinguished Member,   Association
                              Association       of Firearm
                                          of Firearm  and Toolmark Examiners
                                                           and Toolmark      (AFTE) (AFTE)
                                                                          Examiners

PROFESSIONAL TRAINING COURSES/SEMINARS
                      COURSES/SEMINARS

i                                                                                                                                  --,
AnnualTraining
Annual TrainingConference,
                Conference,  Association
                           Association     of Firearm
                                       of Firearm and Too!mark Examiners,
                                                       and Toolmark       Omaha,Omaha,
                                                                    Examiners,  NB     NB                                      1990,
                                                                                                                               19901
Annual
Annual Training
        TrainingConferences,
                 Conferences,Association of Firearm
                               Association          and Toolmark
                                             of Firearm          Examiners;
                                                         and Toolmark       Houston,Houston,
                                                                      Examiners;     TX      TX                                1991,
                                                                                                                               19911   I




       Training Conference,
Annual Training Conference, Association
                             Associationof Firearm and Toolmark
                                           of Firearm           Examiners,
                                                       and Toolmark        Miami,Miami,
                                                                    Examiners,   FL     FL                                     1992::
                                                                                                                               1992i
                                                                                                                        —          -4
r
;Training
Iraining Conference,
          Conference,International Association
                       International           of Forensic
                                      Association          Sciences,
                                                   of Forensic       Dusseldorf,
                                                                Sciences,        Germany
                                                                           Dusseldorf, Germany                                 199
                                                                                                                               199331
r                                                                                                                                — 1
Annua
Annuall Training ConferenceAssociation
        Training Conference,           of Firearm
                             Association          and and
                                          of Firearm  Too!mark Examiners,
                                                          Toolmark        Indianapolis,
                                                                   Examiners            IN
                                                                                Indianapolis IN                                1995
                                                                                                                               19951
I-                                                                                                                                     i

AnnualTraining
Annual          Conference,
       TrainingConference, Association of Firearm
                             Association          and Toolmark
                                           of Firearm          Examiners,
                                                       and Toolmark       Annapolis,
                                                                    Examiners,       Ma
                                                                                Annapolis, Ma                                  1997
                                                                                                                                 97 I
                                                                                                                               19i
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Annual Training
Annual  TrainingConference,
                 Conference,Association of Firearm
                              Association          and Toolmark
                                            of Firearm          Examiners,
                                                        and Toolmark       St. Louis,
                                                                     Examiners,   St. MO
                                                                                      Louis, MO                                2000:
                                                                                                                               2000i
Annual Training
Annual TrainingConference,
                Conference,Association of Firearm
                             Association          and Toolmark
                                           of Firearm          Examiners,
                                                      and Toolmark        San Antonio,
                                                                    Examiners,         TX
                                                                                San Antonio, TX                                200Z
                                                                                                                               20021
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Annual
Annual Training
        TrainingConference,
                 Conference Association of Firearm
                              Association          and Toolmark
                                            of Firearm          Examiners,
                                                        and Toolmark       San Francisco,
                                                                     Examiners            CA
                                                                                  San Francisco CA                             2007
                                                                                                                               2007
;                                                                                                                      --1--
Annual
AnnualTraining
       TrainingConference, AFTE
                 Conference,    Henderson,
                              AFTE Henderson, NV
                                              NV                                                                               2010
                                                                                                                               2010
i


AnnualTraining
Annual TrainingConference,
                Conference,Association of Firearm
                             Association          and Toolmark
                                           of Firearm          Examiners,
                                                       and Toolmark       Chicago,
                                                                    Examiners,     IL
                                                                                Chicago, IL                                    2011
                                                                                                                               2011  1

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Annual
Annual Training
        TrainingConference
                 ConferenceAssociation of Firearm
                             Association          and Toolmark
                                           of Firearm          Examiners
                                                       and Toolmark      Seattle,Seattle,
                                                                    Examiners    WA       WA                                   2013
                                                                                                                               2013i
!


AnnualTraining
Annual          Conference
       TrainingConference   Association
                          Association     of Firearm
                                      of Firearm      and Toolmark
                                                 and Toolmark Examiners, San Diego,
                                                                   Examiners,   San CA
                                                                                    Diego, CA                                  2014:
                                                                                                                               2014!
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Annual
Annual Training  Conference
        TrainingConference   Association
                           Association of Firearm and Toolmark
                                           of Firearm          Examiners,
                                                       and Toolmark       Dallas, Dallas,
                                                                    Examiners,    TX      TX                                   2016
                                                                                                                               2016
Annual
A       TrainingConference
  nnual Training Conference  Association
                           Association of Firearm and Toolmark
                                           of Firearm          Examiners, New Orleans,
                                                      and Toolmark_Examiners,          LA
                                                                               New Orleans,_LA                          I      2016
                                                                                                                               2016    ,
                                                                                                                                       I



HomicideInvestigators
Homicide              Conference,
          Investigators           New Orleans,
                         Conference,           LA
                                       New Orleans, LA                 ,
                                                                                                                               2016
                                                                                                                               20161
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Annual
Annual Training
i
        TrainingConference,
                 Conference,Association of Firearm
                              Association          and and Toolmark
                                            of Firearm     ToolmarkExaminers,
                                                                    Examiners,Denver, CO CO
                                                                                Denver,                                        2017
                                                                                                                               20171
!
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Annual
Annual Training Conference,
       TrainingConference, Association of Firearm
                             Association          and Toolmark
                                           of Firearm          Examiners,
                                                      and Toolmark  Examiners, Charleston,
                                                                               Charleston, Virgina                             2018
                                                                                                                               2018    1




       Training Conference,
Annual Training
Annual          Conference, Association of Firearm
                              Association          and Toolmark
                                            of Firearm          Examiners,
                                                        and Toolmark   Examiners, Chicago,
                                                                                  Chicago, IL
                                                                                            IL                                 2019
                                                                                                                               2019!
NE Regional Training
NE Regional TrainingConference,
                     Conference,  AFTE,FBI
                                AFTE,    FBIAcademy
                                             AcademyQuantico,    Virgina
                                                              Virgina
                                                      Quantico,                                                         1
                                                                                                                               2019
                                                                                                                               20191
         Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 141 of 204




FORENSIC SCIENCE
FORENSIC  SCIENCEPRESENTATIONS
                  PRESENTATIONS


   •     The Advance
        ‘The AdvanceCombat
                       Combat  Rifles" (Combat
                                   Rifles” (Combatrifles tested
                                                          rifles by the United
                                                                 tested   by theStates ArmyStates
                                                                                   United    for theArmy
                                                                                                     future),for
                                                                                                              presented
                                                                                                                 the future), presented
       beforemembers
       before   members of the
                            of 22nd  AnnualAnnual
                               the 22nd       MeetingMeeting
                                                         for the Association  of Firearm andofTool
                                                                    for the Association             Mark Examiners,
                                                                                                 Firearm    and Tool Mark Examiners,
                Houston,Texas,
       (AFTE), Houston,    Texas,1991.
                                    1991
   •   TrackingFirearm
       Tracking  FirearmRelated
                           Related   Incidents,
                                  Incidents, (AFTE (AFTE     Training
                                                       Training        Seminar)
                                                                 Seminar)  Dallas,Dallas,
                                                                                    TX     TX
   •   Tracking  FirearmRelated
       Tracking Firearm    Related   Incidents,
                                  Incidents,        Interpol
                                             Interpol          Forensic
                                                        Forensic   FirearmFirearm
                                                                           Seminar,Seminar,     Pretoria,
                                                                                      Pretoria, South      South Africa
                                                                                                       Africa
   •       TopographicalExaminations
       3D Topographical     Examinations     using
                                         using        the IBIS
                                                the IBIS         Bulletrax
                                                            Bulletrax      System,
                                                                      System,        Interpol
                                                                               Interpol ForensicForensic
                                                                                                  Firearm Firearm
                                                                                                           Seminar, Seminar,
                                                                                                                     Montreal, Montreal,
       Canada
   •   3D Topographical
           TopographicalExaminations
                            Examinations     Using
                                         Using   IBIS IBIS   Bulletrax
                                                       Bulletrax        System,
                                                                  System,  Cancun, Cancun,
                                                                                     Mexico Mexico

AGENCY ASSISTS
AGENCY ASSISTS
   •   Federal   BureauofofInvestigations
       Federal Bureau        Investigations  (FBI)(FBI)
   •   AlcoholTobacco
       Alcohol   Tobacco& &    Firearms
                            Firearms   (ATF)(ATF)
   •   HawthornePolice
       Hawthorne      Police Department
                           Department     (H PD)(HPD)
   •   AnaheimPolice
       Anaheim     PoliceDepartment
                           Department (APD) (APD)
   •   InglewoodPolice
       Inglewood    Police   Department
                          Department     (IPD)(IPD)
   •   Simi Valley
             ValleyPolice
                     PoliceDepartment
                             Department        (SVPD)
                                          (SVPD)
   •   Oxnard    PoliceDepartment
       Oxnard Police     Department (OPD) (OPD)
   •   TustinPolice
       Tustin  PoliceDepartment
                       Department  (TPD)(TPD)
   •   FullertonPolice
       Fullerton   PoliceDepartment
                           Department (FPD)  (FPD)
   •   El Cajon Police
       El         PoliceDepartment
                          Department       (ECPD)
                                      (ECPD)
   •   Canadian    Military
       Canadian Military     (Quebec
                          (Quebec         Canada)
                                     Canada)

FORENSIC
FORENSICSCIENCE
         SCIENCEPUBLICATIONS
                 PUBLICATIONS


   •   Rocky L. Edwards,"Circumferential
             L. Edwards,  “Circumferential     Fractures”,
                                          Fractures",  AFTEAFTE
                                                             JournalJournal
                                                                        1991 1991
   •   Rocky L. Edwards&&Michael
             L. Edwards    Michael    I. Kelley,
                                  I. Kelley,     “Straight-Line
                                             "Straight-Line        Knives”,
                                                            Knives"',         AFTE Journal
                                                                        AFTE Journal 1992 1992
   •   Rocky L.
             L. Edwards
                Edwards&&Michael
                           Michael    I. Kelley,
                                  I. Kelley, "FPK“FPK
                                                   Sniper  Rifle:Rifle:
                                                        Sniper    AFTEAFTE    Journal
                                                                         Journal 1993 1993
   •   Rocky L.
             L. Edwards
                Edwards&&James
                           JamesMoss,
                                    Moss,   “MFS
                                         "MFS      Ammunition”.,
                                               Ammunition'.,           AFTE Journal
                                                               AFTE Journal    1993 1993
   •   Rocky L. Edwards"Fighting
             L. Edwards  “Fighting
                                 GangGang   Violence
                                         Violence      through
                                                  through  NIBIN"NIBIN”    Forensic
                                                                    Forensic         Technology
                                                                             Technology          Inc. Website
                                                                                         Inc. Website

GUEST SPEAKER
GUEST SPEAKER APPEARENCES
               APPEARENCES


   •   AssociationofofFirearm
       Association       Firearmandand  Toolmark
                                    Toolmark        Examiners
                                              Examiners     (AFTE)(AFTE)    Training
                                                                     Training        Seminar,
                                                                              Seminar,          San Francisco,
                                                                                        San Francisco,   2006      2006
   •   13 Critical
           CriticalTasks
                    TasksWorkshop
                           Workshop     presented    to   District  Attorney’s,  ATF  and  Law  Enforcement,
                                     presented to District Attorney's, ATF and Law Enforcement, Indiana 2008      Indiana 2008
   •   International    Forensic
       International Forensic     Science
                               Science     Symposium,
                                        Symposium,    SouthSouth
                                                              Africa Africa
                                                                      2006 2006
   •   International
       International    Forensic
                     Forensic     Science
                               Science     Symposium,
                                        Symposium,    Mexico Mexico
                                                               2008 2008
   •   EuropeanNetwork
       European     Network    of Forensic
                            of Forensic     Science
                                        Science        Institutes
                                                 Institutes         (ENFSI),
                                                             (ENFSI),   CyprusCyprus
                                                                               2010 2010
   •   International
       International    Forensic
                     Forensic     Firearms
                               Firearms      Symposium,
                                         Symposium,           Interpol,
                                                        Interpol,                France 2011
                                                                          Lyon, 2011
                                                                  Lyon, France
   •   Association ofofFirearms
       Association       Firearms   & Toolmark
                                 & Toolmark        Examiners
                                             Examiners     (AFTE) (AFTE)  Training
                                                                    Training        Seminar,
                                                                             Seminar,          “3D Analysis
                                                                                       "3D Analysis            of Fired Bullets
                                                                                                     of Fired Bullets
       ThroughObliterated
       Through     Obliterated   Barrels,”
                             Barrels,"     Chicago,
                                       Chicago,        ILL, 2011
                                                ILL, 2011
   •   InternationalForensic
       International    Forensic  Science
                               Science     Symposium,
                                        Symposium,           Montreal
                                                      Montreal    Canada,   2013 2013
                                                                         Canada,
   •   AssociationofofFirearm
       Association       Firearm   & Toolmark
                                & Toolmark       Examiners
                                            Examiners     (AFTE)(AFTE)   Training
                                                                   Training SeminarSeminar    Dallas,
                                                                                     Dallas, TX 2014 TX 2014áÐ
         Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 142 of 204




CERTI FICATIONS
CERTIFICATIONS


   • Certified by the
       Certified    byUnited  States States
                       the United    Department of the Army
                                            Department    of to
                                                             theConduct
                                                                 Army toForensic Examinations
                                                                           Conduct            for Department for Department
                                                                                    Forensic Examinations
       of Defense
       of                   Firearm
            Defenseasasa aFirearm     & Toolmark
                                   & Toolmark      Examiner.
                                              Examiner.
            Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 143 of 204



TESTIMONY
TESTIMONY

      Present: Trial and
2014 —Present:
      —              and Deposition
                         DepositionTestimony
                                    Testimony  (Note:
                                             (Note: Testimony from
                                                      Testimony    1990
                                                                 from   to 2013
                                                                      1990      not listed)
                                                                            to 2013   not listed)

                Case Name
                Case Name                           Case Number
                                                    Case Number                                     Testimony
                                                                                            Type of Testimony

           Foshay
 People v. Foshay                        CR-20124578                           Deposition
                                                                               DepositionJury Trial
                                                                                          JuryTrial
 United States
 United            Perez
        Statesv.v.Perez                  Unk                                   Jury Trial
 People v. Andrade
           Andrade                       106812                                Jury Trial
 People v. Miller
           Milleretetal.al.              105785                                Jury Trial
 Peoplev.  Quiruz
 People v. Quiruz                        103586                                Jury Trial
           Ruiz
 People v. Ruiz                          108254                                Jury Trial
 People v. McDonald
           McDonaldetetal.al.            117008                                Jury Trial
 People v. McKenzie
           McKenzie                      115377                                     Trial
                                                                               Jury Trial
 People v. Corrales      al.
           Corrales etetal.              116547                                Jury Trial
           Edwards etetal.
 People v. Edwards      al.              119923                                Jury Trial
 People v. Richardson
           Richardson                    120882                                Jury Trial
 People v. Torn
           Torn et
                 etal.
                    al.                  121959                                Jury Trial
           Farley
 People v. Farley                        121923                               Jury Trial
 People v. Queen
           Queen                         122965                                Jury Trial
 People v. Gomez
           Gomez                         10CF3362
                                         10CF3362                             Jury Trial
 People v. Brambila
           Brambila                      10VF3025                             Jury Trial
           Castro
 People v. Castro                       09CF1139                              Jury Trial
 People v. Tlamasico
           Tlamasico                    10CF1258                              Jury Trial
 People v. Rodriquez
           Rodriquez                    12CF0355
                                        12CF0355                               Preliminary
                                                                               PreliminaryHearing
                                                                                           Hearing
 People v. Romero
           Romero                       10CF2439
                                        10CF2439                              Jury Trial
 People v. Carter
           Carter                       12CF0863
                                        12CF0863                                   Trial
                                                                              Jury Trial
 People v. Gomez
           Gomez                        12CF1430                                   Trial
                                                                              Jury Trial
 Peoplev.
 People    Figueroa
        v. Figueroa                     10CF0530
                                        10CF0530                              Jury Trial
 People v. Mendoza
           Mendoza                      11CF3286
                                        11CF3286                               Preliminary
                                                                               PreliminaryHearing
                                                                                           Hearing
 People v. Uriate
           Uriateetetal.al.             11CF0192
                                        11CF0192                              Jury Trial
           Carranza
 People v. Carranza                     11CF2429
                                        11CF2429                              Jury Trial
           Flores
 People v. Flores                       11CF2519
                                        11CF2519                              Preliminary
                                                                              PreliminaryHearing
                                                                                          Hearing
Juvenile
Juvenile Matter
         Matter                         J149878
                                        1149878                               Jury Trial
           Gonzalez
 People v. Gonzalez                     09CF1140                              Jury Trial
 People v. Nhem
 Peoplev.  Nhem etetal.
                   al.                  1OCFO1O2
                                        10CF0102                              JuryTrial
                                                                              Jury Trial
 People v. Cabezas    al.
           Cabezas et al.               11CF0862
                                        11CF0862                              Jury Trial
 People v. Orozco etal.
           Orozco et al.                12NF3903                              Jury Trial
 People v. Estudilla      al.
           Estudilla etetal.            12NF3769                              Jury Trial
 People v. Velasquez
           Velasquez et
                     etal.
                        al.             13CF2197
                                        13CF2197                              Jury Trial
           Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 144 of 204



People
People v.v. Balanzar
             Balanzar                 13CF0451
                                      13CF0451                 Jury Trial
                                                                    Trial
People
People v.v. Marquez
             Marquez                  13CF2128
                                      13CF2128                 Preliminary
                                                               PreliminaryHearing
                                                                           Hearing
People
People v.v. Quirino
            Quirino                   14CF1858
                                      14CF1858                 Jury Trial
                                                               Jury Trial
People v.v.Lopez
People      Lopez                     10CF3188
                                      10CF3188                 Jury Trial
                                                               Jury Trial
People
People v.v. Merida
             Merida   al. al.
                   et et              10CF1982
                                      10CF1982                 Jury Trial
                                                               Jury Trial
People
People v.v. Cerda
             Cerda                    12CF3286
                                      12CF3286                 Jury Trial
                                                               Jury Trial
People
People v.v. Sanchez
             Sanchezetetal.al.        12HF1198
                                      12HF1198                 Jury Trial
                                                               Jury Trial
People v.v. Montes
People       Montes                   12CF2292
                                      12CF2292                 Jury Trial
                                                               Jury Trial
Peoplev.Alcala
People v. Alcala                      12CF3455
                                      12CF3455                 JuryTrial
                                                               Jury Trial
People v.v.Vega
People      Vega                      07CF2786
                                      07CF2786                 Jury Trial
                                                               Jury Trial
People v.v.Burciaga
People      Burciaga                  10CF2410
                                      10CF2410                 Jury Trial
                                                               Jury Trial
People v.v.Salinas
People      Salinas                   12CF3719
                                      12CF3719                 Jury Trial
                                                               Jury Trial
People v.v.Ayala
People      Ayala                     12CF0772
                                      12CF0772                 Jury Trial
                                                               Jury Trial
People v.v.Lopez
People      Lopez                     14CF2507
                                      14CF2507                 Jury Trial
                                                               Jury Trial
People
People v.v.Medina
            Medina                    13CF1715
                                      13CF1715                 Jury Trial
                                                               Jury Trial
People v.v.Dannelley
People      Dannelley                 14CF2336
                                      14CF2336                 Jury Trial
                                                               Jury Trial
People v.v.Wojtal
People     Wojtal                     14CF0232
                                      14CF0232                 Jury Trial
                                                               Jury Trial
People v.v.Daniels
People      Daniels                   14CF0866
                                      14CF0866                 Jury
                                                               Jury Trial
                                                                    Trial
People v.v.Tellez
People      Tellez                    13CF2980
                                      13CF2980                 Jury Trial
                                                               Jury Trial
People v.v.Quezada
People                al.al.
            Quezadaetet               14CF2240
                                      14CF2240                 Grand Jury
                                                               Grand  Jury
People v.v.Sanchez
People      Sanchez                   08CF1227
                                      08CF1227                 Jury Trial
                                                                    Trial
People v.v.McDonald
People      McDonald                  14CF2681
                                      14CF2681                 Grand Jury
                                                               Grand  JuryJury
                                                                           JuryTrial
                                                                                Trial
People
People v.v.Mendez
            Mendezet et
                     al. al.          15CF0568
                                      15CF0568                 Jury Trial
                                                                    Trial
People
People v.v. Sotelo
             Soteloetet
                      al.al.          12C1604
                                      12C1604                       Trial
                                                               Jury Trial
                                                               Jury
People
People v.v.Ochoa
            Ochoa                     13CF3311
                                      13CF3311                 Preliminary  Hearing
                                                               Preliminary Hearing
Escobedo
Escobedo v.v.City
              CityofofLos   Angeles
                        LosAngeles    CV15-04911-DSF(RAO)
                                      CV15-04911-DSF(RAO)      Designated,Settled
                                                               Designated, Settled
DeLeon v.v. City
DeLeon       CityofofLos
                       LosAngeles
                           Angeles    CV16-03721FM0
                                      CV16-03721FM0   (RAO)
                                                    (RAO)      Report
                                                               Reportwritten,
                                                                      written,Pending trial trial
                                                                                Pending
Sarasith v.v.City
Sarasith      CityofofLos
                        LosAngeles
                            Angeles   CV16-02548JAK
                                      CV16-02548 JAK(MRWx)
                                                     (MRWx)    Deposition,
                                                               Deposition,Settled
                                                                           Settled
Curry v.v. City
Curry       CityofofLos
                      LosAngeles
                          Angeles     CV16-04125DSF(PJW)
                                      CV16-04125DSF (PJW)      Deposition,
                                                               Deposition,Testified,
                                                                           Testified,Settled
                                                                                        Settled

Watkinsv.v.City
Watkins     Cityofof
                  LosLos Angeles
                      Angeles         CV17-00485  JFW(FFMx)
                                      CV17-00485 JFW  (FFMx)   Report,Testified,Defense
                                                               Report, Testified,Defense   Verdict
                                                                                        Verdict
Nicholsonv.v.City
Nicholson     Cityof of
                     LosLos Angeles
                         Angeles      CV15-07594DDP  (RAC)
                                      CV15-07594DDP (RAO)      Deposition,Summary
                                                               Deposition, Summary  Judgement
                                                                                  Judgement
JimmyTruong
Jimmy Truongv. v.State
                   State  of CA
                       of CA                  No: 16F01554
                                      DA Case No:  16F01554    Testified
                                                               Testified
Mendezv.v.City
Mendez     Cityofof Los
                  Los   Angeles
                      Angeles         CV18-1230
                                      CV18-1230                Federal
                                                               Federal Complaint
                                                                       Complaint withdrawn
                                                                                   withdrawn
        v. City
Sanchez v. CityofofLos
                    LosAngeles
                        Angeles                                Federal
                                                               Federal Complaint
                                                                        Complaintwithdrawn
                                                                                   withdrawn
                                      CV18-1230
                                      CV18-1230
Dominquezv.v.City
Dominguez     Cityof of
                     LosLos Angeles
                         Angeles                               Designated,
                                                               Designated,Deposition,
                                                                           Deposition,trial,trial,
                                                                                              Defense
                                                                                                   Defense
                                      CV17-04557DMG
                                      CV17-04557 DMG           Verdict
                                                               Verdict
M.A.C. v.v.City
M.A.C.      CityofofLos
                      LosAngeles
                          Angeles     CV16-04477DMG
                                      CV16-04477 DMG           Designated,
                                                               Designated,Deposition,
                                                                           Deposition,Defense
                                                                                          Defense
                                                               Verdict
                                                               Verdict
McCullumv.v.City
McCullum     Cityof of
                    LosLos Angeles
                        Angeles       CV14-03262DMG
                                      CV14-03262 DMG           Designated,Deposition
                                                               Designated, Deposition Completed
                                                                                         Completed
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Barronvs
Barron vsState
          Stateofof California
                  California               30-2017-OO911997CUCRCJC
                                           30-2017-00911997CUCRCJC
                                                                                  Designated, Deposed,Testified
                                                                                  Designated,_Deposed,Testified
Barragan  vsCity
Barragan vs  CityofofLos
                       LosAngeles
                           Angeles         2:l7cv-04364-R-AGR
                                           2:17cv-04364-R-AGR                     Report
                                                                                  ReportRendered,   Settled
                                                                                         Rendered,Settled
Risher Vs
       Vs City
          CityofofLos
                   LosAngeles
                       Angeles             CV17-00995
                                           CV17-00995                             Designated,Deposed
                                                                                  Designated, Deposed
Vaughn  vsCity
Vaughn vs  CityofofLos
                     LosAngeles
                         Angeles           F06745
                                           F067-15                                Report,
                                                                                  Report, Deposed-
                                                                                           Deposed-Testified
                                                                                                    Testified
Santibanez      Cityofof
Santibanez vsvsCity      Los
                       Los   Angeles
                           Angeles         CV17-04189
                                           CV17-04189ODW
                                                      ODW                         Report,Deposed
                                                                                  Report, Deposed
Villanueva
VillanuevavsvsState
                Stateof of
                        California
                            California     8:17-CV-01302-JLS-KES
                                           8:17-CV-01302-1LS-KES                  Report,Trial
                                                                                  Report, Trial— State
                                                                                                     — Prevailed
                                                                                                 StatePrevailed
Gonzalesvs
Gonzales   vsCity
              CityofofLos
                        LosAngeles
                             Angeles       CV17-06432RR(SSX)
                                           CV17-06432     (SSX)                   Report,Defense
                                                                                  Report, DefenseVerdict
                                                                                                    Verdict
SJCDA Jury
SJCDA   Jury Trial 06937DA#
             Trial 06937     DA#CR-201
                                  CR-201   Jury Testimony
                                           Jury Testimonyref:ref:
                                                               CR#CR# SP16-2
                                                                    SP16-2
7 - 35081
  - 35081                                  6227/26-06937
                                           6227/26-06937                          Report,
                                                                                  Report,Testimony,
                                                                                          Testimony,Guilty Verdict
                                                                                                      Guilty  Verdict

SJCDA       AaronMoore
      Trial Aaron
SJCDA Trial       Moore   Trial
                       Trial (17-(17-      Aaron Moore
                                           Aaron  MooreTrial (17-22579,
                                                         Trial          17- 17-
                                                                (17-22579,
                                                                                  Report,
                                                                                  Report, Two
                                                                                           Twoplaintiffs plead
                                                                                                plaintiffs      guilty,
                                                                                                             plead   guilty,
 22579,
 22579,17-23512,
        17-23512,  and
                 and    17-24492)
                     17-24492)             23512,
                                           23512,and
                                                  and17-24492)
                                                      17-24492)                   3rd Defendant
                                                                                      Defendant guilty  all counts
                                                                                                   guilty   all counts
DeAndrewJordan
DeAndrew   Jordanvsvs
                    State of of
                      State
California                                 17-47789
                                           17-47789                                     Guilty
                                                                                  Plead Guilty
California
                                           (Minnesota)
                                           (Minnesota)MPDMPDCAPRS
                                                              CAPRS8- 8-          Appeal— Defense
                                                                                  Appeal   —DefenseCaseCase- Case
                                                                                                              Case -




Jerrell
JerrellBrown
        Brown
                                           268508
                                           268508                                 Transfered
                                                                                  Transfered - Case
                                                                                                -      transfered
                                                                                                 Casetransfered
     et.al vs
MJLH et.al vs City
              CityofofPasadena
                       Pasadena                      2:18-03249
                                           Case No: 2:18-03249                    Report — Settled
                                                                                  Report  — Settled
Mora
MoravvCity
        Cityofof Garden
                    Garden Grove
                              Grove                  8:19-cv-00418-JLS-JDE
                                           Case No: 8:19-cv-00418-1LS-JDE         Settled
                                                                                  Settled
NelsonvvCity
Nelson   CityofofLos   LosAngeles
                           Angeles                   08-07-20581
                                           Case No: 08-07-20581                   Rule 26
                                                                                        26 Completed
                                                                                           Completed       Deposed
                                                                                                       - Deposed
                                                                                                               -




Ewnetu
Ewnetuet.
        et.al.al.v. v.County of Los
                        County   of Los
Angeles
Angeles                                    Case No: BC702015
                                                    BC702015                      Working-
                                                                                  Working-Report
                                                                                           Reportprepared
                                                                                                    prepared
                                                                                  Rule 26
                                                                                       26 Report
                                                                                          ReportSubmitted,
                                                                                                  Submitted,
Morgan
Morganv.v.City    IA LA
           Cityof of                            No: CV17-06693
                                           Case No: CV17-06693(JEMx)
                                                                (JEMx)            Deposed-Feb3,3,2020.
                                                                                  Deposed-Feb      2020.

Barrillas-Flores
Barrillas-Floresv City of LA
                  v City  of LA            Case No. F076-17
                                           Case     F076-17                       Designated_-Deposed
                                                                                  Designated -Deposed

Hernandez
Hernandez v vCity
              Cityof of
                     LALA                   Case No. 009-18
                                            Case      009-18                      Designated
                                                                                  Designated- Working
                                                                                               Working
                                                                                                     -




SandovalvvCity
Sandoval   Cityofof
                  LALA                               F08217
                                            Case No. F082-17                      Designated - Working
                                                                                  Designated    Working
                                                                                                     -




 Magana
 MaganavvCity
          Cityofof
                 LALA                       Case     F036-18
                                            Case No. F036-18                      Designated
                                                                                  Designated- Deposed-Working
                                                                                               Deposed-Working
                                                                                                     -




 Starks vvCounty
 Starks    Countyofof
                   LosLos Angeles
                       Angeles              Case     19STCV38462
                                            Case No. 19STCV38462                   Designated
                                                                                   Designated    -
                                                                                                 -       Deposed -Sum
                                                                                                         Deposed       Judgement
                                                                                                                 - Sum Judgement


 Cooke vs
 Cooke  vs State
            StateofofCalifornia
                      California                     F016-17
                                            Case No. F016-17                       Designated
                                                                                   Designated- State
                                                                                                StateCourt-Working
                                                                                                       Court-Working
                                                                                                         -




  Dominguezv.v.City
  Dominguez      City  of San
                    of San    Jose
                           Jose               Case      18-cv-04826
                                              Case No. 18-cv-04826                 Designated- Working
                                                                                                Working
                                                                                   Designated            -




  Speer v City
  Speerv   CityofofSan
                    SanBernandino
                         Bernandino             5:20-cv-00044-JGB(SPx)
                                                5:20-cv-00044-JGB (SPx)                 26 Report,
                                                                                   Rule 26 Report,   Depo
                                                                                                   Depo   Pending
                                                                                                        Pending
   Guardado
   GuardadovsvsState
                State   of California
                     of California                                                 Working
                                                                                   Working




                Civil Cases
             38 Civil Cases
             Career
             Career Estimate
                     Estimateon
                              on
             depositions
             depositionsaround
                          around2525
            Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 146 of 204




Additional Testimonial
Additional             Experience
           TestimonialExperience

•   Providedtestimony
    Provided  testimony forfor
                            bothboth  Prosecution
                                  Prosecution      and Defense
                                              and Defense          in the following
                                                           in the following courts: United States
                                                                                     courts:      Military
                                                                                             United        Court
                                                                                                      States Military Court
    (United States
    (United         and
             Statesand    Germany)
                       Germany)
•   United States
    United          Military
            StatesMilitary    Article
                           Article  32 32 Hearings
                                       Hearings (United StatesStates
                                                    (United           and Germany)
                                                               and Germany)
•   CanadianMilitary
    Canadian             Court
               MilitaryCourt     (Canada
                              (Canada      & Germany)
                                        & Germany)
•   SuperiorCourt
    Superior         LosAngeles
              CourtLos    Angeles
•   SuperiorCourt
    Superior         KernCounty
              CourtKern     County   Superior
                                   Superior    Court
                                            Court
•   VenturaCounty
    Ventura           Court
             CountyCourt
•   San Bernardino    County
        BernardinoCounty        Superior
                             Superior     Court
                                       Court
•   San Diego
        DiegoCounty
               County
•   SuperiorCourt
    Superior         Orange
              CourtOrange      County
                            County
•   SuperiorCourt
    Superior         Riverside
              CourtRiverside      County
                               County
•   SuperiorCourt
    Superior  CourtSan    Joaquin
                     SanJoaquin   County
                                     County
•   Federal Court,
    Federal          DuongTrial,
             Court,Duong    Trial,FBI,
                                    FBI,AUSA,
                                         AUSA,SanSanJose,
                                                      Jose,     (Federal
                                                          CACA(Federal    Trial)
                                                                       Trial)      Prosecution
                                                                              Prosecution
•   Court qualified
    Court            expert
           qualifiedexpert   witness
                           witness      in using
                                    in using     advanced
                                             advanced  ICM 301CM  3D analysis
                                                                analysis in bulletincomparisons,
                                                                                     bullet comparisons,
                                                                                                 Gonzales vs. State vs. State
                                                                                                          Gonzales
                   2012.
       California,2012.
    of California,
•   OregonCase,
    Oregon   Case,Christensen
                    Christensen    Death
                               Death   RowRow
                                            Federal Appeals
                                                Federal      Court Court
                                                          Appeals          Resentenced-Murder
                                                                    Resentenced-Murder     1 - Manslaughter
                                                                                                    1 Manslaughter
                                                                                                    -




    Reconstruction(Removed
    Reconstruction    (Removed from   Death
                                   from      Row)Row)
                                          Death
•   Federal Court,
    Federal  Court,Los  Angeles,
                    LosAngeles, CACA
         Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 147 of 204


                                                   Rocky Edwards
                                                         Edwards
                                                FirearmsConsultant
                                                Firearms  Consultant

                                                    (323-216-1584)
                                                    (323-216-1584)
                                            rockforensics@gmaitcom
                                            rockforensicsgrnai/. corn


EFFECTIVE:JANUARY
EFFECTIVE: JANUARY2018
                   2018


                          FEE SCHEDULE AND EXPENSE
                  GENERAL FEE              EXPENSE POLICY
                                                   POLICY
                         FOR
                         FOR  CONSULTING SERVICES
                                         SERVICES
 •HOURLY RATE: $200.00$200.00PER PER HOUR
                                       HOUR   forfor   all professional
                                                   all professional        services
                                                                      services       rendered,
                                                                               rendered,          including
                                                                                           including
consultation,
consultation,administrative
                 administrative  set-up  file,file,
                                    set-up          report
                                                report        writing,
                                                         writing,       computer
                                                                  computer         analysis
                                                                             analysis         and preparation
                                                                                       and preparation    of       of
diagrams
diagrams&/or&/orcourt
                   court  exhibits,
                        exhibits,    research,
                                  research,     site site  inspections
                                                     inspections          & shooting
                                                                    & shooting        reconstruction,
                                                                                reconstruction,            travel time,
                                                                                                   travel time,
preparation
preparationfor fortestimony,
                    testimony,andandtelephone
                                       telephone  conferences
                                                       conferenceswhichwhich
                                                                          exceed        30 minutes.
                                                                                 30 minutes.
                                                                               exceed                  Travel
                                                                                               Travel time   is time is
calculated   portal-to-portal
calculatedportal-to-portal    andand
                                   fromfrom
                                          the the    actual
                                                actual   timetime   of departure
                                                               of departure        and arrival.
                                                                             and arrival. Any workAnyorwork    or meetings
                                                                                                        meetings
specifically
specificallyrequested
              requestedbyby  thethe  client
                                  client     to performed
                                         to be    be performed  on a on a Saturday,
                                                                     Saturday,        Sunday,
                                                                                Sunday,          or holiday
                                                                                          or holiday  will be will be at the
                                                                                                              at the
                 $275.00.
        rateofof$275.00.
hourly rate

• RETAINER: Normally,
                Normally,a aminimum
                                 minimum  retainer
                                             retainer of $3,000.00  mustmust
                                                          of $3,000.00          be received
                                                                          be received    prior to prior to working
                                                                                                    working  on the on the
case
case ororreviewing
          reviewingofofdocuments.
                          documents.   TheThe
                                            retainer   maymay
                                                 retainer    be negotiable   after initial
                                                                  be negotiable     after consultation     with thewith the
                                                                                            initial consultation
client.
client. The
        Theretainer
             retaineris is
                        alsoalso  required
                               required       if the
                                         if the       client
                                                  client      declares
                                                         declares        the consultant,
                                                                   the consultant,    with orwith    or without
                                                                                                without  his     his
permission,as
permission,    asan
                  anexpert
                      expert    witness
                              witness     thethe
                                       to to        court
                                                court       or opposing
                                                       or opposing         counsel.
                                                                      counsel.         Preliminary
                                                                                Preliminary            telephonic
                                                                                                telephonic
discussionsof
discussions    ofpotential
                  potentialcases
                               casesareare  welcome
                                        welcome       andand   there
                                                           there         no charge
                                                                 is noischarge         forservice.
                                                                                for this    this service.   RETAINERS
                                                                                                     RETAINERS
ARE NOT
      NOTREQUIRED
            REQUIREDFROM   FROM     GOVERNMENTAL
                                 GOVERNMENTAL                AGENCIES.
                                                         AGENCIES.         The retainer
                                                                      The retainer    will bewill  be credited
                                                                                               credited  toward toward
work
work completed
       completedwithwiththethe  first
                             first    hour
                                   hour      ($200.00)
                                        ($200.00)          as non-refundable
                                                      as non-refundable    in the in
                                                                                   event   event
                                                                                      the the      the matter
                                                                                                matter  is      is
resolved
resolved ororsettled   after
              settledafter     consultant
                             consultant       is retained,
                                         is retained,         but before
                                                          but before       completing
                                                                     completing     the work     work requested.
                                                                                           the requested.

• DEPOSITIONS AND  AND COURT      TESTIMONY: The
                        COURTTESTIMONY:              Thefee
                                                          feefor
                                                               fordeposition
                                                                     depositionis $475.00  PERPER
                                                                                  is $475.00    HOUR HOUR(minimum
                                                                                                              (minimum
     hour) and
one hour)   and$475.00
                 $475.00
                       PERPER    HOUR
                              HOUR    forfor  court
                                          court               with with
                                                      testimony
                                                 testimony               no minimum
                                                                    no minimum           requirement.
                                                                                   requirement.            Theisclient is
                                                                                                  The client
responsible
responsibleforforpayment
                  payment  ofof
                              travel time
                                travel     of consultant
                                        time   of consultantto and   fromfrom
                                                                 to and   the deposition    or court
                                                                                the deposition    or at  the rate
                                                                                                      court  at the rate
   $200.00PER
of $200.00   PERHOUR.
                  HOUR.ThisThis  also
                              also     includes
                                    includes       preparation
                                               preparation          and “waiting
                                                              and "waiting   time" time”   prior
                                                                                    prior to and to  and following
                                                                                                  following
testimony.   Paymentofofthe
testimony. Payment        the  minimum
                             minimum    feefee
                                            mustmust    be received
                                                    be received    fromfrom   deposing
                                                                         deposing         counsel
                                                                                     counsel         prior
                                                                                              prior to      to the start
                                                                                                        the start
   and/orcontinuation
of and/or  continuationofof  the
                           the    deposition.
                                deposition.  TheThe    client
                                                   client      is responsible
                                                          is responsible          for notifying
                                                                            for notifying        opposing
                                                                                           opposing    counselcounsel
                                                                                                                 of     of
     depositionfee.
the deposition   fee.

 •CHARGES
 •CHARGES FOR FOR OUT-OF-STATE
                   OUT-OF-STATE SERVICES
                                       SERVICES OR     DEPOSITIONS: These
                                                   OR DEPOSITIONS:        Theseservices
                                                                                 servicesare  $1,800.00
                                                                                            are         PERPER
                                                                                                 $1,800.00
      This also
DAY. This  alsoincludes
                includeswork
                           work   that
                                that    is performed
                                     is performed     outside
                                                   outside      of Los
                                                           of the      Los Angeles
                                                                   the Angeles        metropolitan
                                                                                metropolitan  area inarea in
excess of
excess  of250
           250miles.
                miles.Travel,
                       Travel,   lodging,
                              lodging,      meals,
                                        meals, andand  other
                                                   other       incidental
                                                         incidental        expenses
                                                                     expenses   are theare the responsibility
                                                                                        responsibility of     of
the party
    partyrequesting
          requestingthe   service
                        the serviceor deposition. Generally,
                                      or deposition.         traveltravel
                                                      Generally,    costs costs
                                                                           are payable  in advance.
                                                                                 are payable    in advance.

• INVOICES: Itemized         invoicessubmitted
                  Itemized invoices     submittedtoto thethe  client
                                                           client areare  payable
                                                                      payable       within
                                                                                within       30 days
                                                                                       30 days         of receipt.
                                                                                                 of receipt. The The
statementmay
statement     mayinclude
                     includeincidental
                               incidental   expenses
                                        expenses    such such           fees fees
                                                                as parking
                                                           as parking              andprocessing.
                                                                             and film   film processing.     Theisclient is
                                                                                                     The client
invited to
invited  to request
             requestexplanation
                        explanation forfor
                                         anyany  portion
                                             portion   of aof a statement.
                                                            statement.         Any unpaid
                                                                         Any unpaid   balancebalance    in excess
                                                                                                in excess   of sixtyof sixty
(60) days
(60) daysmay        reflect
             mayreflect     a service
                          a service      charge
                                     charge       of 1.5%
                                              of 1.5%       per month.
                                                       per month.          All work
                                                                     All work        may cease
                                                                               may cease    on the on  the case,
                                                                                                    case,
including    trialappearance,
including trial     appearance,     with
                                 with     a balance
                                      a balance   thatthat   is delinquent
                                                        is delinquent         for more
                                                                       for more         thanfive
                                                                                  than forty   forty five
                                                                                                  (45)     (45) days.
                                                                                                        days.

      the responsibility
It is the  responsibilityofofthe theclient
                                      client
                                           to to
                                              pay pay
                                                   thethe   invoice
                                                        invoice  uponupon    receipt
                                                                        receipt         andtonot
                                                                                  and not        to request
                                                                                              request          that the
                                                                                                        that the
paymentbe
payment          delayeduntil
             bedelayed      untilmonies
                                   monies areare  received
                                               received       by client
                                                          by the the client
                                                                         fromfrom     whatever
                                                                                whatever   source. source.   Theisclient is
                                                                                                     The client
identifiedas
identified    asthe
                 thelaw    firmrepresenting
                      lawfirm     representing      either
                                                either      the plaintiff
                                                       the plaintiff       or defendant,
                                                                     or defendant,     not thenot  theor
                                                                                               party    party  or parties
                                                                                                          parties that     that
they represent
they   representasaslegal
                        legal  counsel
                             counsel    forfor
                                            thisthis particular
                                                 particular       action.
                                                             action.        It is understood
                                                                     It is understood            that
                                                                                          that the     theand
                                                                                                    client client and
consultant
consultantare  areentering
                    entering into  a professional
                                 into a professional      relationship
                                                     relationship         and the
                                                                    and that    thatclient
                                                                                     the client   is solely
                                                                                           is solely         responsible
                                                                                                     responsible    for     for
paymentof
payment     ofall
                allprofessional
                    professionalservices.
                                     services.
                                                                                                                      FEESCI 2
                                                                                                                      FEESC12
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                 Curriculum Vitae (as
                 Curriculum Vitae  (as of February
                                          February 1,2021):
                                                   1, 2021):
    Daniel L. Sudakin, MD, MPH,
                           MPH, FACMT,
                                  FACMT, FACOEM,
                                            FACOEM, FAACT,
                                                        FAACT, FASAM
                                                               FASAM

Daniel
Daniel L.  Sudakin. MD, MPH, FACMT, FACOEM, FAACT, FASAM
        L. Sudakin,
                             201
9370 SW Greenburg Rd, Suite 201
               97223
Portland, OR 97223
(503) 477-6622
www.medicaltox.com
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sudakind(iP,medicaltox.com

Practicing Addiction Medicine at Aspire PDX
                                        PDX
www.aspirepdx.com
1,vww.aspirepdx.com


           EDUCATION, BOARD CERTIFICATIONS, PROFESSIONAL HONORS

2015:
2015:          Fellow, American
                        American Academy
                                    Academy of Clinical Toxicology
2015:
2015:          Fellow, American Society of Addiction Medicine
2014:
2014:          Board            in Addiction
                      certified in
               Board certified     Addiction Medicine (American Board of Addiction Medicine)
               • Certified by the American                                      2021
                                     American Board of Preventive Medicine in 2021
20 14-7:
2014-7:        Member, American
               Member,   American Board of Emergency
                                               Emergency Medicine, Medical Toxicology Sub-
               board
2004:
2004:          Fellow, American College
               Fellow,              College of Medical
                                               Medical Toxicology
2004:
2004:          Fellow, American College of Occupational and Environmental Medicine
               Fellow.
2000:
2000:          Board certified in the subspecialty of Medical Toxicology (American Board of  of
               Preventive Medicine).
               • Recertified in in 2009, 2020.
                                         2020.
2000:          Board certified in the specialty of Public Health and General Preventive
               Medicine (American Board of Preventive Medicine).
               • Recertified in 2010, 2020.
                                         2020.
1998-2000:
1998-2000:                                                                          Center,
               Medical Toxicology Fellowship, Veterans Administration Medical Center.
               Portland, Oregon
1999:
1999:          Master of Public
                          Public Health (Biostatistics and Epidemiology), Oregon Health and
                                     Portland, Oregon
               Science University, Portland,
1996-8:
1996-8:        Residency,   Public Health
               Residency, Public    Health and
                                            and General
                                                General Preventive Medicine (Occupational and
               Environmental Medicine
                                Medicine track),
                                           track), Oregon Health Sciences University, Portland,
               Oregon
1995-6:
1995-6:        Clinical Anesthesiology, Year One, Stanford University Health Services, Palo
               Alto, California
1994-5:
1994-5:                            Internship, Legacy Hospitals, Portland, Oregon
               Internal Medicine Internship,
1 994:
1994:          Doctor of Medicine,    Wayne State
                          Medicine, Wayne     State University School of Medicine, Detroit,
               Michigan
1993:
1993:          Alpha Omega Alpha, National Medical Honor Society
1990:
1990:          Bachelor of Science
                            Science (Biopsychology),    University of Michigan, Ann
                                     (Biopsychology), University                Ann Arbor
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        EMPLOYMENT  INFORMATION,AND
        EMPLOYMENT INFORMATION,  ANDACADEMIC
                                     ACADEMIC APPOINTMENTS
                                             APPOINTMENTS

2017-present:
2017-present:         Private Practice, Addiction Medicine, at Aspire PDX

2016:
2016:                 Addiction Medicine Physician at Ascension Medical Group

2014-2016:            Director of Addiction Medicine, Pathways Northwest

2014-2016:
2014-2016:            Affiliate Faculty, Oregon State University Department of
                                                                            of Environmental
                      and Molecular Toxicology

2006-2014:
2006-2014:                                                                       University
                      Associate Professor (with indefinite tenure), Oregon State University
                      Department of Environmental and Molecular Toxicology

2000-2006:
2000-2006:                                                         Department of
                      Assistant Professor, Oregon State University Department of
                      Environmental and Molecular Toxicology

2008-present:
2008-present:                             Professor, Oregon Health and Science
                      Affiliate Associate Professor,                   Science University.
                                                                               University,
                      Department of Emergency Medicine

1999-present:
1999-present:                                                           Sudakin, MD, MPH,
                      Consulting and expert witness services (Daniel L. Sudakin.
                      LLC,
                      LLC, Medicaltox Consulting)


                               PART-TIME EMPLOYMENT
                               PART-TIME EMPLOYMENT

2015-2016:
20 15-20 16: Medical Director,
               Medical         ACME
                        Director, ACMECounseling
                                         Counseling(Corvallis, Oregon)
                                                     (Corvallis,  Oregon)
2004-2008:     Veritox,
2004-2008: Veritox,     Inc., Medical Toxicologist
1997-2000: Oregon
1997-2000:     Oregon   Medical
                     Medical    Assistance
                              Assistance Programs,
                                           Programs,Drug Utilization
                                                      Drug             Review
                                                             Utilization      Council
                                                                         Review Council
               Member
1998-1999:
1998-1999:     Adjunct Faculty, Occupational Health Clinics, Oregon Health and Science
                                                                                  Science
               University
1996- 1998:
1996-1998:     Urgent Care
                      Care Provider, Kaiser Permanente, Northwest Region Clinics


         PUBLICATIONS, PRESENTATIONS,
         PUBLICATIONS,  PRESENTATIONS,AND
                                       ANDTECHNICAL
                                           TECHNICAL  REPORTS
                                                    REPORTS

Journal Articles

Sudakin D.
Sudakin     Naltrexone: Not
         D. Naltrexone:  NotJust  forOpioids
                             Justfor  OpioidsAnymore.
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                                                                          Toxicology,
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Rohiman Diana.   Syron Laura,
                       Laura, Hobbie Kevin, Anderson Kim
                                                      Kim A.,
                                                            A.. Scaffidi Christopher, Sudakin
Daniel, Peterson
Daniel,                S., Waters Katrina M..
        Peterson Elena S..                M., Haynes Erin,
                                                     Erin, Arkin Lisa, Feezel
                                                                       Feezel Paul, and Kindl
                                                                                        Kind
Laurel. A.
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         M, Sudakin D.
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                                       Human ininvivo
                                                  vivopharmacokinetics
                                                       pharmacokineticsofof
[I
[‘4C]dibenzo[defp]chrysene      accelerator mass
                             by accelerator mass spectrometry
                                                  spectrometry following
                                                                following oral
                                                                          oral microdosing.
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                                                                                         and
urine samples collected during Native American fish smoking activities. Accepted
                                                                            Acceptedfor
                                                                                     for
                                     of the Total
                             Science ofthe
publication and in press in Science         TotalEnvironment,
                                                   Environment,2015;505:694-73.

Kile L
     L Molly, Coker S  S Eric, Smit Ellen,   SudakinDaniel,
                                     Ellen, Sudakin  Daniel,Molitor
                                                             MolitorJohn.
                                                                      John,
                                                                          Harding K KAnna.
                                                                            Harding        AA
                                                                                       Anna.
                                                              of gas
cross-sectional study of the association between ventilation of  gas stoves
                                                                     stoves and
                                                                            and chronic
                                                                                chronic
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                                                                        from the 2003-4
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                                                                  Sudakin DL, Christensen JM, Hagen
                                                                                              Hagen
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      Ageand  genderdependent
          andgender   dependentbioavailability
                                 bioavailabilityofofR-
                                                     R-and
                                                        andR,S-alpha
                                                            R,S-alphalipoic
                                                                       lipoicacid:
                                                                              acid:a apilot
                                                                                        pilot
       Pharmacol Res
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        DL. Stone D.
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                                          asbiomarkers
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                                                                                     cocaine,
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                                                                Methamphetamine-related
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Incidents: Applications ofGeographic
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                                                              andSpatial
                                                                  Spatial Scan
                                                                           ScanStatistics."
                                                                                Statistics.”
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        Daniel L; Power Laura E Regional
Sudakin Daniel                      Regionalvariation
                                                variationininthe
                                                               theseverity
                                                                   severityofofpesticide
                                                                                pesticideexposure
                                                                                           exposure
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Sudakin DL.   Fatality After a Single Dermal Application of Lindane Lotion."
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Power LE,                 ‘Pyrethrinand
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                                                      andHealth
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                                                                                    publication
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                                              in the Incidence of Organophosphate
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                        States.” Journal of Toxicology and  Environmental Health,
                                                       and Environmental  Health, Part
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             PyrethroidInsecticides:
                         Insecticides:Advances
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                                                andChallenges
                                                    ChallengesininBiomonitoring.
                                                                   Biomonitoring. Clinical
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Toxicology 2006;44(1):31-7.

        DL. "Pesticide
Sudakin DL.  ‘PesticideExposures:
                        Exposures: Web-Based
                                    Web-BasedResources
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                                                         forHealth
                                                             HealthCare  Providers” Journal
                                                                    CareProviders"  Journal
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   Agromedicine 2005;10(1):43-9.

Sudakin DL. -‘Occupational
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                                                         SuspectedCase
                                                                   CaseReport
                                                                        Reportand
                                                                               and
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          the Literature"

Sudakin DL.
        DL. "Biopesticides"
             ‘Biopesticides” Toxicological Reviews
                                           Reviews 2003:22(2):83-90.

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                                      ReviewandandUpdate
                                                   UpdateofofSafety
                                                              Safetyand
                                                                      andRisk
                                                                          Riskininthe
                                                                                    theGeneral
                                                                                        General
Population” Journal of
Population"         ofToxicology--Clinical
                       Toxicology--Clinical Toxicology
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         DL. -‘Trichothecenes
Sudakin DL.                                        RelevancetotoHuman
               Trichothecenes in the Environment: Relevance      HumanHealth"
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Letters 2003;143(2):97-107.

         DL. "Dietary
Sudakin DL.   “DietaryAflatoxins
                      Aflatoxinsand
                                  andChemoprevention
                                      Chemoprevention of  ofCancer:
                                                             Cancer:AAClinical
                                                                       ClinicalReview."
                                                                                Review.”
        ofToxicology--Clinical
Journal of Toxicology--Clinical Toxicology
                                Toxicology 2003;41(2):195-204.
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Sudakin DL,                         “Regional Variation
                                               Variationininthe
                                                             theIncidence
                                                                 Incidenceof
                                                                           of
Symptomatic Pesticide Exposures: Applications
Symptomatic                       Applications of
                                                ofGeographic
                                                  Geographic Information
                                                                Information
Systems.” Journal of
Systems."         ofToxicology--Clinical
                     Toxicology--Clinical Toxicology
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  Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 152 of 204




        DL. -‘Stachybotiys
Sudakin DL.   Stachybotrys chartarum:                      its Role in
                           chartarum: Current Knowledge of its      in Disease." Medscape
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        Medicine,February 29, 2000.
General Medicine,
General

Sudakin DL, Mullins ME,
                      ME, Horowitz BZ, Abshier V.              ‘IntermediateSyndrome
                                                 V, Letzig L. "Intermediate  SyndromeAfter
                                                                                       After
Malathion Ingestion                                 Pralidoxime.” Journal f
           Ingestion Despite Continuous Infusion of Pralidoxime."          of Toxicology--
                                                                              Toxicology--
Clinical Toxicology,
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         Toxicology,2000;38(1):47-50.

        DL. -“Toxigenic
Sudakin DL.                                                AnIntervention
              Toxigenic Fungi in a Water-Damaged Building: An              Study.”
                                                              InterventionStudy."
American Journal
American JournalofIndustrial Medicine  1999:34(2)183-90.
                 of Industrial Medicine1999:34(2)183-90.

Book Chapters
     Chapters

        DL. -‘Rodenticides.”            Hardy’s Industrial              6th Edition (2015).
                                                            Toxicology, 6th
                                                 Industrial Toxicology.
Sudakin DL.
Sudakin       Rodenticides." Hamilton & Hardy's                             Edition (2015).

Sudakin DL. -‘Cholinesterase
Sudakin                                                       Carbamates” in
              Cholinesterase Inhibitors: Organophosphates and Carbamates"  in Advanced
                                                                              Advanced
                     4t Edition (2014)
Hazmat Life Support, 4th Edition (2014)

Sudakin DL. "DEET"
             DEET” ininHayes'
                       Hayes’Handbook
                              HandbookofofPesticide
                                           PesticideToxicology,
                                                     Toxicology,Third  Edition(2010).
                                                                 ThirdEdition  (2010).

Sudakin DL.
          DL. "Fungicides"      CriticalCare
               “Fungicides”ininCritical  CareToxicology:
                                              Toxicology:Diagnosis  andManagement
                                                          Diagnosisand  Managementofofthe
                                                                                        the
Critically Poisoned Patient (2005).

Sudakin DL.
        DL. "Mycotoxins
            “Mycotoxins and Toxigenic Fungi"
                                      Fungi” in
                                              in Medical
                                                 Medical Toxicology, Third Edition (2004).
                                                                     Third Edition (2004).

Invited, Peer-Selected Presentations at Regional and National Scientific Meetings

Invited Speaker, Northwest Institute of Addiction Studies.
                                                  Studies. Portland, Oregon. July II.
                                                                                   11.2019.
                                                                                       2019.
Lecture title:
        title: "Medication                                     Opportunities.”
               “Medication Assisted Treatment: Challenges and Opportunities."

                              Lecture. American College of Medical Toxicology Addiction
Continuing Medical Education Lecture,
                               Beach, Florida.
                     ClearwaterBeach,
Medicine Academy. Clearwater                    March 26,
                                       Florida. March  26, 2015.
                                                            2015. Lecture   title:"Naltrexone:
                                                                   Lecturetitle:   “Naltrexone:
                     Anymore.”
Not Just for Opioids Anymore."

Continuing Medical Education lecture, Good Samaritan Regional Medical Center. Corvallis.Corvallis,
Oregon. July
         July 25,
               25, 2014.
                    2014. Lecture   title: -‘Opioid
                           Lecturetitle:                Disorders: Treatment
                                             Opioid Use Disorders:           Options ininthe
                                                                   TreatmentOptions       the
Outpatient Setting.

                                                                                      Orlando,
Continuing Medical Education lecture, American Occupational Health Conference. Orlando,
Florida. April 29, 2013.
                   2013. Lecture
                         Lecture title:
                                  title: "Pesticides
                                          ‘Pesticidesand
                                                      andBiomonitoring:
                                                          Biomonitoring: The
                                                                          TheGrowing
                                                                              GrowingDivide
                                                                                      Divide
Between Epidemiology and Clinical
Between                     Clinical Toxicology.”
                                       Toxicology."

Continuing Medical Education webinar, Centers for Disease Control and Prevention. August
                              ‘Pesticide Residues in
29, 2012. Presentation title: "Pesticide          in the Indoor              Assessmentand
                                                         Indoor Environment: Assessment and
       Effects.”
Health Effects."


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                                                                                                     5
  Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 153 of 204




Invited Speaker, Platform Session (Epidemiology), North American Congress of Clinical
                       Ontario, Canada.
             Toronto, Ontario,
Toxicology. Toronto.            Canada. September
                                          September15,   2008.Presentation
                                                     15,2008.   Presentation  title: -“Regional
                                                                           title:      Regional
Variation in Methamphetamine-related Incidents:    Applicationsof
                                        incidents: Applications  ofGIS
                                                                    G1S and   SpatialScan
                                                                         andSpatial     Scan
Statistics.”
Statistics."

Invited Speaker and Session Organizer, American Occupational Health Conference. New    New
Orleans, LA. May
              May 9,9, 2007.
                        2007. Lecture
                               Lecturetitle:   “Perchiorateand
                                        title:"Perchlorate      OtherEnvironmental
                                                            andOther  EnvironmentalChemicals:
                                                                                    Chemicals:
                                                                Function.”
Clinical and Epidemiological Studies of Effects on Thyroid Function."

Invited Speaker, American College of Medical Toxicology Spring Meeting. Miami,   Miami, FL.
                                                                                         FL.
March 17,
        17, 2007. Lecture
                   Lecture titles:   “Pesticidesand
                            titles: "Pesticides  andFood
                                                     FoodPoisoning,"   and -“Organophosphates:
                                                           Poisoning,”and    Organophosphates:
Biomarkers of Exposure, Effect.
Biomarkers                  Effect, and Genetic Susceptibility."
                                                   Susceptibility.”

                                                                 Millennium Series:
Invited Speaker, American Occupational Health Conference. Millennium             Series: Emerging
                                                                                          Emerging
Issues
issues in Toxicology. Los
                       Los Angeles,
                            Angeles, CA.
                                     CA. May
                                           May9,9,2006.
                                                    2006.Lecture
                                                           Lecturetitle:
                                                                     title:"Challenges in in
                                                                             ‘Challenges
Interpreting Biornonitoring
Interpreting                Studies: Insecticides
             Biomonitoring Studies:   Insecticides as  Example.”
                                                    as Example."

                                                               University of
Invited Speaker, Pesticide Regulatory Education Program. University        ofCalifornia,
                                                                             California, Davis.
                                                                                         Davis.
                 Lecture title:
August 8, 2005. Lecture           “Pesticides:Real
                          title: "Pesticides:  RealRisks,
                                                    Risks,Perceived
                                                           PerceivedRisks,
                                                                     Risks,and
                                                                             andInformational
                                                                                  Informational
Resources.”
Resources."

Invited Speaker, Northwest Association of Occupational and Environmental Medicine Annual
Meeting.  Mt. Hood,
Meeting. Mt.  Hood, Oregon.   February26,
                     Oregon. February  26,2005.
                                           2005.Lecture     title: -“Interpreting
                                                  Lecturetitle:      Interpreting Data from
                                                                                       from
Biomonitoring Studies:
               Studies: The
                        The CDC
                             CDC Third
                                  Third Report
                                        Report of
                                                ofHuman
                                                  Human Exposure
                                                            Exposure to      Environmental
                                                                         to Environmental
Chemicals.”
Chemicals."

                 American Industrial Hygiene Association Tele-Web Conference:
Invited Speaker, American                                             Conference:
                                            Perspectives on Molds and Mycotoxins. February
Toxicological and Occupational Medicine Perspectives                               February
16, 2005.
16,                title: "Clinical
          Lecture title:
    2005. Lecture         “Clinical Toxicology
                                    Toxicology of
                                               ofMycotoxins."
                                                  Mycotoxins.”

Invited Speaker, Environmental
Invited          Environmental Protection Agency Regional Emergency Response Meeting.
Las Vegas,           February 8,8, 2005.
    Vegas, Nevada. February         2005. Lecture
                                           Lecturetitle:
                                                    title:"Inhalation
                                                           “InhalationRisks
                                                                       Risksfrom
                                                                              fromPhosphide
                                                                                   Phosphide
Fumigants, Methyl Bromide, and other Restricted Chemicals."
Fumigants,                                             Chemicals.”

Invited Speaker, Western Migrant Stream Forum. San  San Diego, California. January
                                                        Diego, California.           29,2005.
                                                                             January29,  2005.
Lecture title:
        title: "Pesticide              Electronic Resources
               “Pesticide Toxicology: Electronic  Resourcesfor
                                                            forClinicians
                                                                Clinicians and
                                                                            andPublic
                                                                                Public Health
                                                                                        Health
Providers.”
Providers."

Invited Speaker, Agency for Toxic
                             Toxic Substances and Disease Registry / American College of
Medical Toxicology Chemical Weapons of Convenience/Opportunity Course. Oregon
Medical                                                                           Oregon Health
                                                                                          Health
                                      December11,
and Science University, Portland, OR. December   11, 2004.
                                                      2004. Lecture   title: -“Hazards
                                                             Lecturetitle:     Hazards of
               Cyanide.”
Fumigants and Cyanide."




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        Speaker, American College of Occupational and Environmental Medicine, State
Invited Speaker,                                                                        of the
                                                                                  State of
                 San Antonio,
Art Conference. San  Antonio, TX.
                               TX. November
                                    November6,6,2004.
                                                 2004.Lecture
                                                        Lecture  title:
                                                              title:    “Methylmercury
                                                                     "Methylmercury  and
                                                                                       and
                     Neurotoxins.”
other Environmental Neurotoxins."

Invited Speaker, Oregon Department of Health Services, Public Health Grand Rounds.
Invited Speaker,
Portland, OR. Portland,
Portland,      Portland, OR.
                         OR. August
                              August25,
                                     25,2004.
                                         2004.Lecture
                                                Lecture   title: -“Pesticide
                                                       title:      Pesticide Exposures:  Internet
                                                                             Exposures: Internet
                                           Providers.”
Resources for Clinicians and Public Health Providers."

        speaker, American Industrial Hygiene Association Conference and Exposition.
Invited speaker,
              May 12,
Atlanta, GA. May   12, 2004.
                        2004. Lecture
                               Lecturetitle:
                                        title:"Human
                                               “HumanMycotoxicoses
                                                      Mycotoxicosesand
                                                                    andBiomarkers
                                                                        Biomarkersofof
Exposure to Mycotoxins."
             Mycotoxins.”

Invited speaker,
Invited speaker, American Occupational Health Conference, Millenium Lecture SeriesSeries
                            KansasCity,
(Agricultural Toxicology). Kansas   City,MO.
                                         MO. May
                                              May2,2,2004.
                                                      2004.Lecture
                                                             Lecture
                                                                   title: "Pesticides
                                                                      title:           and
                                                                             “Pesticides and
                         Clinicians.”
Electronic Resources for Clinicians."

        speaker, Agency for Toxic Substances and Diseases Registry Partners
Invited speaker,                                                        Partners in Public
                                                                                    Public Health
Meeting,
Meeting, Atlanta,           March 30,
          Atlanta, Georgia. March       2004. Lecture
                                   30, 2004.    Lecturetitle:
                                                         title:"The
                                                                “TheNPMMP:
                                                                     NPMMP:AnAn Informational
                                                                                   Informational
Resource
Resource in the Clinical Toxicology of Pesticides."
                                         Pesticides.”

        speaker, Northwest Occupational and Environmental Medicine Winter Meeting, Mt.
Invited speaker,                                                                      Mt.
Hood,  Oregon.   February 22, 2004.         title:
Hood, Oregon. February 22, 2004. Lecture title: "Phosphine Gas Poisoning: Epidemiology
                                    Lecture        “Phosphine Gas Poisoning: Epidemiology
             Toxicology.”
and Clinical Toxicology."

Invited speaker,
Invited speaker, Pesticide Safety, Health, and Medicine Course (Pacific Northwest Agricultural
Safety and Health Center), Yakima, Washington. February
                                                  February 19,
                                                            19,2004.
                                                                2004.Lecture:
                                                                      Lecture:"Acute
                                                                               “Acute
            Pesticides.”-
Toxicity of Pesticides.

Invited speaker, Recognition, Management and Prevention of Asthma and Pesticide Illnesses:
                                                        Professionals, Emergency
A Course for Health Care Professionals, Environmental Professionals,   Emergency Responders,
                                                                                    Responders,
School
School  Leaders, and Nez  Perce Community  Members.    Lapwai,  Idaho, July 30, 2003.  Lecture:
                                                      Lapwai, Idaho, July 30, 2003. Lecture:
“Pesticide Surveillance
"Pesticide Surveillance Tracking Systems,
                                 Systems, and
                                          and Interaction
                                              Interaction with
                                                          with the
                                                               the National
                                                                   National Pesticide
                                                                             Pesticide
Information Center”
Information Center"

Invited speaker, 2003
                 2003 Northwest Association of Occupational and Environmental Medicine
                                                                                Medicine
Winter Meeting (Mt. Hood, Oregon). March
                                     March1,1,2003.
                                               2003. Lecture:
                                                      Lecture:"Mycotoxins:
                                                               “Mycotoxins:Exposure
                                                                             Exposure
Sources, Pathways,
Sources, Pathways, and Clinical Toxicology"
                                Toxicology”

        speaker, American College of Occupational and Environmental Medicine, State of the
Invited speaker,
Art Conference. Baltimore, Maryland
                           Maryland October 27,  2002. Lecture:
                                             27, 2002. Lecture: "Fungicides
                                                                “Fungicides and
                                                                            and Fumigants"
                                                                                Fumigants”

Symposium organizer and presenter, American Academy of Clinical Toxicology, Occupational
and Environmental Toxicology Symposium.
                               Symposium. North
                                            NorthAmerican
                                                  AmericanCongress
                                                            Congressof
                                                                     ofClinical
                                                                         Clinical
             PalmSprings,
Toxicology. Palm  Springs,California.
                           California.September
                                       September27,  2002.Symposium
                                                 27,2002.  Symposiumtitle:
                                                                      title: "Mycotoxins
                                                                              “Mycotoxinsinin


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                       Environment.” Lecture:
the Indoor and Outdoor Environment."  Lecture:"Mycotoxins:
                                               “Mycotoxins:Exposure
                                                            ExposureSources,
                                                                     Sources,Pathways,
                                                                              Pathways,
             Toxicology”
and Clinical Toxicology"

Invited
Invited speaker,
        speaker, Agriculture
                 Agriculture Safety and Health Mini-Symposium, Center for Research in in
                                                     Health and Science
Occupational and Environmental Toxicology, Oregon Health        Science University.
                                                                         University. March
                                                                                      March
18, 2002, Portland, Oregon.  Lecture: ‘Organophosphates in Agriculture: In and Out  of the
18, 2002, Portland. Oregon. Lecture: "Organophosphates in Agriculture: In and Out of the
Field”
Field"

invited speaker, American
Invited          American College of Medical Toxicology Symposium Presentation
                                                                      Presentation for
Fellows-in-Training. Lecture:
                      Lecture: "The
                                “TheMedical
                                    Medical Toxicologist
                                             Toxicologistas
                                                          asEpidemiologist"
                                                             Epidemiologist”North
                                                                            NorthAmerican
                                                                                   American
                                                    October 6, 2001
Congress of Clinical Toxicology, Montreal, Quebec. October     2001

Invited
Invited speaker,
        speaker, Council
                 Council of State and Territorial Epidemiologists Annual meeting.
Lecture: “Case
Lecture:                                               Poison Control
         "Case Finding Through Collaboration With Poison      Control Centers
                                                                       Centers and
                                                                               and Other
                                                                                   Other
National Telecommunication
         Telecomnmnication Services."
                              Services.” June
                                          June12,
                                                12,2001.
                                                    2001.Portland,
                                                           Portland,Oregon.
                                                                     Oregon.

Other Peer-Reviewed Presentations:

                                                  1-hour audiovisual Powerpoint
Environmental Medicine Presentation Package, a 1-hour                Powerpoint presentation
                                                     of Occupational and Environmental
prepared with contract funding from the Association of                   Environmental
Clinics. Title: -“Recognizing.
Clinics. Title:   Recognizing. Treating
                               Treating and Preventing Health Risks from Agricultural
Pesticides.” Completed
Pesticides."  Completed August,
                         August, 2007.
                                  2007.

Published abstracts and Poster Presentations (peer
                                             (peerreviewed):
                                                   reviewed):

Madeen EP,
         EP, Corley R, Turtletaub K, Olgnibene T, Malfatti M, Garrard M, Sudakin Sudakin D,D,
McQuistan T, Williams DE. In
McQuistan                     In vivo
                                  vivo human
                                        human pharmacokinetics
                                                pharmacokineticsof    dibenzo(def,p)
                                                                   ofdibenzo    (def,p) chrysene
                                                                                         chrysene
following niicrodosing: Bridging the
          microdosing: Bridging     the gap
                                         gap between
                                              between high
                                                       high dose  animal data
                                                             doseanimal   dataand
                                                                               andenvironmentally
                                                                                    environmentally
relevant human exposures. (October, 2012). Presented at the 25t                Superfund Research
                                                                 25w’hAnnual Superfund      Research
Program meeting, Research Triangle Park, North Carolina.
Program

                             E, Harding A. Naphthalene exposure and relationship
Cardenas A, Sudakin D, Smit E.                                        relationship
                                  White, Black, and Hispanic
withhemoglobin and hematocrit in White,             Hispanic adults: Results
                                                                      Resultsfrom
                                                                              fromthe
                                                                                    the2003-4
                                                                                        2003-4
National Health andNutrition Examination Survey.
                                          Survey. (October,
                                                  (October, 2012). Presented
                                                                   Presented at
                                                                              at the American
                                                                                     American
Public
Public Health Association
              Association Meeting, San Francisco, CA.

Stone DL and Sudakin
Stone          Sudakin DL.
                       DL. "Longitudinal
                            “LongitudinalTrends
                                            TrendsininOrganophosphate
                                                        OrganophosphateIncidents
                                                                          IncidentsReported
                                                                                     Reportedtoto
NPIC: Role
       Role of
             ofRegulation."
                Regulation.”Presented
                             PresentedasasaaPoster
                                             Posteratatthe
                                                        theNorth
                                                           NorthAmerican
                                                                  AmericanCongress
                                                                             CongressofofClinical
                                                                                          Clinical
                      September22,
Toxicology meeting. September    22, 2009.
                                      2009. San
                                             SanAntonio,
                                                 Antonio, TX.
                                                            TX. Published
                                                                 Publishedinin Clinical
                                                                               Clinical
Toxicology.
Toxicology.

Sudakin DL, Power, LE. LE. "Regional
                            “RegionalVariation
                                      VariationininMethamphetamine-related
                                                    Methamphetamine-relatedIncidents:
                                                                                Incidents:
Applications of GIS and Spatial Scan Statistics."
                                       Statistics.” Presented
                                                     Presentedas
                                                               asaaPlatform
                                                                    PlatformPresentation
                                                                              Presentationatatthe
                                                                                               the
                                                     meeting. September
North American Congress of Clinical Toxicology meeting.        September15,15,2008.
                                                                               2008.Toronto,
                                                                                      Toronto,
Canada. Published
Canada.  Published inin Clinical
                        Clinical Toxicology
                                 Toxicology2008;46(7).

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Chiaia, Aurea C.; Sudakin, Daniel L.;L. Banta-Green, Caleb; Field,
                                                             Field, Jennifer A. Determination
                                                                                   Determination
of illicit drugs and biomarkers in raw municipal wastewater influent
                                                              influent as a tool for
                                                                                 for drug
                                                                                     drug
epidemiology.
epidemiology. Abstracts    ofof
                   Abstracts  Papers,
                                Papers,234th ACS
                                         234th ACSNational
                                                   NationalMeeting,
                                                            Meeting,Boston,
                                                                      Boston,MA,MA,United
                                                                                      United
                  19-23, 2007.
States, August 19-23,
States.

        DL. "Fatality
Sudakin DL.  “Fatality After
                       AfteraaSingle
                               Single Dermal
                                       Dermal Application
                                               Applicationof
                                                           ofLindane
                                                              LindaneLotion."
                                                                      Lotion.”Presented
                                                                               Presentedatatthe
                                                                                              the
European Association of Poison Centers and Clinical Toxicologists meeting. MayMay4,4,2007.
                                                                                      2007.
                 PublishedininClinical
Athens, Greece. Published      ClinicalToxicology
                                        Toxicology2007;45(4).
                                                   2007;45(4).

       LE, Sudakin DL. "Non-Specific
Power LE,                “Non-SpecificReporting
                                        Reportingofof -“Other”  Pesticide Classifications in
                                                         Other" Pesticide                  in
                              Reports.” Presented
Annual Poison Control Center Reports."   Presentedatatthe
                                                        theEuropean
                                                            EuropeanAssociation
                                                                      AssociationofofPoison
                                                                                       Poison
                                            May 4,4, 2007.
Centers and Clinical Toxicologists meeting. May       2007. Athens,
                                                             Athens,Greece.
                                                                      Greece.Published
                                                                               Publishedin in
Clinical Toxicology 2007;45(4).

         DL. "Longitudinal
Sudakin DL.   “Longitudinal Trends
                             Trends inin the
                                          the Incidence
                                               IncidenceofofOrganophosphate
                                                               OrganophosphateExposures
                                                                                 ExposuresReported
                                                                                             Reported
                                           Presentedatatthe
to Poison Centers in the United States. Presented         theEuropean
                                                               EuropeanAssociation
                                                                         Associationof ofPoison
                                                                                          Poison
Centers and Clinical Toxicologists meeting. April April 21,
                                                         21. 2006.
                                                              2006.Published
                                                                    PublishedininClinical
                                                                                  ClinicalToxicology
                                                                                           Toxicology
2006;44.

         DL. -“Pyrethroid
Sudakin DL.               Insecticides: Advances
               Pyrethroid Insecticides: Advances and
                                                  and Limitations
                                                       Limitationsinin Biomonitoring".
                                                                       Biomonitoring”.
Accepted for presentation at the North American Congress ofof Clinical Toxicology. September
                                                                                     September
13, 2004.
13,       Seattle. WA.
    2004. Seattle. WA. Published
                        Publishedinin Journal of Toxicology—Clinical
                                                 Toxicology—ClinicalToxicology
                                                                          Toxicology
2004;42(5) :788.
2004;42(5):788.

                                         “Regionalvariation
Sudakin DL, Horowitz BZ, Giffin S. "Regional         variationininthe
                                                                   theincidence
                                                                       incidenceof
                                                                                 ofsymptomatic
                                                                                    symptomatic
pesticide exposures: applications of GIS".    Presented at the International
                                       GIS”. Presented           International Society
                                                                               Society for
                                                                                       for Exposure
                                                                                           Exposure
Assessment / International
Assessment!   International Society
                             Society for
                                      for Environmental
                                          Environmental Epidemiology
                                                           EpidemiologyMeeting.
                                                                            Meeting. August
                                                                                      August11,
                                                                                              1 1,
       Vancouver, British
2002. Vancouver,    BritishColumbia.
                            Columbia. Published         Epidemiology 2002;13(4): page S208
                                          Publishedinin Epidemiology

                             Sudakin DL. "Improving
Thomsen C, Horowitz BZ, Sudakin             “Improvingreporting
                                                          reportingby    poisoncenter
                                                                    byaapoison   centertotoaapesticide
                                                                                              pesticide
poisoning surveillance system."    Presentedatatthe
                         system.” Presented           InternationalSociety
                                                 the International  Societyfor
                                                                            forExposure
                                                                                Exposure
Assessment / International
Assessment!   International Society   for Environmental
                             Society for  Environmental Epidemiology
                                                           Epidemiology Meeting.
                                                                          Meeting. August
                                                                                    August11,  11.,
2002. Vancouver,
      Vancouver, British
                    British Columbia.     Publishedinin Epidemiology
                            Columbia. Published                       2002;13(4): page S211
                                                        Epidemiology 2002;13(4):           S21 I

         DL. -“Toxigenic
Sudakin DL.                                            Indoor Environment."
               Toxigenic Fungi and Mycotoxins in the Indoor   Environment.” Mycological
                                                                            Mycological
Society of North
           North America. June
                           June 22,
                                22, 2002.
                                    2002. Corvallis,
                                           Corvallis,OR.
                                                      OR.

Sudakin DL, Wagner SL. -“Human
                           Human Pesticide   Exposures, Trends and
                                   Pesticide Exposures,             Informational Needs.”
                                                               and Informational  Needs."
North American Congress ofof Clinical Toxicology. October,
                                                   October,2001.
                                                            2001.Montreal,
                                                                  Montreal,Quebec.
                                                                             Quebec.
Abstract published in Journal of Toxicology--Clinical
                                 Toxicology--ClinicalToxicology  2001 ;39(5):528.
                                                      Toxicology2001;39(5):528.

Sudakin DL,
Sudakin DL, Horowitz BZ, Giffin
                            Giffin S.
                                   S. "Regional
                                       “Regional Variation
                                                 Variation ininthe
                                                                theIncidence
                                                                    Incidenceof  Intentional
                                                                              ofIntentional
Exposures.” North
Exposures."  NorthAmerican
                   AmericanCongress
                               CongressofofClinical
                                            ClinicalToxicology,
                                                     Toxicology,Tucson,
                                                                    Tucson,Arizona,
                                                                            Arizona,September,
                                                                                      September,
      Abstractpublished
2000. Abstract publishedinin Journal
                             Journal of
                                      of Toxicology--Clinical
                                         Toxicology--ClinicalToxicology
                                                                 Toxicology2000;38(5).

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Mirkin D, Sudakin DL, Horowitz BZ, Parker S. "Plumbism
                                                  ‘PlumbismininPregnancy
                                                                PregnancyTreated
                                                                          Treatedwith
                                                                                   with
DMSA.”   North American
DMSA." North    American Congress
                           Congress of
                                     ofClinical
                                        Clinical Toxicology,
                                                 Toxicology, Tucson,
                                                             Tucson, Arizona,
                                                                      Arizona, September,
                                                                                September,
2000. Abstract
2000. Abstractpublished
               publishedinin Journal of Toxicology--Clinical Toxicology
                                     ofToxicology--Clinical   Toxicology 2000;38(5).
                                                                         2000;38(5).

        D, Sudakin DL. "Lead
Mirkin D.              “Lead Chelation in the Neonate."
                                              Neonate.” North
                                                        NorthAmerican
                                                              AmericanCongress
                                                                         Congressofof
Clinical Toxicology, Tucson, Arizona, September, 2000. Abstract  publishedinin Journal of
                                                        Abstractpublished              of
Toxicology--Clinical Toxicology 2000;38(5).
                                2000;38(5).

Sudakin DL, Horowitz BZ.
Sudakin                 BZ. "Geographic
                             “Geographic Information
                                             InformationSystems
                                                          Systemsand
                                                                  andPoison
                                                                        PoisonCenter
                                                                                 Center
Management.” North
Management."    North American
                      AmericanCongress
                                  Congressof  ofClinical
                                                 ClinicalToxicology.
                                                          Toxicology. LaLaJolla,
                                                                           Jolla,California.
                                                                                  California.
September,   1999. Abstract
September, 1999.   Abstract published
                             published inin Journal of
                                                     ofToxicology--Clinical
                                                       Toxicology--Clinical Toxicology,
                                                                              Toxicology,
1 999;37(5).
1999;37(5).

Sudakin DL,
Sudakin  DL. Horowitz BZ. "Geographic
                               ‘Geographic Distribution
                                            DistributionofofHospitals
                                                             Hospitalsand
                                                                       andtheir
                                                                           theirInfluence
                                                                                 Influenceonon
Poison
Poison Center   Penetrance.”
                Penetrance." North  American   Congress   of
                                                          of Clinical Toxicology.  La Jolla,
                                                                                    La Jolla,
California. September.
             September, 1999.
                          1999. Abstract
                                 Abstractpublished
                                          publishedinin Journal of  Toxicology--Clinical
                                                                 of Toxicology--Clinical
             1 999;37(5).
Toxicology, 1999;37(5).
Toxicology,

Sudakin DL, Mullins ME,
Sudakin              ME, Horowitz BZ, Abshier V. "Intermediate
                                                      “IntermediateSyndrome
                                                                    SyndromeAfter     Malathion
                                                                                AfterMalathion
Ingestion Despite Continuous
Ingestion         Continuous Infusion
                              infusion of 2-PAM."
                                          2-PAM.” North
                                                     NorthAmerican
                                                            AmericanCongress
                                                                     Congressof ofClinical
                                                                                   Clinical
Toxicology La Jolla, California, September,
                                 September, 1999.
                                              1999. Abstract publishedinin Journal of
                                                    Abstractpublished              of
                     Toxicology, 1999;37(5).
Toxicology--Clinical Toxicology,  1 999;37(5).

Non-credit Seminars (Continuine  Education Lectures for
                     (Continuing Education          for Faculty,
                                                        Faculty, Fellows,
                                                                 Fellows, Residents
                                                                          Residents and
                                                                                    and
                    Oregon Health and Science
Medical Students at Oreeon            Science University, and
                                                          and Portland
                                                              Portland State
                                                                        State
University)
University)

•   invited Lecture.
    Invited  Lecture, Portland State University Counseling 507:
                                                            507: Addiction Pharmacology.
    Lecture
    Lecture Title:
             Title: Treatment of Opioid,
                                 Opiold, Alcohol,
                                         Alcohol, and Stimulant Use Disorders in the Outpatient
    Setting. October 25,
    Setting.          25, 2017.
•   Invited Lecture, Portland State University Counseling 507: Addiction Pharmacology: Title:
    Medication Assisted Treatment Options in the Outpatient Setting. April 8, 2016.
•   Invited  Lecture, Western
    Invited Lecture,  Western Regional
                               Regional Toxicology Fellowship Meeting,
                                                                 Meeting. Oregon Health and
    Science University
            Biomarkers of pesticide poisoning,
        o Biomarkers                 poisoning, April 24, 2014
•   Invited Lecture, Oregon Health and Science University Medical Toxicology Fellowship
    Program
        o Dram Shop Cases and Widmark Calculations. October 3, 2018.
        o THC and per se DUI limits. August 17,  17, 2018.
        o Addiction medicine update: 2016. August 15,  15, 2016.
        o Kratom and other remedies in opioid withdrawal syndrome, June 11,   11, 2015
                                                                                  2015
                                                      19, 2015
        o Naltrexone in clinical practice, February 19,
        o Buprenorphine in clinical practice and overdose, February 28, 2014
        o Methamphetamine death while in police custody, August 5, 2013  2013

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            o Postmortem redistribution of THC, May 13,      13, 2013
            o Biomarkers of Exposure to Pesticides.
                                              Pesticides, February 26, 2013
    •   Invited Speaker, Oregon Health Sciences University Preventive Medicine Resident Lecture
        Series, Portland.
        Series, Portland, Oregon:
            o -‘Biotechnology
                  Biotechnology and Food Safety,"
                                             Safety,” February 3, 2005
            o "Pesticide
                 ‘Pesticide Toxicology: Electronic
                                           ElectronicResources
                                                      ResourcesforforHealth
                                                                      HealthCare   Providers,”
                                                                              CareProviders,"
                               2005
                December 9, 2005
            o -‘Dietary
                  Dietary Aflatoxins and
                                       and Chemoprevention of Cancer,"
                                                                  Cancer,” April 24, 2003
                 ‘Regulatory and Clinical Toxicology of
            o "Regulatory                                of Dietary
                                                            Dietary Supplements"
                                                                     Supplements” May
                                                                                    May 22,
                                                                                         22, 2003
                                                                                             2003
                “Mold in
            o "Mold     in the Indoor Environment: Role of Mycotoxins in Building-Related Illness"Illness”
                June 6, 2002
                ‘Pesticide Exposures: Clinical
            o "Pesticide                 Clinicaland
                                                  andRegulatory
                                                       RegulatoryIssues,"
                                                                    Issues,”January
                                                                             January10,
                                                                                     10,2002.
                                                                                         2002.
   •    Invited Speaker, Oregon Health and Science University Medical Toxicology FellowshipFellowship
                              Portland, Oregon.
            Lecture Series, Portland,
            o -“Antidotes                                                      Disease” June
                  Antidotes in the Treatment of Aflatoxin-associated Liver Disease"      June 6,
                                                                                               6, 2002
                                                                                                  2002

   Technical Reports (peer-reviewed)

                                                         Practice Committee. American
   Co-author (Thomas Kurt, MD), with the ACMT Clinical Practice              American
                                           Instituteof
   College of Medical Toxicology Comment: Institute  ofMedicine
                                                       MedicineReport
                                                                  Reporton DampIndoor
                                                                         onDamp Indoor
          and Health. June, 2006.
   Spaces and

                                                               (C DC), Third National
   Expert writer, Centers for Disease Control and Prevention (CDC),          National Report on
                                                                                             on
                                                  Chemicals. Published
          Human Exposure to Environmental Chemicals.          Published July
                                                                        July 21,
                                                                             21, 2005.
                                                                                 2005.
          Sections authored and updated include:
          Pyrethroid Pesticides
          Herbicides
          Organophosphate Insecticides:
                              Insecticides: Specc
                                            Specific Metabolites
          Organophosphate Insecticides:
                              Insecticides: Dialkyl Phosphate Metabolites
          Organochiorine insecticides
          Organochlorine
          Other Pesticides (including DEET)
                                        DEED

Acknowledged Contributions to Peer-Reviewed Publications and Reports:
Pesticide Poisoning from Synthetic Pyrethroids, Oregon Department of   of Health Services
                                                                                  Services
   Communicable Disease (CD) Summary 2004;53(6).
Acute Idiopathic Pulmonary Hemorrhage in Infants: Recommendations
                                                         Recommendationsfrom
                                                                           fromthe
                                                                                 theWorking
                                                                                    WorkingGroup
                                                                                             Group
   for Investigation and Surveillance.
                          Surveillance, Morbidity and Mortality World
                                                                  World Report, Centers for Disease
                             March 12,
   Control and Prevention. March     12, 2004;53(RR02)1-12.
                                          2004;53(RRO2) 1- 12.
Poisoning by an Illegally Imported Chinese Rodenticide Containing
   Tetramethylenedisulfotetramine: New York City, 2002. Morbidity and Mortality World
   Tetramethylenedisulfotetramine:                                                       World
   Report, Centers for Disease Control and Prevention. March
   Report,                                                  March14,
                                                                  14,2003;52(10):199-201.
                                                                      2003;52(l0):199-201.
Agency for Toxic Substances and Disease Registry (ATSDR) Case   Case Studies
                                                                      Studies in
                                                                              in Environmental
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    Letters to the Editor:
    Sudakin DL.
    Sudakin  DL. ‘Bioaerosol
                 "Bioaerosol Lung Damage in  in a Worker with Repeated
                                                                 Repeated Exposure
                                                                            Exposure to Fungi
                                                                                         Fungi in
                                                                                                in aa Water-
                                                                                                      Water-
                 Building” Environmental
       damaged Building"    Environmental Health
                                            HealthPerspectives     2001; 1 09(111):516.
                                                     Perspectives2001;109(1      ):5 16.
    Sudakin DL,
    Sudakin               ME, Horowitz BZ. "Poison
             DL, Mullins ME,                  “Poison Control
                                                         Control Centers
                                                                 CentersandandOccupational
                                                                               OccupationalExposures."
                                                                                             Exposures.”
       Journal of Occupational
       Journal     Occupationaland andEnvironmental
                                       EnvironmentalMedicine,
                                                         Medicine,2000;42(1): 1-2.
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    Sudakin  DL. -“Mycotoxins
    Sudakin DL.    Mycotoxins and Pulmonary Hemorrhage."
                                                Hemorrhage.” Archives ofPediatrics
                                                                            of Pediatricsand
                                                                                          andAdolescent
                                                                                               Adolescent
       Medicine,
       Medicine, 1999;153:205.
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    Sudakin DL.   “IntegratingPreventive
             DL. Integrating    PreventiveMedicine
                                           Medicineinina Medical
                                                         a MedicalResident
                                                                    ResidentPractice."
                                                                              Practice.” Archives
                                                                                         Archives of
       Internal
       Internal Medicine   1998;158(15):1719.
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             DL. "Effects  ofMycotoxins
                              MycotoxinsininHealth
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                                                                                       AmericanMedical
                                                                                                  Medical
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   Non-refereed Publications (outreach, research and related  related activities featured
                                                                                 featured in):
                                                                                            in):
   BBC News,
   BBC          “DEET Bug
         News, "DEET     Bug Repellent, Toxic
                                        Toxic Worry."
                                                Worry.” August
                                                          August5,5, 2009.
                                                                      2009.
   Oregon's                 Progress,Winter.
              AgriculturalProgress,
   Oregon’s Agricultural                       2008: New
                                      Winter, 2008:   NewMethod
                                                              MethodPinpoints
                                                                       PinpointsMeth
                                                                                  MethHotspots."
                                                                                        Hotspots.”
   Oregon State
   Oregon   State University
                  UniversityNews
                              Newsand
                                    andCommunication
                                         Communication    Services,  September 15,
                                                             Services.            15, 2008. "OSU
                                                                                             “OSU Study
                                                                                                    Study
                                                           Oregon.”
       Uses New Method to Identify Meth Hot Spots in Oregon."
       Uses
   Oregon 's
   Oregon  ‘s Agricultural
              Agricultural Progress,
                            Progress,Fall, 2005.   •Profile: Dr.
                                            2005. "Profile:    Dr.Dan
                                                                   DanSudakin
                                                                        SudakinSpans
                                                                                 Spansthe
                                                                                        theWorlds
                                                                                             Worldsofof
                                      Toxicology.”
       Public Health, Medicine, and Toxicology."
   Forbes,        11, 2005, Daniel Fisher, -‘Dr.
   Forbes, April 11,                          Dr. Mold”
                                                  Mold"
   Los
   Los Angeles   Times,July 5, 2004. Kelly Young, -‘Repellent
        Angeles Times,                                                                Linger”
                                                      Repellent Works, but Fears Linger"
   Wall Street
   Wall  Street,Journal,                                      “Backyard Dilemna:
                Journal,June 26, 2004, Tara Pope-Parker, "Backyard        Dilemna: Which
                                                                                      WhichisisWorse
                                                                                                 Worse
               DEET or Possibility of West Nile Virus?"
                                                   Virus?”
   Pesticide and
   Pesticide  and Toxic
                  ToxicChemical     News,June 21, 2004, -‘Mysterious
                          ChemicaliVews,                    Mysterious Poisoning Death Attributed to
       Pesticide”
       Pesticide"
   Jacksonville Daily
   Jacksonville  DailyNews,        13, 2004, Roselee Papandrea, -“Odd
                        News,June 13,                                 Odd Poison Killed Child"
                                                                                           Child”
   American
   American College
              CollegeofMedical
                        of MedicalToxicology
                                   ToxicologyNewsletter,
                                                 Newsletter, Spring, 2004,
                                                             Spring,        ‘Toxicologists in the News"
                                                                     2004, "Toxicologists          News”
       Connections (National
   Ag Connections   (National Institute of Occupational Safety and Health, Agricultural Research
       Centers), Spring, 2003, "Logging
                               ‘Logging In:In: Valuable
                                               ValuableResources"
                                                          Resources”
   Science, April 14,
   Science,        14, 2000, Michael Hagmann, "A  “A Toxic Mold's
                                                              Mold’s Legacy
                                                                      Legacy Revisited"
                                                                               Revisited”

                                       TEACHING AND ADVISING

Course Development and Instruction at Oregon State University:

Instructor, Oregon State University, Toxicology 429/529: Toxic Toxic Substances
                                                                      SubstancesininFood.
                                                                                     Food.
Instructor, Oregon
            Oregon State University, Toxicology 512:512: Target
                                                         TargetOrgan    Toxicology(Neurotoxicology
                                                                 Organ Toxicology     (Neurotoxicology
lecture sequence).
lecture sequence).
Guest Lecturer, Oregon State University, Public
                                             Public Health 540
                                                           540 (Environmental Health).
                                                                                 Health). April
                                                                                           April20,
                                                                                                 20,2010.
                                                                                                     2010.
Lecture: “Pesticide
Lecture:                                  Toxicologyand
         "Pesticide Residues in Food: Toxicology      andRisk
                                                          RiskAssessment."
                                                                Assessment.”
Guest Lecturer, Oregon State University, Biology/Toxicology 430/430H/530 (Baccalaureate
                                                                                   (Baccalaureate Core),
                                                                                                   Core),
Biotechnologies: Agriculture,
Biotechnologies:    Agriculture, Food,
                                 Food, and
                                        and Resource
                                            Resource Issues.
                                                      Issues. 2004-2010.
                                                               2004-20 10.Lectures:
                                                                             Lectures:Tacogate (Starlink
                                                                                        Tacogate  (Starlink
Corn and Plant-Incorporated Protectants), and Dietary Supplements
Guest Lecturer and Moderator, Oregon State University, Public Health 591    591 (Environmental
                                                                                (Environmental Policy).
                                                                                                 Policy).
          14, 2009.
October 14,

                                                                                                            12
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   Guest Lecturer, Oregon State University, Toxicology 360 (Baccalaureate Core). Lecture:      Lecture:Your
                                                                                                          YourBody
                                                                                                                Body
   Fighting the Toxin.
                Toxin. October
                        October 13,    2009.
                                  13, 2009.
   Guest Lecturer, Oregon State University, Toxicology 360 (Baccalaureate Core). Lecture:      Lecture:Your
                                                                                                          YourBody
                                                                                                                Body
                Toxin. October
   Fighting the Toxin.  October12,12, 2008.
                                       2008.
         Lecturer, Oregon State University, Public Health 512: Occupational
   Guest Lecturer.                                                    Occupationaland andEnvironmental
                                                                                            Environmental
   Health.
   Health. Lecture:   Regulationand
            Lecture: Regulation         ClinicalToxicology
                                  andClinical     ToxicologyofofPesticides.
                                                                  Pesticides.October
                                                                               October 13,13,2005.
                                                                                               2005.
                                                                      Occupationaland
   Guest Lecturer, Oregon State University, Public Health 512: Occupational           andEnvironmental
                                                                                             EnvironmentalHealth.
                                                                                                               Health.
   Lecture: Pesticide
             Pesticide Toxicology.
                       Toxicology. MayMay11, 11,2005.
                                                 2005.
   Guest Lecturer, Oregon State University, Food, Science, & Technology 102:       102: Maraschino
                                                                                         MaraschinoCherry.Cherry.
   Lecture:  Food Toxicology
   Lecture: Food   Toxicology and    the Maraschino
                                and the   Maraschino Cherry.
                                                       Cherry. February
                                                                 February9,9,2005.
                                                                               2005.
         Lecturer, Oregon State University, Animal Science 490: Toxicants
   Guest Lecturer.                                                       ToxicantsandandPoisonous
                                                                                          PoisonousPlants.
                                                                                                       Plants.
                         Lecture: Dietary
   November 22, 2004. Lecture:                ExposuretotoAflatoxins
                                     DietaryExposure        AflatoxinsininFood
                                                                           FoodandandAnimal
                                                                                       AnimalFeed.
                                                                                                 Feed.
   Guest Lecturer, Oregon State University, Public Health 448/548: Public   Public Health
                                                                                    HealthToxicology
                                                                                              Toxicologyand andRisk
                                                                                                                Risk
   Assessment. October    29, 2004.
                 October 29,   2004. Lecture:
                                       Lecture:Arsenic
                                                  ArsenicToxicology
                                                           ToxicologyandandEpidemiology
                                                                             Epidemiology
                                                                      Environmental and
   Guest Lecturer, Oregon State University, Public Health 542: Environmental            andOccupational
                                                                                               OccupationalHealth.
                                                                                                               Health.
   Lecture: Pesticide
   Lecture:  Pesticide Toxicology
                       Toxicology and
                                    and Informational
                                          Informational Resources.
                                                          Resources. April
                                                                       April21,
                                                                             21,2004.
                                                                                  2004.
   Guest Lecturer, Oregon State University, Food, Science, & Technology 102:       102: Maraschino
                                                                                         MaraschinoCherry.
                                                                                                         Cherry.
   Lecture: Food
   Lecture:  Food Toxicology
                   Toxicology and
                                and the
                                     the Maraschino
                                          Maraschino Cherry.
                                                       Cherry. February
                                                                 February11,11,2004.
                                                                                2004.
                                                                      Environmental Health
   Guest Lecturer, Oregon State University, Public Health 411: Environmental            HealthPolicy
                                                                                                  Policyandand
   Regulations.  Lecture: Regulation
   Regulations. Lecture:   Regulationand andToxicology
                                              ToxicologyofofDietary
                                                              DietarySupplements.
                                                                       Supplements.November
                                                                                        November   24,24,2003.
                                                                                                           2003.
         Lecturer, Oregon State University, Public Health 542: Environmental
   Guest Lecturer.                                                    Environmentaland  andOccupational
                                                                                               OccupationalHealth.
                                                                                                               Health.
   Lecture:  Pesticide Toxicology   and   Informational   Resources.
   Lecture: Pesticide Toxicology and Informational Resources. May 28, May        2003.
                                                                            28, 2003.
   Guest Lecturer, Oregon State University, Public Health 591: Issues issuesand
                                                                              andResearch
                                                                                   ResearchininAddictive
                                                                                                  Addictive
   Behaviors.
   Behaviors. Lecture:
               Lecture: Marijuana
                         MarijuanaAddiction.
                                      Addiction.February
                                                   February27,
                                                             27,2003.
                                                                 2003.
   Guest Lecturer, Oregon State University, Toxicology 507   507 Seminar.
                                                                   Seminar. Toxicoepidemiology:
                         November12,
   Applications of GIS. November       12, 2001.
                                            2001.

                     GRANTS, COOPERATIVE AGREEMENTS, CONTRACTS

                                                        ROl CA 122959-01A2),
Co-Investigator: Dietary HDAC Inhibitors (funded by NIH ROI    122959-OlA2), 2012-2014

Co-investigator: Pharmacokinetics
Co-Investigator:  Pharmacokinetics of
                                    ofPhenanthrene
                                       Phenanthrene and
                                                     and I3C
                                                          13C ininPost-Menopausal
                                                                   Post-Menopausal Women
                                                                                   Women(funded
                                                                                         (fundedby
                                                                                                 by NIH
                                                                                                    NIH
(funded by NIH P01               201.0-20 14
                 P01 CA090890), 2010-2014

Co-investigator: Lipoic
Co-Investigator: Lipoic Acid Bioavailability in Young and Elderly Adults- Phase II
                                                                                II (funded by
                                                                                           by USANA),
                                                                                              USANA),
2009-20 14
2009-2014

National Pesticide Medical Monitoring Program (U.S. EPA Cooperative Agreement)
Principal
Principal Investigator (2001-2010).

National Pesticide Information
                   Information Center (U.S. EPA Cooperative Agreement)
                          (200 1-201 5).
Co-Principal Investigator (2001-2015).

Integrative Health Science
                     Science Facility Core
                                      Core (iHSFC),  Environmental Health Science Center (funded by
                                           (IHSFC), Environmental
          institute of
National Institute  of Environmental Health Sciences).
                                              Sciences). Co-Director
                                                         Co-Director of
                                                                     of Clinical
                                                                        Clinical Research
                                                                                 Research Center
                                                                                          Center (2006-
                                                                                                 (2006-
20 14).
2014).
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Superfund Research           (SRP), funded by the
           Research Program (SRP),            the National Institute of Environmental Health Sciences.
Director, Research Translation Core (RTC),
Director,                           (RTC). 2009-20
                                           2009-2014
                                                   14

Principal Investigator, Memorandum of Understanding,
Principal                                 Understanding, Oregon Department of of Agriculture. Consultation
                        of Oregon Pesticide Analytical and Response
activities to the State of                                 Response Center. 2001-2014
                                                                             2001-20 14

Contract, Environmental Medicine Presentation Package (Pesticide Residues in the Indoor Environment:
Contract,
                        Health Effects). Contract
Clinical Toxicology and Health            Contractawarded
                                                   awardedby  theAmerican
                                                           bythe AmericanCollege
                                                                          CollegeofofMedical
                                                                                     Medical
Toxicology.
Toxicology. August,  2010.

                                                         (Recognizing. Diagnostic.
Contract, Environmental Medicine Presentation Module (Recognizing,     Diagnostic. and Preventing
Pesticide Illness in
Pesticide Illness in Agricultural Workers). Contract  awarded by the Association ofOccupational
                                            Contract awarded by the Association of Occupational and
                                                                                                 and
Environmental Clinics. July 2006-June 2007.

Principal Investigator, Oregon Health and Science University Medical Research Foundation
Principal                                                                        Foundation Grant.
Grant title:
      title: Monitoring  CommunityDrug
             Monitoring Community    DrugAbuse:   Methamphetamineinin Municipal
                                          Abuse: Methamphetamine        Municipal Wastewater
                                                                                   Wastewaterand
                                                                                              andits
                                                                                                   its
Spatial Correlation with Poisoning Incidents in Oregon. Project period 8/1/06-8/1/08.
Spatial

                                                SERVICE
                                                SERVICE

   Service to the Profession

   Member, US
   Member,  US EPA National Advisory  Committee to
                             Advisory Committee to Develop Acute Exposure Guideline Levels
                                        2006-20 10)
   for Hazardous Substances (NAC/AEGL, 2006-2010)

   Member and Fellow, American College of Occupational and Environmental Medicine
        Occupational and Clinical Toxicology Committee
               Committee chair (2005-2008)
               House of Delegates (2004-5)
               House               (2004-5)

   Member and Fellow, American College of Medical Toxicology
        Ethics Task Force
        Grants and Contracts Committee

                                                            Foods, Fungi.
   Review Panel, Medical Toxicology of Natural Substances: Foods,   Fungi, Medicinal
                                                                           Medicinal Herbs,
                                                                                     Herbs, by
                                                                                             by Donald
                                                                                                Donald
         Barceloux (2008).

                           Pesticide Information
   National Review Board, Pesticide   Information Gateway project of  of the National Strategies for
                                   Pesticides Initiative.
          Health Care Providers: Pesticides    Initiative. National Environmental Education and
                                Inc.. December,
          Training Foundation, Inc..   December, 2002.
                                                   2002.
                 Peer-reviewer of technical  documents: ‘National
                                   technical documents:               Pesticide Competency Guidelines for
                                                           ''National Pesticide
                                        Education”- and "National
                 Medical and Nursing Education            “National Pesticide
                                                                    Pesticide Practice
                                                                               Practice Skills
                                                                                        Skills Guidelines
                                                                                               Guidelines for
                                                                                                          for
                 Medical and Nursing Practice"
                                        Practice”


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                                                   Foodand
Member, Roster of Experts in Biological Sciences. Food
Member,                                                    AgricultureOrganization
                                                        andAgriculture Organizationof
                                                                                    ofthe
                                                                                       the
     United Nations/World Health Organization Joint Expert Committee on Food Additives
     (2002)

Invited member of Peer Review Panels:

       Scientific Review Panel, National Institute of Environmental Health Sciences
                                                                           Sciences (NIEHS),
                                                August, 2010.
       Environmental Health Science Centers. August,     2010.

                                        “An Evaluation
                   10 Project Proposal: "An
       EPA Region 10                        Evaluation of
                                                       of the Human
                                                              Human Health
                                                                    Health Effects
                                                                           Effects of
                                                                                   of TCE
       Contamination at the View-Master Toy Factory
                                             Factory in Beaverton, OR."
                                                                   OR.” August
                                                                         August26,
                                                                                26,2005
                                                                                    2005

       NIEHS RFA ES-03-004: "Centers
                               “Centers for
                                          for Children's
                                              Children’sEnvironmental
                                                         Environmental Health
                                                                       Healthand
                                                                              andDisease
                                                                                 Disease
                  Research.” August
       Prevention Research." August4.4, 2003
                                         2003

       EPA 2002
       EPA             “Biomarkers for the Assessment of Exposure & Toxicity in
           2002 STAR "Biomarkers                                             in Children"
                                                                                Children”
       Washington, D.C., August 23, 2002
       Washington,

Member, Editorial
Member, Editorial Board
     Journal ofMedical
     Journal  of Medical Toxicology
                          Toxicology(2005-2014)
             Section Editor (Occupational and Environmental Toxicology)

Peer Reviewer for scientific journals:
       American Journal
       American   Journalof   EmergencyMedicine
                           ofEmergency     Medicine
       Pharmacodepidemiology and
       Pharmacodepidemiologv       andDrug
                                        DrugSafety
                                              Safety
       Toxicology Letters
       Toxicology   Letters
       Archives ofEnvironmental
       Archives  of Environmentaland andOccupational
                                          OccupationalHealth
                                                        Health
       Journal of Toxicology--Clinical
       Journal                           Toxicology
                   Toxicology--Clinical Toxicology
       Journal  of Medical Toxicology
       Journal ofMedical    Toxicology
       Medscape General
       Medscape    GeneralMedicine
                            Medicine
       Pediatrics
       Pediatrics
                    andMotor
       Perceptual and
       Perceptual       MotorSkills    (PsychologicalReports)
                                Skills(Psychological  Reports)
       Pesticide Biochemistry
       Pesticide  BiochemistryandandPhysiology
                                      Physiology

Abstract Review Committee, North American Congress of
                                                   of Clinical Toxicology, 2000-2001, 2007,
2008, 2009.
2008, 2009.

Reviewer of Technical Documents and Extension Publications:

       Purdue  Pesticide Programs, Cooperative Extension Service. Farm
       Purdue Pesticide                                           Farm Family
                                                                       FamilyExposure
                                                                              Exposuretoto
       Pesticides: A Conversation
       Pesticides:    Conversation with
                                   withFarm
                                        FarmWomen.
                                              Women.

                                                                 Chemical and
       Agency for Toxic Substances and Diseases Registry (ATSDR) Chemical and Technical
                                                                              Technical
       Summary Document
       Summary  DocumentforforDEET.
                               DEET. May, 2004


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                                                   Report: Mold,
       Western Wood Products Association Technical Report: Mold, Housing.
                                                                 Housing. and
                                                                          and Wood.
                                                                              Wood.2001.

Expert Panel Member,
             Member, Centers for Disease Control and Prevention Environmental/Laboratory
       Investigation Panel for Acute Idiopathic Pulmonary Hemorrhage, July 2000.

Research Advisory Committee for NIEHS grant ROI ES98707, -‘Reducing
                                            ROl ES98707,   Reducing Pesticide Exposure in
         Families” 2001-2004
Minority Families"

Research Advisory Committee for EPA Cooperative Agreement, "Saving
                                                           “Saving Lives
                                                                   Lives by Changing
                                                                         by Changing
       Practice”
       Practice" 2005-present

Invited speaker, Sacred Heart Medical Center Weekly Physician Conference. Eugene,
                                                                            Eugene,OR.
                                                                                   OR.June
                                                                                       June14,
                                                                                            14,
2005. Lecture:
       Lecture: "Pediatric
                 “PediatricToxicology:
                            Toxicology:Heavy
                                        HeavyMetals
                                              Metalsand
                                                     andDietary
                                                         DietarySupplements."
                                                                  Supplements.”

Invited
Invited speaker,
        speaker, OHSU   School of Dentistry Continuing Education Lecture Series. Portland
                 OHSU School                                                      Portland,OR.
                                                                                            OR.
February 10,
          10, 2005. Lecture:  “Toxicology of Dental Amalgams”
              2005. Lecture: "Toxicology of Dental Amalgams"

Invited speaker, Advanced Hazmat Life Support, Provider Course (Lecture Topics: Toxic
                                                                                 ToxicInhalations
                                                                                       Inhalations
and Antidotes in Detail). September
                           September25,
                                     25, 2004.
                                          2004. Eugene,
                                                 Eugene,Oregon
                                                         Oregon

Invited
Invited speaker,
        speaker, Good                                                   April 23,
                 Good Samaritan Regional Medical Center, Corvallis, OR. April  23, 2004.
                                                                                    2004.
Lecture:  ‘Chemical
Lecture: "Chemical  Exposures in the Workplace.”
                                     Workplace."

Invited speaker,
        speaker, Advanced Hazmat Life Support,
                                        Support. Provider Course (Lecture Topics: Toxic
                                                                                   ToxicInhalations
                                                                                         Inhalations
and Antidotes in Detail). September 27, 2003. Brooks,
                                              Brooks,Oregon
                                                       Oregon

Invited speaker, Continuing Medical Education lecture, Good Samaritan Hospital.
                                                                      Hospital. Lecture:
                                                                                 Lecture: "Pesticide
                                                                                           “Pesticide
          in the Home."
Exposure in      Home.” May
                         May12,
                             12,2001,  Corvallis,Oregon
                                 2001,Corvallis,  Oregon

Invited speaker, Northwest Association of Occupational and Environmental Medicine monthly
                                                                                  monthly
meeting.  Lecture: “Mold:  Indoor Air and the Occupational Physician” May, 2000
meeting. Lecture: "Mold: Indoor Air and the Occupational Physician" May, 2000

Service to the Public (Professionally Related)

Appointee, Governor's
           Governor’s Cannabis
                      Cannabis Research
                               Research Task
                                        Task Force
                                             Force (Oregon),
                                                    (Oregon), 2015-6
                                                              20 15-6

Invited Speaker,
Invited Speaker, OSU Extension Non-Crop Vegetation Management Conference, Corvallis, OR.
                                                                                     OR.
                  Title: -“Health
January 28, 2010. Title:                     Herbicides”
                           Health Effects of Herbicides"

                                                       Monoxide Poisoning),
Testimony in support of Oregon House Bill 3450 (Carbon Monoxide Poisoning), to
                                                                            to Oregon
                                                                               Oregon Human
                                                                                      Human
Services Committee. Salem,
Services             Salem, OR.
                            OR. April
                                 April6,6,2009.
                                           2009.

Invited Speaker,
Invited Speaker, Corvallis,
                 Corvallis, Oregon.  Public Outreach
                            Oregon. Public  Outreach Session
                                                       Session of
                                                                ofthe
                                                                   the Pacific
                                                                        Pacific Northwest
                                                                                NorthwestAssociation
                                                                                          Associationof
                                                                                                      of
                                September20,
Toxicologists Annual Meeting. September     20, 2008.
                                                 2008.Presentation:
                                                        Presentation:"Methamphetamine:
                                                                       “Methamphetamine:Health
                                                                                            Health  Risks
                                                                                                 Risks
in the
in the Lab
       Lab and in the Community."
                      Community.”

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Invited Speaker,
Invited  Speaker, Eugene,
                  Eugene, Oregon. Pesticide
                                     Pesticide Applicator
                                               ApplicatorTraining
                                                          TrainingCourse:
                                                                   Course:Policy
                                                                           Policyand
                                                                                  andPractice.
                                                                                       Practice.
             2006. Presentation:
February 7, 2006.                  LongitudinalTrends
                    Presentation: "Longitudinal  TrendsininOrganophosphate
                                                            OrganophosphateIncidents
                                                                            Incidentsininthe
                                                                                          theUnited
                                                                                              United
States.”
States."

Invited Speaker, Oregon Vegetation Management Association Course. Seaside,
                                                                      Seaside,Oregon.
                                                                               Oregon.November
                                                                                      November
14,
14, 2005.               “Reliable Resources
          Presentation: "Reliable
    2005. Presentation:           Resources in
                                             in Pesticide
                                                Pesticide Toxicology"
                                                          Toxicology”

        Speaker, OSU Extension Service Non-Crop Vegetation Management Course. Corvallis,
Invited Speaker,                                                                          Corvallis,
Oregon. February
Oregon.   February 2,2, 2005.
                         2005. Presentation:
                                Presentation:"Case
                                              “CaseStudies
                                                    StudiesofofPesticide
                                                                PesticidePoisoning
                                                                          Poisoningand
                                                                                    andLessons
                                                                                        LessonsLearned
                                                                                                Learned
              Applicators.”
for Pesticide Applicators."

Invited Speaker, Benton County Environmental Health Advisory Committee Public
Invited Speaker,                                                             Public Meeting.
                    September28,
Corvallis, Oregon. September  28, 2004.  Presentation: -“Children’s
                                   2004.Presentation:               Health and
                                                         Children's Health and the
                                                                                the Environment."
                                                                                    Environment.”

 Invited Speaker,
 Invited Speaker, Corvallis Senior Center. Corvallis,
                                           Corvallis, Oregon.
                                                      Oregon. August
                                                               August20,
                                                                      20,2004.
                                                                          2004.Lecture:
                                                                                 Lecture:
-‘Medications
  Medications and Dietary Supplements: AA Physician's
                                            Physician’sPerspective"
                                                         Perspective”

Invited Speaker,
Invited Speaker, Central Oregon Pest Management Course. Bend,
                                                         Bend, Oregon.
                                                               Oregon. February
                                                                        February18,
                                                                                 18,2004.
                                                                                     2004.
Lecture: "Pesticides
Lecture: “Pesticides and Effects in
                                 in Humans"
                                    Humans”

Invited
Invited Speaker,
        Speaker, OSU
                 OSU Extension Service Non-Crop Vegetation Management Course. Corvallis,
                                                                                  Corvallis,
         February 11,
Oregon. February   11, 2004.
                        2004. Lecture:
                               Lecture:"Pesticide
                                        ‘PesticidePoisoning:
                                                   Poisoning:Signs and
                                                               Signs   Symptoms
                                                                     and Symptoms

Invited Speaker,
Invited Speaker, Oregon                                       Pesticide Chemistry,
                 Oregon State University Extension Service: Pesticide   Chemistry, Toxicology,
                                                                                    Toxicology,and
                                                                                                 and
Policy
Policy Short Course.                   February10,
             Course. Ontario, Oregon. February  10, 2004.   Lecture: -“Pesticides
                                                     2004. Lecture:    Pesticides and Effects in
Humans

Invited Speaker, Willamette Dietetic Association, Corvallis, Oregon. January
Invited                                                               January26,
                                                                              26,2004
                                                                                  2004Lecture:
                                                                                       Lecture:
-‘Dietary              Regulation and
  Dietary Supplements: Regulation  and Toxicity"
                                       Toxicity”

Invited Speaker,
Invited Speaker, American Society of Safety Engineers Chapter meeting, Salem Oregon. AugustAugust5,5,
2003.  Lecture: "Chemical
2003. Lecture:   ‘ChemicalIncidents:
                           Incidents:Responding
                                      RespondingtotoDisasters
                                                     Disastersand
                                                               andAvoiding
                                                                   Avoidingthe
                                                                             thePitfalls"
                                                                                 Pitfalls”

Oregon State University, EHSC SMILE Program High School Challenge Event Event in IAQ,
                                                                              in IAQ,
Environmental Physician Expert session. Oregon State University, April 25.
                                                                       25, 2003.

Invited Speaker, North American Truffling Society, Corvallis, Oregon, April 8, 2003. Presentation:
Invited Speaker,                                                                      Presentation:
Mycotoxins: Human
"Mycotoxins:  HumanHealth
                      HealthHazards
                             Hazardsfrom
                                     fromAbove-ground
                                           Above-groundFungi"
                                                          Fungi”

Invited Speaker,
        Speaker, 2003
                  2003 Southern Oregon Pesticide Recertification Short Course. January
                                                                                   January22,
                                                                                           22,2003,
                                                                                               2003,
Medford,   Oregon. Presentations:
Medford, Oregon.    Presentations: "Pesticide
                                    ‘PesticidePoisoning:
                                               Poisoning:What
                                                           Whatthe
                                                                 thePesticide
                                                                     PesticideApplicator
                                                                               ApplicatorShould
                                                                                          ShouldKnow"
                                                                                                 Know”
     ‘Pesticide Poisonings in
and "Pesticide             in Oregon
                              Oregon and
                                       and the Pacific
                                               Pacific Northwest"
                                                       Northwest”



                                                                                                          17
                                                                                                          17
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Invited speaker,
Invited speaker, 2003 Chemical Applicator Short Course, January 15,
                 2003 Chemical                                  15, 2003, Portland, Oregon.
Lecture: "Pesticide
Lecture: “Pesticide Poisoning: Signs,
                                Signs, Symptoms,
                                        Symptoms,and
                                                  andFirst
                                                      FirstAid"
                                                           Aid”

                                                                             “PesticideExposures:
Invited Presenter, Oregon Private Pesticide Applicator CORE Training Video. "Pesticide  Exposures:
What the
      the Pesticide Applicator Should
                               Should Know,"
                                      Know,” November 8, 2002

Invited
Invited Speaker, EHSC Summer Institute for Pilot School teachers. "The
        Speaker, EHSC                                              “TheRole
                                                                        Roleof
                                                                             ofthe
                                                                                thePublic
                                                                                    PublicHealth
                                                                                           Health
Physician.” June
Physician."  June 18,
                   18, 2002.
                        2002. Corvallis,
                               Corvallis,Oregon.
                                          Oregon.

        Speaker, Wilbur-Ellis Company Private Pesticide Applicators- Core Credit Meeting, Albany,
Invited Speaker,
                                      ‘Pesticide Exposures
Oregon, March 6, 2002. Presentation: "Pesticide  Exposures in
                                                           in Oregon"
                                                              Oregon”

Invited Speaker,
Invited Speaker, Pacific Northwest Agricultural Chemistry, Toxicology, and Policy Short
                                                                                   Short Course,
Eugene, Oregon,
Eugene,  Oregon, February 20, 2002.  Lectures: "Pesticides
                              2002. Lectures:   “Pesticidesand
                                                            and Effects
                                                                 Effectson
                                                                         onHumans"
                                                                           Humans”and
                                                                                   and"Pesticide
                                                                                       “Pesticide
           in Oregon and the Pacific Northwest”
Exposures in                         Northwest"

Invited Speaker,
Invited Speaker, Chemical
                 Chemical Applicators Short Course, Portland, Oregon. January
                                                                       January 10,   2002. "Pesticide
                                                                                10, 2002.   “Pesticide
ExposlLres in Oregon, What the Pesticide Applicator Should Know"
Exposures                                                  Know”


                                                 AWARDS

      2006:
      2006: Winner,
            Winner, American
                    American Academy
                               Academy of
                                        ofClinical
                                            Clinical Toxicology,
                                                      Toxicology, Lampe-Kunkle
                                                                   Lampe-KunkleAward
                                                                               Awardfor
                                                                                     for
            Research in
            Research in Natural             Toxicology.
                        Natural Products of Toxicology.

      1998: Winner,
      1998: Winner, Resident
                    Resident Paper
                             Paper Competition,
                                   Competition, Oregon
                                                 Oregon Health
                                                         Health and
                                                                and Science
                                                                    Science University
                                                                            University Sommer
                                                                                        Sommer
            Memorial Lecture.
                      Lecture. Paper:  ‘Stachybotrys chartarum: Current Knowledge of
                                Paper: "Stachybotrys                                 of Its
                                                                                        its Role in
            Disease.”
            Disease."




                                                                                                     18
                                                                                                     18
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           Trial and
           Trial andDeposition
                     DepositionTestimony
                                TestimonyofofDaniel
                                              DanielL. L.
                                                       Sudakin, MD,
                                                          Sudakin, MD,
                                                                    MPHMPH


1.
1.      Fazli v.
        Fazli v. Action
                 ActionManagement
                          Management
        Deposition testimony,
        Deposition   testimony,February
                                February16,16,
                                            2021
                                               2021

2.
2.      Olmos
        Olmos v.
               v. ABM
                  ABMIndustries,
                         Industries,Inc.
                                      Inc.
        Depositiontestimony,
        Deposition  testimony,February
                               February  2, 2, 2021
                                            2021

3.
3.      Zacharias v.v.Velqui-I,
        Zacharias      Velqui-I,LLC,
                                 LLC,et al.
                                        et al.
        Deposition testimony,
        Deposition   testimony,November
                                 November   23,23,
                                                2020
                                                   2020

4.
4.      Rose v.
        Rose v. Holt
                Holt
        Deposition  testimony,July
        Deposition testimony,   July
                                   30,30, 2020
                                       2020

5.
5.      Serrano v.v.Premo
        Serrano      Premo
        Depositiontestimony,
        Deposition   testimony,March
                                March20,20,
                                         2020
                                            2020

6.
6.      Glisson v.
                v. Lee
                   Lee
        Deposition testimony,
        Deposition  testimony,March
                               March   2020
                                    3, 3, 2020

7.
7.      Bruner
        Bruner v.v.HH&&HHRoofing
                           Roofing
        Deposition testimony,
        Deposition   testimony,October
                                October11,11, 2019
                                           2019

8.
8.      Marchese v.v.Farbenbloom
        Marchese      Farbenbloom
        Deposition testimony,
        Deposition  testimony,September
                               September25,25,
                                            2019
                                               2019

9.
9.             of Washington
        State of
        State     Washingtonv.v.Heng
                                 Heng
        Trial testimony,September
        Trial testimony, September 18,18,
                                       2019
                                          2019

10.
10.     Vakoff
        Vakoff vv Arapahoe
                    ArapahoeHouse
                             House
        Trial testimony,
        Trial  testimony,March
                          March7, 7, 2019
                                  2019

11.
11.     Revel v.
        Revel v. Fromm
                 Fromm
        Deposition testimony,
        Deposition  testimony,January
                                January   2019
                                      14,14, 2019

12.
12.     Maria  VegaGonzalez
        Maria Vega   Gonzalezv.v.SAIF
                                  SAIF
        Deposition testimony,
        Deposition  testimony,January
                                January
                                      4, 4, 2019
                                         2019

13.
13.     Deyo-Bundy v.v.SAIF
        Deyo-Bundy      SAIF
        Hearing testimony,
        Hearing  testimony,August
                            August23,23,
                                      2018
                                         2018

14.
14.     State of
        State ofWashington
                 Washingtonv.v.Donald
                                 DonaldSiegler
                                          Siegler
        Hearing testimony,
        Hearing  testimony,July
                            July18,18,
                                    2018
                                       2018

15.
15.     Rapp v.
        Rapp v.Boone
                 BooneHospital
                         HospitalCenter
                                  Center
        Deposition testimony,
        Deposition  testimony,March
                               March 19,19,
                                         2018
                                            2018

16.
16.     Williams v.
        Williams  v. Stoltz
                     Stoltz
        Deposition
        Depositiontestimony,
                    testimony,March
                               March6, 2018
                                       6, 2018

17.
17.     Graves v.v.Bonyo
        Graves      Bonyo
        Deposition   testimony,February
        Deposition testimony,   February23,23, 2018
                                            2018

18.
18.     Oregon v.v.Logan
        Oregon       Logan
        Trial testimony,
        Trial  testimony,February
                          February2, 2, 2018
                                     2018
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19.
19.   Longmire      102210tl
      Longmire v.v.1022      St HOA
                          10th  St HOA
      Deposition  testimony,June
      Deposition testimony,   June16,
                                   16,2017
                                       2017
      Trial testimony,November
      Trial testimony, November3,3,2017
                                      2017

20.
20.   Keene  v. Mitchell
      Keene v.  Mitchell
      Superior Court
      Superior  CourtofofState
                          Stateofof
                                  California, County
                                    California,      of Los
                                                County   of Los Angeles
                                                            Angeles
      Deposition testimony,
      Deposition testimony,April
                              April19,
                                    19,2017
                                        2017
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·1·
 1 · · · · · UNITED STATES DISTRICT COURT
                                    COURT
·2·
 2 · · · · · NORTHERN DISTRICT OF CALIFORNIA
                                  CALIFORNIA
 3 · · · · · __________________________________________
·3·
 4 · · Jessica
·4·            Dominguez,· · ·))
       Jessica Dominguez,
                                                 CERTIFIED COPY
·5·
 5 · · individually, and· · · ))
       individually, and
·6·
 6 · · Jessica
       Jessica Dominguez as
                         as· ·))
·7·
 7 · · Guardian ad Litem·
                   Litem · · )) Case No:
                                     No:
·8·
 8 · · for      (1), JAD (2)
       for JAD (1),      (2)· ·)) 5:18-cv-04826
                                  5:18-cv-04826
·9·
 9 · · and JAD (3),· · · · · ·))
           JAD (3),
10·
10 · · · · · Plaintiffs,·
             Plaintiffs, · · ))
11·    vs. · · · · · · · · · ))
11 · · vs.·
12·
12 · · City of San
               San Jose,
                   Jose,· · · ))
13·
13 · · San
       San Jose Police
                Police· · · · ))
14·
14 · · Department, Michael
                   Michael· · ))
15·
15 · · Pina and Doe Police
                    Police· · ))
16·
16 · · Officers 2-5,· · · · · ))
       Officers 2-5,
17·
17 · · · · · Defendants.·
             Defendants. · · ))
18
18
19·
19 · · · · · _________________________________________
20 · · · · · · · DEPOSITION OF ROCKY EDWARDS
20·
21·            (The following
21 · · · · · ·(The  following is
                              is the deposition of
                                                of Rocky
22·
22 Edwards,
    Edwards, taken pursuant to Federal Rule
                                       Rule of
                                            of Civil
                                               Civil
23·
23 Procedure 30(b)(6), taken remotely commencing
                                      commencing at
                                                 at
24·
24 approximately 1:00 p.m., PDT,
                 1:00 p.m., PDT, November 1, 2021.)
                                          1, 2021.)
25
25


                                  Rocky Edwards
                                 November 01,
                                          01, 2021
                                              2021                       11
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·1·
 1  APPEARANCES:
    APPEARANCES:

·2·
 2    ·   ·   ·   ·   ·   On behalf of
                                    of the
                                        the Plaintiffs:
                                            Plaintiffs:
· ·   ·   ·   ·   ·   ·   Mr. John Kevin Crowley
·3·
 3    ·   ·   ·   ·   ·   Attorney at Law
· ·   ·   ·   ·   ·   ·   125
                          125 S. Market Street,
                                         Street, Suite
                                                 Suite 1200
                                                        1200
·4·
 4    ·   ·   ·   ·   ·   San
                          San Jose,
                              Jose, CA·  95113
                                     CA 95113

·5·
 5    ·   ·   ·   ·   ·   On behalf of
                                    of the
                                        the Defendants:
                                            Defendants:
· ·   ·   ·   ·   ·   ·   Ms. Maren Clouse
                                    Clouse
·6·
 6    ·   ·   ·   ·   ·   Chief Deputy City Attorney
· ·   ·   ·   ·   ·   ·   200
                          200 E. Santa Clara St.
                                              St. Fl
                                                  Fl 16
                                                      16
·7·
 7    ·   ·   ·   ·   ·   San
                          San Jose,
                              Jose, CA·  95113-1903
                                     CA 95113-1903

·8
 8

·9
 9
· · · · · · · · · · · · · · EXHIBIT INDEX
10
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· · · · · · · EXAMINATION·
              EXAMINATION ·WITNESS·
                            WITNESS   · · · · · · ·PAGE
                                                   PAGE
11
11· · · · · · John
              John Crowley·  Rocky Edwards
                   Crowley Rocky                   3
                                   Edwards· · · · ·3

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12
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· · · · · · · EXHIBIT·     DESCRIPTION · · · · ·PAGE
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13
13
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· · · · · · · A·           SJ 1628 Report
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                                       Rocky Edwards
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                                               01, 2021
                                                   2021                  2
                                                                         YVer1f
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·1·
 1 pillar?                                                                       14:38:04
                                                                                 14:38:04
·2·
 2 · · · Q.· Well, they
         Q. Well,   they have
                          have two
                                two of
                                     of them.
                                         them.                                   14:38:04
                                                                                 14:38:04
 3 · · · A.·
·3·          Okay.
         A. Okay.                                                                14:38:06
 4 · · · Q.·
·4·          And then
         Q. And   then there's
                        there's aa section
                                    section there
                                             there that
                                                    that                         14:38:06
·5·
 5 says,
    says, "Results
          "Results and
                   and Conclusions."· The jacketing
                       Conclusions." The  jacketing and
                                                    and                          14:38:11
·6·
 6 projectile were examined
                   examined with,
                            with, you
                                  you know,
                                      know, scientific
                                            scientific                           14:38:15
·7·
 7 stuff and materials recovered.· And then
                       recovered. And   then it
                                              it says,
                                                  says,                          14:38:19
·8·
 8 "powdered
    "powdered glass and possible bone were recovered
                                           recovered                             14:38:23
·9· from the jacketing,"
 9 from      jacketing," right?
                         right?                                                  14:38:27
                                                                                 14:38:27
10·
10 · · · A.· Okay.
         A. Okay.                                                                14:38:30
11 · · · Q.·
11·          "Polymeric material
         Q. "Polymeric   material was
                                   was recovered
                                        recovered from
                                                  from the
                                                       the                       14:38:31
12 projectile.·
12·              No fibers
    projectile. No   fibers were
                             were observed
                                   observed on
                                             on the
                                                 the                             14:38:34
                                                                                 14:38:34
13·
13 jacketing and projectile."
                 projectile."                                                    14:38:37
                                                                                 14:38:37
14·
14 · · · A.· Okay.
         A. Okay.                                                                14:38:46
15·
15 · · · Q.· So where
         Q. So   where is
                        is it
                            it that
                                that you
                                      you found
                                           found that
                                                  that there
                                                       there                     14:38:46
16·
16 was textile fibers or material
                         material found
                                  found on
                                        on any
                                           any of
                                               of these
                                                  these                          14:38:48
                                                                                 14:38:48
17 bullets?
17· bullets?                                                                     14:38:52
                                                                                 14:38:52
18·      A. I'm
18 · · · A.· I'm looking
                  looking at
                           at the
                               the criminalist's
                                   criminalist's notes
                                                 notes and                       14:38:57
                                                                                 14:38:57
19·
19 --
    -- II don't
          don't know.· I'd have
                know. I'd   have to
                                  to go
                                      go back
                                         back and
                                              and look
                                                  look where
                                                       where                     14:40:19
20·
20 II got that
          that from.
               from.                                                             14:40:21
21 · · · Q.·
21·          You would
         Q. You   would agree
                         agree that
                                that it's
                                      it's unusual
                                            unusual for
                                                    for aa                       14:40:23
22·
22 bullet of this type to
                       to have
                          have textile
                               textile fibers
                                       fibers on
                                              on it?
                                                 it?                             14:40:24
                                                                                 14:40:24
23·      A. Yeah,
23 · · · A.· Yeah, if
                    if it's
                       it's moving really fast.·
                            moving really fast. So
                                                 So                              14:40:37
                                                                                 14:40:37
24·
24 you're not always going to find
                              find fibers
                                   fibers on
                                          on the
                                             the bullet
                                                 bullet                          14:40:43
25·
25 moving so quickly.· No fibers
             quickly. No   fibers were
                                   were observed
                                         observed on
                                                   on the
                                                      the                        14:40:46


                                Rocky Edwards
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·1·
 1 30-degree
    30-degree angle with his arm, left arm
                                       arm above
                                           above the
                                                 the                             14:49:21
·2·
 2 windowsill.·  That's not
    windowsill. That's   not what
                              what Pina
                                    Pina said,
                                          said, is
                                                 is it?
                                                    it?                          14:49:25
·3·
 3 · · · · · MS. CLOUSE:· Objection, misstates
                 CLOUSE: Objection,  misstates the
                                               the                               14:49:30
 4 testimony.
·4· testimony.                                                                   14:49:31
·5·      Q. Well,
 5 · · · Q.· Well, where
                    where did
                           did you
                                you find
                                     find him
                                           him saying
                                                saying that
                                                       that                      14:49:33
·6·
 6 in his deposition?
          deposition?                                                            14:49:36
·7·
 7 · · · A.· Well, II think
         A. Well,      think that
                              that the
                                   the position
                                       position of
                                                of the
                                                   the                           14:49:36
·8·
 8 seat was after -- when they were doing
                                    doing the
                                          the                                    14:49:41
·9·
 9 examination of the scene, that
                             that the
                                  the position
                                      position of
                                               of the
                                                  the                            14:49:42
                                                                                 14:49:42
10·
10 chair, the way it's
                  it's positioned
                       positioned in
                                   in the
                                       the driver's
                                            driver's seat,
                                                      seat,                      14:49:44
                                                                                 14:49:44
11 was in that
11·       that position.
               position.                                                         14:49:46
12 · · · Q.·
12·          So when
         Q. So   when he
                       he was
                           was shot
                                shot he
                                      he leaned
                                          leaned back
                                                  back into
                                                       into                      14:49:49
13·
13 the seat, correct?
             correct?                                                            14:49:53
14·
14 · · · · · MS. CLOUSE:· Objection, vague.
                 CLOUSE: Objection,  vague.                                      14:49:56
15·
15 · · · Q.· Right?
         Q. Right?                                                               14:50:03
16·
16 · · · A.·
         A. II don't
                don't know.
                      know.·I Idon't
                                don't recall.
                                       recall.                                   14:50:04
                                                                                 14:50:04
17 · · · Q.·
17·      Q. Well,
             Well, he
                    he didn't
                        didn't fall
                                fall forward
                                      forward and
                                               and crouch
                                                    crouch --
                                                           --                    14:50:05
18·
18 · · · A.· No, he
         A. No,   he had
                      had to
                           to go
                               go backwards.
                                   backwards.                                    14:50:08
                                                                                 14:50:08
19·
19 · · · Q.· -- and
         Q. --   and end
                      end up
                           up in
                               in aa clump,
                                     clump, did
                                            did he?
                                                he?                              14:50:10
20·      A. No,
20 · · · A.· No, he
                  he did
                      did not.
                          not.                                                   14:50:13
21 · · · Q.·
21·          So --
         Q. So   -- so
                     so had
                         had he
                              he been
                                  been shot
                                        shot when
                                              when he
                                                    he was
                                                       was                       14:50:13
22·
22 leaning forward, the -- his body would
                                    would have
                                          have fallen
                                               fallen                            14:50:15
23·
23 forward
    forward and collapsed,
                collapsed, right?
                           right?                                                14:50:21
24·
24 · · · A.· Yes.
         A. Yes.                                                                 14:50:23
25·
25 · · · Q.· So he
         Q. So   he was
                     was shot
                          shot when
                                when he
                                      he was
                                          was sitting
                                               sitting up,
                                                       up,                       14:50:23


                                Rocky Edwards
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·1·
 1 correct?
    correct?                                                                     14:50:27
·2·
 2 · · · A.· Correct.
         A. Correct.                                                             14:50:27
·3·
 3 · · · Q.· And he
         Q. And   he was
                      was shot
                           shot when
                                when his
                                     his left hand was                           14:50:28
·4·
 4 raised,
    raised, correct?                                                             14:50:45
·5·
 5 · · · · · MS. CLOUSE:· Objection, vague.
                 CLOUSE: Objection,  vague.                                      14:50:46
·6·
 6 · · · Q.· Well, he
         Q. Well,   he was
                        was shot
                            shot when
                                 when his
                                      his left
                                          left arm was                           14:50:47
·7·
 7 raised above the windowsill next
                               next to his head,
                                           head,                                 14:50:51
·8·
 8 correct?
    correct?                                                                     14:50:56
·9·
 9 · · · · · MS. CLOUSE:· Objection, misstates
                 CLOUSE: Objection,   misstates --
                                                -- well,
                                                   well,                         14:50:57
10·
10 it's compound, and I'll
                      I'll leave
                           leave it
                                 it at
                                    at that.
                                       that.                                     14:51:00
11 · · · A.·
11·      A. Well, obviously his sleeve
                                sleeve was
                                       was in
                                           in                                    14:51:05
12 alignment with the trajectory of
12·                              of the
                                    the bullet
                                        bullet as the                            14:51:08
13·
13 bullet path went through
                    through his
                            his sweatshirt
                                sweatshirt and
                                           and impacted
                                               impacted                          14:51:11
14·
14 in his face, so that's where your
                                your alignment
                                     alignment comes
                                               comes                             14:51:14
15·
15 in.
    in.                                                                          14:51:18
16·
16 · · · Q.· Okay.· So
         Q. Okay.   So the answer is "yes,"
                                     "yes," correct?
                                            correct?                             14:51:19
17·
17 · · · · · MS.
             MS. CLOUSE:· Objection, argumentative,
                 CLOUSE: Objection,  argumentative, and                          14:51:24
18·
18 misstates the testimony.
                 testimony.                                                      14:51:26
19·
19 · · · · · MR.
             MR. CROWLEY:· It isn't
                 CROWLEY: It  isn't argumentative.
                                    argumentative. II                            14:51:29
20·
20 asked him the question; it's not
                                not argumentative.
                                    argumentative.                               14:51:30
21· It's in his report.
21 It's         report.                                                          14:51:31
22·
22 · · · · · MS. CLOUSE:· If it's
                 CLOUSE: If   it's in
                                    in his
                                       his report,
                                           report, then
                                                   then                          14:51:34
23·
23 why do you need to ask him the question?
                                  question?                                      14:51:35
24·
24 · · · · · BY MR.
                MR. CROWLEY:
                    CROWLEY:                                                     14:51:37
25·
25 · · · Q.·
         Q. Okay.·
             Okay. Okay.·
                   Okay. Let me read you
                                     you this
                                         this from
                                              from                               14:51:37


                                Rocky Edwards
                               November 01,
                                        01, 2021
                                            2021                       61
                                                                       61
                                                                        YVer1f
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                        Atkinson-Baker, a Veritext Company
                                                   Company
                                  www.depo.com
                                  www.depo.com


·1· your report.
 1 your  report.· "Number
                   "Number five:
                           five:·It
                                  It is
                                      is likely
                                          likely                                 14:51:39
·2· Dominguez's left
 2 Dominguez's   left arm
                       arm was
                            was in
                                 in aa position
                                        position adjacent
                                                 adjacent to
                                                          to                     14:51:41
·3· the left
 3 the   left side
               side of
                     of his
                         his face,"
                              face," okay?
                                      okay?                                      14:51:44
 4 · · · A.·
·4·          Okay.·I Iagree
         A. Okay.      agreewith
                             with that.
                                   that.                                         14:51:49
 5 · · · Q.·
·5·          That means
         Q. That   means his
                          his arm
                               arm was
                                    was raised,
                                         raised, correct?
                                                  correct?                       14:51:51
·6·
 6 · · · · · MS. CLOUSE:· Objection, vague.
                 CLOUSE: Objection,  vague.                                      14:51:57
·7·
 7 · · · Q.· And that
         Q. And   that means
                        means when
                               when he
                                     he was
                                         was shot,
                                              shot, correct?
                                                     correct?                    14:51:58
·8·
 8 · · · A.· Well, his
         A. Well,   his arm
                         arm had
                              had to
                                   to be
                                      be raised
                                         raised --
                                                --                               14:52:00
·9·
 9 · · · Q.· Well, "yes"
         Q. Well,   "yes" or
                          or "no"?
                             "no"?                                               14:52:02
10·
10 · · · A.· -- in
         A. --   in order
                     order to
                           to get
                              get the
                                  the trajectory.
                                      trajectory.· Yes,
                                                    Yes,                         14:52:03
11· it was
11 it   was raised.
             raised.                                                             14:52:05
12 · · · Q.·
12·          Of course.
         Q. Of   course.·Of
                          Of course.
                              course.·And
                                       Andyou
                                           you read
                                                read the
                                                      the                        14:52:05
13 entire
13· entire deposition
            deposition of
                        of Mr.
                            Mr. Pina,
                                 Pina, right?
                                       right?                                    14:52:37
14·
14 · · · A.· Yes.
         A. Yes.                                                                 14:52:40
15·
15 · · · Q.· In reading
         Q. In   reading my
                          my ballistic's
                              ballistic's expert
                                          expert David
                                                 David                           14:52:55
16· Balash's report,
16 Balash's   report, do
                       do you
                           you have
                                have any
                                     any criticism
                                         criticism of
                                                   of his
                                                      his                        14:52:59
17· report?
17 report?                                                                       14:53:03
18·      A. No.
18 · · · A.· No.·I Ijust
                      just----I Ithink
                                  thinkII kind
                                           kind of
                                                 of disagree
                                                     disagree                    14:53:03
19· on the
19 on   the path.
            path.·I Ithink
                      thinkhe
                            hebelieved
                               believed that
                                         that the
                                               the path
                                                   path of
                                                        of                       14:53:06
20· the bullet
20 the   bullet that
                 that hit
                       hit the
                            the pillar
                                 pillar went
                                         went through
                                              through his
                                                      his                        14:53:10
21· sweatshirt and
21 sweatshirt  and hit
                   hit the
                       the pillar.
                           pillar.· II think
                                        think it
                                               it was
                                                  was the
                                                      the                        14:53:13
22· second shot.
22 second   shot.·I Ithink
                      thinkthat's
                            that's the
                                    the only
                                         only discrepancy
                                               discrepancy                       14:53:15
23· that II saw
23 that      saw between
                  between him
                           him and
                                and I.
                                     I.                                          14:53:19
24·
24 · · · Q.· Did you
         Q. Did   you visit
                       visit the
                              the scene?
                                  scene?                                         14:53:26
25·
25 · · · A.· Yes.
         A. Yes.                                                                 14:53:28


                                Rocky Edwards
                               November 01,
                                        01, 2021
                                            2021                       62
                                                                        YVer1f
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                                                                                                                                                                EXHIBIT

                                                                                                                                                                       A

                                          County of Santa
                                                    Santa Clara
                                                          Clara Crime
                                                                CrimeLaboratory
                                                                      Laboratory
                                                               Office      theDistrict
                                                               Officeofofthe    DistrictAttorney
                                                                                             Attorney
                                                                   250  WestFiedding
                                                                    250 West           Street
                                                                             1-leddingStreet
                                                                 San
                                                                 San Jose.   CaUfomia95110-1717
                                                                     Jose,California   95110-1717
                                                                           (408)808-5900 0
                                                                          (408)808-590
                                                                       (408) 275-6245
                                                                              275-6245FAXFAX

                                                                              REPORT
                                                               EXAMINATION REPORT
                                           PHYSICAL EVIDENCE EXAMINATION
                                                 Supplementall Report Number 1I
                                                 Supplementa
Agency Case
Agency CaseNumber
            Number                 Agency
                                   Agency                                                                                                    Laboratory Number
                                                                                                                                             Laboratory Number
172580283
172580283                              JosePolice
                                   San Jose PoliceDepartment
                                                   Department                                                                                M171 328
                                                                                                                                             M171328
                                                                                                     _
Suspect
Suspect                                                         Offense
                                                                Offense                                  Analyst
Dominguez, Jacob
Dominguez,  Jacob                                               211 PC
                                                                    PC                                   Melissa Dupée
                                                                                                         Melissa Dupee

Victim
Victim                                                          Report Date                              Agency  Contact
                                                                                                         Agency Contact
Officer Mike
Officer Mike Pina #3930
                  #3930                                         3/26/2018
                                                                3126/2018                                Veronica Martinez
                                                                                                         Veronica Martinez


EVIDENCE
EVIDENCE

    Code II SJPD
Bar Code     S.IPD BarBarCode!
                            Code /ItemItemNo.
                                           No. Description
                                                Description
AA171682 / SJ182278-19
AA1716821S    J182278-19/ /item    Item2020     Copper colored
                                                Copper         jacketing
                                                         colored jacketing
M171683
Ml 71683/ /SJ182278-28
             Sil 82278-28/Ite  / Itemm 29       Silver andcopper
                                                Silverand   coppercolored projectile
                                                                    colored  projectile
M171534
Ml  71534/ /not
             not listed
                  listed // Item
                            Item28 28           “black hoodie
                                                "black  boodlesweatshirt
                                                                sweatshirt                   Information Management
                                                                                  Laboratory Information
                                                                          per the Laboratory              ManagementSystem
                                                                                                                      System

REQUESTED ANALYSIS
REQUESTED ANALYSIS

Examine  thejacketing
Examine the           and
              jacketing   projectile
                        and          for trace
                            projectile          evidence
                                          for trace      matenals
                                                     evidence     including
                                                              materials     glass and
                                                                         including  glass    from
                                                                                      fibersand    the sweatshirt.
                                                                                                fibers  from the sweatshirt.

RESULTS AND CONCLUSI
RESULTS AND CONCLUSIONS
                     ONS

The  jacketingand
The jacketing  andprojectile were
                    projectile were         with with
                                      examined
                                  examined                      copy for traceforevidence
                                                       stereomicroscopy
                                                 stereomicros                              materials.materials.
                                                                                   trace evidence                recoveredrecovered
                                                                                                       Materials Materials
were  examined   with stereomicroscopy,
were examined with stereomicros   copy, polarized light microscopy,
                                            polarized   light        Fourier
                                                               microscopy,     transform
                                                                              Fourier     infrared
                                                                                        transform  spectroscopy
                                                                                                    infrared      and scanning
                                                                                                             spectroscopy    and scanning
electron microscopy
electron microscopy      energy
                    andand   energy         spectroscopy
                                     dispersive
                                 dispersive                , as appropriate.
                                                 spectroscopy,     as appropriate.

Powdered    glassand
Powdered glass    andpossible
                      possible  bone
                              bone    were
                                   were      recovered
                                        recovered         the jacketing.
                                                     from from           Polymeric
                                                                the jacketing. Polymeric    was recovered
                                                                                   materialmaterial       from the from the
                                                                                                    was recovered
projectile.    fiberswere
            Nofibers
projectile. No        wereobserved
                            observed  the the
                                   on on   jacketing  and projectile.
                                               jacketing   and projectile.

The sweatshirt wasnot
    sweatshirtwas  notopened or examined.
                        opened  or examined.

DISPOSITION OF EVIDENCE
DISPOSITION OF EVIDENCE

Digital  imagestaken
Digital images       during
                 taken      thethe
                       during          of analysis
                                   course
                                course             were were
                                           of analysis  uploaded to the Laboratory
                                                             uploaded              Information
                                                                        to the Laboratory      Management
                                                                                            Information   System. System.
                                                                                                        Management

Item 28 remains
Item 28 remainsininthe
                     thePropertylEvi dence UnitUnit
                         Property/Evidence               another
                                                     pending
                                                 pending          laboratory
                                                               another       analysis.
                                                                        laboratory  analysis.     and 29
                                                                                        Items 20Items  20wilt      will be to
                                                                                                          andbe29released   released to
the              dence
    Property/Evidence
the Property/Evi       Unit
                        Unit upon
                             upon completion
                                   completion of
                                               of  the
                                                 the technical review
                                                       technical      process.
                                                                  review        Once
                                                                          process.     available,
                                                                                    Once          please
                                                                                            available,   arrange
                                                                                                       please     to retrieve
                                                                                                               arrange    to retrieve
your evidenceatatyour
your evidence      yourearliest convenience.
                         earliest convenience.


                                                                                                                  Melissa A. Dupée
                                                                                                                  Melissa A.
                                                                                                                  Criminalist
                                                                                                                  Criminalist
                                                                                                                             Dupee
                                                                                                                                            /

Aocreclited
Accreditedbybythe
               theAmerican
                   American  Sodety
                           Society     of Crime
                                   of Crime     Laboratory
                                             Laboratory     Directors/Laboratory
                                                        Dlrectors/Laboratory Accreditation BoardBoard
                                                                                 Accreditation

Electronically
 Electronicallystored instrumental
                 stored             datadata
                         instrumental     files files
                                                generated in the course
                                                      generated   in the ofcourse
                                                                            analysis
                                                                                  ofmay        may be
                                                                                         be available
                                                                                     analysis           avaiLable
                                                                                                      upon          upon spedflc
                                                                                                           specific request         request
                                                                                                                            only. These files may    These files may require
                                                                                                                                              only.require
specialized
speaIizedsoftware       to open
                     to open
              software            vievr,vw
                              and and    the Laboratory   cannotcannot
                                               the Laboratory            provide
                                                                   provide  any such   such software.
                                                                                  anysoftware.

Review-? —71,0 4
Re                                                                                     of I1
                                                                               Page 11 of
                                                                               Page
                               ‘
                        317.tha'      r                                                tt:   S1K2
                                                                                                                                                              SJ1628
                                                                                                                                                              SJ1628
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    REPORT ON THE FATAL SHOOTING
                         SHOOTING
       OFJACOBDOMINGUEZ
       OF JACOB DOMINGUEZ ON
          SEPTEMBER 15, 2017
                     15,2017




                            1850




                             ROSEI{
                  JEFFREY F. ROSEN
                   DISTRICT ATTORNEY
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                                                   PREAMBLE
The evaluation
     evaluation of
                of this
                    this incident
                          incident was
                                    was prepared
                                           preparedafter
                                                    afteraareview
                                                            reviewofofthethereports
                                                                             reportsprepared
                                                                                     preparedbybythetheSan
                                                                                                        San
Jose Police Department,
             Department, the theSanta
                                 SantaClara
                                         ClaraCounty
                                                CountyCrime
                                                         CrimeLab,
                                                                 Lab,and
                                                                       andthe
                                                                            theSanta
                                                                                SantaClara
                                                                                       ClaraCounty
                                                                                              CountyMedical
                                                                                                        Medical
             Office.San
Examiner's Office.     SanJose
                             JosePolice
                                   PoliceDepartment
                                            DepartmentDetective
                                                         DetectiveSergeants
                                                                     SergeantsRaul
                                                                                 RaulCorral
                                                                                       Corraland
                                                                                               andBertrand
                                                                                                    Bertrand
Milliken and District Attorney
                         Attorney Investigator
                                    Investigator Tom
                                                   Tom Newland
                                                         Newland conducted
                                                                    conducted thetheinvestigation.
                                                                                     investigation. The
                                                                                                      The
submission included: reports
                         reports of
                                  of the
                                      the responding
                                           responding police
                                                       policeofficers;
                                                               officers;reports
                                                                          reportssummarizing
                                                                                   summarizinginterviews
                                                                                                  interviews
of the involved officers
                officers andand civilian
                                 civilian witnesses; recordings
                                                       recordings ofof interviews;
                                                                        interviews; body
                                                                                     body worn
                                                                                          worn camera
                                                                                                 camera
footage; photographs; Medical
                          Medical Examiner's
                                    Examiner's report;
                                                  report;911/police
                                                           911/police radio
                                                                         radiocommunications;
                                                                               communications;Crime CrimeLab
                                                                                                           Lab
reports; and surveillance
             surveillance video
                             video from
                                    from nearby
                                            nearby homes.
                                                   homes.ThisThisreview
                                                                   reviewisisbeing
                                                                               beingconducted
                                                                                      conductedpursuant
                                                                                                  pursuanttoto
the Officer-Involved Incident
                        Incident Guidelines
                                   Guidelines adopted
                                                adopted byby the
                                                              the Santa
                                                                  Santa Clara
                                                                          ClaraCounty
                                                                                CountyPolice
                                                                                         Police Chief's
                                                                                                 Chief s
Association on
             on December
                December 8,      2016.
                               8,2016.
                                           SUMMARY OF
                                                   OF FACTS
                                                      FACTS

The following summarizes
                 summarizes the events
                                  events leading
                                         leading up
                                                 up to,
                                                     to, and
                                                          and including,
                                                               including, the
                                                                           theofficer-involved
                                                                               officer-involvedshooting
                                                                                                shooting
at Penitencia Creek Road
                       Road and
                             and North White
                                       White Road
                                               Road in
                                                     in San
                                                         San Jose,
                                                              Jose, CA
                                                                    CA on
                                                                        onSeptember
                                                                             Septernber15,  2017, which
                                                                                         15,2017, which
led to the death
           death of
                  of Jacob
                      Jacob Dominguez.
                            Dominguez.

       Leadins Up
Events Leading Up to
                  to the
                     the Officer-Involved
                         Officer-Involved Shooting
                                          Shootins
On August 28,   2017, Trach
            28,2017,   Trach Ngo's
                             Ngo's2012
                                     2012Honda
                                           HondaAccordAccordwas
                                                              wasstolen
                                                                  stolenfrom
                                                                         fromthe
                                                                              thecarport
                                                                                  carportofofhis
                                                                                              hishome
                                                                                                  home
in San Jose.
       Jose.The
              Thevictim
                  victimdescribed
                          described the
                                     thethief
                                         thiefasasa a"clean-shaven
                                                      "clean-shavenHispanic
                                                                     Hispaniçmale"
                                                                               male"between
                                                                                     betweenthe theages
                                                                                                    ages
of 30 and 35.
          35.r1
                                                                                                               'Water.
On August 31,    2017, Mr.
             3I,2017,   Mr. Ngo's
                             Ngo's Honda
                                     Honda Accord
                                               Accord waswasbacked
                                                               backed into
                                                                         intoaaparking
                                                                                 parkingstall
                                                                                            stallatatTP
                                                                                                      TPPure
                                                                                                         PureWater.
Andrew Anchondo and   and Patricia
                           Patricia Ruiz
                                     Ruiz exited
                                            exited the
                                                     the vehicle
                                                          vehicleand
                                                                   andentered
                                                                         entered the
                                                                                   thestore
                                                                                        storewhile
                                                                                               whilean an
unidentified
unidentified male passenger remained in      in the
                                                 the rear
                                                      rearof
                                                           of the
                                                               thecar.
                                                                   car.After
                                                                          Afterspending
                                                                                 spendinga ashort
                                                                                                shorttime
                                                                                                       timeinside
                                                                                                             inside
the store, Anchondo hadhad aabrief
                              brief conversation
                                     conversation with with Ruiz,
                                                             Ruiz, then   exited  the  store  and
                                                                    then exited the store and had a  had a
conversation
conversation with the
                    the unidentified
                         unidentified male.
                                       male.The   Thevictim
                                                       victimstore
                                                                storeemployee,
                                                                       employee,worried
                                                                                     worrieda aviolent
                                                                                                   violentcrime
                                                                                                            crimewas
                                                                                                                   was
about
about to be committed, went
                          went to the store
                                         store entrance.
                                                 entrance.Anchondo
                                                             Anchondoapproached
                                                                            approachedthe  thevictim
                                                                                                victimandandpulled
                                                                                                              pulled
out a silver revolver from
                       from his
                              his pocket, causing
                                            causing thethe victim
                                                           victim toto run
                                                                        runtotoaanearby
                                                                                  nearbybusiness.
                                                                                            business.Anchondo
                                                                                                         Anchondo
took the register drawer with $50 in it and got into the driver's
took                                                              driver's seat
                                                                             seat of
                                                                                  of the
                                                                                      the Accord.
                                                                                          Accord.Ruiz  Ruizgot
                                                                                                             gotinto
                                                                                                                 into
the front passenger seat,
                      seat, and
                            and the
                                 the car
                                     car left
                                          left the
                                                the scene
                                                     scene with
                                                            with the
                                                                  thethree
                                                                       threeoccupants.
                                                                               occupants.22

On September 12,    2017, members
                 12,2017,   members of  of the
                                            the Regional
                                                Regional Auto
                                                            Auto Theft
                                                                  Theft Task
                                                                          Task Force
                                                                                Force(RATTF)
                                                                                       (RATTF)were  were
conducting surveillance on  on Andrew
                               Andrew Anchondo
                                          Anchondo as   ashe
                                                           hewas
                                                              was driving
                                                                    driving aastolen
                                                                               stolenMercedes.
                                                                                      Mercedes.33 The The team
                                                                                                           team
observed
observed the stolen Mercedes
                      Mercedes pull
                                  pull into
                                        into the
                                              the Arco
                                                  Arcogasgasstation
                                                              stationatat2357
                                                                        2357 Quimby
                                                                                Quimby   Road
                                                                                          Road  in
                                                                                                 inSan
                                                                                                     San Jose.
                                                                                                          Jose.
Andrew Anchondo was   was the
                           the driver,
                               driver, Patricia
                                         Patricia Ruiz
                                                   Ruiz was
                                                         was the
                                                               thefront
                                                                   front passenger,
                                                                          passenger, and
                                                                                      andJacob
                                                                                           JacobDominguez
                                                                                                   Dominquez
was the rear seat
              seat passenger.
                   passenger.Upon
                                Uponarriving
                                         arrivingatatthe
                                                      theArco,
                                                          Arco,Dominguez
                                                                  Dominguezexited
                                                                                exitedthe
                                                                                        thevehicle,
                                                                                            vehicle,entered
                                                                                                       entered
the station's convenience
               convenience store,
                             store, paid
                                    paid  for
                                           for gas,
                                               gas, and  bought   some   water.  Dominguez     then
                                                     and bought some water. Dominguez then returned   returned
to the Mercedes, after
                   after which
                         which Anchondo
                                 Anchondo masked
                                               masked himself
                                                         himself up
                                                                  upwith
                                                                      withaabandana,
                                                                              bandana,entered
                                                                                         enteredthethestore,
                                                                                                        store,and
                                                                                                               and
robbed three employees
               employees atat gunpoint
                              gunpoint (described
                                          (described as asaablack
                                                             blackhandgun)
                                                                    handgun) of   approximately     $350
                                                                                of approximately $350 in   in
cash.


I The
  The theft
      theft of
            of Mr.
               Mr. Ngo's
                   Ngo'scar
                         carwas
                            was documented
                                 documented in
1                                               inSJPD
                                                   SJPDcasecasenumber
                                                                number17-240-0526.
                                                                         17-240-0526.
2
2 The robbery of
              of TP
                  TP Pure
                      Pure Water
                           Water was
                                   was documented
                                         documented ininSJPD
                                                         SJPDcase
                                                               casenumber
                                                                    number17-243-0326
                                                                             17-243-0326
3
3 The robbery of
              of the
                  the Arco
                      Arco gas
                            gas station
                                 station was
                                         wasdocumented
                                             documentedininSJPD
                                                              SJPDcase
                                                                    casenumber
                                                                         number17-255-0757.
                                                                                  l7-255-0757

                                                          3J
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Once RATTF learned
                learned an
                         an armed     robbery occurred
                            armed robbery      occurred inside
                                                         inside the  Arco station,
                                                                 the Arco  station, the
                                                                                     theSan
                                                                                         SanJose
                                                                                              JosePolice
                                                                                                    Police
               (SJPD)Covert
Department's (SJPD)
Department's            Covert Response
                                  Response Unit    (CRU)took
                                             Unit(CRU)     tookover
                                                                  oversurveillance
                                                                       surveillanceand     apprehension ofof
                                                                                       andapprehension
    vehicle'soccupants
the vehicle's occupants due
                          duetotothethenature
                                        natureof
                                               ofthe
                                                  thecrime
                                                      crimeandandAnchondo
                                                                   Anchondobeing
                                                                               beinga asuspect
                                                                                         suspectininaagang-
                                                                                                       gang-
related shooting
        shooting that
                  that occurred
                       occurred thethe week   before.Surveillance
                                        week before.   Surveillancewaswasultimately
                                                                          ultimatelylostlostand
                                                                                             andthe
                                                                                                  the
operation was
           was terminated
                terminated for
                             for the
                                  theday.
                                       day.

On Wednesday, September
                   September 13, 13, 2017,
                                     2017, the
                                            the Santa
                                                 Santa Clara
                                                         ClaraCounty
                                                               CountyProbation
                                                                         Probation Department
                                                                                      Department notified
                                                                                                      notified
      that Anchondo,
SJPD that  Anchondo, Ruiz,Ruiz, and
                                 and Sheila
                                      SheilaFranco,
                                              Franco,the    girlfriendofofJacob
                                                        thegirlfriend      JacobDominguez,
                                                                                   Dominguez,were   wereatat17641
                                                                                                              17641
CalleMazatlan,
Calle Mazatlan, Morgan       Hill.Members
                  Morgan Hill.      MembersofofCRU CRUset setup
                                                              upsurveillance
                                                                  surveillanceatatthat
                                                                                    thatlocation
                                                                                          locationatataround
                                                                                                        around
           day. The
noon that day.   Thethree
                       three people
                              peoplewere
                                      wereseen
                                             seenentering
                                                   entering aaChevy
                                                                Chevy Malibu,
                                                                        Malibu, which
                                                                                   whichCRUCRUstopped
                                                                                                   stopped using
                                                                                                             using
             Control Tactic,
the Vehicle Control     Tactic, or "VCT," which
                                or "VCT,"     which isisaamethod
                                                          methodused usedby
                                                                          bylawlawenforcement
                                                                                    enforcementtotoapprehend
                                                                                                       apprehend
          during aa vehicle
a suspect during               pursuit.IfIfexecuted
                     vehicle pursuit.       executedcorrectly,
                                                        correctly,the
                                                                    thesuspect
                                                                        suspectvehicle
                                                                                  vehiclehashasnonoroom
                                                                                                     roomtoto
           forward or
maneuver forward      or backward,
                         backward, making it   it impossible
                                                  impossible to drive off off.CRUCRUtook
                                                                                       tookAnchondo
                                                                                             Anchondoand    and
Ruiz into custody
          custody andand released
                          released Franco
                                     Franco after
                                             after being
                                                   beingdetained.
                                                           detained.The Thefirearm
                                                                             firearmused
                                                                                       usedininthe
                                                                                                 theArco
                                                                                                      Arco
robbery was
         was not
              not recovered.
                   recovered.

On Thursday, September   14,20T7,
              September 14, 2017, Jacob
                                   Jacob Dominguez
                                          Dominguezbooked
                                                      booked aaone-way
                                                                one-way American
                                                                        AmericanAirlines
                                                                                  Airlines
flight from Oakland, CA to
            Oakland, CA to Dayton,
                           Dayton, OH,
                                    OH, departing
                                         departing on
                                                   onSaturday,
                                                      Saturday,September
                                                                 September16, 2017, atat6:00
                                                                           16,2017,      6:00
a.m.
Covert Response Unit  (CRU) Briefing
                Unit (CRU)  Briefïne and
                                      and Operations
                                          Operations Plan
                                                     Plan
             morning on
Late Friday morning      on September
                            September 15,15,2017,
                                             2017, CRU
                                                    CRU Officer
                                                           OfficerPeter
                                                                    PeterSzemeredi
                                                                            Szemerediconducted
                                                                                        conductedaabriefing
                                                                                                      briefing
to advise other
          other CRU
                CRU members
                        members ofof the
                                      the Operational
                                          Operational Plan     ("OPPlan")
                                                         Plan("OP      Plan")totoapprehend
                                                                                  apprehendDominguez
                                                                                             Dominguezon    oî
          warrant for
an arrest warrant  for the  Arco station
                        the Arco station armed    robbery.Officer
                                           armed robbery.     OfficerMichael
                                                                        MichaelPinaPinawas
                                                                                        waspresent
                                                                                            presentfor
                                                                                                     forthis
                                                                                                          this
briefing.Below
briefing.  Belowisisthe   information relayed
                     theinformation     relayedtotoCRU
                                                    CRUofficers
                                                           officers ininthe  writtenOP
                                                                         thewritten   OPPlan
                                                                                          Planabout
                                                                                               about the
                                                                                                      the
suspect, Jacob Dominguez,
                Dominguez, withwith added
                                     added notations
                                             notations in
                                                        in brackets
                                                           bracketsfor forclarity:
                                                                           clarity:
        "On9ll2l20I7,
        "On  9/12/2017, an
                         an armed
                            armed robbery
                                    robbery occurred
                                             occurred at
                                                       atthe
                                                          theArco
                                                               Arcogas
                                                                    gasstation   inSan
                                                                        station in  SanJose
                                                                                        Jose
                           Andrew Anchondo,
        (Quimby/White). Andrew       Anchondo, Patricia
                                                  Patricia Ruiz
                                                           Ruiz and  Jacob Dominguez
                                                                 and Jacob Dominguezwere were
                                      robbery. CRU
        identified as suspects in the robbery.  CRUapprehended
                                                       apprehended Anchondo
                                                                      Anchondo and andRuiz
                                                                                       Ruizon
                                                                                            on
        9/1312017.GIU
        9/13/2017.   GIU[Gang
                          [Gang  Investigations
                                  Investigations Unit]
                                                 Unit] has
                                                        has requested
                                                             requested CRU's
                                                                       CRU's  assistance
                                                                                assistancein
                                                                                           in
        apprehending Dominguez. .. ..
        No probation, no
                      no parole.
                         parole.

                2llpc [robbery],
        Priors: 211pc  frobbery], 212.5pc      (robberywith
                                   2l2.5pc (robbery     with gun),    2l5pc[carjacking]
                                                              gun),215pc    fcarjacking] (dismissed),
                                                                                              (dismissed),
        l2020pc [felon
        12020pc   ffelon in possession   of
                                         of  firearm],
                                            firearm],  11550pc
                                                        11550pc  [being
                                                                   fbeing under
                                                                          under   the
                                                                                   the influence
                                                                                        influence of
                                                                                                   ofaa
        controlled substance],
                    substancel, 10851vc
                                 10851vc [auto     theft],496pc
                                            fauto theft], 496pc [receiving
                                                                  [receiving stolen     property],148pc
                                                                              stolenproperty],       148pc
        [obstructing
        [obstructing  police officer],
                             officer], 186.22pc
                                        T86.22pc   [gang
                                                    lgang crime],
                                                           crime],  29800pc
                                                                    29800pc  [firearm
                                                                              [firearm    offense],
                                                                                           offense], 242pc
                                                                                                      242pc
        [battery]."
        fbattery]."
CRU personnel were
              were also
                   also advised  in the
                        advised in   theOP
                                        OPPlan
                                           Planof
                                                ofspecific
                                                   specificsafety
                                                            safetyconcerns:
                                                                   concerns:

        "Dominguezis
        "Dominguez     is an
                          an active
                             active SJG
                                     SJG[San
                                          [San Jose
                                                Jose Grande]
                                                        Grande] ganggangmember
                                                                         member and  andbelieved
                                                                                          believedtotobe
                                                                                                       bearmed
                                                                                                           armed
                revolver. The
        with aa revolver.   Thehandgun
                                handgun used
                                           usedininthe
                                                    the[Arco]
                                                            fArco] robbery
                                                                    robbery   is
                                                                               iscurrently
                                                                                  currently outstanding.
                                                                                             outstanding.
        Dominguez is is aware
                         aware he is
                                   is wanted   and itit is
                                      wanted and         is believed
                                                             believed he
                                                                       heisisaware
                                                                              awareof ofsurveillance
                                                                                         surveillance tactics.
                                                                                                       tactics.
        Franco [Sheila
                 fSheila  Franco,  Dominguez's     girlfriend]
                                                  girlfriend]     was
                                                                   was present
                                                                        present   during
                                                                                   during apprehension
                                                                                           apprehension   of
                                                                                                         of
        Anchondo andand may
                          may be  familiar with
                               be familiar  with CRU
                                                  CRU Cars/personnel."
                                                            Cars/personnel."



                                                        4
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Surveillance of
             of Jacob
                Jacob Dominguez
                      Dominguez
Shortly after the briefing, CRU found Sheila
                                        Sheila Franco
                                               Franco and
                                                       and her
                                                           her Chevy
                                                               Chevy Malibu
                                                                      Malibu inin aa parking
                                                                                     parking lot
                                                                                              lot at
                                                                                                  at
Capitol Expressway
         Expressway and and Alum Rock
                                 Rock at
                                      at approximately
                                         approximately 12:30   p.m.
                                                         12:30 p.m. CRU
                                                                     CRUinitiated
                                                                          initiatedsurveillance
                                                                                      surveillanceon on
        in the
Franco in   the hope
                hope that
                      that Dominguez wouldattempt
                           Dominguez would  attempttotocontact
                                                        contacther.
                                                                her.

At approximately 2:00
                   2:00 p.m.,
                         p.m., while CRU
                                      CRU waswas surveilling
                                                  surveilling Franco,
                                                              Franco, an
                                                                       an unknown
                                                                          unknown male    (not
                                                                                   male (not
Dominguez) used
             used aa false ID to rent
                     false ID            Kia Sportage
                                 rent aa Kia  Sportage (license
                                                        (license plate
                                                                 plate GTX1026)
                                                                       GTXL026) atat the
                                                                                      theSan
                                                                                          San Jose
                                                                                               Jose
Airport Hertz
        Hertz counter.
              counter.

Just after
     after 3:00
           3:00 p.m.,
                 p.m., Officer
                       Offìcer Gustavo
                               Gustavo Perez
                                        Perezobserved
                                              observedDominguez
                                                        Dominguezenter
                                                                     enterthe
                                                                           theparking    lotatatCapitol
                                                                                parkinglot       Capitol
Expressway and     Alum Rock driving the
               and Alum                    Kia Sportage
                                       the Kia  Sportage rented
                                                         rented from
                                                                 from the
                                                                       theSan
                                                                           San Jose  Airport Hertz
                                                                                Jose Airport    Hertz
counter an         earlier.When
         an hour earlier.   WhenDominguez
                                  Dominguezarrived,
                                              arnved,hehewas
                                                          washunched
                                                              hunchedoveroverand
                                                                               andhad
                                                                                   hadhis
                                                                                        hisshirt   pulled
                                                                                             shirtpulled
up over his  face.After
         his face.  Aftermeeting   withSheila
                           meetingwith  SheilaFranco,
                                               Franco,Dominguez
                                                        Dominguezdrove
                                                                    droveoffoffand
                                                                                andCRU
                                                                                    CRUlostlost
surveillance.
Dominguezwas
Dominguez     was eventually
                   eventually located    driving the
                               located driving    the black   Kia near
                                                       black Kia  near Brokaw
                                                                         Brokaw Road
                                                                                  RoadandandJunction
                                                                                             Junction
Avenue, at
         at which time CRU reinitiated surveillance. During   During the
                                                                       thesurveillance,
                                                                            surveillance, Dominguez
                                                                                          Dominguez
         in counter-surveillance
engaged in   counter-surveillance tactics
                                     tactics such
                                              such as  driving on
                                                    as driving  on the
                                                                    the shoulder,
                                                                         shoulder, passing
                                                                                    passingvehicles,
                                                                                            vehicles,
stopping in
          in the  middle of
                  middle of the  street, and making illegal U-turns. Consequently, CRUdecided
                                 street, and  making    illegal U-turns.  Consequently,   CRU     decidedtoto
follow at a distance
             distance and                   surveillance to let Dominguez"cool
                           rely on aerial surveillance
                      and rely                                   Dominguez "cool down."down." Officer
                                                                                               Officer
Fonseca was
         was the
               the lead
                   lead car
                        car trailing Dominguez,
                                      Dominguez, followed
                                                     followed by     Officer Michael
                                                                by Officer   Michael Pina,
                                                                                       Pina,Officer   Kris
                                                                                             Officer Kris
Ferguson, and
            and Officer  Alvaro Lopez.
                 Offìcer Alvaro   Lopez.
     before 7:00
Just before       p.m., aerial
            7:00 p.m.,   aerial surveillance
                                surveillance announced
                                              announced that
                                                           that Dominguez
                                                                Dominguezstarted
                                                                              started driving   normally
                                                                                       driving normally
and turned eastbound
            eastbound onon Penitencia
                           Penitencia Creek
                                         Creek from
                                                from northbound
                                                      northbound Capitol
                                                                   Capitol Expressway.
                                                                             Expressway.Officer
                                                                                             Officer
Fonseca kept   driving straight
         kept driving  straight on
                                 on Capitol
                                    Capitol Expressway
                                             Expressway and      Officer Pina
                                                            and Officer   Pinaturned
                                                                               turned eastbound
                                                                                        eastbound on
                                                                                                   on
Penitencia Creek,   making him the lead car.
            Creek, making                   car.Officer
                                                  Officer Pina
                                                          Pinawas    followed closely
                                                                wasfollowed     closely by
                                                                                         by Officer
                                                                                             Officer
Ferguson and   Officer Lopez.
          and Officer   Lopez.
Attempted Apprehension and
                       and Shooting
                           Shooting of Dominguez
                                       Dominsuez
       DominguezreachedNorth
When Dominguez                         White Road,
                      reached North White        Road, he he came
                                                              came totoaacomplete
                                                                          complete stop
                                                                                    stopatatthe
                                                                                             thered    lighton
                                                                                                 redlight     on
eastbound Penitencia Creek as CRU approachedapproached       from  behind. The front driver's door window
                                                                   behind.  The  front driver's  door    window
was rolled partially   down.Officer
             partially down.     Officer Pina
                                          Pinaannounced
                                                 announced that thatthree
                                                                     threecars
                                                                           carswere   goingto
                                                                                weregoing     toinitiate
                                                                                                 initiate the   VCT
                                                                                                            the VCT
maneuver to to apprehend    Dominguez.Officer
               apprehend Dominguez.          OfficerPina's
                                                        Pina'sSUVSUVpassed
                                                                       passedDominguez
                                                                               Dominguezon    onthe
                                                                                                 theleft,
                                                                                                      left,then
                                                                                                             thencut
                                                                                                                  cut
         of the
in front of the stopped
                stopped car,
                           car, making    Officer Pina's
                                 making Officer      Pina'scarcarperpendicular
                                                                  perpendicular totoDominguez
                                                                                     Dominguezand   andhis     Kia.
                                                                                                          hisKia.
Officer Ferguson stopped
                     stopped his
                               his sedan
                                   sedan toto the   left of
                                               the left  of the  Kia,and
                                                             theKia,   and Officer
                                                                           Officer Lopez    pulledhis
                                                                                    Lopezpulled     hisSUVSUVinin
        it.The
behind it.  TheKiaKiastarted
                       startedtotoback
                                   backup,
                                         up,and      OfficerLopez
                                               andOfficer      Lopezpulled
                                                                      pulled forward,
                                                                              forward, contacting
                                                                                        contacting
Dominguez's car.
Dominguez's     car.

The photograph on on the
                     the next
                         next page
                              page shows
                                    shows the
                                           thelocations
                                               locations of
                                                          of the
                                                              thevehicles   following the
                                                                  vehicles following   thesuccessful
                                                                                           successful
execution
execution of
          of the
              the VCT:
                  VCT:




                                                          5
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                                        Dorningn¡ezb Uehicle                Veüicle


                                                                                               Offic+r
     Officer Pina's ì/ehbts                                                               Ferguson's




After stopping,
      stopping, Officer Pina immediately exitedexited his vehicle and and took
                                                                           took cover
                                                                                 cover behind
                                                                                        behind the
                                                                                               the hood
                                                                                                   hood ofof
                      vehicle.Officer
Officer Ferguson's vehicle.      OfficerFerguson
                                         Fergusonexited
                                                    exitedhishisvehicle
                                                                 vehicleand andtook
                                                                                tookcover
                                                                                      coverbehind
                                                                                            behindthe
                                                                                                    the
driver's seat,
driver's  seat, aiming
                aiming his rifle at
                       his rifle at Dominguez
                                    Dominguez overover the
                                                        the roof
                                                             roof of
                                                                   of his
                                                                       hiscar.
                                                                           car.Officer
                                                                                 OfficerLopez
                                                                                         Lopezexited
                                                                                                exitedhis
                                                                                                       his
vehicle and took cover behind the driver's     door  of  his  car.
                                       driver's door of his car.
When the VCT occurred, it was clearclear this was
                                              was aa law
                                                     law enforcement
                                                           enforcement operation.
                                                                          operation.AllAllthree
                                                                                            threeofficers
                                                                                                   officers
       pointing AR-15
were pointing   AR-15 rifles at Dominguez and  and wearing tactical vests    with   SJPD
                                                                      vests with SJPD      patches.
                                                                                           patches.  The
                                                                                                       The
red/blue emergency lights on Officer
                                Officer Lopez's
                                         Lopez's car,
                                                   car, immediately
                                                         immediately behind
                                                                       behind the
                                                                                theKia,
                                                                                     Kia, were
                                                                                           wereflashing
                                                                                                 flashing
throughout
throughout the encounter and were visible in   in Officer
                                                  Officer Ferguson's bodybodycamera,
                                                                                camera,as aswell
                                                                                             wellasastoto
civilian witness Carlos Lovato, who was stopped
civilian                                     stopped six cars
                                                           cars back from
                                                                      from the
                                                                             the intersection.
                                                                                  intersection. Sirens
                                                                                                  Sirenscancan
be heard clearly on the bodycam video
                                    video when
                                           when the
                                                  the officers
                                                      officers exited
                                                                exited their
                                                                        their vehicles,
                                                                              vehicles, as
                                                                                         as well
                                                                                             well as
                                                                                                   as five
                                                                                                       five
seconds before shots were fired.
                            fired.
As Dominguez
    Dominguez remained seated
                           seatedin in the
                                        theKia,
                                             Kia,and
                                                   andOfficers
                                                       OfficersFerguson
                                                                 FergusonandandPina
                                                                                 Pinapointed
                                                                                       pointedtheir
                                                                                                theirrifles
                                                                                                        riflesatat
the Kia, Officer Ferguson commanded,
                            commanded,"Let     "Let me
                                                    me see
                                                        see your
                                                            your hands,
                                                                  hands, motherfucker."
                                                                          motherfucker."During
                                                                                             Duringthe thenext
                                                                                                             next
15 seconds,
   seconds, the officers
                 officers gave
                          gave Dominguezrepeated
                                 Dominguez repeated warnings that if      if he didn't
                                                                                didn't put
                                                                                        put his
                                                                                            his hands
                                                                                                 hands up,up,
o'You're gonna
"You're  gonna get   shot."Then,
                get shot."  Then,Dominguez
                                     Dominguezsuddenly
                                                    suddenlylowered
                                                              loweredhishishands
                                                                             handsand
                                                                                    andleaned
                                                                                         leaned forward.
                                                                                                  forward.
                                           yelling, "Hands
Two of the officers began frantically yelling,               up!" with
                                                     "Hands up!"   with distinctly
                                                                         distinctly more
                                                                                    more urgency
                                                                                           urgencyfor foran an
additional three seconds, after   which   time   Officer Pina fired two  shots at  Dominguez,
                           after which time Officer Pina fired two shots at Dominguez, striking   striking
               killing him.
him once and killing   him. In
                             In total,
                                 total, police
                                        police ordered
                                                 ordered Dominguez
                                                          Dominguez to to keep
                                                                          keep his
                                                                                his hands
                                                                                     hands up for
                                                                                                for aa total
                                                                                                       total ofof
18 seconds before the two shots
                            shots were
                                    were fired.
                                            fired.
Immediately after shots
                     shots were
                           were fired,
                                  fired, Officers
                                         Officers Ferguson
                                                    Fergusonand
                                                              andPina
                                                                   Pinacontinued
                                                                        continuedtotoaim aimtheir
                                                                                              theirrifles
                                                                                                     riflesatat
Dominguez in the Kia, and and CRU
                                CRU Sergeant
                                      Sergeant Mauricio
                                                  Mauricio Jimenez
                                                            Jimenezarrived
                                                                      arrivedon onthe
                                                                                   thescene
                                                                                        sceneininhis
                                                                                                  hisvehicle.
                                                                                                        vehicle.
Officer Lopez deployed aa flashbang
                              flashbang12  12seconds
                                              secondsafter
                                                       afterthe  shooting(it(itactivated,
                                                             theshooting        activated,releasing
                                                                                            releasingsmoke
                                                                                                         smoke
one second after that, or 1313 seconds
                                seconds after
                                          after the
                                                the shooting).
                                                     shooting).Sergeant
                                                                 SergeantJimenez
                                                                           Jimenezthenthenordered
                                                                                            orderedOfficers
                                                                                                        Officers
Pina and Ferguson awayaway from
                            from the
                                   theshooting
                                       shooting scene
                                                  sceneonce
                                                         oncehehewas
                                                                  wasable
                                                                       abletotoestablish
                                                                                 establishcover
                                                                                            coverfor
                                                                                                   forthem,
                                                                                                         them,
        his rifle
aiming his  rifle at Dominguez
                     Dominguez fromfrom between
                                          between Officer
                                                    Officer Ferguson
                                                             Ferguson and
                                                                       and Officer
                                                                             Officer Lopez's
                                                                                       Lopez's cars.
                                                                                                 cars. Officer
                                                                                                          Officer
Pina, Officer Ferguson
                Ferguson and
                          and Officer
                                Officer Lopez
                                         Lopez were
                                                 wereseparated
                                                       separatedimmediately
                                                                  immediatelythereafter
                                                                                  thereafterpending
                                                                                              pending
interviews at the San
                   San Jose
                        Jose Police
                              Police Department.
                                      Department.



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Because Dominguez
           Dominguezwas was still
                              still in
                                     in the
                                         the vehicle
                                             vehicle and
                                                      andwas
                                                           wasnotnotresponsive
                                                                     responsivetotopolice
                                                                                       policeinstructions
                                                                                              instructionsafter
                                                                                                              after
                 police canine
the shooting, a police    canine unit
                                   unit was
                                          was commanded
                                               commanded to    toenter
                                                                  enterthe
                                                                         thevehicle
                                                                             vehicletotodetermine
                                                                                         determine  ifif
                                                                                                       hehe was
                                                                                                             was
alive
alive or dead.   Onceitit was
          dead. Once       wasdetermined
                               determined that  thatDominguez
                                                     Dominguezwas   wasdeceased,
                                                                          deceased, the
                                                                                      thescene
                                                                                           scenewas
                                                                                                  wasleft
                                                                                                        left
untouched until the
                  the Medical
                      Medical Examiner
                                  Examiner and  and Crime
                                                     CrimeScene
                                                              SceneUnit
                                                                     Unitarrived
                                                                            arrivedand
                                                                                     andprocessed
                                                                                          processedthethescene
                                                                                                            scene
and critical  evidence. During
     critical evidence.   During processing
                                     processingof  ofthe
                                                      thescene,
                                                          scene,no nofirearm
                                                                       firearmwaswaslocated
                                                                                      locatedininthe
                                                                                                  thevehicle
                                                                                                       vehicleor or
on Dominguez's person.
                   person.On  Onthethepassenger
                                         passengerseat
                                                     seatofofthe
                                                              theKia
                                                                   Kiawas
                                                                        wasa afolding-style
                                                                                folding-styleknife.
                                                                                               knife.
                         LAW ENFORCEMENT WITNESS STATEMENTS
                         LAW                     STATEMENTS
        Michael Pina
Officer Michael
Officer  Michael Pina has been a SJPD officer for almost
Officer Michael                                            almost 1212 years.
                                                                       years.He  Hehashasbeen
                                                                                          beenassigned
                                                                                               assignedtotoCRU
                                                                                                             CRU
for the last three and a half years.
                                years. He
                                        Hewas
                                            wasin    plainclothes
                                                 inplain    clothesononSeptember
                                                                         September15,   15,2017
                                                                                            2017but
                                                                                                  butwas
                                                                                                      was
wearing aatactical
           tactical raid
                     raid vest  with an
                          vest with   anSJPD
                                         SJPD badge
                                                badge patch
                                                        patchon  onthe
                                                                    thefront,
                                                                        front,and
                                                                                andthethewords
                                                                                          words"Police"
                                                                                                 "Police"ononthe
                                                                                                               the
back. He
back.  Hewas
           wasarmed
                 armedwith
                         withaa.223
                                 .223caliber   AR-l5rifle,
                                       callberAR-15     rifle,asaswell
                                                                   wellasasa adepartment-issued
                                                                               department-issued99mm  mmGlock
                                                                                                           Glock
semiautomatic pistol.
semiautomatic             At the
                 pistol. At   thetime
                                  timeofofthe
                                           theincident,
                                               incident,he hewas
                                                               wasdriving
                                                                    drivingsolosoloininan
                                                                                        anunmarked
                                                                                           unmarkedsilver
                                                                                                      silver
Toyota
Toyota 4Runner, equipped
                    equipped with
                                with emergency
                                      emergencylights.
                                                   lights.
In addition to the information
                   information contained
                                 contained inin the
                                                 theOP
                                                    OPPlan
                                                         Plandescribed
                                                              describedon onpage
                                                                             pagefour
                                                                                  fourofofthis
                                                                                           thisreport,
                                                                                                report,
Officer
Officer Pina said that
                   that Officer
                        Offrcer Szmeredi,
                                Szmeredi, whowho was
                                                   wasleading
                                                        leading the
                                                                 thebriefing,
                                                                     briefing,reported
                                                                               reportedthat
                                                                                        thatthere
                                                                                              therewas
                                                                                                    wasa a
recent sweep of SJG
                 SJG where
                       where assault
                              assault rifles
                                       rifleswere
                                              wereseized.
                                                    seized.

Officer  Pina's description
Officer Pina's   description of
                              of the
                                  theevents
                                      events leading
                                              leading up
                                                      up to
                                                          tothe
                                                             theKia
                                                                  Kiaturning
                                                                       turningeastbound
                                                                                eastbound ononPenitencia
                                                                                                Penitencia
Creek Road
        Road was included in in the Summary
                                      Summary of of Facts
                                                    Facts section
                                                           section of
                                                                    of this
                                                                        this report.
                                                                             report.When
                                                                                      WhenOfficer
                                                                                             OfficerPina
                                                                                                       Pinawas
                                                                                                             was
about 200 yards behind the the Kia,
                               Kia, he
                                     he was
                                         wasadvised
                                               advisedby
                                                       byaerial
                                                           aerialsurveillance
                                                                  surveillancethat
                                                                                 thatthe
                                                                                       theKia
                                                                                           Kiahad
                                                                                               hadstopped
                                                                                                     stoppedatat
the red light at Penitencia Creek
                             Creek andand North White Road.
                                                         Road.Officer
                                                                  OfficerPina
                                                                            Pinaapproached
                                                                                 approachedand anddiddidnot
                                                                                                         notsee
                                                                                                              see
any  pedestrians  or vehicles in the intersection
                                       intersection other than
                                                           than the   Kia.At
                                                                 the Kia.    Atthis
                                                                                thistime,
                                                                                     time,due
                                                                                           duetoto
surveillance,
surveillance, Officer Pina
                       Pina knew
                             knew that
                                     that Dominguez
                                          Dominguezwas  wasthe
                                                             thedriver
                                                                  driverand
                                                                          andonly
                                                                               onlyoccupant
                                                                                     occupantofofthe
                                                                                                   theKia.
                                                                                                        Kia.
Officer
Officer Pina advised Officers Ferguson
                                 Ferguson and  Lopez they
                                           andLopez   they would
                                                           would initiate
                                                                    initiate the
                                                                              the VCT
                                                                                   VCT maneuver.
                                                                                        maneuver.He  He
then pulled his car directly in
                             in front of and
                                front of, and perpendicular
                                              perpendicular to,
                                                             to, the
                                                                  the Kia
                                                                      Kia in
                                                                           in the
                                                                               the #1 position.Officer
                                                                                   #1 position.  Officer
Ferguson stopped in the #2 position,
                              position, blocking              door.Officer
                                        blocking the driver's door.    Officer Lopez
                                                                                 Lopezpulled
                                                                                        pulledupupbehind
                                                                                                   behind
into the #3 position.
Once stopped, Officer Pina
                      Pina ran
                            ran from
                                 from his
                                       his car,
                                            car, as
                                                  ashe
                                                     hewas
                                                       wastrained,
                                                             trained,totostay
                                                                          stayout
                                                                               outofofthe
                                                                                       theline
                                                                                            lineofoffire
                                                                                                      fireand
                                                                                                           and
took cover
     cover behind Officer Ferguson's vehicle.
                                        vehicle. He Heimmediately
                                                        immediately began      yellingto
                                                                        beganyelling    toDominguez
                                                                                            Dominguezthat   that
he was police and repeatedly yelled
                              yelled for
                                     for Dominguez
                                          Dominguez to   to put
                                                            put his
                                                                 his hands
                                                                     hands up.
                                                                             up.

Officer
Officer Pina was standing behind the driver's
                                          driver's side
                                                    sideengine
                                                         engineblock
                                                                 blockof
                                                                       ofOfficer
                                                                           OfficerFerguson's
                                                                                    Ferguson'svehicle,
                                                                                                 vehicle,
and Officer Ferguson was standing
                             standing next toto Officer  Pina.Officer
                                                Officer Pina.   OfficerPina
                                                                         Pinarecognized
                                                                              recognizedDominguez
                                                                                            Dominguez
seated in the
seated in the driver's seat.
                       seat.Officer
                              OfficerPina
                                      Pinasaid
                                             saidDominguez
                                                  Domingaezhad had aalook
                                                                      lookonon his
                                                                                hisface
                                                                                    facethat
                                                                                          thathe
                                                                                               hewas
                                                                                                  was not
                                                                                                       not
going              him.Officer
going to listen to him.  OfficerPina
                                  Pinatold
                                        toldDominguez
                                             Dominguezto  to put
                                                              puthis
                                                                  hishands
                                                                      handsupupororhehewould
                                                                                        wouldshoot
                                                                                                shoothim,
                                                                                                      him,
   which Dominguezreplied,
to which                        "Fuck you.
          Dominguez replied, "Fuck       you. Shoot        bitch." Officer
                                               Shoot me, bitch."    Officer Pina
                                                                             Pina then
                                                                                   then said,
                                                                                         said, "Don't
                                                                                               "Don't give
                                                                                                       give
me a reason            you! Put
     reason to shoot you!    Putyour
                                  your hands
                                       hands up!"
                                               up!"
Officer
Officer Pina said atthatpoint
             said at that point Dominguez
                                 Dominguez put
                                             put his
                                                 his hands
                                                     hands up
                                                           up and
                                                               and stared
                                                                    stared at him.As
                                                                           at him.   AsOfficer
                                                                                        OfficerPina
                                                                                                 Pina
continued yelling at Dominguez to keep
continued                            keep his hands up,
                                                      up, Dominguez
                                                          Dominguez dropped
                                                                       dropped his
                                                                                 his hands
                                                                                     hands out
                                                                                            out of
                                                                                                 ofsight
                                                                                                    sight
and leaned forward as ifif grabbing
                           grabbing something.
                                    something. AtAtthat
                                                     thatmoment,
                                                          moment,Officer
                                                                    OfficerPina
                                                                             Pinabelieved
                                                                                  believedDominguez
                                                                                            Dominguez
was retrieving a gun to shoot
                          shoot him
                                him or
                                    or Officer
                                       Officer Ferguson.
                                               Ferguson.Officer
                                                           OfficerPina
                                                                    Pinabelieved
                                                                         believedDominguez
                                                                                    Dominguezwaswas


                                                          7
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armed and dangerous,
          dangerous, and
                     and there
                          there was
                                was no
                                    no reason
                                        reasonfor
                                               forhim
                                                   himtotodrop
                                                           drophis
                                                                hishands
                                                                    handsout
                                                                          outofofsight
                                                                                   sightand
                                                                                         andlean
                                                                                              lean
forward.
When Dominguez dropped
                    dropped his
                             his hands
                                 hands and
                                         and leaned
                                              leanedforward,
                                                      forward,Officer
                                                                 OfficerPina
                                                                           Pinafired
                                                                                 firedwhat
                                                                                        whathehebelieved
                                                                                                 believed
were two rounds from       AR-l5. He
                 from his AR-15.     Hecould    tell one
                                          could tell one round
                                                          round  hit
                                                                  hitDominguez
                                                                      Dominguez     as he, Dominguez,
                                                                                      as he, Dominguez,
       backward.Sergeant
leaned backward.   SergeantJimenez
                             Jimenez told
                                        toldOfficer
                                             OfficerPina
                                                      Pinatotoretreat
                                                               retreattotocover.
                                                                           cover.HeHewas wasthen
                                                                                              thenseparated
                                                                                                    separated
         goup as
from the group as an
                   an "involved"
                      "involved" officer.
                                   officer.
Officer Pina estimated
               estimated he   he was   yelling commands
                                   was yelling  commandsfor  for1010seconds
                                                                     seconds before
                                                                              beforeDominguez
                                                                                      Dominguezdropped
                                                                                                  droppedhishis
hands.
hands. HeHe realized
             realizedafterafter the
                                 theshooting
                                     shooting that
                                               that his
                                                    his body
                                                         body camera
                                                                camera was
                                                                        was not
                                                                             not activated.
                                                                                 activated.When
                                                                                             Whenheherealized
                                                                                                      realized
this, he activated it. it.Officer
                           OfficerPina
                                     Pinadid
                                           didnot
                                               notrecall
                                                   recallhow
                                                           howlowlowthe
                                                                     thesuspect
                                                                         suspectdriver
                                                                                  driverwindow
                                                                                         windowwas
                                                                                                 wasatatthe
                                                                                                         the
time of the shooting.
             shooting.He    Heremembered
                                  remembered hearing
                                                hearingthethesiren,
                                                              siren,but
                                                                     butalso
                                                                         alsorecalled
                                                                              recalledhearing
                                                                                        hearingDominguez,
                                                                                                Dominguez,soso
he wasn't   sure ifif the
   wasn't sure         thesiren
                           sirenremained
                                   remained on.
                                              on.

Officer Pina viewed
             viewed his
                    his body
                        body camera
                              camera footage
                                      footageand
                                              andhad
                                                  hadnothing
                                                      nothingtotoadd.
                                                                  add.

Officer Kris Ferguson
Officer Ferguson's description
                      description of  of the
                                          theevents
                                               eventsleading
                                                       leadingup  upto tothe
                                                                          theKia
                                                                               Kiaturning
                                                                                    turningeastbound
                                                                                            eastboundon on
Penitencia Creek Road
                    Road was
                           was  included
                                 included     in
                                             in  the
                                                  the Summary of Facts section of this report. Atthe
                                                      Summary       of Facts   section of this report. At    the
intersection, Officer Ferguson
                       Ferguson stopped
                                     stopped hishis vehicle
                                                     vehicle inin the
                                                                   the #2
                                                                        #2 position
                                                                            position directly
                                                                                      directlyadjacent
                                                                                               adjacent to
                                                                                                         to the
                                                                                                             the
driver's door of the
         door of      Kia.He
                  the Kia.   Heexited
                                  exitedhis hiscar
                                                 carwearing
                                                      wearingaatactical
                                                                    tactical vest  withan
                                                                              vestwith   anSJPD
                                                                                            SJPDbadge
                                                                                                  badgepatch
                                                                                                          patchonon
the front and "POLICE" on    on the
                                 the back.
                                      back. He  Hewaswasarmed
                                                         armed with withaa.223
                                                                            .223caliber
                                                                                  callber AR-15   rifle.Officer
                                                                                          AR-l5 rifle.    Officer
Ferguson said Officer
               Officer Lopez
                         Lopez stopped
                                   stopped his his vehicle
                                                    vehicle in
                                                             in the
                                                                 the #3
                                                                      #3 position
                                                                          position behind
                                                                                     behindthe
                                                                                             theKia
                                                                                                 Kia and
                                                                                                      and had
                                                                                                          had
emergency lights andand siren
                         siren on.
                               on.

Officers Pina and
              and Ferguson were   were out
                                         out of
                                             of the
                                                the car
                                                      car and
                                                          and commanded
                                                                  commanded Dominguez
                                                                                Dominguez to   to put
                                                                                                   put his
                                                                                                       his hands
                                                                                                            hands up.
                                                                                                                   up.
Officer Pina was near the driverdriver side
                                        side front  tire.Officer
                                             front tire.    OfficerFerguson
                                                                       Fergusonwas
                                                                                 wasnext
                                                                                       nexttotothe
                                                                                                thedoor
                                                                                                     doorofofhis
                                                                                                              hiscar,
                                                                                                                  car,
                   roof.Dominguez
looking over the roof    Dominguezstarted  startedtotoback
                                                        backup  upthe
                                                                    theKia
                                                                         Kiaand
                                                                             andOfficer
                                                                                 OfficerLopez's
                                                                                          Lopez'svehicle
                                                                                                      vehicle
collided      it. When
collided with it.  WhenOfficer
                           Officer Lopez's
                                      Lopez'svehicle
                                                 vehiclehit hitthe
                                                                 therear
                                                                      rearbumper
                                                                           bumper ofofthe
                                                                                       theKia,
                                                                                           Kia,Dominguez
                                                                                                  Dominguez put  put
his hands up and "looked unsure what he was going        going to do."do." Officer
                                                                            Officer Ferguson
                                                                                     Fergusoncouldn't
                                                                                                 couldn'ttell
                                                                                                            tellhow
                                                                                                                 how
low the Kia window was rolled down,    down, but it was open.open. Officer
                                                                       Officer Ferguson
                                                                               Ferguson yelled
                                                                                          yelled forfor Officer
                                                                                                        Officer
Lopez to "bang up,"    but itit didn't
                  up," but       didn'thappen,
                                         happen,so sohehereached
                                                           reachedfor  foraaNoise
                                                                             NoiseFlash
                                                                                    FlashDistraction
                                                                                          DistractionDeviceDevice
("NFD").
As Officer Ferguson was was getting
                            getting the
                                    the NFD,
                                        NFD, Dominguez
                                              Dominguez dropped
                                                           dropped his
                                                                    hishands
                                                                        handsand
                                                                               andlooked
                                                                                   looked down.
                                                                                            down.
Officer Ferguson, asas that
                       that point,
                            point, believed
                                   believed Dominguez
                                            Dominguez was
                                                        was attempting
                                                              attempting to
                                                                          toarm  himself.He
                                                                             armhimself.   Hethen
                                                                                                then
heard what he initially thought
                         thought was an NFD and saw glass breaking.
                                                               breaking. When
                                                                           WhenOfficer
                                                                                 Officer Ferguson
                                                                                         Ferguson
realized what he heard
                   heard were
                         were two
                               two gunshots,
                                    gunshots, he
                                              he dropped
                                                  dropped his
                                                          his NFD
                                                               NFD and
                                                                    and went
                                                                        wentback
                                                                               backto
                                                                                    tohis
                                                                                       hisrifle,
                                                                                           rifle, but
                                                                                                   buthe
                                                                                                       he
could no longer
          longer see
                  see Dominguez.
                      Dominguez.

At that point, everyone
               everyone was
                         was ordered
                             ordered back.
                                      back.Dominguez
                                            Dominguezwas  wasgiven
                                                              givencommands
                                                                    commandsover
                                                                             overthe
                                                                                   thebullhorn,
                                                                                       bullhorn,
                  response. AAcanine
but there was no response.      canine was
                                       wassent
                                           sentin
                                                into
                                                   todetermine
                                                      determine whether
                                                                whetherDominguez
                                                                        Dominguez was
                                                                                    was ignoring
                                                                                         ignoring
police commands or orincapacitated.
                      incapacitated.

Officer Alvaro Lopez
               Lopez
Officer Lopez's
        Lopez's description
                 descriptionofofthe
                                 theevents
                                     eventsleading
                                            leadingup uptotothe
                                                             theKia
                                                                 Kiaturning
                                                                       turningeastbound
                                                                                 eastboundononPenitencia
                                                                                               Penitencia
Creek Road was included
                 included in
                           in the
                               the Summary
                                   Summary of of Facts
                                                 Facts section
                                                        section of
                                                                 of this   report.As
                                                                     this report.   AsOfficer
                                                                                       OfficerLopez
                                                                                               Lopez
drove eastbound on
                 on Penitencia
                     Penitencia Creek
                                 Creek Road,
                                        Road, air
                                               air support
                                                    support advised
                                                              advised that
                                                                        that the
                                                                              theKia
                                                                                  Kiastopped
                                                                                      stoppedatat


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 Penitencia Creek and North White Road.
                                  Road.This
                                        Thissurprised
                                             surprisedOfficer
                                                       OfficerLopez,
                                                               Lopez,asasthe
                                                                          theKia
                                                                              Kiahad
                                                                                  had
 previously run
            run red
                red lights.
                     lights.

Officer Pina advised they would initiate         VCT.Officer
                                     initiate aa VCT.    Officer Pina
                                                                  Pinadrove
                                                                        droveininfront
                                                                                  frontofofthe
                                                                                            theKia
                                                                                                Kiaand
                                                                                                     and
                  #l position. Officer
blocked it in the #1           Officer Ferguson
                                           Ferguson stopped
                                                       stopped in
                                                                in the
                                                                    the #2
                                                                        #2 position,
                                                                           position, blocking
                                                                                       blocking the driver's
                                                                                                      driver's
door. Officer
door.  OfficerLopez
               Lopez lagged     littlebehind,
                      laggedaalittle    behind,and andwhen
                                                       whenhe hesaw
                                                                 sawthetheKia
                                                                           Kiabacking
                                                                                backingup, up,he
                                                                                               hecontacted
                                                                                                   contacted
the rear bumper pushing
                 pushing it forward
                            forward slightly. The   The Kia
                                                         Kia was
                                                              was now
                                                                   now blocked
                                                                         blocked inin on
                                                                                      on three
                                                                                          three sides.
                                                                                                 sides.Officer
                                                                                                        Officer
Lopez activated
       activated his
                 his emergency
                     emergency lights
                                  lights and
                                           andsiren
                                                 sirenso
                                                       sothe
                                                          thedriver
                                                              driverwould
                                                                      wouldknow
                                                                             knowtheytheywere
                                                                                            werethe
                                                                                                  thepolice.
                                                                                                      police.
Officer
Offrcer Lopez           off the
         Lopez turned off    the siren
                                  siren but  leftthe
                                        butleft   thered/blue
                                                      red/blue flashing
                                                                   flashinglights
                                                                              lightsononasashe
                                                                                             heexited
                                                                                                exitedhis
                                                                                                        hisvehicle.
                                                                                                             vehicle.
Officer Lopez yelled "Police, hands up."   up."He Heheard    Officers    Pina   and  Ferguson
                                                      heard Officers Pina and Ferguson identify identify
themselves asas police officers and    yell for
                                  and yell   for Dominguez
                                                 Dominguezto     to "put
                                                                     "put his
                                                                            his hands   up."Officer
                                                                                hands up."     OfficerLopez
                                                                                                       Lopezsaw saw
Officer Pina move from
                     from his vehicle in  in position
                                              position #1
                                                        #1 to
                                                            to the
                                                               the driver's
                                                                      driver'sside
                                                                                 sideof
                                                                                      ofOfficer
                                                                                          Officer Ferguson's
                                                                                                   Ferguson's  car
                                                                                                                 car
            #2.Officer
in position #2.  Offtcer Lopez
                          Lopez was was standing
                                         standing onon the
                                                        the driver's
                                                             driver'ssidesideofofhis
                                                                                   hiscar
                                                                                       carin
                                                                                           inposition
                                                                                              position #3
                                                                                                        #3 behind
                                                                                                            behind
the door jam, and he could see Dominguez's hands     hands up over his shoulders,                low."Officer
                                                                              shoulders, "but low."      Officer
                                   Dominguez,"Don't
Lopez heard Officer Pina tell Dominguez,          "Don't give
                                                            give memeaareason,"
                                                                           reason,"andandthen
                                                                                           thensomeone
                                                                                                someonecalled
                                                                                                            called
    "abang,"
for "a bang," which
               which meant
                       meant anan instruction
                                   instruction toto deploy
                                                    deploy aa flashbang.
                                                                flashbang.When  WhenOfficer
                                                                                        OfficerLopez
                                                                                                  Lopezreached
                                                                                                         reachedforfor
his flashbang, he
                he saw
                   saw Dominguez drop   drop his
                                               his hands
                                                   hands and
                                                          and lean
                                                                 lean forward.
                                                                        forward.
Officer Lopez heard two shots.
                           shots.He
                                 Hedid
                                     didnot  recallififhe
                                         notrecall      hedeployed
                                                           deployedthe  theflashbang
                                                                             flashbangbefore
                                                                                        beforeororafter
                                                                                                   after
hearing the shots.
hearing     shots. The
                   Theflashbang
                        flashbang landed
                                   landed about
                                           aboutaafoot
                                                   foot next
                                                          next to
                                                                tó the
                                                                    the driver's
                                                                         driver's door.
                                                                                   door.Officer
                                                                                         OfficerLopez
                                                                                                  Lopez
heard the
      the Kia
          Kia window
              window break.
                       break.

After the shots
          shots were
                were fired,  OfÍicer Lopez
                      fired, Officer  Lopezheard
                                              heardOfficer
                                                     OfficerPina
                                                              Pinaand
                                                                    andOfficer
                                                                         OfficerFerguson
                                                                                 Fergusonyell
                                                                                           yell"hands
                                                                                                "hands
up," but
     but Dominguez
         Dominguez waswas non-responsive.
                           non-responsive.AApolicepolicecanine
                                                         caninewaswasdeployed
                                                                       deployedtotobite
                                                                                    biteDominguez
                                                                                         Domingueztoto
                             ignoring police
determine whether he was ignoring      police commands
                                               commands or  or incapacitated.
                                                                incapacitated.Someone
                                                                                Someonecalled
                                                                                          calledout
                                                                                                  outthat
                                                                                                      that
Dominguez was deceased,
                 deceased, andand the
                                  the officers
                                      officers backed
                                                backed away
                                                        away from
                                                                from the  Kia.Officer
                                                                      the Kia.  OfficerLopez
                                                                                        Lopez
remembered hearing
             hearing loud
                       loud music
                             music playing
                                    playing from
                                             from inside
                                                   inside the
                                                           the Kia.
                                                                Kia.
                                  CIVILIAN WITNESS
                                           WITNESS STATEMENTS
Investigators canvassed
              canvassed the neighborhood
                            neighborhood and
                                          and attempted
                                              attempted to  to locate
                                                                locate anyone
                                                                        anyone who
                                                                                who was
                                                                                      was present
                                                                                           presentatatthe
                                                                                                       the
                      Ultimately, SJPD
time of the shooting. Ultimately,  SJPD was
                                        wasable
                                            able to
                                                  to identify
                                                      identi$r and
                                                                 and interview
                                                                      interview three
                                                                                 three civilian
                                                                                       civilian
witnesses.
Carlos Lovato
Mr. Lovato was southbound
                   southbound on  on Piedmont
                                     Piedmont facing
                                                   facing North
                                                           North White,
                                                                   White, sixsix cars
                                                                                  cars back
                                                                                        back waiting
                                                                                                waiting to
                                                                                                         toturn
                                                                                                             turn left
                                                                                                                   left
                  Creek.He
onto Penitencia Creek.      Heobserved
                                observedpolice block
                                             police  blockthetheKia,
                                                                  Kia,and
                                                                        andthen
                                                                             thensawsawofficers
                                                                                           officerscarrying
                                                                                                     carryingassault
                                                                                                                assault
rifles and bullet proof vests
                          vests taking    cover.He
                                 taking cover.     Herecognized
                                                       recognizedthethe cars
                                                                          carsasasunmarked
                                                                                     unmarkedpolicepolicevehicles
                                                                                                           vehicles
                                lights.ItItwas
because of the red flashing lights.          wasobvious
                                                  obvious to to him
                                                                him they
                                                                      they were
                                                                            were police
                                                                                   police officers.
                                                                                             officers.He Heheard
                                                                                                             heardtwotwo
shots and then saw
                 saw aa flash
                        flash grenade.
                               grenade.AfterAfterthe
                                                   theshooting,
                                                       shooting,another
                                                                    anotherofficer
                                                                               officertook
                                                                                         tookcover
                                                                                                coverbehind
                                                                                                       behind
Lovato's vehicle
Lovato's   vehicle and
                    and caused
                         caused aa paint    chip.He
                                    paint chip.    Heexpressed
                                                       expressedfrustration
                                                                     frustrationthat
                                                                                   thatthetheofficer
                                                                                               officer used
                                                                                                        usedhim
                                                                                                              him"as"as
a human shield," but he supported the San     San Jose Police Department. Mr.       Mr. Lovato's
                                                                                           Lovato'svehicle
                                                                                                       vehiclewas
                                                                                                                was
        in the
visible in the surveillance
               surveillance video
                              video asas the
                                          the red
                                               redsedan
                                                    sedan that
                                                           that pulled
                                                                 pulled into
                                                                         intothe
                                                                               theintersection
                                                                                     intersection after
                                                                                                     afterthe
                                                                                                           the
flashbang was
            was deployed.
                 deployed.




                                                           9
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    Leslie Bradlev and Rhiannon Borunda
    Leslie Bradley              Borunda
    These two friends
               füends were taking photos at at Alum Rock Park   Park prior
                                                                      prior to
                                                                            to the
                                                                                the shooting.
                                                                                     shooting.Driving
                                                                                                 Drivinghome
                                                                                                           homeinin
    separate vehicles, the two women
                               women could
                                        could be
                                               be seen
                                                   seen inin the
                                                              thesurveillance
                                                                  surveillance video
                                                                                  videoarriving
                                                                                          arrivingatatthe
                                                                                                       thescene
                                                                                                           sceneon
                                                                                                                 on
    westbound Penitencia
                Penitencia Creek
                            Creek at
                                   at North
                                      North White
                                            White Road
                                                     Ptoad2222 seconds    after  the flashbang   was   deployed.
                                                                 seconds after the flashbang was deployed.a4
    Both women said they observed
                            observed smoke
                                       smoke and    initially believed
                                              and initially     believed there
                                                                          therewaswasa atraffic
                                                                                        traffic accident.
                                                                                                 accident.

Ms. Borunda videotaped
              videotaped what she
                                she saw              arrival.She
                                    saw upon her arrival.     Shealso
                                                                    alsoposted
                                                                         postedtwo
                                                                                 twostill
                                                                                      stillphotos
                                                                                            photostoto
                                          police. District
Facebook, which she later provided to police.      DistrictAttorney
                                                            AttorneyInvestigator
                                                                       Investigator Thomas
                                                                                     ThomasNewland
                                                                                                 Newland
obtained the video from Ms. Borunda in April April2018.
                                                   2018. Due
                                                           Duetotothe
                                                                   thearrival
                                                                       arrivalof
                                                                               ofboth
                                                                                  bothwomen
                                                                                        womenwell wellafter
                                                                                                       after
the shooting, their observations and
                                  and the
                                       the video
                                            video were
                                                  werenot
                                                        nothelpful
                                                            helpfulininevaluating
                                                                         evaluatingthis
                                                                                    thiscase.
                                                                                           case.

                                                 CALL EVIDENCE
                                            JAIL CALL EVIDENCE
On October 12,12,2017,  District Attorney
                 2017, District    Attorney Investigator
                                               InvestigatorPete
                                                            PeteRamirez
                                                                 Ramirezwaswasreviewing
                                                                                   reviewingrecorded     jail
                                                                                               recordedjail
calls from an unrelated
               unrelated case.
                          case.HeHeheard
                                       heardaaconversation
                                                conversation between
                                                              betweeninmate
                                                                       inmateBrandon
                                                                                   BrandonDelatorre
                                                                                              Delatorre and
                                                                                                         and
another unknown
         unknown male thatthat was
                               was recorded
                                     recorded on onSaturday,
                                                    Saturday,September
                                                              September16,     2017, atat11:50
                                                                           16,2017,         I 1:50a.m.
                                                                                                    a.m.
Brandon
Brandon Delatorre,
          Delatorre, who was housed in     in the Elmwood
                                                  Elmwood Correctional
                                                             Correctional Facility,
                                                                            Facility, called
                                                                                        called an
                                                                                                an unknown
                                                                                                    unknown
male and expressed dismay at   at the
                                  the death    of
                                        death of  Dominguez.
                                                  Dominguez.    The unknown male responded,"I"Iguess
                                                               The unknown      male    responded,       guess
            shoot at the cops.
he tried to shoot        cops. HeHe told
                                      told me
                                            me he  wasn'tgoing
                                                he wasn't goingback
                                                                 backto   jail.. .. .He
                                                                      to jail.       He knew
                                                                                         knew itit was
                                                                                                   was bad;
                                                                                                       bad; the
                                                                                                             the
other day he called his girl to
                              to say
                                 say goodbye
                                       goodbye to them."
                                                    them."
                            EVIDENCE COLLECTION AND
                            EVIDENCE COLLECTION AND PROCESSING
                                                    PROCESSING
Ballistics Evidence
           Evidence
Following the shooting, SanSan Jose
                               Jose Police
                                    Police Crime
                                             Crime Scene
                                                    Scene Unit
                                                          Unit photographed
                                                                photographed andand collected
                                                                                    collected evidence
                                                                                               evidence
at the scene. Two.223
       scene. Two   .223 round
                          roundspent
                                 spentshell
                                        shellcasings
                                              casingswere
                                                      werefound
                                                            foundononthe
                                                                      thehood
                                                                          hoodand
                                                                                androof
                                                                                     roofofofOfficer
                                                                                              Officer
            Buick sedan,
Ferguson's Buick   sedan, consistent
                            consistent with
                                       with Officer
                                             Officer Pina
                                                     Pinafiring
                                                          firingfrom
                                                                 fromaaposition
                                                                         positionbehind
                                                                                  behind the
                                                                                           thehood.
                                                                                               hood.

Crime scene investigators
              investigators conducted
                              conducted an
                                         anextensive
                                            extensiveexamination
                                                        examinationofofthe
                                                                        theKia
                                                                            Kiafor
                                                                                 forballistics
                                                                                     ballisticsevidence.
                                                                                                evidence.
The initial search of the
            search of      Kia occurred
                       the Kia  occurred shortly
                                          shortlyafter
                                                  afterthe
                                                        theincident,
                                                            incident,and
                                                                      andinvestigators
                                                                          investigatorslocated
                                                                                          locateda alead
                                                                                                      lead
core bullet inside the rear
                        rear passenger
                             passenger doorframe,
                                        doorframe, asasshown
                                                        shownininthe
                                                                  thephotograph
                                                                      photographbelow.
                                                                                    below.




                                                       H

                                                 I
                                                ¿¡




a
4                 driving aa white
 Ms. Bradley was driving       white SUV
                                      SUV and
                                           and was
                                               was directly
                                                   directly in
                                                             in front
                                                                 front of
                                                                       of Ms.
                                                                          Ms. Borunda's
                                                                               Borunda'sdark
                                                                                         darkToyota
                                                                                              Toyota
Sienna minivan, visible
                visible in
                         in the
                             the 3158
                                  3158Penitencia
                                       PenitenciaCreek
                                                 Creeksurveillance
                                                        surveillancevideo.
                                                                        video.

                                                           10
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In conjunction with the
                     the crime-scene
                         crime-scene reconstruction,
                                      reconstruction, investigators
                                                       investigators conducted
                                                                      conductedaasubsequent
                                                                                  subsequentsearch
                                                                                              search
                       2019.Investigators
of the Kia in January 2019.  Investigators could
                                            couldlocate
                                                  locatenonoother
                                                             otherbullets or
                                                                   bullets orfragments
                                                                              fragmentsinside the
                                                                                        inside the
Kia during that second
                second examination.
                         examination.

No firearms
   firearms were located inside the vehicle or on Dominguez's
                                                  Dominguez's person.
                                                              person.

Kia Sporta2e
    Sportaee

On the day of the shooting
                   shooting at
                             at approximately
                                approximately 2:00
                                                 2:00p.m.,
                                                      p.m.,the
                                                            theKia
                                                                KiaSportage
                                                                    Sportagewaswasrented
                                                                                    rentedatatHertz
                                                                                             Hertz atat
San Jose Airport.
          Airport. Surveillance
                    Surveillance video
                                  videofrom
                                         from Hertz
                                                Hertzshowed
                                                      showedaawhite
                                                                whiteor
                                                                      orlight-skinned
                                                                          light-skinned Hispanic
                                                                                          Hispanicmale
                                                                                                   male
wearing a sport coat and white dress
                                  dress shirt
                                        shirt renting the
                                                      the Kia
                                                          Kia under
                                                              under the
                                                                    the name
                                                                         name Mark
                                                                                Mark Sepeda.
                                                                                       Sepeda.Mark
                                                                                                Mark
Sepeda
Sepeda was contacted by SJPDSJPD and said he has never been to SanSan Jose.
                                                                      Jose. TheTheman
                                                                                   manininthe
                                                                                            the
surveillance
surveillance video did
                    did not
                        not match
                             match photos
                                    photos of
                                            of Dominguez
                                               Dominguezor  orSepeda,
                                                               Sepeda,and
                                                                        andhis
                                                                             hisidentity
                                                                                 identityremains
                                                                                          remains
unknown.
Inside the Kia, the CSU investigators
                         investigators discovered that the the driver's
                                                               driver's side
                                                                         side window
                                                                               window was
                                                                                        wasatatleast
                                                                                                least
partially rolled down, but
partially              but they
                            they were
                                 were unable
                                       unable to
                                               todetermine
                                                   determinehowhowfar  since  the
                                                                    far since the glass
                                                                                   glasswas shattered.
                                                                                         was shattered.
Shattered window glass was on the driver's
Shattered                             driver's side
                                                side floorboard
                                                      floorboard and
                                                                  andseat.
                                                                       seat.The
                                                                              Theremaining
                                                                                   remainingwindows
                                                                                               windows
were closed and intact.
In the center console was a wallet,
       center console                 $100 bill,
                            wallet, a $100 bill, and aa baggie
                                                        baggie containing
                                                               containing 8.55
                                                                          8.55 grams of
                                                                               gams of
methamphetamine.
Related to the shooting,
                shooting, there
                           there was
                                 was blood
                                     bloodspatter
                                           spatteras
                                                   aswould
                                                     wouldbe
                                                           beexpected
                                                              expectedon
                                                                       onthe
                                                                          thedriver
                                                                              driverand
                                                                                     andfront
                                                                                          front
passenger seat
           seat area.
                area.

A one-way American Airlines
                       Airlines ticket
                                 ticket that
                                         that was
                                              was booked
                                                   bookedatataround
                                                              around22p.m. on September
                                                                       p.m.on   Septemb er14,
                                                                                            14,2017,
                                                                                                2017 ,
under the name Jacob   Domingue4was
                Jacob Dominguez,     was found     inaablack
                                            found in    blackbackpack
                                                               backpackon
                                                                        onthe
                                                                           thefront
                                                                               frontpassenger
                                                                                     passengerseat.
                                                                                                 seat.
The flight was scheduled toto depart
                              depart Oakland,
                                      Oakland, CA     on September  16, 2017  at 6:00 a.m. and  arrive
                                                  CA on September 16,2017 at 6:00 a.m. and arrive
in Dayton, OH, at
                at 8:25
                   8:25 p.m.,
                        p.m., with
                               with stopovers
                                     stopoversin inPhoenix
                                                    PhoenixandandChicago.
                                                                  Chicago.

Beneath the backpack on
                     on the
                         the front
                              front passenger
                                    passengerseat
                                              seatwas
                                                   wasaaclosed
                                                         closedfolding
                                                                  foldingknife,
                                                                          knife,asasseen
                                                                                     seeninin
photograph below, which
                  which would
                          would have
                                  have been
                                        beenwithin
                                             withinarms-reach
                                                    arms-reach ofofDominguez.
                                                                    Dominguez.




                                                   11
                                                   11
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Clothing
Clothine
The hooded sweatshirt
           sweatshirt worn
                      worn by Dominguezwhenhe
                           by Dominguez when he was
                                                wasshot
                                                    shotwas
                                                         wassent
                                                             senttotothe
                                                                      theCrime
                                                                          CrimeLab
                                                                                Labfor
                                                                                    for
analysis.
                                   AUDIO AND VIDEO EVIDENCE
                                   AUDIO
The video evidence
          evidence related
                   related to
                            to this
                                this investigation
                                      investigation consists
                                                      consistsof oftwo
                                                                     tworesidential
                                                                         residentialsurveillance
                                                                                     surveillancevideos
                                                                                                  videos
and the body camera
             camera videos
                     videos of
                             of the
                                 the five
                                       five officers
                                            officers present
                                                      present atatthe
                                                                   thetime
                                                                       timeofofthe
                                                                                theshooting.
                                                                                    shooting.
Private Surveillance
        Su           Video
                     Video
Investigators
Investigators collected surveillance
                          surveillance video from
                                               from two
                                                      two homes.
                                                           homes.The Theresidence
                                                                           residencelocated
                                                                                         locatedatat3158
                                                                                                     3158
Penitencia Creek Road is on the south side side of
                                                 of Penitencia
                                                    Penitencia Creek
                                                                 Creek Road
                                                                         Road at at the
                                                                                     the intersection   of
                                                                                          intersection of
Cayman Wuy,
         Way, seven houses down from the     the location
                                                  location of
                                                            of the
                                                               the shooting.
                                                                    shooting.The Thecamera
                                                                                        cameraappeared
                                                                                                 appearedtotobe
                                                                                                              be
mounted on the    roof and
             the roof  and was   pointed
                            was pointed eastbound,
                                          eastbound,almost
                                                        almostdirectly
                                                                 directlyatatthe
                                                                              theintersection
                                                                                  intersectionofofPenitencia
                                                                                                      Penitencia
                          White.This
Creek Road and North White.        Thisvideo
                                        videohad
                                               hadno nointernal
                                                        internaltimestamp,
                                                                  timestamp,so   sothetheWindows
                                                                                           WindowsMedia
                                                                                                      Media
Player timestamp
       timestamp waswas used
                         used when
                              when reviewing
                                     reviewingit.it.
The residence atat 3164
                   3164 Penitencia
                         Penitencia Creek
                                       Creek Road
                                               Roadisisononthe
                                                            thesouth
                                                                southside
                                                                       sideofofPenitencia
                                                                                PenitenciaCreek
                                                                                             CreekRoad
                                                                                                    Roadand
                                                                                                          and
adjacent
adjacent to 3158 Penitencia Creek Road. Road.ItItisissix
                                                      sixhouses
                                                          housesdown
                                                                  downfromfromthe
                                                                                theintersection
                                                                                     intersection where the
                                                                                                   where the
shooting  occurred.The
shooting occurred.    Thecamera
                           cameraappeared
                                      appearedtotobe
                                                   bemounted
                                                       mountedatatstreet
                                                                    streetlevel,
                                                                            level,facing
                                                                                   facingnortheast.
                                                                                           northeast.OnOnthe
                                                                                                           the
right side of the video,
                  video, the
                         the intersection
                               intersection where
                                              where the
                                                     the shooting
                                                          shooting occurred
                                                                   occurred cancan be
                                                                                    be seen.
                                                                                        seen.This
                                                                                               Thisvideo
                                                                                                    videohas
                                                                                                           has
                         but itit was
an internal timestamp, but        was off
                                       off by
                                           byapproximately
                                               approximately30  30minutes.
                                                                  minutes.

Although
Although neither video
                   video had audio,
                               audio, both
                                      both were
                                            were helpful
                                                   helpful in
                                                            in showing
                                                                showing that
                                                                          that approximately
                                                                                approximately 33 33seconds
                                                                                                    seconds
elapsed between the time officers executed
                                     executed thethe VCT
                                                      VCT and
                                                            and the
                                                                 the deployment
                                                                     deployment of of the
                                                                                       the flashbang.
                                                                                            flashbang.That,
                                                                                                        That,
in conjunction with Officer
                      Officer Ferguson's
                               Ferguson's body
                                            bodycamera
                                                   camerain inwhich
                                                               which the
                                                                       theflashbang
                                                                            flashbangwaswasdeployed
                                                                                              deployed12
                                                                                                       12
seconds after the
              the shooting,
                   shooting, showed
                              showed officers
                                       officers out
                                                 outofoftheir
                                                         theirvehicles
                                                               vehiclesand
                                                                         andcommanding
                                                                               commandingDominguez
                                                                                               Dominguezforfor
    seconds prior to Officer
18 seconds           Officer Pina
                              Pina discharging
                                   discharging his his weapon.
                                                       weapon.

                     of events
Below is a timeline of  events captured
                                 captured on
                                          on the
                                              the two
                                                   two surveillance
                                                        surveillance videos
                                                                      videos using
                                                                             using the
                                                                                    themoment
                                                                                        moment the
                                                                                                 the Kia
                                                                                                      Kia
stopped
stopped at the red light at
                         at Penitencia and
                                        and North
                                             North White
                                                     White Road
                                                             Roads5 as a point of reference.
                                                                                  reference. The
                                                                                             The shots
                                                                                                   shots
fired cannot be observed on on the videos but
                                          but are
                                               are noted
                                                    noted in
                                                           in bold
                                                              bold brackets
                                                                   brackets below
                                                                             below by
                                                                                    bycomparing
                                                                                        comparing the
                                                                                                    the
surveillance
surveillance video with audio
                          audio and
                                 and video from
                                            from Officer
                                                   Officer Ferguson's
                                                            Ferguson's body
                                                                         bodycamera.
                                                                               camera.

        00:00Dominguez
        00:00 Dominguezstopped
                        stopped the
                                 theKia
                                     Kiaatatthe
                                             thered
                                                 redlight.
                                                     light.
        00:1 5Three
        00:15  Threeundercover
                     undercoverSJPD
                                 SJPDvehicles
                                      vehiclesappeared
                                               appearedon
                                                        onthe
                                                           thevideo,
                                                               video,traveling
                                                                      travelingeastbound
                                                                                eastboundon
                                                                                          on
               Penitencia Creek
                          Creek Road.
                                Road.

        00:27VCT
        00:27 VCTwas
                  wasexecuted.
                      executed.

        00:30Police
        00:30 Policewere
                     werevisible
                          visibleoutside
                                  outsideof
                                          oftheir
                                             theirvehicles.
                                                   vehicles.

        00:47Sgt.
        00:47 Sgt.Jimenez parked totothe
                   Jimenezparked      therear
                                          rearand
                                               andright
                                                   rightof
                                                         ofOfficer
                                                           Officer Lopez's
                                                                   Lopez'sSUV.
                                                                           SUV
        00:48 First shot fired.
        00:48            fired.



5
5 In
  Inthe 3158
        3158 surveillance
             surveillance video,
                          video, the
                                  the Kia
                                      Kia stopped
                                           stoppedatat2:20
                                                      2:20 Windows
                                                            Windows Media
                                                                        MediaPlayer
                                                                              Playertimestamp;
                                                                                     timestamp;inin
the 3164 surveillance video,
                      video, the
                             the Kia
                                 Kia stopped
                                      stopped at
                                               at 6:31:15
                                                  6:31 :15internal
                                                           internal timestamp.
                                                                     timestamp.

                                                       12
                                                       T2
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          00:49Officer
          00:49 OfficerKrauel
                        Krauel parked
                                parked to
                                        tothe
                                           the right
                                                right of
                                                      of Jimenez's
                                                         Jimenez's vehicle.
                                                                    vehicle.
                   Second shot fired.
                               fired.
         01:00Officer
         01:00 OfficerLopez
                       Lopezthrew
                              threwflashbang
                                    flashbangnext
                                                nexttotothe
                                                         thedriver's
                                                             driver'sdoor
                                                                      doorofofthe
                                                                                theKia
                                                                                    Kiaand
                                                                                        andmoved
                                                                                            moved
               behind Officer
                       Officer Ferguson's car.
                                           car.

         01:01Smoke
         01:01 Smokefrom
                     fromflashbang
                          flashbang rose
                                     rosefrom
                                          from driver's
                                                driver's side
                                                          sideof
                                                               ofthe
                                                                  theKia.
                                                                     Kia.
Police Officer
       Offïcer Body
               Bodv Camera
                    Camera Recordings
                           Recordings
The body cameras
             cameras of  of the
                            the five
                                five officers
                                      officers that
                                                that were
                                                     were present
                                                              present when
                                                                       when thetheflashbang
                                                                                   flashbang waswasdeployed
                                                                                                      deployedwere  were
reviewed.
reviewed. Officer
              OfficerPina's
                         Pina'sbody
                                 bodycamera
                                        camerawaswasofoflittle
                                                           littlevalue.
                                                                  value.There
                                                                          Therewas wasnonoaudio
                                                                                            audiountil
                                                                                                     untilafter
                                                                                                            afterthe
                                                                                                                   the
shots were fired,
              fired, the
                      the camera
                           camera was obscured
                                          obscured by by Officer
                                                          Offìcer Pina's
                                                                     Pina's rifle
                                                                             riflefor
                                                                                   formost
                                                                                       mostofofthetheencounter,
                                                                                                       encounter,and  and
it did not capture
            capture thethe shooting.
                            shooting.Officer
                                        OfficerLopez
                                                  Lopezdid didnotnotturn
                                                                     turnon
                                                                          onhishisbody
                                                                                   bodycamera
                                                                                          camerauntiluntilafter
                                                                                                            after
deploying the flashbang,
                  flashbang, so so it
                                   it did
                                      did not
                                           not contain
                                               contain anyany valuable
                                                                valuable evidence
                                                                          evidence of  ofwhat
                                                                                          whattranspired
                                                                                                 transpiredleading
                                                                                                                leading
up to the shooting.
           shooting.Sergeant
                          Sergeant Jimenez
                                     Jimenez parked
                                                parkedalmost
                                                         almostsimultaneously
                                                                   simultaneously with with the
                                                                                             thefirst
                                                                                                  firstshot,
                                                                                                        shot, soso his
                                                                                                                    his
camera did notnot capture
                    capture any
                              any valuable
                                   valuable audio
                                              audio oror video.
                                                         video.Officer
                                                                    OfficerKrauel
                                                                             Krauelarrived
                                                                                      arrivedright
                                                                                                rightasasthe
                                                                                                           thesecond
                                                                                                                 second
shot was fired,
           fired, soso his
                        his camera
                            camera was similarly
                                           similarly not
                                                      not helpful.
                                                            helpful.
Officer Ferguson's body
                    bodycamera
                          cameravideo,
                                 video,on
                                        onthe
                                           theother
                                               otherhand,
                                                     hand,was
                                                           wascrucial
                                                               crucialininevaluating
                                                                           evaluatingthe
                                                                                       theevidence
                                                                                            evidence
and reconstructing the events surrounding the shooting. Although
                                                         Although the
                                                                   thevideo
                                                                        videowas
                                                                               was largely
                                                                                    largely
obscured by the officer's
                officer's AR-15,
                          AR-15, the
                                  thebody
                                      bodycamera
                                           camerarecorded
                                                   recordedaudio
                                                            audioofofvirtually
                                                                      virtuallythe
                                                                                theentire
                                                                                     entireincident.
                                                                                            incident.
Below is aa timeline based
                     based on
                           on Officer
                              Officer Ferguson's
                                      Ferguson'sbody
                                                 bodycamera
                                                      cameratimestamp:
                                                              timestamp:
         15:44Officer
         15:44 OfficerFerguson's
                       Ferguson'scar
                                  cardoor
                                      dooropened,
                                           opened,sirens
                                                   sirens can
                                                           canbe
                                                               beheard.
                                                                  heard.

         15:46"Let's
         15:46 "Let'ssee
                      seeyour
                          yourfuckin'
                               fuckin'hands,
                                       hands,motherfucker!"
                                              motherfucker!"
         15:50Officer
         15:50 OfficerPina
                       Pinayelled,
                            yelled,"Put
                                    "Putyour
                                         yourhands
                                              handsup
                                                    upororyou're
                                                           you'regonna
                                                                  gonnaget
                                                                        getshot!"
                                                                             shot!"Sirens
                                                                                    Sirensstopped.
                                                                                            stopped.

         15:51Officer
         15:51 OfficerFerguson
                       Fergusonsaid,
                                said,"Bang
                                      "Bang up,
                                             up, bang
                                                 bang up!"
                                                      up!"
         15:52
         15:,52Officer
                OfficerPina
                        Pina said,  "...ororyou're
                              said, "...     you'regonna
                                                    gonnaget
                                                          getshot."
                                                              shot."
         15:58Officer
         15:58 OfficerFerguson
                       Fergusoncan
                                canbe
                                    beseen
                                       seenpointing
                                            pointinghis
                                                     hisrifle
                                                         rifleatatthe
                                                                   thesuspect's
                                                                       suspect'scar
                                                                                 carover
                                                                                     overhis
                                                                                          hiscar.
                                                                                              car.

         15:59Officer
         15:59 OfficerFerguson
                       Fergusoncommanded
                                commandedDominguez
                                          Dominguez toto"Keep
                                                         "Keepyour
                                                               yourhands
                                                                    handsthere!"
                                                                          there!"
         l6:00Officer
         16:00 OfficerPina
                       Pinayelled,
                            yelled,"Keep
                                    "Keepyour
                                          yourhands
                                               handsup!"
                                                     up!"with
                                                          withincreased
                                                               increasedurgency.
                                                                         urgency.
         l6:01Officer
         16:01 OfficerPina
                       Pinaand
                            andOfficer
                                OfficerFerguson
                                        Fergusonyelled,
                                                 yelled,"Keep
                                                         "Keepyour
                                                               yourhands
                                                                    handsup!"
                                                                          up!"
         16:02Officer
         16:02 OfficerPina
                       Pinaand
                            andOfficer
                               Officer Ferguson
                                        Ferguson continued
                                                  continued yelling,
                                                            yelling, "Hands
                                                                     "Hands up!"
                                                                            up!"
         16:03 First shot.
         16:03
         16:04 Second shot.
         16:04
         16:10Flashing
         16:10 Flashing red
                         redlights
                             lights on
                                     onOfficer
                                       Officer Lopez's
                                               Lopez'svehicle
                                                       vehiclecaptured
                                                               capturedon
                                                                        onvideo.
                                                                           video.

         16:14"Shots
         16:14 "Shotsfired"
                      fired"isisyelled
                                 yelled out.
                                         out.

         16:15Video
         16:15 Videocaptured
                      capturedOfficer
                               OfficerLopez
                                       Lopezthrowing
                                             throwingthe
                                                      theflashbang
                                                          flashbangfrom
                                                                    fromhis
                                                                         hiscar
                                                                             cartotothe
                                                                                     thedriver's
                                                                                         driver's
               door of the Kia Sportage.
                               Sportage.

                                                            13
                                                            l3
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          16:16Flashbang
          16:16 Flashbang detonates,
                           detonates, releasing
                                       releasingsmoke.
                                                 smoke.

                                  AIITOPSY OF
                                  AUTOPSY  OF"IA
                                              JACOB
                                                 OB DOMINGUEZ
             O'Hara, aaforensic
Dr. Joseph O'Hara,                  pathologistemployed
                          forensic pathologist      employedby   bythe
                                                                     theSanta
                                                                          SantaClara
                                                                                  ClaraCounty
                                                                                         CountyMedical
                                                                                                   Medical
               Office, conducted
Examiner's Office,     conducted the autopsy.
                                          autopsy. Dominguez
                                                      Dominguez was   was 33
                                                                           33 years
                                                                               years of
                                                                                      of age.
                                                                                          age.Dr.Dr.O'Hara
                                                                                                     O'Hara
determined thethe cause   of death
                   cause of  death as     "penetrating gunshot
                                    as aa "penetrating     gunshot wound
                                                                      woundto  tohead
                                                                                  headandandneck
                                                                                              neckwithout       exit."
                                                                                                    without exit."
The entrance wound was the left corner of Dominguez's mouth.           mouth.The Theprojectile
                                                                                      projectilecaused
                                                                                                   causedaafatal
                                                                                                               fatal
                injury, traveling
hemorrhagic injury,     traveling across
                                   across hishis body
                                                 body inin aadownward
                                                              downward trajectory
                                                                            trajectory through
                                                                                         through his    jaw bone,
                                                                                                   his jaw   bone,
tongue, and
         and the soft neck tissue before becoming                      intemally against
                                               becoming lodged internally          against his spine.
                                                                                                 spine. There
                                                                                                          There was
                                                                                                                  was
no soot, stippling
         stippling or    gunpower
                     or gunpower nearnear the
                                            the entrance
                                                 entrance wound,
                                                            wound, though
                                                                       though hehedid
                                                                                    didhave
                                                                                        havefresh
                                                                                               fresh minor
                                                                                                      minor
                            which were
lacerations to his neck, which             likely caused
                                   were likely     caused by by the   police canine
                                                                 the police   canine when
                                                                                       whenchecking
                                                                                              checking forfor his
                                                                                                               his
responsiveness. The       CrimeLab
                    TheCrime     Lablater
                                      laterdetermined       that
                                              determined that the the   projectile
                                                                       projectile  collected
                                                                                    collected at autopsy was aa
                                                                                               at autopsy   was
fragment ofof copper
               copper jacketing, not
                                   notaalead
                                           leadcore
                                                  corebullet.
                                                       bullet.
    O'Hara also
Dr. O'Hara   also diagnosed    Dominguezwith
                   diagnosedDominguez       with"acute
                                                 "acutemethamphetamine
                                                        methamphetamineand   andphencyclidine
                                                                                 phencyclidine
intoxication." The
intoxication."  TheNational
                      National Institute
                                Instituteof
                                          ofHealth
                                            Healthwebsite
                                                    website66 describes the
                                                                        the effects
                                                                            effects of phencyclidine
                                                                                    of phencyclidine
       intoxication as
(PCP) intoxication       follows:
                      asfollows:

         Low to moderate doses can
                               can cause
                                   cause numbness
                                         numbness throughout  your body
                                                   throughout your bodyand
                                                                        andloss  of
                                                                            loss of
         coordination.
         coordination.

         Large doses may cause you to  to be
                                          be very
                                             very suspicious
                                                  suspicious and
                                                             and not
                                                                  not trust
                                                                       trust others.
                                                                              others.You
                                                                                     You might
                                                                                         might even
                                                                                                even
                                  there.As
         hear voices that are not there.  Asaaresult,
                                               result,you
                                                       youmay
                                                           mayact
                                                               actstrangely
                                                                   strangelyororbecome
                                                                                   becomeaggressive
                                                                                          aggressive
         and violent.
                increase heartrate,
         It can increase heart rate, blood pressure, breathing
                                                     breathing rate,
                                                               rate, and
                                                                     and body
                                                                          body temperature.  Athigh
                                                                                temperature.At  high
         doses, PCP can
                      can have
                          have an
                                an opposite
                                   opposite and
                                             anddangerous
                                                 dangerous effect
                                                            effecton
                                                                   onthese
                                                                       thesefunctions.
                                                                             functions.
                        pain-killing (analgesic)
         Because of the pain-killing (analgesic) properties
                                                 properties of PCP, ifif you
                                                            of PCP,       youget
                                                                              getseriously
                                                                                  seriously injured,
                                                                                             injured,
         you might not
                   not feel
                       feel pain.
                            pain.

         Using PCP for a long time can can cause  memory loss,
                                            cause memory           thinking problems,
                                                            loss, thinking   problems, and
                                                                                        and problems
                                                                                             problems
         talking clearly, such
                          such as
                               as slurring
                                   slurring words
                                             wordsor
                                                   orstuttering.
                                                      stuttering.

              problems, such as depression or anxiety, can develop.
        Mood problems,                                              Thiscan
                                                           develop. This canlead
                                                                             lead to
                                                                                   tosuicide
                                                                                      suicide
        attempts.
                                                    ANALYSIS
                                          CRIME LAB ANALYSIS
Criminalists in
Criminalists   in the
                  the Santa
                       Santa Clara
                              Clara County
                                     County Crime
                                             Crime Lab
                                                     Lab began
                                                            began examining
                                                                   examiningthetheevidence
                                                                                    evidencecollected
                                                                                              collected
during this investigation
             investigation on on September
                                 September18, 18,2017
                                                  2017andandcompleted
                                                              completed their
                                                                          theirexamination
                                                                                examination ininFebruary
                                                                                                  February
2019. Criminalists
2019.   Criminalists conducted
                        conductedcrime-scene
                                    crime-scenereconstruction,
                                                  reconstruction, which
                                                                     which began
                                                                            beganononAugust
                                                                                        August21,   2018 and
                                                                                                21,2018   and
was completed on November 15,      15,2018.
                                       2018. ToTocomplete
                                                   completethe thereconstruction,
                                                                   reconstruction,criminalists
                                                                                     criminalistsconducted
                                                                                                   conducted
extensive firearms
           firearms andand trace
                           trace evidence
                                  evidence analysis
                                            analysis of
                                                      ofDominguez's
                                                          Dominguez'shooded
                                                                          hoodedsweatshirt,
                                                                                   sweatshirt,the
                                                                                                thefragment
                                                                                                     fragment
ofjacketing   that  killed Dominguez, and
of jacketing that killed Dominguez,       and the
                                               thebullet
                                                   bullet that
                                                           thatlodged
                                                                lodged in
                                                                        inthe
                                                                           therear
                                                                               rearpassenger
                                                                                    passengerdoorframe.
                                                                                                doorframe.
     criminalists also
The criminalists    also enhanced
                         enhanced thethebody
                                        bodycamera
                                                camera video
                                                        videoand andaudio.
                                                                     audio.


66https
  https://medlineplus.gov/ency/patientinstructions/000797.htm
        ://medlineplus. g ov I ency I patientinstructions/O00797.htm



                                                          l4
                                                          14
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 The criminalists concluded     following:
                  concluded the following:

          1.
          1.                         two successive
                  Officer Pina fired two
                  Officer                successive shots,
                                                     shots, approximately
                                                             approximatelyone
                                                                           onehalf
                                                                               halfsecond
                                                                                    secondapart;
                                                                                           apart;
          2.      The projectile
                      projectile that killed Dominguez
                                             Dominguez was aa fragment
                                                               fragment ofof copper
                                                                             copper jacketing
                                       body.The
                  recovered from his body.    Thecombined
                                                  combinedweight
                                                            weightofofthe  jacketingand
                                                                       thejacketing   andthe
                                                                                          thelead
                                                                                               leadcore
                                                                                                     core
                  recovered from the doorframe amounted
                                                  amounted to
                                                           to the
                                                              the approximate
                                                                   approximate weight
                                                                                 weight of
                                                                                         of aasingle
                                                                                               single
                       bullet;
                  .223 bullet;
         a
         3.
         -)               single bullet entered the vehicle, meaning
                  Only a single                              meaning that
                                                                      that the
                                                                            the other
                                                                                other shot
                                                                                      shot fired  by
                                                                                            fìred by
                  Officer
                  Officer Pina was aa miss;
                                      miss;

         4.
         4                                               if the miss
                                            definitively if
                  There was no way to tell definitively         miss was
                                                                       was fired
                                                                             fired first
                                                                                     first or
                                                                                           or second,
                                                                                               second, but
                                                                                                       but
                  according to firearms experts, when two shots
                  according                                   shots are
                                                                    are fired
                                                                         fired inin rapid
                                                                                     rapid succession,
                                                                                            succession, aamiss
                                                                                                           miss
                  is more likely to occur on
                                          on the
                                             the second
                                                 second shot
                                                          shot due
                                                               due to
                                                                    to recoil;
                                                                        recoil;
         5.       The bullet that entered the vehicle
                                              vehicle struck
                                                      struck the
                                                             the driver's
                                                                 driver'swindow,
                                                                          window, shattering  it;
                                                                                   shatteringit;
         6.       Upon
                  Upon impact
                         impact with the glass, the
                                                the bullet
                                                    bullet broke
                                                           broke up,
                                                                 up, with
                                                                      with the
                                                                            thelead
                                                                                lead core
                                                                                      core going
                                                                                           going through
                                                                                                  through
                  the forearm    Dominguez's hooded
                      forearm of Dominguez's     hoodedsweatshirt
                                                         sweatshirt and
                                                                     andultimately
                                                                         ultimately lodging
                                                                                      lodgingininthe
                                                                                                  therear
                                                                                                      rear
                  passenger doorframe;
                             doorframe;
         7.       The jacketing
                      jacketing fragment that broke
                                              broke away
                                                    away upon
                                                          upon impact
                                                                impact with
                                                                       with the
                                                                             theglass
                                                                                glass traveled
                                                                                       traveledin
                                                                                                inaa
                                       Dominguez's head,
                  path that penetrated Dominguez's  head,neck
                                                          neckand
                                                               andspine,
                                                                   spine,causing
                                                                          causinghis
                                                                                   hisdeath;
                                                                                        death;

         8.       Dominguez
                  Dominguez was leaning back in his
                                        back in his seat
                                                    seat immediately
                                                         immediately after
                                                                      after the
                                                                             theshooting.
                                                                                 shooting.
         9.       There were two holes in  in the  left forearm
                                              the left   forearm ofof the
                                                                       the hooded
                                                                            hooded sweatshirt
                                                                                       sweatshirt (the
                                                                                                   (the hole
                                                                                                         holeononthe
                                                                                                                   the
                  frontside
                  frontside of the left sleeve was
                                                 was approximately
                                                       approximately 12    12 inches
                                                                               inches upup from
                                                                                            from the
                                                                                                  the edge
                                                                                                       edge of
                                                                                                             of the
                                                                                                                 the
                  cuff and the hole located on
                  cuff,                         on the
                                                    the backside
                                                          backside ofof the
                                                                         the left
                                                                              left sleeve
                                                                                    sleeve was
                                                                                           was approximately
                                                                                                approximately
                        inches up from the edge
                  11.5 inches                 edge ofof the  cuff) that
                                                         the cuff)  that were
                                                                          werecaused
                                                                                  caused by
                                                                                          byaasingle
                                                                                                singlebullet
                                                                                                        bullet
                  passing through (entrance
                                    (entrance and
                                                andexit).
                                                      exit).
                                   REI,EVANT I,
                                   RELEVANT  LEGAL PRINCIPLES
                                                   PRINCIPLES
This review was
              was conducted   pursuant to
                  conducted pursuant    to the   joint protocol
                                            the joint   protocol between
                                                                  betweenthis
                                                                            thisoffice
                                                                                 officeand
                                                                                         andall
                                                                                              allSanta
                                                                                                  SantaClara
                                                                                                         Clara
County law enforcement
             enforcement agencies,    which calls
                            agencies, which    calls upon
                                                      upon the
                                                            the District
                                                                 District Attorney  to conduct
                                                                          Attorney to conduct an an
independent assessment
              assessment of the circumstances surrounding
                                                     surrounding the use of deadly force.
                                                                                        force. This
                                                                                                This review
                                                                                                      review
does not examine
          examine issues
                   issues such
                           such as:
                                as: compliance
                                    compliance with with the  policies and
                                                          the policies  andprocedures
                                                                             proceduresof ofany
                                                                                             anylawlaw
enforcement agency; ways to improve training or tactics;
enforcement                                                                          liability. Accordingly,
                                                         tactics; or possible civil liability.   Accordingly,
                         review should
the District Attorney's review   should not
                                         not be
                                              be interpreted
                                                   interpreted as
                                                                as expressing
                                                                    expressing an
                                                                                anopinion
                                                                                   opinion onon those
                                                                                                  those
matters.
          criminal charges
Possible criminal   charges against
                               against an    officer involved
                                         an officer   involved ininaafatal
                                                                      fatalshooting
                                                                             shooting include
                                                                                       includemurder
                                                                                                murder(Penal
                                                                                                        (Penal
       section 187)
Code section    187) and manslaughter
                           manslaughter (Penal Code section           I92).To
                                                             section 192).    Toconvict
                                                                                 convictan anofficer
                                                                                              officerof
                                                                                                      ofaa
homicide charge,    however, itit would
            charge, however,        would bebe necessary
                                                necessary to toprove
                                                                prove beyond
                                                                       beyondaareasonable
                                                                                   reasonabledoubt
                                                                                                doubtthat
                                                                                                      thatnono
legal justification existed   for the
                    existed for         officer'sactions.
                                   the officer's   actions. (People v. Banks       (1976) 67 Cal.App.3d
                                                                           Banlcs (1976)       Cal.App.3d 379,
                                                                                                             379,
383-384.) Several
383-384.)             justifications may
             Several justifications           applyininany
                                       mayapply               givencase,
                                                        anygiven     case,and
                                                                            andthey
                                                                                theyare
                                                                                      areset
                                                                                          setforth
                                                                                              forthin
                                                                                                    inPenal
                                                                                                       Penal
Code sections 196196 and   197.The
                       and 197.   Thejustifìcations
                                       justifications pertinent
                                                         pertinent to
                                                                    tothis
                                                                       thiscase
                                                                             caseare
                                                                                  areuse
                                                                                       useof
                                                                                           offorce
                                                                                              forcein
                                                                                                    inself-
                                                                                                       self-
defense and
         and defense
              defense ofof others,   which are
                           others, which     arefound
                                                  foundin in Penal
                                                             Penal Code
                                                                    Codesection
                                                                           section197.
                                                                                     197.




                                                         15
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Califomia        permits all persons to use
California law permits                     use deadly
                                                 deadly force      protect themselves
                                                         force to protect    themselves from from the
                                                                                                    the imminent
                                                                                                          imminent
threat of death or  great          injury.Penal
                          bodily injury.    PenalCode
                                                    Codesection
                                                            section197
                                                                     197provides
                                                                           providesthat
                                                                                      thatthetheuse
                                                                                                  useofofdeadly
                                                                                                           deadly
               person is justifiable when used
force by any person                            used in
                                                     in self-defense
                                                        self-defense oror in
                                                                           in defense
                                                                               defense ofof others.
                                                                                             others.TheTherelevant
                                                                                                             relevant
criminal jury instruction, as written by
criminal                                 by the Judicial Council of California, is set forth in
                                              the Judicial  Council   of California,     is set  forth  in
                                  Homicide: Self-Defense
CALCRIM 505 ("Justifiable Homicide:             Self-Defense or or Defense
                                                                   Defense of     Another").The
                                                                               of Another").       Theinstruction
                                                                                                         instruction
states that   person acts
       that a person  acts in  lawful self-defense
                           in lawful   self-defenseor  ordefense
                                                          defenseof    anotherif:if:1)1)he
                                                                    ofanother             hereasonably
                                                                                              reasonablybelieved
                                                                                                             believed
that he or someone else was in   in imminent
                                    imminent danger
                                                 danger ofof being  killed or
                                                             being killed    orsuffering
                                                                                suffering great
                                                                                              great bodily
                                                                                                     bodily injury;
                                                                                                              injury;
and2)
and  2) he reasonably believed that the the immediate
                                             immediate use     of deadly
                                                           use of  deadly force
                                                                            force was
                                                                                   was necessary
                                                                                          necessary to todefend
                                                                                                            defend
against       danger. In
against that danger.      lawfulself-defense
                       Inlawful    self-defenseor  ordefense
                                                       defenseofofanother,
                                                                   another,a aperson
                                                                                 personmay mayuse useno
                                                                                                      nomore
                                                                                                           more
force than is reasonably necessary to defend
                                           defend against
                                                     against the
                                                              the danger.     (CALCRIM505.)
                                                                  danger.(CALCRIM              505.)

A person may resort to the use   use of
                                     of deadly
                                         deadly force    in self-defense
                                                  force in  self-defense or  or in
                                                                                 indefense
                                                                                     defense of
                                                                                              of another
                                                                                                  anotherwhere
                                                                                                            where
there is a reasonable              protect oneself
           reasonable need to protect       oneself oror someone
                                                         someone else      from an
                                                                     else from     anapparent,
                                                                                       apparent, imminent
                                                                                                   imminent threat
                                                                                                                threat
of death or  great           injury. Perfect
                   bodily injury.     Perfectself-defense
                                                self-defense requires
                                                               requiresbothbothsubjective
                                                                                  subjectivehonesty
                                                                                               honestyand  and
objective reasonableness.
           reasonableness. (People v.        Arís (1989) 215 Cal.App.3d 1178,
                                          v. Aris                                  I 778, 1186.)    Additionally,
                                                                                          1186.) Additionally,
"fi]mminence is aa critical
"[i]mminence         critical component
                               component of   of both
                                                 both prongs
                                                       prongs ofof self-defense."
                                                                    self-defense." (People v. Humphrey
(1996) 13
        13 Ca1.4th   1073, 1094.)
            Cal.4th 1073,     1094.) In
                                      In Aris, the trial court's clarifying
                                                                    clarifying instruction
                                                                                    instruction to
                                                                                                 tothe   juryon
                                                                                                    the jury   onthe
                                                                                                                   the
subject was to the point and later      cited with approval by the California Supreme Court: "An
                                  later cited  with  approval   by  the  California     Supreme     Court:  "An
imminent peril is one that, fromfrom appearances,
                                      appearances, mustmust bebe instantly
                                                                  instantly dealt     with." (In re Christian
                                                                              dealtwith."             Christían S.
(1994) 77 Ca1.4th
          Cal.4th 768,
                   7 68, 783.)
                          7 83.)


             right of
A person's right   of self-defense
                       self-defense isisthethesame
                                                samewhether
                                                        whetherthe  thedanger
                                                                         dangerisisreal
                                                                                    realorormerely
                                                                                              merelyapparent.
                                                                                                      apparent.
(People v. Jackson (1965) 233 Cal.App.2d               639.) IfIf the
                                        Cal.App.2d 639.)                person'sbeliefs
                                                                   the person's    beliefswere
                                                                                            werereasonable,
                                                                                                   reasonable, the the
danger does not need to have actually existed.
danger                                                      (CALCRIM 505.)
                                                existed. (CALCRIM            505.)What
                                                                                     Whatconstitutes
                                                                                             constitutes"reasonable"
                                                                                                           "reasonable"
self-defense     defense of others is controlled by
selÊdefense or defense                                    by the circumstances.
                                                                     circumstances. The The question
                                                                                              question isis whether
                                                                                                            whether
action was instantly
action      instantly required to avoid death or great     great bodily     injury.InInthis
                                                                    bodily injury.       thisregard,
                                                                                               regard, there
                                                                                                        there isis no
                                                                                                                    no duty
                                                                                                                       duty
to wait until an injury has been inflicted to be sure that deadly force is indeed appropriate. In                    Inone
                                                                                                                        one
case, a robber  pointed
                pointed a    gun   at
                                    at his victim and
                                       his victim    and aa deputy
                                                            deputy sheriff
                                                                       sheriff was
                                                                                wascalled
                                                                                     calledto tothe
                                                                                                 thescene
                                                                                                     sceneof ofthethe
robbery. Before
robbery.   Beforethethe robber    couldget
                         robber could          offaashot,
                                           getoff     shot, the
                                                             thedeputy
                                                                   deputyfired
                                                                            fired his
                                                                                   hisweapon,
                                                                                       weapon,wounding
                                                                                                   wounding the  the
robber. The
robber.  The appellate
               appellate court
                           court remarked
                                   remarked thatthat"[s]uch
                                                      "[s]uch aggressive
                                                                aggressiveactions
                                                                               actionsrequired
                                                                                        required immediate
                                                                                                    immediate
reaction unless an
                 an officer is is to
                                  to bebe held
                                          held to
                                                to the
                                                    the unreasonable
                                                         unreasonable requirement
                                                                           requirement thatthatananarmed
                                                                                                    armed robber
                                                                                                             robberbe  be
giventhe
given      courtesyof
       the courtesy   of the first   shot." (People
                              first shot."    (Peoplev.  v. Reed (1969) 270   270Ca\.App.2d37,45.)
                                                                                   Cal.App.2d 37, 45.)
There is no requirement
            requirement that aa person    (including aa police
                                 person (including       police officer)
                                                                  officer) retreat   evenififsafety
                                                                            retreateven       safetycould
                                                                                                     couldhave
                                                                                                           have
been achieved by retreating.    (CALCRIM 505.)
                   retreating. (CALCRIM         505.)InInaddition,    policeofficers
                                                          addition,police      officersare
                                                                                        arenot
                                                                                             not
constitutionally required to use
constitutionally                  all feasible
                             use all   feasible alternatives
                                                 alternatives to
                                                               to avoid
                                                                   avoidaasituation
                                                                             situation where
                                                                                       wherethe theuse  of
                                                                                                    useof
deadly force is reasonable and   justified. (Martinez
                            and justified.    (klartinez v.
                                                          v. County
                                                             CountyofofLos
                                                                         LosAngeles
                                                                                Angeles (1996) 47
Cal.App.4th
Cal.App.4th 334,   348.)
             334,348.)
                           person's beliefs
When deciding whether aa person's    beliefswere
                                              werereasonable,     juryconsiders
                                                    reasonable,aajury  considersall
                                                                                 allthe
                                                                                     thecircumstances
                                                                                         circumstances
as they were known to and appeared
                             appeared to
                                       to the
                                           the person
                                               person and
                                                      and considers
                                                          considers what
                                                                      whataareasonable
                                                                             reasonable person
                                                                                         personininaa
similar situation with similar
similar                similar knowledge would have have believed.  (CALCRIM505.)
                                                         believed. (CALCRIM      505.)

In the related context of   ofcases   alleging excessive
                              cases alleging    excessive force
                                                             force by   police, the
                                                                     by police,   thetest
                                                                                      testof reasonableness ofofan
                                                                                           ofreasonableness      an
officer's use
          use ofof deadly    forceisisan
                    deadly force       anobjective
                                           objectiveone,
                                                      one,viewed
                                                            viewedfromfromthethevantage
                                                                                  vantageofofa areasonable
                                                                                                 reasonableofficer
                                                                                                             officer
on the scene, rather than with with the
                                      the 20/20
                                           20120 vision
                                                 vision of    hindsight. (Graham v. Conner
                                                          of hindsight.                    Conner (1989) 490 U.S.
                                                                                                                U.S.
     396.) ItIt isisalso
386, 396.)                highly deferential
                     also highly  deferentialto tothe   police officer's
                                                   the police    officer'sneed
                                                                           needtotoprotect
                                                                                      protecthimself
                                                                                              himselfand
                                                                                                       andothers.
                                                                                                            others.
The calculus of reasonableness must     must embody
                                              embody the the allowance
                                                              allowanceforforthe
                                                                               thefact
                                                                                    factthat
                                                                                         that"police
                                                                                              "policeofficers
                                                                                                      officersare
                                                                                                                are
                                          judgments-in
often forced to make split-second judgments—in circumstances  circumstances thatthatare
                                                                                     aretense,
                                                                                          tense,uncertain,
                                                                                                 uncertain,and
                                                                                                            and

                                                            t6
                                                            16
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        evolving-about the
rapidly evolving—about
rapidly                 theamount
                            amountof
                                   offorce
                                      force that
                                             thatisisnecessary
                                                      necessaryinina aparticular
                                                                       particularsituation."   (Id. at
                                                                                   situation." (Id. at
396-397.)
3e6-3e7.)

                                                   ANALYSIS
When evaluating
       evaluating whether    Officer Pina
                   whether Officer          lawfully used
                                      Pina lawfully  used deadly
                                                           deadly force
                                                                    force that
                                                                           that resulted
                                                                                resulted in
                                                                                          in the
                                                                                              the death  of
                                                                                                  death of
Jacob Dominguez on September
                        September 15,15, 2017,
                                         2017, we examined
                                                    examined his
                                                               his recorded
                                                                    recorded statements,
                                                                               statements, the
                                                                                             the reports   of
                                                                                                  reports of
law enforcement officers
                   officers who
                            who witnessed
                                  witnessed the
                                              theshooting,
                                                  shooting,the
                                                            thestatements
                                                                 statementsofofpercipient
                                                                                  percipientcivilian
                                                                                               civilian
witnesses, body camera
                  camera video,
                           video, surveillance
                                   surveillance video,
                                                 video,audio
                                                        audiorecordings
                                                               recordingsofofthetheincident,
                                                                                    incident,asaswell
                                                                                                   wellasasthe
                                                                                                             the
expert witness
       witness reports
                reports described
                         describedherein.
                                    herein.

Determining whether    Officer Pina
              whether Officer   Pina was
                                      was legally   justifiedininhis
                                           legally justified      hisuse
                                                                      useofofaafirearm
                                                                                firearmunder
                                                                                        underthe
                                                                                              the
principles of
           of self-defense
              self-defense and
                            and defense
                                 defense of
                                          of others
                                              othersinvolves
                                                      involvesaatwo-part
                                                                  two-partanalysis:
                                                                             analysis:
         1.
         1.       Did he
                      he subjectively
                         subjectively and
                                       and honestly
                                           honestly believe
                                                     believehe
                                                             heneeded
                                                                neededtotoprotect
                                                                           protecthimself
                                                                                    himselfororothers
                                                                                                others
                  from an
                       an apparent,
                          apparent, imminent
                                     imminent threat
                                               threat of
                                                       ofdeath
                                                          deathor
                                                                orgreat
                                                                   greatbodily
                                                                         bodilyinjury;
                                                                                injury;and
                                                                                        and

         2.
         2.       Was his belief in
                                  in the
                                     the need
                                         need to
                                               to protect
                                                  protect himself
                                                          himself or
                                                                   or others
                                                                      others from
                                                                              from an
                                                                                   an apparent,
                                                                                       apparent, imminent
                                                                                                  imminent
                         ofdeath
                  threat of death or
                                  or great
                                      great bodily  injuryobjectively
                                            bodily injury  objectively reasonable?
                                                                        reasonable?

    following facts and circumstances
The following            circumstances support
                                          support the
                                                    the conclusion
                                                         conclusion that
                                                                     that Officer
                                                                          Officer Pina's
                                                                                  Pina'sfear     of
                                                                                            fearof
                 of great
imminent danger of         bodily injury
                    great bodily   injury or
                                           or death
                                               death to
                                                      tohimself
                                                         himselfand
                                                                 andother
                                                                      otherofficers
                                                                            officersatatthe
                                                                                          thescene
                                                                                              scenewas
                                                                                                    was
genuine and objectively reasonable
                         reasonable under
                                      under the
                                              thecircumstances.
                                                  circumstances.

Officer Pina and two other
                        other officers
                                officers were
                                         were attempting
                                               attemptingtotoapprehend
                                                               apprehendaaknown
                                                                             knowngang
                                                                                    gangmember
                                                                                           memberwanted
                                                                                                      wanted
                      in an
for his participation in  an armed
                              armed robbery    five days
                                      robbery five   daysearlier
                                                          earlierwhere
                                                                  wherethe
                                                                         theweapon
                                                                              weaponhad
                                                                                      hadnot
                                                                                           notbeen
                                                                                                been
          Officer Pina
located. Officer   Pinawas
                         wasadvised
                               advisedthat
                                        thatDominguez
                                            Dominguezwas  wasbelieved
                                                                believedtotobe
                                                                             bearmed
                                                                                armedwith
                                                                                       witha ahandgun
                                                                                               handgunand and
                        for violent
had prior convictions for    violent crimes
                                      crimes and
                                              and firearm
                                                   firearm offenses.
                                                           offenses.Further,
                                                                       Further,several
                                                                                 severalassault
                                                                                         assaultrifles
                                                                                                  rifleswere
                                                                                                         were
recently seized from Dominguez's
                       Dominguez'sgang,  EanE,San
                                               San Jose
                                                     JoseGrande.
                                                         Grande.

The co-participant in that robbery, Andrew Anchondo, had      had been
                                                                   been arrested
                                                                          arrested two
                                                                                     two days
                                                                                         days earlier,      and itit
                                                                                                  earlier, and
is a reasonable
     reasonable inference that
                           that Dominguez
                                 Dominguez was
                                             wasaware
                                                  awareof  ofthat
                                                               thatarrest
                                                                    arrestand
                                                                           andbelieved
                                                                                 believedthatthatlaw
                                                                                                   law
enforcement officials
enforcement   officials were looking
                              looking to arrest him as   well.Shortly
                                                     as well.    Shortlyafter
                                                                           afterAnchondo's
                                                                                 Anchondo'sarrest  arrestand
                                                                                                           andtoto
avoid apprehension, Dominguez purchased
                                    purchased an airline
                                                  airline ticket
                                                            ticket to
                                                                    to depart
                                                                       depart in
                                                                               in two
                                                                                   two days'
                                                                                       days'timetimeforfor
Dayton, Ohio, and he began saying
                                saying his goodbyes toto loved
                                                          loved ones.
                                                                  ones.He Healso
                                                                              alsomade
                                                                                    madearrangements
                                                                                            arrangementsfor    for
an unknown
    unknown male
              male to acquire and
                                and provide him with the     rented  Kia,
                                                        the rented Kia,    presumably
                                                                           presumably     to  avoid   detection
                                                                                           to avoid detection
by the authorities,  which he
        authorities, which he was   driving when
                               was driving  when the
                                                  theofficers
                                                       officersattempted
                                                                  attemptedtotoarrest
                                                                                  arresthim.
                                                                                         him.
Not only was Dominguez desperate
                         desperate to avoid
                                        avoid jail, he
                                                    he was
                                                       was also
                                                             also under
                                                                   under the
                                                                          the influence
                                                                               influence of of
methamphetamine       PCP.The
methamphetamine and PCP.    Theuse
                                 useof ofPCP,
                                          PCP,ininparticular,
                                                    particular,can
                                                                canhave
                                                                     havethetheeffect
                                                                                 effectofofimpairing
                                                                                            impairing
judgment,
judgment, inducing aggression,
                   aggression, and
                               and triggering
                                    triggering violent
                                                violent behavior.
                                                          behavior.These
                                                                      Thesefacts
                                                                               factsare
                                                                                     arerelevant
                                                                                          relevanttoto
understanding Domingaez's mental
understanding Dominguez's   mental state
                                    state when
                                          when the
                                                 theofficers
                                                      officersattempted
                                                                attempted to toarrest
                                                                                arresthim
                                                                                        himononSeptember
                                                                                                September
 15,2017.
 15, 2017. .
When the officers
When       officers conducted their operation, Dominguez was     was plainly
                                                                       plainly on
                                                                               on notice
                                                                                  notice that
                                                                                          that this
                                                                                                this was
                                                                                                     wasaa
police
police action. Officer
                Officer Lopez's
                         Lopez'ssiren
                                  sirenand
                                        andredredand
                                                   andblue
                                                       blueflashing
                                                            flashinglights
                                                                       lightswere
                                                                              wereactivated
                                                                                    activated atatthe
                                                                                                   thetime   of
                                                                                                       time of
the stop, and his red and blue lights were on throughout the   the encounter.
                                                                   encounter.The Thesirens
                                                                                      sirensofofother
                                                                                                  other
officers' vehicles
          vehicles can
                   can be
                        be heard prior to
                           heard prior  to the
                                            the shooting
                                                 shootingon
                                                          onOfficer
                                                              OfficerFerguson's
                                                                        Ferguson'sbody
                                                                                     bodycamera.
                                                                                           camera.
Moreover,
Moreover, Dominguez
            Dominguez employed
                          employed counter surveillance tactics
                                                             tactics throughout
                                                                      throughout the
                                                                                   the afternoon
                                                                                       aftemoon while
                                                                                                    while
attempting to shake the undercover SJPD
attempting                             SJPD vehicles.
                                               vehicles.


                                                         l7
                                                         17
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                finally stopped
When he was finally      stopped and
                                   and faced   withthree
                                        faced with   threeSJPDSJPDofficers
                                                                    officerscommanding
                                                                              commanding him  himtotokeep
                                                                                                      keephis
                                                                                                            his
hands up, Officer
            Officer Pina   heard Dominguez
                    Pina heard     Dominguez say  say to him,    "Fuck you.
                                                           him, "Fuck   you. Shoot
                                                                               Shoot me,   bitch."Such
                                                                                       me, bitch."   Suchaa
statement
 statement demonstrated thatthat Dominguez
                                  Dominguez had       littleregard
                                                 hadlittle   regardfor
                                                                     forhis
                                                                         hisown
                                                                              ownlife
                                                                                   lifeand,
                                                                                        and,consequently,
                                                                                             consequently,no  no
regard for the life of the officers.  Tragically,    after  15  seconds  of  warnings,   Dominguez
                            officers. Tragically, after 15 seconds of warnings, Dominguez dropped      dropped
his hands and leaned
                leaned forward               vehicle.At
                         forward into his vehicle.       Atthat
                                                             thatmoment,
                                                                  moment,the theofficers
                                                                                 officerswould
                                                                                           wouldhave
                                                                                                   havebeen
                                                                                                        been
justified discharging
          discharging their
                        their firearms
                               firearms ininself-defense
                                             self-defenseand  anddefense  of  others.
                                                                  defense of others.

However,
However, rather than     fire immediately,
                   than fire   immediately, Officers
                                              OfficersPinaPinaand
                                                                andFerguson
                                                                      FergusongavegaveDominguez
                                                                                        Domingsezananextraextra
three seconds to show
                   show his hands.    After the
                               hands.After         first1515seconds
                                               thefirst      secondsof   ofattempting
                                                                            attemptingtotoget
                                                                                            getDominguez
                                                                                                Dominguez toto
sufficiently comply so so that
                           that he
                                he could
                                   could be
                                          be taken
                                              takeninto
                                                      intocustody,
                                                            custody,the theofficers
                                                                            officersbegan
                                                                                     beganfuriously
                                                                                             furiouslyyelling
                                                                                                        yelling
o'Hands
"Hands        with renewed
        up!" with    renewed urgency     forthree
                                urgency for   threeseconds
                                                      secondsbefore
                                                                beforeOfficer
                                                                          OfficerPina
                                                                                   Pinadischarged
                                                                                        dischargedhishisfirearm.
                                                                                                          firearm.
The officers' change
               change inin tone
                            tone appeared
                                  appeared to
                                            to be
                                                bethe
                                                    themoment
                                                        moment they theyperceived
                                                                           perceived an
                                                                                      anincreased
                                                                                          increased threat
                                                                                                     threatwhen
                                                                                                             when
Dominguez dropped his hands and leaned forward    forward forfor no
                                                                  no legitimate
                                                                      legitimate reason.
                                                                                  reason.At Atthat
                                                                                               thatpoint,
                                                                                                    point,with
                                                                                                             with
                 from Dominguez,
no compliance from      Dominguez, thethe use
                                           useof offorce
                                                    forcewas     justified.
                                                           wasjustified.

Lawful self-defense or  or defense
                            defense ofof others
                                          others does
                                                  doesnot
                                                        notrequire
                                                            requireproof
                                                                    proofthat
                                                                            thatthe
                                                                                 theperson
                                                                                     personwho whopresented
                                                                                                    presenteda a
                     fire at
threat intended to fire   at the  officers.Such
                             the officers.           proof
                                              Suchproof ofofintent
                                                              intentisisnot
                                                                         notrequired
                                                                             requiredfor
                                                                                       fordeadly
                                                                                            deadlyforce
                                                                                                     forcetotobe
                                                                                                               be
justified. The
justified.      criticalissue
            Thecritical   issueisisnot
                                    notthe
                                         thestate
                                             stateofofmind
                                                       mind of
                                                             ofDominguez.
                                                                Domingaez.Rather,Rather,the
                                                                                          theissue
                                                                                              issueisiswhether
                                                                                                        whether
Officer Pina acted reasonably under the circumstances.
                                                circumstances.Here,Here,Dominguez
                                                                          Domingaezdid   didnot
                                                                                              notrespond
                                                                                                  respondtotothethe
presence of uniformed officers
                           officers by complying       with simple
                                          complying with     simple commands.
                                                                     commands.Rather,
                                                                                    Rather,he heacted
                                                                                                  actedlike
                                                                                                         like
someone attempting to   to arm
                            arm himself.
                                 himself.
When Dominguez dropped
                   dropped his hands and
                                      and moved
                                          moved forward,
                                                  forward, Officer
                                                            Officer Pina
                                                                     Pina used
                                                                           used no
                                                                                no more
                                                                                      more force
                                                                                            force than
                                                                                                   than
                          Dominguez.Officer
necessary to incapacitate Dominguez.   OfficerPina
                                               Pinafired
                                                     firedonly
                                                           onlytwo
                                                                twoshots,
                                                                      shots,one
                                                                             oneofofwhich    hit
                                                                                      whichhit
Dominguez. Once
Dominguez.         OfficerPina
              OnceOfficer      realized that
                           Pinarealized  thatDominguez
                                              Dominguezwas washit,
                                                                hit,he
                                                                     hestopped
                                                                        stoppedfiring.
                                                                                  firing.
Our analysis includes
              includes careful
                         careful consideration
                                  consideration of ofthe
                                                      themeticulous
                                                           meticulous crime-scene
                                                                       crime-scenereconstruction
                                                                                     reconstruction
conducted by the Crime Lab, Lab, detailed in the
                                               the "Crime
                                                    "Crime Lab
                                                             Lab Analysis"
                                                                  Analysis" section
                                                                             sectionofofthis
                                                                                         this report.
                                                                                               report.ThatThat
reconstruction supports
reconstruction  supports the
                           the reasonable
                                reasonable inference
                                             inferencethat
                                                         thatwhen
                                                              whenOfficer
                                                                     OfficerPina
                                                                             Pinadischarged
                                                                                  dischargedhis  hisfirearm
                                                                                                      firearm
(most likely the first time), Dominguez's
                                Dominguez's leftleftarm
                                                     arrnwas
                                                          wasininaaposition
                                                                    positionthat
                                                                             thatpermitted
                                                                                  permittedthe thebullet
                                                                                                    bullettoto
pass through the window and then   then the left sleeve of the hooded sweatshirt. ThatThat Dominguez's
                                                                                             Dominguez's
left arm was in that position, however,
                                  however, does
                                             does not
                                                   not change
                                                        change our
                                                                 our conclusion
                                                                     conclusion that
                                                                                 that Officer
                                                                                      Officer Pina
                                                                                                 Pinafired
                                                                                                        fired in
                                                                                                               in
lawful self-defense for
                     for two
                          two reasons.
                                reasons.

First, the possibility that Officer
                             Officer Pina intentionally
                                           intentionally shot
                                                          shot aa man
                                                                  man with
                                                                        with his
                                                                             hisleft
                                                                                  left hand
                                                                                        hand up
                                                                                              up isis
inconsistent
inconsistent with the audio recordings
                                recordings from the officers' body
                                                                 body cameras.
                                                                        cameras.The Theofficers
                                                                                          officerscan canbe
                                                                                                          be
clearly heard telling Dominguez          "Keep your
                        Dominguez to "Keep       your hands
                                                      hands up,"
                                                             up," indicating
                                                                    indicating he
                                                                                hedid
                                                                                    did have
                                                                                         have  them
                                                                                                them upup
initially. Then,
initially. Then,the    officers'tone
                 theofficers'    tonesuddenly
                                       suddenlybecame
                                                  becamemore
                                                          moreurgent,
                                                                  urgent,supporting
                                                                          supportingtheirtheirstatements
                                                                                                statements toto
investigators
investigators that they
                    they could
                           could no
                                  no longer
                                     longer see
                                             see Dominguez's
                                                 Dominguez's hands,
                                                                 hands,which
                                                                         whichisiswhy
                                                                                    whytheytheyyelled
                                                                                                 yelledmore
                                                                                                          more
forcefully for him
               him toto put
                        put them
                             them back
                                   back up.
                                         up.

Second, while it is very likely that Dominguez was
Second,                                                 was holding
                                                             holding his
                                                                      his left
                                                                           left hand
                                                                                hand upup when
                                                                                          when the
                                                                                                the bullet
                                                                                                    bullet
shattered
shattered the window, it it is
                            is also
                               also reasonable
                                     reasonable to to conclude,
                                                       conclude, based
                                                                  based on
                                                                         on all
                                                                             all the
                                                                                  theevidence, that
                                                                                      evidence,that
Dominguez chose to  to re-raise
                       re-raise atat least
                                     least his left
                                                left hand
                                                     hand at
                                                           at precisely
                                                              precisely the
                                                                         the same
                                                                              samemoment
                                                                                     moment Officer
                                                                                              OfficerPina
                                                                                                       Pina
pulled the trigger
           trigger on
                   on his
                       his weapon.
                            weapon.

                      with certainty
We can never prove with     certainty the position of
                                      the position  of Dominguez's
                                                        Dominguez'sleftleftarm
                                                                            armwhen
                                                                                whenhehewas
                                                                                          wasstruck
                                                                                                struckby
                                                                                                       by
           fragment.The
the bullet fragment.  Therapidly   evolving  events  in this case exemplify   how  police officers
                           rapidly evolving events in this case exemplify how police officers are    are
required
required to make
             make split-second  judgments-in circumstances
                  split-second judgments—in       circumstances that
                                                                  that are
                                                                        aretense,
                                                                            tense,uncertain,
                                                                                   uncertain, and
                                                                                               andrapidly
                                                                                                    rapidly


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evolving-about the amount of force
evolving—about                  force that
                                      that is
                                           is necessary
                                              necessary in
                                                        in aa situation.
                                                              situation.ByByexamining
                                                                              examining all
                                                                                          allthe
                                                                                              the
evidence, we conclude that the facts and
                                     and circumstances
                                          circumstances known to   to Officer
                                                                      Officer Pina
                                                                              Pina justified  his
                                                                                              his use of
                                                                                                  use of
deadly
deadly force.
       force.

                                               CONCLUSION
Based on
       on the
          the evidence
                evidence reviewed    inthis
                           reviewed in  thiscase,
                                             case,Officer
                                                    OfficerPina
                                                             Pinaactually
                                                                    actuallyand
                                                                             andreasonably
                                                                                   reasonablybelieved
                                                                                                believedthat
                                                                                                           that
he needed toto use
               use deadly
                    deadly force to
                                  to protect
                                     protect himself
                                              himself and
                                                        and others
                                                             others when
                                                                     when Dominguez,
                                                                            Dominguez, aaknownknown violent
                                                                                                      violent
gang member, ignored explicit and   and repeated
                                        repeated commands
                                                   commands at   at gunpoint
                                                                    gunpoint toto keep
                                                                                  keep his
                                                                                         his hands
                                                                                             hands up,
                                                                                                    up, and
                                                                                                        and
decided to drop
            drop his hands out of    view.Further,
                                  of view.   Further,Officer
                                                       OfficerPina
                                                                 Pinaused
                                                                       usedonly
                                                                             onlythat
                                                                                   thatforce
                                                                                        forcewhich
                                                                                               whichwas
                                                                                                      was
necessary to
           to guard
               guard against
                      against that threat.
                                   threat.Under
                                            Underthethefacts,
                                                         facts,circumstances,
                                                                circumstances,and  andapplicable
                                                                                        applicablelaw
                                                                                                    lawininthis
                                                                                                             this
matter, Officer
        Officer Pina's
                  Pina's use
                          useof
                              ofdeadly
                                 deadlyforce
                                         forcewas    justifiableininthe
                                                was justifiable      thedefense
                                                                         defenseof  ofself
                                                                                       selfand
                                                                                            andother
                                                                                                otherself.
                                                                                                       self.
Consequently,
Consequently, no criminal
                     criminal liability attaches
                                        attaches to
                                                  to him.
                                                      him.
Dated: March
       March 8, 2019
             8,2019

Respectfully submitted,
             submitted,

ROBERT
ROBERT BAKER
Deputy District
       District Attorney
                Attomey

 y"fu{%*-    i.4 Z-ii,
JEFFREY F.  F. ROSEN
               ROSEN
District Attorney
         Attorney




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                 EXHIBIT 10
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                         EXHIBIT 10
                         EXHIBIT 10

IS     VIDEO RECORDING
   THE VIDEO
IS THE       RECORDING OF OFFICER PINA
CONDUCTED BY SAN
               SAN JOSE  POLICE INTERNAL
                   JOSE POLICE  INTERNAL
 AFFAIRS THE
 AFFAIRS  THE EVENING
              EVENING OF  SEPTEMBER 15,
                       OF SEPTEMBER  15,
                  2017

             BEING SUBMITTED
THE VIDEO IS BEING           UNDER SEAL
                   SUBMITTED UNDER SEAL
        CLERK OF
 TO THE CLERK  OF THE
                  THE COURT ALONG WITH
                      COURT ALONG  WITH
PLAINTIFFS' ADMINISTRATIVE MOTION
PLAINTIFFS’ ADMINISTRATIVE        TO FILE
                           MOTIONTO  FILE
                      SEAL
              WITH NO SEAL
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                 EXHIBIT 11
                         11
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                            Atkinson-Baker,
                            Atkinson-Baker, aaVeritext
                                               Veritext Company
                                                       Company
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                                     www.depo.com


 1                             UNITED STATES
                                      STATES DISTRICT
                                              DISTRICT COURT
                                                        COURT

 2                          NORTHERN
                            NORTHERN DISTRICT
                                      DISTRICT OF
                                                OF CALIFORNIA
                                                    CALIFORNIA

 3

 4     JESSICA
       JESSICA DOMINGUEZ,
               DOMINGUEZ, INDIVIDUALLY
                           INDIVIDUALLY)                  )
                                                              [CERTIFIED coJ
                                                               CERTIFIED COPY
       AND JESSICA
           JESSICA DOMINGUEZ
                     DOMINGUEZ ASAS                       )

 5     GUARDIAN
       GUARDIAN AD
                 AD LITEM
                     LITEM FOR
                            FOR JAD
                                 JAD(1),
                                      (1),                )


       JAD (2)
            (2) AND
                AND JAD
                     JAD (3),
                          (3),                            )


 6                                                        )


                                  Plaintiffs,             )

 7                                                        )
                                                          )        Case No.:
                                                                        No.:
                 vs.
                 vs.                                      )
                                                          )        5:18-CV-04826
                                                                   5:18—CV—O4826
 8                                                        )

       CITY OF
            OF SAN
               SAN JOSE,
                    JOSE, SAN
                           SAN JOSE
                                JOSE POLICE
                                      POLICE)
 9     DEPARTMENT, MICHAEL
                   MICHAEL PINA,
                            PINA, AND
                                   AND)
       DOE POLICE
           POLICE OFFICERS
                  OFFICERS 22 through
                               through5,5, )
10
10                                                        )


                                  Defendants.             )


11
11                                                        )




12
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14
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15
15                                      DEPOSITION OF
                                        DEPOSITION OF

16
16                                  OFFICER
                                    OFFICER ALVARO
                                            ALVARO LOPEZ
                                                    LOPEZ

17
17                                  SAN JOSE,
                                        JOSE, CALIFORNIA
                                              CALIFORNIA

18
18                                      MARCH    1,
                                                 1, 2021
                                                     2021

19
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20

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21

22
22     ATKINSON-BAKER, aa Veritext
                           Veritext Company
                                     Company
       (800)  288-3376
        (800) 288—3376
23
23     www.depo.com
       www.depo.com

24
24     REPORTED BY:
       REPORTED BY:         THERESA
                            THERESA KIELTY,
                                    KIELTY, CSR
                                             CSR NO.
                                                  NO. 5037
                                                       5037

25
25     FILE NO.:            AE088F4


                               AlvaroLopez
                       Officer Alvaro Lopez- with
                                             - with Confidential
                                                  Confidential    Portions
                                                               Portions
                                      March 01,  2021
                                              01,2021                              1
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                           Atkinson-Baker, a Veritext
                           Atkinson-Baker,            Company
                                             a Veritext Company
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                                     www.depo.com


 1
 1                        UNITED STATES DISTRICT
                          UNITED STATES  DISTRICTCOURT
                                                  COURT

 2
 2                     NORTHERN DISTRICT OF
                       NORTHERN DISTRICT  OFCALIFORNIA
                                             CALIFORNIA

 3
 3

 4
 4    JESSICA   DOMINGUEZ INDIVIDUALLY
      JESSICA DOMINGUEZ     INDIVIDUALLY           )


      AND  JESSICA DOMINGUEZ
      AND JESSICA    DOMINGUEZASAS                 )


 5
 5    GUARDIAN
      GUARDIAN AD    LITEM FOR
                 AD LITEM   FORJAD
                                JAD (1),
                                     (1),          )


      JAD  (2) AND
      JAD (2)   AND JAD
                     JAD (3),
                          (3),                     )


 6
 6                                                 )


                             Plaintiffs,
                             Plaintiffs,           )


 7
 7                                                 )
                                                   )       Case No.:
                                                           Case No.:
               vs.
               vs.                                 )
                                                   )       5:18-CV-04826
                                                           5:18—CV--04826
 8
 8                                                 )

      CITY OF
      CITY OF SAN
              SAN JOSE,
                   JOSE, SAN
                          SANJOSE
                              JOSEPOLICE
                                   POLICE )
 9
 9     DEPARTMENT,  MICHAELPINA,
       DEPARTMENT, MICHAEL  PINA,AND
                                   AND )
       DOE POLICE
       DOE POLICE OFFICERS
                   OFFICERS2 2through
                                through5, 5,           )
10
10                                                 )


                             Defendants.
                             Defendants.           )


11
11



                                                   )




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16
16                     Deposition  of OFFICER
                       Deposition of   OFFICERALVARO
                                               ALVAROLOPEZ,
                                                       LOPEZ, taken
                                                            taken on on

17
17    behalf of Plaintiffs,
      behalf of Plaintiffs,atat200
                                200East
                                    EastSanta
                                          Santa Clara
                                              Clara   Street,
                                                    Street, San San

18
18    Jose, California, 95113,
      Jose, California,  95113,commencing
                                 commencing
                                          at at 11:35
                                              11:35   a.m.,
                                                    a.m.,   Monday,
                                                          Monday,

19
19    March 1, 2021,
      March 1, 2021, before
                      beforeTheresa
                             TheresaKielty,
                                     Kielty,    No.No.
                                              CSR
                                            CSR      5037.
                                                       5037.

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22
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25



                     Officer Alvaro
                     Officer  AlvaroLopez
                                     Lopezwith
                                         -      Confidential
                                            - with           Portions
                                                   Confidential   Portions
                                      March 01,2021
                                      March  01, 2021                        2
      Case 5:18-cv-04826-BLF Document 53 Filed 03/15/22 Page 202 of 204

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                            Atkinson-Baker, a Veritext Company
                                              a Veritext  Company
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                                      www.depo.com


 11                      APPEARANCES:
                         APPEARANCES:

 2
 2      FOR
        FOR PLAINTIFFS:
             PLAINTIFFS:

 3
 3      LAW
        LAW OFFICES
             OFFICESOFOF JOHN  KEVIN
                            JOHN     CROWLEY
                                  KEVIN  CROWLEY
        BY: JOHN KEVIN CROWLEY,
               JOHN   KEVIN        Esq. Esq.
                             CROWLEY,
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 4      125 S.5. Market
                  MarketStreet
                          Street
        Suite 1200
        Suite    1200
 5
 5      San Jose,
              Jose, California
                      California     95113
                                     95113
         (408)
         (408) 288-8100
                 288—8100
 66     j kclaw@pacbell .net
        jkclaw@pacbell.net
 7
 7      FOR
        FOR DEFENDANTS:
             DEFENDANTS:

 8
 8      OFFICE
        OFFICE OFOFTHE
                     THECITY
                          CITYATTORNEY
                                 ATTORNEY
        BY: MAREN  CLOUSE,
               MAREN  CLOUSE,Esq.Esq.
 9
 9      200 E.
             E. Santa
                 SantaClara
                         ClaraStreet
                                 Street
        16th
        16th Floor
               Floor
10      San Jose,
             Jose, California
                     California       95113
                                      95113
         (408)
         (408) 535-1948
                535—1948
11      maren.clouse@sanjoseca.gov
        maren.clouse@sanjoseca.gov

12

13

14
14

15

16

17
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18

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22

23

24

25



                      Officer
                      OfficerAlvaro
                              AlvaroLopez - withwith
                                      Lopez  -   Confidential Portions
                                                     Confidential    Portions
                                      March  01, 2021
                                      MarchOl,2021                              3
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                            Atkinson-Baker,            Company
                                              a Veritext Company
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 1
 1          A.
            A.   I couldn’t
                 I  couldn'tgivegive    specific
                                  you ayou       time. Maybe
                                           a specific   time.a Maybe a

 2
 2     couple minutes
       couple  minutesafter.
                          after.

 3
 3          Q.
            Q.   So  itwas
                 So it  wasafter. Now, Now,
                              after.    you don’t agree that
                                             you don't       the that the
                                                          agree

 4
 4     shot toto
       shot    thethe   was intended
                   headhead          to kill the
                             was intended        suspect?
                                             to kill   the suspect?

 5
 5          MS. CLOUSE:
            MS.  CLOUSE:Objection,
                         Objection,assumes facts. facts.
                                        assumes

 6
 6          THE WITNESS:
            THE  WITNESS:I didn’t know know
                           I didn't    where he had been
                                             where       shot. been shot.
                                                     he had

7
7     BY  MR.CROWLEY:
      BY MR.   CROWLEY:

8
8           Q.
            Q.   Well, generally,
                 Well,  generally,in your
                                      in training and experience,
                                          your training    and experience,

 9
 9    shooting somebody
      shooting          in the
                 somebody    inhead
                                 theishead
                                       intended to kill the to
                                            is intended      person,
                                                                kill the perso

10
10    right?
      right?

11
11          A.
            A.   We don’t
                 We  don'tshoot to kill
                            shoot       anyone,anyone,
                                    to kill      we shoot we
                                                           to shoot
                                                              stop theto stop the

12
12    threat.
      threat.

13
13          Q.
            Q.   Okay. Well,
                 Okay. Well, youyou
                                 alsoalso
                                      can shoot to disarm
                                           can shoot    to the
                                                            disarm the

14
14    person oror
      person    disable them?them?
                   disable

15
15          A.
            A.   What wewetrain
                 What           is to
                            train       to the
                                    isstop stopthreat.
                                                  the threat.

16
16          Q.
            Q.   And shooting
                 And  shootingin the
                                  in head head the
                                     the stops     threat?
                                                stops  the threat?

17
17          A.
            A.   Yes.
                 Yes.

18
18          Q.
            Q.   Permanently?
                 Permanently?

19
19          MS. CLOUSE:
            MS.  CLOUSE:Objection,
                         Objection,vague,vague,
                                           calls for speculation.
                                                  calls  for speculation.

20
20          THE WITNESS:
            THE  WITNESS:Like I said,
                            Like      I was not
                                  I said,       aware
                                            I was        where heof where he
                                                      of aware
                                                    not

21
21    had been
      had  beenshot until
                 shot     after after
                        until    the shooting.
                                        the shooting.

22
22    BY MR.
      BY  MR.CROWLEY:
               CROWLEY:

23
23          Q.
            Q.   So I Ijust
                 So     justwant to know
                              want       about your
                                     to know   abouttraining. So
                                                       your training. So

24
24    you’re trained
      you're         that that
               trained     shooting someone someone
                                 shooting   in the head     an head is an
                                                      inis the

25
25    effective wayway
      effective     to stop the threat?
                        to stop   the threat?


                     Officer Alvaro
                     Officer  AlvaroLopez
                                      Lopezwith
                                         -      Confidential
                                            - with           Portions
                                                    Confidential   Portions
                                         March 01,
                                         March  01,2021
                                                    2021                      94
                                                                              94
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1
1           A.
            A.   Yes.
                 Yes.

2
2           Q.
            Q.   Is that
                 Is  thatanother way of
                           another   waysaying it’s an effective
                                          of saying    it's an way
                                                                 effective way

3
3     to kill
      to  killsomebody?
                somebody?

4
4           A.
            A.   No.
                 No.

5
5           Q.
            Q.   What’s the
                 What's     distinction?
                          the  distinction?

6
6           A.
            A.   Because we we
                 Because     don’t shootshoot
                                don't    to killtopeople,
                                                    kill we shoot towe shoot to
                                                          people,

7
7      stop the
       stop     threat.
              the  threat.

8
8           Q.
            Q.   Okay.
                 Okay.

9
9           A.
            A.   If that
                 If  thatis is
                             an an
                                outcome of the of
                                    outcome     shooting, then that’sthen that's
                                                   the shooting,

10
10    what the
      what     outcome
             the       is, but
                  outcome   is,we’re
                                but not trained
                                     we're         kill people.
                                             nottotrained  to kill people.

11
11          Q.
            Q.   So  atthe
                 So at     time
                         the    the the
                              time  suspect put his put
                                         suspect           downhands
                                                     handshis   and  down and

12
12    bent over,
      bent  over,werewere
                       therethere
                             any other
                                   any plausible
                                        other plausible       the
                                                 alternativesalternatives the

13
13    police could
      police            engaged
                   havehave
               could            in to inwhat’s
                             engaged     to -- thewhat's
                                                   word I’mthe word I'm
                                                   --




14
14                  Plausible
      thinking of?of?
      thinking                alternative
                      Plausible           to reduceto
                                   alternative      thereduce
                                                        threat. the threat.

15
15          A.
            A.   I don’t
                 I  don'tthink so. so.
                            think

16
16          Q.
            Q.   Other than
                 Other        in your
                         than --      mind, mind,
                                  in your
                                 --         when thewhen
                                                     suspect
                                                          theput
                                                               suspect put

17
17    his hands
      his  handsdown and and
                   down  reached over, were
                              reached       there
                                        over,     any other
                                                were  there any other

18
18    plausible alternatives,
      plausible               in yourin
                   alternatives,      mind,
                                        yourother than other
                                               mind,           him
                                                        having than having him

19
19    get a agun,
      get      gun,  for for
                  go go  a gun?a gun?

20
20          A.
            A.   Not atatthat
                 Not          moment.
                           that  moment.

21
21          Q.
            Q.   That was
                 That  wasit,it,
                              a hundred percentpercent
                                 a hundred      certaintycertainty
                                                          he was   he was

22
22    going for
      going     a gun,
              for      no other
                   a gun,       possibilities
                            no other          of anythingof
                                      possibilities       else?
                                                             anything else?

23
23          MS. CLOUSE:
            MS.  CLOUSE:Objection,
                         Objection,argumentative, it’s been it's
                                        argumentative,       asked been asked

24
24    and answered.
      and  answered.

25
25          MR. CROWLEY:
            MR.  CROWLEY:I’mI'm   asking
                             justjust    him. He
                                       asking    can answer.
                                               him.  He can answer.


                     Officer Alvaro
                     Officer        Lopez
                               Alvaro      with-Confidential
                                       Lopez
                                        -                    Portions Portions
                                                with Confidential
                                         March01,01,
                                         March    2021
                                                     2021                        95
                                                                                 95
